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                  Appendix Exhibit 132




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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

   In re:                                     §
                                              §
   HIGHLAND CAPITAL                           §    Chapter 11
   MANAGEMENT, L.P.                           §
                                              §    Case No. 19-34054-sgj11
            Debtor.                           §

    HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
            LEAVE TO FILE VERIFIED ADVERARY PROCEEDING

            Hunter Mountain Investment Trust (“HMIT”), Movant, files this Emergency

  Motion for Leave to File Verified Adversary Proceeding (“Motion”), both in its individual

  capacity and as a derivative action on behalf of the Reorganized Debtor, Highland Capital

  Management, L.P. (“HCM” or “Reorganized Debtor”) and the Highland Claimant Trust

  against Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon


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                                             [1]
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  Capital     Management,         LLC    (“Farallon”),    Stonehill   Capital Management,          LLC

  (“Stonehill”), James P. Seery, Jr. (“Seery”) and John Doe Defendant Nos. 1-10 (Muck,

  Jessup, Stonehill, Farallon, Seery and the John Doe Defendant Nos. 11-10 are collectively

  “Respondents” or “Proposed Defendants”).

                             I.         Good Cause for Expedited Relief

         1.      HMIT seeks leave to file an Adversary Proceeding pursuant to the Court’s

  “gatekeeping” orders, as well as the injunction and exculpation provisions in the Fifth

  Amended Plan of Reorganization of Highland Capital Management, L.P. (Doc. 1943), as

  modified (the “Plan”). 1 A copy of HMIT’s proposed Verified Adversary Proceeding

  (“Adversary Proceeding”) is attached as Exhibit 1 to this Motion. This Motion is

  separately supported by objective evidence derived from historical filings in the

  bankruptcy proceedings, 2 as well as the declarations of James Dondero, dated May 2022

  (Ex. 2), James Dondero, dated February 2023 (Ex. 3), and Sawnie A. McEntire with

  attached evidence (Ex. 4). 3




  1The exculpation provisions were recently modified by a decision of the Fifth Circuit. Such provisions
  apply to James P. Seery, Jr. only and are limited to his capacity as an Independent Director. Matter of
  Highland Cap. Mgmt., L.P., 48 F.4th 419, 438 (5th Cir. 2022).
  2 Unless otherwise referenced, all references to evidence involving documents filed in the Debtor’s
  bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)) are cited by “Doc.” reference. HMIT
  asks the Court to take judicial notice of the documents identified by such entries.
  3The supporting declarations will be cited as Dondero 2022 Dec. (Ex. 2), Dondero 2023 Dec. (Ex. 3), and
  McEntire Dec. (Ex. 4).



                                                    [2]
                                                                                             App. 2737
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          2.       The expedited nature of this Motion is permitted under Fed. R. Bank P. 9006

  (c)(1), which authorizes a shortened time for a response and hearing for good cause. For

  the reasons set forth herein, HMIT has shown good cause and requests that the Court

  schedule a hearing on this Motion on three (3) days’ notice, and that any responses be

  filed no later than twenty-four hours before the scheduled hearing. 4

          3.       HMIT brings this Motion on behalf of itself and derivatively on behalf of

  the Reorganized Debtor and the Highland Claimant Trust (“Claimant Trust”), as defined

  in the Claimant Trust Agreement (Doc. 3521-5) (“CTA”). 5 Upon the Plan’s Effective Date,

  Highland Capital Management, LP, as the original Debtor (“Original Debtor”),

  transferred its assets, including its causes of action, to the Claimant Trust, including the

  causes of action set forth in the attached Adversary Proceeding. The attached Adversary

  Proceeding alleges claims which are substantially more than “colorable” based upon

  plausible allegations that the Proposed Defendants, acting in concert, perpetrated a

  fraud, 6 including a fraud upon innocent stakeholders, as well as breaches of fiduciary




  4Expedited action on this Motion is also warranted to hasten Movants’ opportunity to file suit, pursue
  prompt relevant discovery, and reduce the threat of loss of potentially key evidence. Upon information and
  belief, Seery has been deleting text messages on his personal iPhone via a rolling, automatic deletion setting.
  5Solely in the alternative, and in the unlikely event HMIT’s proposed causes of actions against Seery,
  Stonehill, Farallon, Muck, and/or Jessup are considered to be “Estate Claims” as those terms are used and
  defined within the CTA and Exhibit A to the Notice of Final Term Sheet [Docket No. 354] in HCM’s
  bankruptcy (and without admitting the same), HMIT alternatively seeks standing to bring this action as a
  derivative action on behalf of the Litigation Sub-Trust as appropriate.
  6Neither this Motion nor the proposed Adversary Complaint seeks to challenge the Court’s Orders or the
  Plan. In addition, neither this Motion nor the proposed Adversary Complaint seeks to redistribute the
  assets of the Claimant Trust in a manner that would adversely impact innocent creditors. Rather, the


                                                        [3]
                                                                                                     App. 2738
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  duties and knowing participation in (or aiding and abetting) breaches of fiduciary duty.

  The Adversary Proceeding also alleges that the Proposed Defendants did so collectively

  by falsely representing the value of the Debtor’s Estate, failing to timely disclose accurate

  values of the Debtor’s Estate, and trading on material non-public information regarding

  such values. HMIT also alleges that the Proposed Defendants colluded to manipulate the

  Debtor’s Estate—providing Seery the opportunity to plant close business allies into

  positions of control to approve Seery’s compensation demands following the Effective

  Date.

          4.       Emergency relief is needed because of a fast-approaching date (April 16,

  2023) that one or more of the Proposed Defendants may argue, depending upon choice of

  law, constitutes the expiration of the statute of limitations concerning some of the

  common law claims available to the Claimant Trust, as well as to HMIT. 7 Although HMIT

  offered to enter tolling agreements from each of the Proposed Defendants, they either

  rejected HMIT’s requests or have not confirmed their willingness to do so, thereby

  necessitating the expedited nature of this Motion. 8 Because this Motion is subject to the


  proposed Adversary Proceeding seeks to benefit all innocent stakeholders while working within the terms
  and provisions of the Plan, as well as the Claimant Trust Agreement.
  7The first insider trade at issue involved the sale and transfer of Claim 23 in the amount of $23 million held
  by ACMLD Claim, LLC to Muck on April 16, 2021 (Doc. 2215).
  8HMIT has been diligent in its efforts to investigate the claims described in this Motion, including the filing
  of a Tex. R. Civ. P. Rule 202 proceeding in January 2023, which was not adjudicated until recently in March
  2023. Those proceeding were conducted in the 191st Judicial District Court in Dallas County, Texas, under
  Cause DC-23-01004. See McEntire Dec. Ex. 4 and the attached Ex. 4-A. Farallon and Stonehill defended
  those proceedings by aggressively arguing, in significant part, that the discovery issues were better
  undertaken in this Court.8 The Rule 202 Petition was recently dismissed (necessarily without prejudice)


                                                        [4]
                                                                                                    App. 2739
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  Court’s “gatekeeping” orders and the injunction provisions of the Plan, emergency leave

  is required.

            5.       This Motion will come as no surprise to the Proposed Defendants. Farallon

  and Stonehill were involved in recent pre-suit discovery proceedings under Rule 202 of

  the Texas Rules of Civil Procedure relating to the same insider trading allegations

  described in this Motion. Muck and Jessup, special purpose entities created and

  ostensibly controlled by Farallon and Stonehill, respectively, also were provided notice

  of these Rule 202 Proceedings in February 2023. 9 Like this Motion, the Rule 202

  Proceedings focused on Muck, Jessup, Farallon, and Stonehill and their wrongful

  purchase of large, allowed claims in the Original Debtor’s bankruptcy based upon

  material non-public information. Seery is also aware of these insider trading allegations

  because of a prior written demand.

            6.       In light of the Proposed Defendants’ apparent refusal to enter tolling

  agreements, or their failure to fully affirm their willingness to do so, HMIT is forced to

  seek emergency relief from this Court to proceed timely with the proposed Adversary

  Proceeding before the expiration of any arguable limitations period. 10



  on March 8, 2023, ostensibly based on such arguments. However, it is telling that Stonehill and Farallon
  admitted during the Rule 202 Proceedings to their “affiliation” with Muck and Jessup and that they bought
  the Claims through these entities.
  9   See Dec. of Sawnie McEntire, Ex. 4.
  10HMIT respectfully requests that this Motion be addressed and decided on an expedited basis that
  provides HMIT sufficient time to bring the proposed action timely. In the event the Court denies the
  requested relief, HMIT respectfully requests prompt notice of the Court’s ruling to allow HMIT sufficient


                                                     [5]
                                                                                               App. 2740
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                                      II.      Summary of Claims

          7.      HMIT requests leave to commence the proposed Adversary Proceeding,

  attached as Exhibit 1, seeking redress for breaches of duty owed to HMIT, breaches of

  duties owed to the Original Debtor’s Estate, aiding and abetting breaches of those

  fiduciary duties, conspiracy, unjust enrichment, and fraud. HMIT also alleges several

  viable remedies, including (i) imposition of a constructive trust; (ii) equitable

  disallowance of any unpaid balance on the claims at issue; 11 (iii) disgorgement of ill-

  gotten profits (received by Farallon, Stonehill, Muck and Jessup) to be restituted to the

  Claimant Trust; (iv) disgorgement of ill-gotten compensation (received by Seery) to be

  restituted to the Claimant Trust; (v) declaratory judgment relief; (vi) actual damages; and

  (vii) punitive damages.

                                             III.    Standing

          8.      HMIT. Prior to the Plan’s Effective Date, HMIT was the largest equity

  holder in the Original Debtor and held a 99.5% limited partnership interest. HMIT

  currently holds a Class 10 Claim as a contingent Claimant Trust Interest under the CTA




  time to seek, if necessary, appropriate relief in the United States District Court. In order to have a fair
  opportunity to seek such relief on a timely basis and protect HMIT’s rights and the rights of the
  Reorganized Debtor, HMIT will need to seek such relief on or before Wednesday, April 5, 2023, if this
  Motion has not been resolved.
  11In the alternative only, subordination of Muck’s and Jessup’s General Unsecured Claim Trust Interests
  and Subordinated Claim Trust Interests to all other interests in the Claimant Trust, including HMIT’s
  Contingent Trust Interest, is necessary and appropriate to remedy Muck’s and Jessup’s wrongful conduct,
  and is also consistent with the purposes of the Bankruptcy Code.



                                                      [6]
                                                                                                 App. 2741
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  (Doc. 3521-5). Upon information and belief, all conditions precedent to HMIT’s

  certification as a vested Claimant Trust Beneficiary would be readily satisfied but for the

  Defendants’ wrongful actions and conduct described in this Motion and the attached

  Adversary Proceeding.

          9.      Reorganized Debtor. Although HMIT has standing as a former Class B/C

  Equity Holder, Class 10 claimant, and now contingent Claimant Trust Interest under the

  CTA, 12 this Motion separately seeks authorization to prosecute the Adversary Proceeding

  derivatively on behalf of the Reorganized Debtor and Claimant Trust. All conditions

  precedent to bringing a derivative action are satisfied.

          10.     Fed. R. Civ. P. 23.1 provides the procedural steps for “derivative actions,”

  and applies to this proceeding pursuant to Fed. R. Bank. P. 7023.1. Applying Rule 7023.1,

  the Proposed Defendants’ wrongful conduct occurred, and the improper trades

  consummated, in the spring and early summer of 2021, before the Effective Date in

  August 2021. During this period, HMIT was the 99.5% Class B/C limited partner in the

  original Debtor. As such, HMIT has individual standing to bring this action because Seery

  owed fiduciary duties directly to HMIT at that time, and the other Proposed Defendants

  aided and abetted breaches of those duties at that time.




  12The last transaction at issue involved Claim 190, the Notice for which was filed on August 9, 2021. (Doc.
  2698).



                                                      [7]
                                                                                                 App. 2742
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                11.    The derivative nature of this proceeding is also appropriate because any

  demand on Seery would be futile. 13 Seery is the Claimant Trustee under the terms of the

  CTA. Furthermore, any demand on the Oversight Board to prosecute these claims would

  be equally futile because Muck and Jessup, both of whom are Proposed Defendants,

  dominate the Oversight Board. 14

                12.    The “classic example” of a proper derivative action is when a debtor-in-

  possession is “unable or unwilling to fulfill its obligations” to prosecute an otherwise

  colorable claim where a conflict of interest exists. Cooper, 405 B.R. at 815 (quoting Louisiana

  World, 858 F.2d at 252). Here, because HMIT’s proposed Adversary Proceeding includes

  claims against Seery, Muck, and Jessup, the conflicts of interest are undeniable. Seery is

  the Trustee of the Claimant Trust Assets under the CTA, and he also serves as the “Estate

  Representative.” 15 Muck and Jessup, as successors to Acis, the Redeemer Committee and

  UBS, effectively control the Oversight Board, with the responsibility to “monitor and

  oversee the administration of the Claimant Trust and the Claimant Trustee’s performance

  . . . .” 16




  13Any demand on the Litigation Sub-Trust would be equally futile for the same reasons addressed herein,
  since the Litigation Trustee serves at the direction of the Oversight Board.
  14See Footnote 8, infra. In December 2021, several stakeholders made a demand on the Debtor through
  James Seery, in his capacity as Trustee to the Claimant Trust, to pursue claims related to these insider
  trades.
  15   See Claimant Trust Agreement (Doc. 3521-5), Sec. 3.11.
  16   Id. at Sec. 4.2(a) and (b).



                                                        [8]
                                                                                              App. 2743
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          13.      Creditors’ committees frequently bring suit on behalf of bankruptcy estates.

  Yet, it is clear that any appropriately designated party also may bring derivative claims.

  In re Reserve Prod., Inc., 232 B.R. 899, 902 (Bankr. E.D. Tex. 1999) (citations omitted); see In

  re Enron Corp., 319 B.R. 128, 131 (Bankr. S.D. Tex. 2004). As this Court has held in In Re

  Cooper:

          In Chapter 11 [cases], there is both a textual basis . . . and, frequently, a non-
          textual, equitable rationale for granting a creditor or creditors committee
          derivative standing to pursue estate actions (i.e., the equitable rationale
          coming into play when the debtor-in-possession has a conflict of interest in
          pursuing an action, such as in the situation of an insider-defendant).

  In re Cooper, 405 B.R. 801, 803 (Bankr. N.D. Tex. 2009) (also noting that “[c]onflicts of

  interest are, of course, frequently encountered in Chapter 11, where the metaphor of the

  ‘fox guarding the hen house’ is often apropos”); see also In re McConnell, 122 B.R. 41, 43-

  44 (Bankr. S.D. Tex. 1989) (“[I]ndividual creditors can also act in lieu of the trustee or

  debtor-in-possession . . . .”). Here, the Proposed Defendants are the “foxes guarding the hen

  house,” and their conflicts of interest abound. 17 Proceeding in a derivative capacity is

  necessary, if not critical.




  17See Citicorp Venture Cap., Ltd. v. Comm. of Creditors Holding Unsecured Claims, 160 F.3d 982, 987 (3d Cir.
  1998) (settlement noteholders purchased Debtors’ securities with “the benefit of non-public information
  acquired as a fiduciary” for the “dual purpose of making a profit and influenc[ing] the reorganization in
  [their] own self-interest.”), see also, Wolf v. Weinstein, 372 U.S. 633, 642, 83 S.Ct. 969, 10 L.Ed.2d 33 (1963)
  (“Access to inside information or strategic position in a corporate reorganization renders the temptation to
  profit by trading in the Debtor's stock particularly pernicious.”).



                                                        [9]
                                                                                                     App. 2744
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          14.     The proposed Adversary Proceeding also sets forth claims that readily

  satisfy the Court’s threshold standards requiring “colorable” claims, as well as the

  requirements for a derivative action. This Motion, which is supported by objective

  evidence contained in historical filings in the bankruptcy proceedings, also incorporates

  sworn declarations. At the very least, this additional evidence satisfies the Court’s

  threshold requirements of willful misconduct and fraud set forth in the “gatekeeping”

  orders, as well as the injunction and exculpation provisions in the Plan. 18 This evidence

  also supports well-pleaded allegations exempted from the scope of the releases included

  in the Plan.

          15.     HMIT is an appropriate party to bring this action on behalf of the

  Reorganized Debtor and the Claimant Trust. If successful, the Adversary Proceeding will

  likely recover well over $100 million for the Claimant Trust, thereby enabling the

  Reorganized Debtor and Claimant Trust to pay off any remaining innocent creditors and

  make significant distributions to HMIT as a vested Claimant Trust Beneficiary.

          16.     As of December 31, 2022, the Claimant Trust had distributed 64.2% of the

  total $397,485,568 par value of all Class 8 and Class 9 unsecured creditor claims. The




  18HMIT recognizes that it is an “Enjoined Party” under the Plan. The Plan requires a showing, inter alia, of
  bad faith, willful misconduct, or fraud against a “Protected Party.” Seery is a “Protected Party” and an
  “Exculpated Party” in his capacity as an Independent Director. Muck and Jessup may be “Protected Parties”
  as members of the Oversight Committee, but they were not “protected” when they purchased the Claims
  before the Effective Date. While it is HMIT’s position that Farallon and Stonehill do not qualify as
  “Protected Parties,” they are included in this Motion in the interest of judicial economy.



                                                      [10]
                                                                                                  App. 2745
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  Claims acquired by Muck and Jessup have an allowed par value of $365,000,000. Based

  on these numbers, the innocent unsecured creditors hold approximately $32 million in

  allowed claims. 19

             17.    As of December 31, 2022, the Claimant Trust has distributed $255,201,228. 20

  On a pro rata basis, that means that innocent creditors have received approximately

  $22,373,000 in distributions against the stated value of their allowed claims. That leaves

  a remaining unpaid balance of approximately $9,627,000.

             18.    Muck and Jessup already have received approximately $232.8 million on

  their Claims. Assuming and original investment of approximately $160 million, this

  represents over $72 million in ill-gotten profits that, if disgorged, would be far more than

  what is required to fully pay all other innocent creditors - immediately placing HMIT in

  the status of a vested Claimant Trust Beneficiary. The benefits to the Reorganized Debtor,

  the Claimant Trust and innocent stakeholders are undeniable. 21

             19.    Seery and the Oversight Board should be estopped from challenging

  HMIT’s status to bring this derivative action on behalf of the Claimant Trust. Seery, Muck

  and Jessup have committed fraud, acted in bad faith and have unclean hands, and they

  should not be allowed to undermine the proposed Adversary Proceeding - which seeks



  19   Doc. 3653.
  20   Id.
  21Further, under the present circumstances and time constraints, this Motion should be granted to avoid
  the prospect of the loss of some of HMIT’s and the Claimant Trust’s claims and denial of due process.



                                                   [11]
                                                                                             App. 2746
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  to rectify significant wrongdoing. To hold otherwise would allow Seery, Muck, Jessup,

  Stonehill, and Farallon the opportunity to not just “guard the hen house,” but to also open

  the door and take what they want. 22 HMIT seeks a declaratory judgment of its rights,

  accordingly.

                                    IV.      The Proposed Defendants

          20.      Seery acted in several capacities during relevant times. He served as the

  Debtor’s Chief Executive Officer (“CEO”) and Chief Restructuring Officer (“CRO”). He

  also served as member of the Debtor’s Independent Board. 23 He currently serves as

  Claimant Trustee under the CTA and remains the CEO of the Reorganized Debtor.

          21.      There is no doubt Seery owed the Original Debtor’s Estate, as well as equity,

  fiduciary duties, including the duty of loyalty and the duty to avoid conflicts of interest.

  See In re Xtreme Power Inc., 563 B.R. 614, 632-33 (Bankr. W.D. Tex. 2016) (detailing

  fiduciary duties owed by corporate officers and directors under Delaware law); Louisiana

  World, 858 F.2d at 245-46 (detailing duties owed by debtors-in-possession). 24


  22“The doctrine of ‘unclean hands’ provides that “a litigant who engages in reprehensible conduct in
  relation to the matter in controversy ... forfeits his right to have the court hear his claim, regardless of its
  merit. [T]he purpose of the clean hands maxim is to protect the court against misuse by one who, because
  of his conduct, has forfeited his right to have the court consider his claims, regardless of their merit. As
  such it is not a matter of defense to be applied on behalf of a litigant; rather it is a rule of public policy.”
  Portnoy v. Cryo-Cell Int'l, Inc., 940 A.2d 43, 80–81 (Del. Ch. 2008) (citations omitted) (internal quotations
  omitted for clarity).
  23Seery is the beneficiary of the Court’s “gatekeeping” orders and is an “exculpated” party in his capacity
  as an Independent Director. He is also a “Protected Party.”
  24The Internal Affairs Doctrine dictates choice of law. Here, the Debtor, Highland Capital Management,
  was organized under the law of Delaware. As much, Seery’s fiduciary duties and claims involving breaches
  of those duties will be governed by Delaware law.



                                                       [12]
                                                                                                     App. 2747
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             22.      Farallon and Stonehill are capital management companies which manage

  hedge funds; they are also Seery’s close business allies with a long history of business

  ventures and close affiliation. Although they were strangers to the Original Debtor’s

  bankruptcy on the petition date, and were not original creditors, they became entangled

  in this bankruptcy at Seery’s invitation and encouragement—and then knowingly

  participated in the wrongful insider trades at issue. By doing so, Seery was able to plant

  friendly allies onto the Oversight Board to rubber stamp compensation demands. The

  proposed Adversary Proceeding alleges that Farallon and Stonehill bargained to receive

  handsome pay days in exchange.

             23.      Muck and Jessup are special purpose entities, admittedly created by

  Farallon and Stonehill on the eve of the alleged insider trades, and they were used as

  vehicles to assume ownership of the purchased claims. 25 The record is clear that Muck

  and Jessup did not exist before confirmation of the Plan in February 2021. 26 Now,

  however, Muck and Jessup serve on the Oversight Board with immense powers under

  the CTA. 27 When they purchased the claims at issue, Muck and Jessup were not acting in

  their official capacities on the Oversight Committee and, therefore, they were not

  “Protected Persons” under the Plan.



  25   See Ex. 4-B, Rule 202 Transcript at 55:22-25.
  26See McEntire Dec., Ex. 4, Ex. 4-D, Ex. 4-E. Muck was created on March 9, 2021 before the Effective Date.
  Jessup was created on April 8, 2021, before the Effective Date.
  27   See Doc. 3521-5, Sec. 4(a) and 4(b).



                                                       [13]
                                                                                                App. 2748
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             24.      By trading on the alleged material non-public information, Farallon,

  Stonehill, Muck, and Jessup became non-statutory “insiders” with duties owed directly

  to HMIT at a time when HMIT was the largest equity holder. 28 See S.E.C. v. Cuban, 620

  F.3d 551, 554 (5th Cir. 2010) (“The corporate insider is under a duty to ‘disclose or

  abstain’—he must tell the shareholders of his knowledge and intention to trade or abstain

  from trading altogether.”). In this context, there is no credible doubt that Farallon’s and

  Stonehill’s dealings with Seery were not arms-length. Again, Farallon and Stonehill were

  Seery’s past business partners and close allies. 29 By virtue of the insider trades at issue,

  Farallon and Stonehill acquired control (acting through Muck and Jessup) over the

  Original Debtor and Reorganized Debtor through Seery’s compensation agreement and

  awards, as well as supervisory powers over the Claimant Trust. This makes Farallon and

  Stonehill paradigm non-statutory insiders.

             25.      HMIT also seeks recovery against John Doe Defendant Nos. 1 through 10.30

  It is clear Farallon and Stonehill refuse to disclose the precise details of their legal



  28   Because of their “insider” status, this Court should closely scrutinize the transactions at issue.
  29Farallon and Stonehill are two capital management firms (similar to HCM) with whom Seery has had
  substantial business relationships. Also, Seery previously served as legal counsel to Farallon. Seery also has
  a long-standing relationship with Stonehill. GCM Grosvenor, a global asset management firm, held four
  seats on the Redeemer Committee (an original member of the Unsecured Creditors Committee in HCM’s
  bankruptcy). Upon information and belief, GCM Grosvenor is a significant investor in Stonehill and
  Farallon. GCM Grosvenor, through Redeemer, also played a large part in appointing Seery as a director of
  Strand Advisors and approved his appointment as HCM’s CEO and CRO.
  30Farallon and Stonehill consummated their trades concealing their actual involvement through Muck and
  Jessup as shell companies. Farallon’s and Stonehill’s identities were not discovered until much later after
  the fact.



                                                          [14]
                                                                                                        App. 2749
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  relationships with Muck and Jessup. They resisted such discovery in the prior Rule 202

  Proceedings in state district court. 31 They also refused to disclose such details in response

  to a prior inquiry to their counsel. 32 Furthermore, the corporate filings of both Muck and

  Farallon conspicuously omit the identity of their respective members or managing

  members. 33 Accordingly, HMIT intends to prosecute claims against John Doe Defendant

  Nos. 1 -- 10 seeking equitable tolling pending further discovery whether Farallon and

  Stonehill inserted intermediate corporate layers between themselves and the special

  purpose entities (Muck and Jessup) they created. See In re ATP Oil & Gas Corp., No. 12-

  36187, 2017 WL 2123867, *4 (Bankr. S.D. Tex. May 16, 2017) (lsgur .J.); see also In re IFS Fin.

  Corp. No. 02-39553, 2010 WL 4614293, *3 (Bankr. S.D. Tex. No. 2, 2010) (“The identity of

  the party concealing the fraud is immaterial, the critical factor is whether any of the

  parties involved concealed property of the estate.” “In either case, the trustee must

  demonstrate that despite exercising diligence, he could not have discovered the identity

  of the [unnamed] defendants prior to the expiration of the limitations period.”) ATP Oil,

  2017 WL 2123867 at *4. That burden is easily satisfied here.




  31   See McEntire Dec., Ex. 4.
  32   See McEntire Dec., Ex. 4, see also, Ex. 4-F.
  33   See Ex. 4-D, Ex. 4-E.



                                                      [15]
                                                                                      App. 2750
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                                               V.      Background

             26.     As part of this Court’s Governance Order, an independent board of

  directors—which included Seery as one of the selections of the Unsecured Creditor’s

  Committee—was appointed to the Board of Directors (the “Board”) of Strand Advisors,

  Inc., (“Strand Advisors”), the Original Debtor’s general partner. Following approval of

  the Governance Order, the Board then appointed Seery as the Original Debtor’s CEO and

  CRO. 34 Following the Effective Date of the Plan, Seery now serves as Trustee of the

  Claimant Trust (the Reorganized Debtor’s sole post-reorganization limited partner), and

  continues to serve as the Reorganized Debtor’s CEO. 35

             27.     Imbued with his powers as CEO and CRO, Seery negotiated and obtained

  bankruptcy court approval of several settlements prior to the Effective Date, resulting in

  the following approximate allowed claims (hereinafter “Claims”): 36

                           Creditor            Class 8              Class 9
                           Redeemer            $137 mm              $0 mm
                           Acis                $23 mm               $0 mm
                           HarbourVest         $45 mm               $35 mm
                           UBS                 $65 mm               $60 mm
                           (Totals)            $270 mm              $95 mm




  34   Doc. 854, Order Approving Retention of Seery as CEO/CRO.
  35   See Doc. 1943, Order Approving Plan, p. 34.
  36   Orders Approving Settlements [Doc. 1273, Doc. 1302, Doc. 1788, Doc. 2389].



                                                       [16]
                                                                                    App. 2751
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  Each of the settling parties curiously sold their Claims to Farallon or Stonehill (or their

  affiliated special purpose entities) shortly after they obtained court approval of their

  settlements. One of these “trades” occurred within just a few weeks before the Effective

  Date. Farallon and Stonehill coordinated and controlled the purchase of these Claims

  through Muck and Jessup, and they admitted in open court that Muck and Jessup were

  created to allow their purchase of the Claims. 37

             28.      HMIT alleges that Seery filed (or caused to be filed) deflated, misleading

  projections regarding the value of the Debtor’s Estate, 38 while inducing unsecured

  creditors to discount and sell their Claims to Farallon and Stonehill. But as reflected in

  the attached declarations, it is now known that Seery provided material, non-public

  information to Farallon. The circumstantial evidence is also clear that both Farallon and

  Stonehill had access to and used this non-public information in connection with their

  purchase decisions.

             29.      Farallon and Stonehill are registered investment advisors who have their

  own fiduciary duties to their investors, and they are acutely aware of what these duties

  entail. Yet, upon information and belief, they collectively invested over $160 million

  dollars to purchase the Claims in the absence of any publicly available information that




  37   See Ex. 4-B, Rule 202 Transcript at 55:22-25.
  38The pessimistic projections were issued as part of the Plan Analysis on February 2, 2021. [Doc. 1875-1].
  The Debtor projected 0% return on Class 9 claims and only 71.32% return on Class 8 Claims.



                                                       [17]
                                                                                                App. 2752
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  could rationally justify such investments. These “trades” become even more suspect

  because, at the time of confirmation, the Plan provided pessimistic projections advising

  stakeholders that the Claim holders would never receive full satisfaction:

                        From October 2019, when the original Chapter 11 Petition was
                         filed, to January 2021, just before the Plan was confirmed, the
                         valuation of HCM’s assets dropped over $200 million from $566
                         million to $328.3 million. 39

                        HCM’s Disclosure Statement projected payment of 71.32% of
                         Class 8 claims, and 0% of claims in Classes 9-11; 40

                           o This meant that Farallon and Stonehill invested more than
                             $103 million in Claims when the publicly available
                             information indicated they would receive $0 in return on
                             their investment as Class 9 creditors and substantially less
                             than par on their Class 8 Claims.

                        In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                         the amount of Class 8 claims expected to be paid dropped even
                         further from 71% to 54%; 41

             30.     In the third financial quarter of 2021, just over $6 million of the projected

  $205 million available to satisfy general unsecured creditors was disbursed. 42 No

  additional distributions were made to the unsecured claimholders until, suddenly, in Q3

  2022 almost $250 million was paid toward Class 8 general unsecured claims—$45 million

  more than was ever projected. 43


  39   Doc. 1473, Disclosure Statement, p. 18.
  40   Doc. 1875-1, Plan Supplement, p. 4.
  41   Doc 2949.
  42   Doc 3200.
  43   Doc 3582.



                                                  [18]
                                                                                        App. 2753
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             31.       According to Highland Capital’s Motion for Exit Financing, 44 and a recent

  motion filed by Dugaboy Investment Trust, 45 there remain substantial assets to be

  monetized for the benefit of the Reorganized Debtor’s creditors. Thus, upon information

  and belief, Stonehill and Farallon, stand to realize significant profits on their wrongful

  investments. In turn, Stonehill and Farallon will garner (and already have garnered)

  substantial fees – both base fees and performance fees – as the result of their acquiring

  and/or managing the Claims. Upon information and belief, HMIT also alleges that Seery

  has received excessive compensation and bonuses approved by Farallon (Muck) and

  Stonehill (Jessup) as members of the Oversight Board.

             32.       As evidenced in the supporting declarations (Exs. 2 and 3):

                      Farallon admitted it conducted no due diligence and relied upon
                       Seery in making its multi-million-dollar investment decisions at
                       issue. 46

                      Farallon admitted it was unwilling to sell its stake in these Claims at
                       any price because Seery assured Farallon that the Claims were
                       tremendously valuable. 47

                      Farallon bragged about the value of its investment referencing non-
                       public information regarding Amazon, Inc.’s (“Amazon”) interest in
                       acquiring Metro-Goldwyn-Mayer Studios Inc. (“MGM”). 48




  44   Doc 2229.
  45   Doc 3382.
  46   See Ex. 2, 2022 Dondero Declaration.
  47   See Ex. 2, 2022 Dondero Declaration, Ex. 3, 2023 Dondero Declaration.
  48   See Ex. 3, 2023 Dondero Declaration.



                                                       [19]
                                                                                           App. 2754
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                      Farallon was unwilling to sell its stake in the newly acquired Claims
                       even though publicly available information suggested that Farallon
                       would lose millions of dollars on its investment. 49

  Farallon can offer no credible explanation to explain its significant investment, and its

  refusal to sell at any price, except Farallon’s access to material non-public information. In

  essence, Seery became the guarantor of Farallon’s significant investment. Farallon

  admitted as much in its statements to James Dondero.

             33.       The same holds true for Stonehill. Given the negative, publicly available

  information, Stonehill’s multi-million-dollar investments make no rational sense unless

  Stonehill had access to material non-public information.

             34.       Fed. R. Bank. P. 2015.3 requires debtors to “file periodic financial reports of

  the value, operations, and profitability of each entity that is not a publicly traded

  corporation or a debtor in a case under title 11, and in which the estate holds a substantial

  or controlling interest.” However, no public reports required by Rule 2015.3 were filed.

  Seery testified they simply “fell through the cracks.” 50

             35.       Six days prior to the filing of the motion seeking approval of the

  HarbourVest Settlement, Seery acquired material non-public information regarding

  Amazon’s interest in acquiring MGM.51 Upon receipt of this material non-public




  49   See Ex. 3, 2023 Dondero Declaration, see also Doc. 1875-1.
  50   Doc. 1905, February 3, 2021, Hearing Transcript, 49:5-21.
  51   See Adversary No. 20-3190-sgj11, Doc. 150-1.



                                                         [20]
                                                                                           App. 2755
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  information, MGM should have been placed on the Original Debtor’s “restricted list,” but

  Seery continued to move forward with deals that involved MGM stock and notes. 52

  Because the Original Debtor additionally held direct interests in MGM, 53 the value of

  MGM was of paramount importance to the value of the estate.

             36.     Armed with this and other insider information, Farallon—through Muck—

  proceeded to invest in the Claims and, acting through Muck, acceded to a powerful

  position on the Oversight Board to oversee future distributions to Muck and itself. It is

  no coincidence Seery invited his business allies into these bankruptcy proceedings with

  promises of great profits. Seery’s allies now oversee his compensation. 54

             37.     The Court also should be aware that the Texas States Securities Board

  (“TSSB”) opened an investigation into the subject matter of the insider trades at issue,

  and this investigation has not been closed. The continuing nature of this investigation




  52As part of the HarbourVest Settlement, Seery negotiated the purchase of HarbourVest’s interest in
  HCLOF for approximately $22.5 million as part of the transaction. Approximately 19.1% of HCLOF’s assets
  were comprised of debt and equity in MGM. The HCLOF interest was not to be transferred to the Debtor
  for distribution as part of the bankruptcy estate, but rather to “to an entity to be designated by the
  Debtor”—i.e., one that was not subject to typical bankruptcy reporting requirements. Doc. 1625, p. 9, n. 5.
  Doc. 1625.
  53   See Doc. 2229, Motion for Exit Financing.
  54 Amazon closed on its acquisition of MGM in March 2022, but the evidence strongly suggests that
  agreements for the trades already had been reached - while announcement of the trades occurred
  strategically after the MGM news became public. Now, as a result of their wrongful conduct, Stonehill and
  Farallon profited significantly on their investments, and they stand to gain substantially more profits.




                                                     [21]
                                                                                                 App. 2756
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  underscores HMIT’s position that the claims described in the attached Adversary

  Proceeding are plausible and certainly far more than merely “colorable.”

                                         VI.    Argument

         A.     HMIT has asserted Colorable Claims against Seery, Stonehill, Farallon,
                Muck, and Jessup.

         38.    Unlike the terms “Enjoined Party,” “Protected Party,” or “Exculpated

  Party,” the Plan does not define what constitutes a “colorable” claim. Nor does the

  Bankruptcy Code define the term. However, relevant authorities suggest that a Rule

  12(b)(6) standard is an appropriate analogue.

         39.    The Fifth Circuit has held that a “colorable” claim standard is met if a

  [movant], such as HMIT, has asserted claims for relief that, on appropriate proof, would

  allow a recovery. A court need not and should not conduct an evidentiary hearing but

  must ensure that the claims do not lack any merit whatsoever. Louisiana World Exposition

  v. Fed. Ins. Co., 858 F.2d 233, 248 (5th Cir. 1988). Stated differently, the Court need not be

  satisfied there is an evidentiary basis for the asserted claims but instead should allow the

  claims if they appear to have some merit.

         40.    Other federal appellate courts have reached similar conclusions. For

  example, the Eighth Circuit holds that “creditors’ claims are colorable if they would

  survive a motion to dismiss.” In re Racing Services, Inc., 540 F.3d 892, 900 (8th Cir. 2008);

  accord In Re Foster, 516 B.R. 537, 542 (B.A.P. 8th Cir. 2014), aff’d 602 Fed. Appx. 356 (8th

  Cir. 2015) (per curiam). The Sixth Circuit has adopted a similar test requiring that the court


                                               [22]
                                                                                     App. 2757
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  look only to the face of the complaint to determine if claims are colorable. In re The Gibson

  Group, Inc., 66 F.3d 1436, 1446 (6th Cir. 1995) (emphasis added).

         41.    Although there is a dearth of federal court authorities in Texas, other federal

  courts have adopted the same standard—i.e., a claim is colorable if it is “plausible” and

  could survive a motion to dismiss. See In re America’s Hobby Center, Inc., 223 B.R. 273, 282

  (S.D.N.Y 1998). In addition, in the non-bankruptcy context, the District Court for the

  Northern District of Texas explained that “[t]he requirement of a ‘colorable claim’ means

  only that the plaintiff must have an ‘arguable claim’ and not that the plaintiff must be able

  to succeed on that claim.” Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P.,

  207 F. Supp. 2d 570, 577 (N.D. Tex. 2002) (Emphasis added).

         42.    Thus, in this instance, this Court’s gatekeeping inquiry is properly limited

  to whether HMIT has stated a plausible claim on the face of the proposed pleadings

  involving “bad faith,” “willful misconduct,” or “fraud.” Because the face of the

  Adversary Complaint alleges plausible facts, HMIT’s Motion is properly granted.

  Clearly, the attached Adversary Proceeding would survive a Rule 12(b)(6) challenge.

  Furthermore, the supporting declarations and documentary evidence provide additional

  support, and the circumstantial evidence proves that Farallon and Stonehill, strangers to

  the bankruptcy on the petition date, would not have leaped into these proceedings

  without undisclosed assurances of profit.




                                              [23]
                                                                                    App. 2758
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             B. Fraud

             43.     As set forth in the proposed Adversary Proceeding, HMIT alleges a

  colorable claim for fraud—both fraud by knowing misrepresentation and fraud by

  omission of material fact. Here, these allegations of fraud are appropriately governed by

  Texas law under appropriate choice of law principals. 55

             44.     Seery had a duty to not provide material inside information to his business

  allies. But, he did so. At the latest, Seery became aware of the potential sale of MGM in

  December 2020 when he received an email from Jim Dondero. 56 Thus, Seery knew at that

  time that this potential sale would likely yield significant value to the Original Debtor’s

  Estate. Yet, the financial disclosures associated with the Plan’s confirmation, which were

  provided only a month later, presented an entirely different outlook for both Class 8 and

  Class 9 unsecured creditors. 57 Seery knew at that time that these pessimistic disclosures

  were misleading, if not inaccurate.

             45.     There is no credible doubt Seery intended that innocent stakeholders would

  rely upon the pessimistic projections set forth in the Plan Analysis. Indeed, the singular

  purpose of the Plan Analysis was to advise stakeholders. As such, HMIT alleges that

  Seery knowingly made misrepresentations with the intention that innocent stakeholders



  55However, Delaware law is substantially similar on the elements of fraud. See Malinals v. Kramer, No.
  CIV.A. CPU 6-11002145, 2012 WL 174958, at 2 (Del. Com. PI. Jan. 5, 2012)
  56   See, Dondero 2022 Dec., Ex. 2-1.
  57   See Doc. 1875-1, Plan Analysis, February 1, 2021.



                                                           [24]
                                                                                            App. 2759
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  would rely, and that he failed to disclose material information concerning his

  entanglements with Farallon and Stonehill, as well as the related negotiations that were

  chock full of conflicts of interest.

             46.     On the flip side of this conspiracy coin, Farallon and Stonehill were engaged

  in negotiations to acquire the Claims at discounted prices; and, they successfully did so.

  HMIT alleges that their success was based on knowledge that the financial disclosures

  associated with the Plan Analysis were significantly understated. Otherwise, it would

  make no financial sense for Farallon and Stonehill to do the deals at issue. Indeed,

  Farallon admitted that it would not sell the Claims at any price, expressing great

  confidence in the substantial profits it expected even in the absence of any supporting,

  publicly available information. 58

             47.     All of the Proposed Defendants had a duty of affirmative disclosure under

  these circumstances. Seery always had this duty. Muck, Jessup, Farallon, and Stonehill

  assumed this duty when they became non-statutory “insiders.” Thus, all of the Proposed

  Defendants are liable for conspiring to perpetrate a fraud by omission of material facts.

             48.     HMIT also claims that Seery and the other Proposed Defendants failed to

  disclose material information concerning Seery’s involvement in brokering the Claims in

  exchange for quid pro quo assurances of enhanced compensation. Seery’s compensation




  58   Ex. 3, 2023 Dondero Declaration.



                                                  [25]
                                                                                        App. 2760
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  should be disgorged or, alternatively, such compensation constitutes a damage

  recoverable by the Reorganized Debtor and Claimant Trust as assignees (or transferees)

  of the Original Debtor’s causes of action. This compensation was the product of the

  alleged self-dealing, breaches of fiduciary duty, and fraud.

         C. Breaches and Aiding and Abetting Breaches of Fiduciary Duties

         49.     It is beyond dispute Seery owed fiduciary duties to the Estate. See Xtreme

  Power, 563 B.R. at 632-33 (detailing fiduciary duties owed by corporate officers and

  directors under Delaware law); 59 Louisiana World, 858 F.2d at 245-46 (5th Cir. 1988)

  (detailing duties owed by debtors-in-possession). Although Seery did not buy the Claims

  at issue, he stood to profit from these sales because his close business allies would do his

  bidding after they had acceded to positions of power and control on the Oversight Board.

  Muck and Jessup were essentially stepping into the shoes of three of the largest

  unsecured creditors who were already slated to serve on the Oversight Board. Thus, by

  acquiring their Claims, all of the Proposed Defendants knew that Muck and Jessup would

  occupy these powerful oversight positions after the Effective Date.

         50.     Thus, the alleged conspiracy was successfully implemented before the

  Effective Date. Farallon and Stonehill now occupy control positions through the shell



  59 The Xtreme case also notes that “several Delaware courts have recognized that ‘directors who are
  corporate employees lack independence because of their substantial interest in retaining their
  employment.” 563 B.R. at 633-34. Because Muck and Jessup are now in control of Seery’s compensation, it
  follows that Seery is beholden to them, and Seery’s disclosure of inside information to Stonehill and
  Farallon confirms his conflict of interest.



                                                   [26]
                                                                                             App. 2761
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  entities (Muck and Jessup) overseeing large compensation packages for Seery. Of course,

  this control (and the opportunity to control) presented a patent conflict of interest which

  Seery should have avoided, but instead knowingly created, fostered, and encouraged.

  HMIT alleges that Seery breached his duty to avoid this conflict or otherwise disclose this

  conflict and Farallon and Stonehill aided and abetted this breach.

              51.   The Original Debtor, as an investment adviser registered with the SEC, is

  also required to make public disclosures on its Form ADV, the uniform registration form

  for investment advisers required by the SEC. These Form ADV disclosures, which were

  in effect at the time of the insider trades at issue, explicitly forbade “any access person

  from trading either personally or on behalf of others . . . on material non-public

  information or communicating material non-public information to others in violation of

  the law or duty owed to another party.”60 It now appears these representations were false

  when made. Seery’s alleged conduct also violated, at minimum, the duties Seery owed in

  his various capacities with the Original Debtor under the Form ADV disclosures.

              52.   Although initially strangers to the original bankruptcy, by accepting and

  using inside information, Farallon and Stonehill became “temporary insiders” and thus

  owed separate duties to the Estate. See S.E.C. v. Cuban, 620 F.3d 551 (5th Cir. 2010) (“[E]ven




  60   See, e.g.,
  https://files.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRSN_ID=77
  7026.



                                                [27]
                                                                                     App. 2762
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  an individual who does not qualify as a traditional insider may become a ‘temporary

  insider’ if by entering ‘into a special confidential relationship in the conduct of the

  business of the enterprise [they] are given access to information solely for corporate

  purposes.” In re Washington Mut., Inc., 461 B.R. 200 (Bankr. D. Del. 2011), vacated in

  part, 08-12229 MFW, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (finding that equity

  committee stated colorable claim for equitable disallowance against creditors who

  “became temporary insiders of the Debtors when the Debtors gave them confidential

  information and allowed them to participate in negotiations with JPMC for the shared

  goal of reaching a settlement that would form the basis of a consensual plan of

  reorganization”; vacated in part as a condition of settlement only); 61 See also, In re Smith,

  415 B.R. 222, 232-33 (Bankr. N.D. Tex. 2009) (“[a]n insider is an entity or person with ‘a

  sufficiently close relationship with the debtor that his conduct is made subject to closer

  scrutiny than those dealing at arm’s length with the debtor.’ ‘Thus, the term “insider” is

  viewed to encompass two classes: (1) per se insiders as listed in the Code and (2) extra-

  statutory insiders that do not deal at arm’s length.’” (citations omitted)). Farallon,

  Stonehill, Muck, and Jessup clearly fall into this latter category.



  61Although the Washington Mutual case was subsequently vacated, the Court’s intellectual reasoning
  remains valid because the vacatur was mandated by a mediated settlement, not because the court’s logic
  was flawed or changed, and the court expressly noted that the parties’ settlement was conditioned on
  vacatur. See In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24,
  2012) (“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that
  “absent the requested vacatur, the collapse of the Plan could result in the termination of the Global
  Settlement Agreement.” (emphasis added)).



                                                       [28]
                                                                                                     App. 2763
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         53.    Because Farallon and Stonehill (acting through Muck and Jessup) now hold

  the majority of the seats on the Oversight Board, they, along with Seery, exercise control

  of the reorganization proceedings. At no time were Farallon, Stonehill, or Seery’s plans

  disclosed to the other creditors or equity. In fact, the only inference that can be reasonably

  drawn is that Farallon and Stonehill brazenly sought to conceal their involvement by

  establishing shell entities—Muck and Jessup—to nominally hold the Claims and create

  an opaque barrier to any effort to identify the “Oz behind the curtain.” Such conduct aligns

  precisely with the inequitable conduct detailed in Citicorp and Adelphia (discussed below).

         54.    In sum, the proposed Adversary Proceeding sets forth plausible allegations

  that Stonehill and Farallon were aware of Seery’s fiduciary duties. Indeed, as registered

  investment advisors, both Farallon and Stonehill were acutely aware of Seery’s fiduciary

  obligations, including, without limitation, the duty to act in the best interests of the

  Original Debtor’s Estate and the duty not to engage in insider trading that would benefit

  Seery, as an insider, and themselves, as non-statutory insiders. By accepting and then

  acting on material non-public information, Farallon and Stonehill (as well as Muck and

  Jessup) aided and abetted breaches of these fiduciary duties. By placing themselves in

  positions to control Seery’s compensation, Farallon and Stonehill (acting through Muck

  and Jessup) induced, encouraged, aided and abetted Seery’s self-dealing.




                                               [29]
                                                                                     App. 2764
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             D. Equitable Disallowance is an Appropriate Remedy

             55.     HMIT also seeks equitable disallowance. Although the Fifth Circuit in

  Matter of Mobile Steel Co. generally limited the court’s equitable powers to subordination

  rather than disallowance, 62 the Fifth Circuit did not foreclose the viability of equitable

  disallowance as a potential remedy. See 563 F.2d 692, 699 n. 10 (5th Cir. 1977). Binding U.S.

  Supreme Court precedent in Pepper v. Litton also permits bankruptcy courts to fashion

  disallowance remedies. 308 U.S. 295, 304-11 (1939). Bankruptcy Code § 510, which

  supplies the authority for equitable subordination, was “intended to codify case law, such

  as Pepper v. Litton . . . and is not intended to limit the court’s power in any way…. Nor does [it]

  preclude a bankruptcy court from completely disallowing a claim in appropriate circumstances.”

  In re Adelphia Commun. Corp., 365 B.R. 24, 71-72 (Bankr. S.D.N.Y. 2007), aff'd in part sub

  nom. Adelphia Recovery Tr. v. Bank of Am., N.A., 390 B.R. 64 (S.D.N.Y. 2008), adhered to on

  reconsideration, 05 CIV. 9050 (LMM), 2008 WL 1959542 (S.D.N.Y. May 5, 2008) (emphasis

  and omissions in original). 63

             56.     The Fifth Circuit’s decision in Mobile Steel also was premised on the notion

  that disallowance would not add to the quiver of defenses to fight unfairness because




  62   Equitable subordination is an inadequate remedy in this instance.
  63In Washington Mutual, the Court’s intellectual reasoning when imposing disallowance is instructive. See
  In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24, 2012)
  (“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that “absent
  the requested vacatur, the collapse of the Plan could result in the termination of the Global Settlement
  Agreement.” (emphasis added)).



                                                        [30]
                                                                                                       App. 2765
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  creditors “are fully protected by subordination” and “[i]f the misconduct directed against

  the bankrupt is so extreme that disallowance might appear to be warranted, then surely

  the claim is either invalid or the bankrupt possesses a clear defense against it.” Mobile

  Steel, 563 F.2d at 699 n. 10 (emphasis added). Importantly, however, the factual scenarios

  considered in Mobile Steel do not exist here.

         57.    Here, Muck and Jessup purchased both Class 8 and Class 9 Claims, and

  they now effectively occupy more than 90% of the entire field of unsecured creditors in

  these two claimant tiers. Thus, subordination cannot effectively address the current facts

  where the Original Debtor’s CEO and CRO conspired directly with close business allies

  who acquired the largest unsecured claims to the detriment of other innocent creditors

  and former equity. The reasoning in published cases from other circuits supports this

  conclusion. See Adelphia, 365 B.R. at 71-73; Citicorp Venture Capital, Ltd. v. Comm. of

  Creditors Holding Unsecured Claims, 160 F.3d 982, 991 n. 7 (3d Cir. 1998).

         58.    The purpose of equitable subordination is to assure that the wrongdoer

  does not profit from bad conduct. In the typical case, subordination to other creditors will

  achieve this deterrence. But, it is clear that the Third Circuit’s decision in Citicorp was

  structured to use subordination as just one tool in a larger tool box to make sure “at a

  minimum, the remedy here should deprive – [the fiduciary] of its profit on the purchase

  of the notes.” Id at 991. In Adelphia, the Southern District of New York also used equitable




                                              [31]
                                                                                    App. 2766
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  subordination as a remedy to address wrongs of non-insiders who aided and abetted

  breaches a fiduciary duty by the debtor’s management. 365 B.R. at 32.

         59.    But subordination cannot adequately address the wrongful conduct at

  issue. This is because subordination is typically limited to instances where one creditor is

  subordinated to other creditors, not equity. Here, for all practical purposes, there are only

  a few other unsecured creditors with relatively small stakes. Therefore, subordination as

  a weapon of deterrence is neutered.

         60.    In sum, by engaging in the alleged wrongful acts, including aiding and

  abetting Seery’s breaches of fiduciary duty, Farallon, Stonehill, Muck, and Jessup should

  not be rewarded. The Proposed Defendants engaged in alleged conduct which damaged

  the Original Debtor’s estate, including improper agreements to compensate Seery under

  the terms of the CTA. Equitable disallowance is an appropriate remedy which, when

  combined with disgorgement of all ill-gotten profits, will deprive the Proposed

  Defendants of their ill-gotten gains.

         E. Disgorgement and Unjust Enrichment

         61.    The law is clear that disgorgement is an available remedy for breach of

  fiduciary duty both under Texas Law, see Kinzbach Tool Co. v. Corbett-Wallace Corporation,

  160 S.W. 2d 509 (Tex. 1942), and under Delaware law, see Metro Storage International, LLC

  v. Harron, 275 A.3d 810 (Del. Ch. 2022). Disgorgement is also an appropriate remedy for

  unjust enrichment under Texas law, Hunter v. Shell Oil Co., 198 F.2d 485 (5th Cir. 1952),



                                              [32]
                                                                                    App. 2767
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  and under Delaware law, In re Tyson Foods, Inc. Consolidated Shareholder Litigation, 919

  A.2d 563 (Del. Ch. 2007). 64

          62.     Likewise, the imposition of a constructive trust is proper for addressing

  unjust enrichment under both Delaware and Texas law, see Teacher’s Retirement System of

  Louisiana v. Aidinoff, 900 A.2d 654 (Del. Ch. 2006) and Hsin-Chi-Su v. Vantage Drilling

  Company, 474 S.W. 3d 384 (Tex. App. – 14th Dist. 2015), pet. denied. The elements of unjust

  enrichment are: (1) the defendant must have gained a benefit (2) at the expense of

  plaintiff, (3) and retention of that benefit must be shown to be unjust. See Restatement

  (Third) of Restitution and Unjust Enrichment §321, cmt. e (2011).

          63.     Here, the imposition of a constructive trust and disgorgement are clearly

  appropriate to provide redress for the alleged breaches of fiduciary duty and the knowing

  participation in (or aiding and abetting) those breaches. Furthermore, the imposition of a

  constructive trust and disgorgement are appropriate to disgorge the improper benefits

  that all of the Proposed Defendants received by virtue of collusion and insider trading.

          64.     As set forth in the proposed Adversary Proceeding, Seery gained the

  opportunity to have his compensation demands rubber stamped. The other Defendants

  gained the opportunity to purchase valuable claims at a discount knowing that




  64It is likely that the Internal Affairs Doctrine will dictate that Delaware choice of law governs the breach
  of fiduciary duty claims.



                                                      [33]
                                                                                                   App. 2768
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  pessimistic financial projections were false and that the upside investment potential was

  great. Retention of the benefits they received would be unjust and inequitable.

         65.    Clearly, the Debtor’s Estate was damaged by virtue of the claimed conduct.

  Seery obtained profits and compensation to the detriment of that estate as well as the

  estate of the Reorganized Debtor, other innocent creditors and HMIT, as former equity

  and as a contingent Claimant Trust Beneficiary.

         F. Declaratory Relief

         66.    HMIT also seeks declaratory relief pursuant to Fed. R. Bank P. 7001(9).

  Specifically, HMIT seeks a declaratory judgment that: (a) there is a ripe controversy

  concerning HMIT’s rights and entitlements under the Claimant Trust Agreement; (b) as

  a general matter, HMIT has standing to bring an action against a trustee even if its interest

  is considered “contingent;” (c) HMIT’s status as a Claimant Trust Beneficiary is fully

  vested upon disgorgement of the ill-gotten profits of Muck and Jessup, and by extension,

  Farallon and Stonehill; (d) HMIT’s status as a Claimant Trust Beneficiary is fully vested

  upon the equitable disallowance of the Claims held by Muck and Jessup over and above

  their initial investments; (e) Seery is properly estopped from asserting that HMIT is not

  an appropriate party to bring this derivative action on behalf of the Reorganized Debtor

  and/or the Claimant Trust because of fraudulent conduct, bad faith, willful misconduct,

  and unclean hands; (f) Muck and Jessup are properly estopped from asserting that HMIT

  is not an appropriate party to bring this derivative action on behalf of the Reorganized



                                              [34]
                                                                                    App. 2769
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  Debtor and the Claimant Trust because of their fraudulent conduct, bad faith, willful

  misconduct, and unclean hands; and (g) all of the Proposed Defendants are estopped

  from asserting that HMIT does not have standing in its individual capacity due to their

  fraudulent conduct, bad faith, willful misconduct, and unclean hands.

         G. HMIT has Direct Standing.

         67.    The Texas Supreme Court recently held that “a partner or other stakeholder

  in a business organization has constitutional standing to sue for an alleged loss in the

  value of its interest in the organization.” Pike v. Texas EMC Mgt., LLC, 610 S.W.3d 763, 778

  (Tex. 2020). In so holding, the Court considered federal law and found that the traditional

  “incantation that a shareholder may not sue for the corporation’s injury” is really a

  question of capacity, which goes to the merits of a claim, rather than an issue of standing

  that would impact subject matter jurisdiction. Id. at 777 (noting that the 5th Circuit and

  “[o]ther federal circuits agree that a plaintiff has standing to sue for the lost value of its

  investment in a corporation”). Because Seery, Muck, Jessup, Stonehill, Farallon’s alleged

  actions devalued HMIT’s interest in the Debtor’s Estate, including, without limitation,

  payment of excessive compensation to Seery, HMIT has standing to pursue its common

  law claims directly. HMIT also has direct standing to seek declaratory relief as set forth

  in the proposed Adversary Proceeding.




                                               [35]
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                                        VII.     Prayer

        WHEREFORE, PREMISES CONSIDERED, Hunter Mountain Investment Trust

  respectfully requests this Court grant HMIT leave authorizing it to file the Adversary

  Complaint, attached as Exhibit 1, as an Adversary Proceeding in this United States

  Bankruptcy Court for the Northern District of Texas, in its own name and as a derivative

  action on behalf of the Debtor Highland Capital Management, L.P., against Muck

  Holdings, LLC, Jessup Holdings, LLC, Farallon Capital Management, LLC, Stonehill

  Capital Management, LLC, James P. Seery, Jr., and John Doe Defendants Nos. 1 – 10, and

  further grant HMIT all such other and further relief to which HMIT may be justly entitled.

  Dated: March 28, 2023

                                                  Respectfully Submitted,
                                                  PARSONS MCENTIRE MCCLEARY
                                                  PLLC

                                                  By: /s/ Sawnie A. McEntire
                                                      Sawnie A. McEntire
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                                                      Houston, Texas 77056


                                               [36]
                                                                                     App. 2771
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                                                      Telephone: (713) 960-7315
                                                      Facsimile: (713) 960-7347

                                                      Attorneys for Hunter Mountain
                                                      Investment Trust

                             CERTIFICATE OF CONFERENCE

          Beginning on March 24, 2023, and also on March 27, 2023, the undersigned counsel
  conferred either by telephone or via email with all counsel for all Respondents regarding
  the relief requested in the foregoing Motion, including John A. Morris on behalf of James
  P. Seery, and Brent McIlwain on behalf of Muck Holdings LLC, Jessup Holdings LLC,
  Stonehill Capital Management, and Farallon Capital Management. Mr. Seery is opposed
  to this Motion. Based upon all communications with Mr. McIlwain, it is reasonably
  believed his clients are also opposed and we advised him that this recitation would be
  placed in the certificate of conference.



                                                 _/s/ Sawnie A. McEntire
                                                  Sawnie A. McEntire



                                CERTIFICATE OF SERVICE

         I certify that on the 28th day of March 2023, a true and correct copy of the foregoing
  Motion was served on all counsel of record or, as appropriate, on the Respondents
  directly.

                                                 /s/ Sawnie A. McEntire
                                                 Sawnie A. McEntire




                                              [37]
                                                                                    App. 2772
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                          Exhibit 2




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                                      CAUSE NO. DC-21—09534

   IN RE JAMES DONDERO,                                §   IN THE DISTRICT COURT
                                                       §
         Petitioner.                                   §   95th JUDICIAL DISTRICT
                                                       §
                                                       §   DALLAS COUNTY, TEXAS


                             DECLARATION OF JAMES DONDERO

  COUNTY 0F DALLAS               §
                                 §
  STATEOFTEXAS                   §


  Mr. James Dondero provides this unswom declaration under TEXAS CIVIL PRACTICE & REMEDIES

  Cong § 132.001.


     l. My name is James Dondero. I declare under penalty of perjury that I am over the age of 18
  and of sound mind and competent to make this declaration.

      2. Earlier this year I retained investigators to look into certain activities involving the
  respondents in the above-styled case and the related bankruptcy proceedings. Last year, I called
  F arallon’s Michael Lin about purchasing their claims in the bankruptcy. I offered them 30% more
  than what they paid. I was told by Michael Lin of F arallon that they purchased the interests without
  doing any due diligence other than what Mr. James Seery—the CEO of Highland—told them, and
  that he told them that the interests would be worth far more than what Farallon paid. Given the
  value of those claims that Mr. Seery had testiﬁed in court, it made no sense to me that Mr. Lin
  would think that the claims were worth more than what Mr. Seery testiﬁed under oath was the
  value of the bankruptcy claims.

      3. In addition to my role as equity holder in the Crusader Funds, I have an interest in ensuring
  that the claims purchased by Respondents are not used as a means to deprive the equity holders of
  their share of the funds. It has become obvious that despite the fact that the bankrupt estate has
  enough money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to
  drain the bankrupt estate and deprive equity of their rights.

     4. Accordingly, I commissioned an investigation by counsel who have been in
  communication with the Ofﬁce of the United States Trustee. True and correct copies of the reports,
  which were created in the ordinary course, and their attachments, are attached hereto as Exhibits
  A and B. A true and correct copy of the letter I received from Alverez and Marsal is attached as
  Exhibit C hereto.


  Declaration of James Dondero                                                                 Page l

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    My name is James Dondero, my birthday is on June 29, 1962. My address is 300 Crescent Court,

    Suite 700, Dallas, Texas 75201. I declare under penalty of perjury that the foregoing testimony is
                                           !


    true and correct and is within my personal knowledge.




                                                               ﬂ/z                   _    __




                                                        James Dandero

                                                               Mg}; 31 2022
                                                        Date




   Declaration of James Dondero                                        Page 2


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                                         HELLER, DRAPER & HORN, L.L.C.
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Douglas S. Draper
Direct Dial: (504) 299-3333
E-mail: ddramr@hellerdraper.com                                                                                 EDWARD M. HELLER
                                                                                                                     (1926-2013)




                                                              October 5, 2021



           Mrs. Nan R. Eitel
           Ofﬁce of the General Counsel
           Executive Ofﬁce for U.S. Trustees
           20 Massachusetts Avenue, NW
           8th Floor
           Washington, DC 20530
                      Re:         Highland Capital Management, L.P. — USBC Case N0. 19-34054sgi11
           Dear Nan,

                   The purpose of this letter is to request that your ofﬁce investigate the circumstances
           surrounding the sale of claims by members of the Ofﬁcial Committee of Unsecured Creditors
           (“Creditors’ Committee”) in the bankruptcy of Highland Capital Management, L.P. (“Highland”
           or “Debtor”). As described in detail below, there is sufﬁcient evidence to warrant an immediate
           investigation into whether non-public inside information was furnished to claims purchasers.
           Further, there is reason to suspect that selling Creditors’ Committee members may have violated
           their ﬁduciary duties to the estate by tying themselves to claims sales at a time when they should
           have been considering meaningful offers to resolve the bankruptcy. Indeed, three of four
           Committee members sold their claims without advance disclosure, in violation of applicable
           guidelines from the U.S. Trustee’s Ofﬁce. This letter contains a description of information and
           evidence we have been able to gather, and which we hope your ofﬁce will take seriously.

                     By way of background, Highland, an SEC-registered investment adviser, ﬁled for
           Chapter ll bankruptcy protection in the United States Bankruptcy Court for the District of
           Delaware on October l6, 2019, listing over $550 million in assets and net $110 million in
           liabilities. The case eventually was transferred to the Northern District of Texas, to Judge Stacey
           G. C. Jernigan. Highland’s decision to seek bankruptcy protection primarily was driven by an
           expected net $110 million arbitration award in favor of the “Redeemer Committee. After
           nearly 30 years of successful operations, Highland and its co--founder James Dondero, were
           advised by Debtor’s counsel that a court-approved restructuring of the award in Delaware was in
           Highland’s best interest.

           1
             The “Redeemer Committee” was a group of investors in a Debtor-managed fund called the “Crusader Fund” that
           sought to redeem their interests during the global ﬁnancial crisis. To avoid a run on the fund at low-watermark
           prices, the fund manager temporarily suspended redemptions, which resulted in a dispute between the investors and
           the fund manager. The ultimate resolution involved the formation of the “Redeemer Committee” and an orderly
           liquidation of the fund, which resulted in the investors receiving their investment plus a return versus the 20 cents on
           the dollar they would have received had the fund been liquidated when the redemption requests were made.



                                                                                                                 EXHIBIT
           {00376610-1}
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         I became involved in Highland’s bankruptcy through my representation of The Dugaboy
  Investment Trust (“Dugaboy”), an irrevocable trust of which Mr. Dondero is the primary
  beneﬁciary. Although there were many issues raised by Dugaboy and others in the case Where
  we disagreed with the Court’s rulings, we will address those issues through the appeals process.

          From the outset of the case, the Creditors’ Committee and the U.S. Trustee’s Ofﬁce in
  Dallas pushed to replace the existing management of the Debtor. To avoid a protracted dispute
  and to facilitate the restructuring, on January 9, 2020, Mr. Dondero reached an agreement with
  the Creditors’ Committee to resign as the sole director of the Debtor’s general partner, on the
  condition that he would be replaced by three independent directors who would act as ﬁduciaries
  of the estate and work to restructure Highland’s business so it could continue operating and
  emerge from bankruptcy as a going concern. The agreement approved by the Bankruptcy Court
  allowed Mr. Dondero, UBS (which held one of the largest claims against the estate), and the
  Redeemer Committee each to choose one director and also established protocols for operations
  going forward. Mr. Dondero chose The Honorable Former Judge Russell F. Nelms, UBS chose
  John Dubel, and the Redeemer Committee chose James Seery.         It was expected that the new,
  independent management would not only preserve Highland’s business but would also preserve
            enable continued collaboration with charitable causes supported by Highland and Mr.
  Don ero.
  jobsdand

                    J
          Judge emigan conﬁrmed Highland’s Fifth Amended Plan of Reorganization on February
  22, 2021 (the     “MU.  We have appealed certain aspects of the Plan and will rely upon the Fifth
  Circuit Court of Appeals to determine whether our arguments have merit. I write instead to call
  to your attention the possible disclosure of non-public information by Committee members and
  other insiders and to seek review of actions by Committee members that may have breached their
  ﬁduciary duties—both serious abuses of process.
             1.      The Bankruptcy Proceedings Lacked The Required Transparency, Due In
                     Part To the Debtor’s Failure To File Rule 2015.3 Reports

          Congress, when it drafted the Bankruptcy Code and created the Ofﬁce of the United
  States Trustee, intended to ensure that an impartial party oversaw the enforcement of all rules
  and guidelines in bankruptcy. Since that time, the Executive Ofﬁce for United States Trustees
  (the “EOUST”) has issued guidance and published rules designed to effectuate that purpose. To
  that end, EOUST recently published a ﬁnal rule entitled “Procedures for Completing Uniform
  Periodic Reports in Non-Small Business Cases Filed Under Chapter II of Title II” (the
  “Periodic Reporting Requirements”). The Periodic Reporting Requirements reafﬁrmed the
  EOUST’s commitment to maintaining “uniformity and transparency regarding a debtor’s
  ﬁnancial condition and business activities” and “to inform creditors and other interested parties
  of the debtor’s ﬁnancial affairs.” 85 Fed. Reg. 82906. The goal of the Periodic Reporting
  Requirements is to “assist the court and parties in interest in ascertaining, [among other things],
  the following: (1) Whether there is a substantial or continuing loss to or diminution of the
  bankruptcy estate; . . . (3) whether there exists gross mismanagement of the bankruptcy estate; . .
  . [and] (6) whether the debtor is engaging in the unauthorized disposition of assets through sales

  or otherwise . . . .” Id.

       Transparency has long been an important feature of federal bankruptcy proceedings. The
  EOUST instructs that “Debtors-in-possession and trustees must account for the receipt,
  administration, and disposition of all property; provide information concerning the estate and the
  estate’s administration as parties in interest request, and ﬁle periodic reports and summaries of a
  debtor’s business, including a statement of receipts and disbursements, and such other

  2
      See Appendix, pp. A-3 - A-14.




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  information as the United States Trustee or the United States Bankruptcy Court requires.” See
  http: //iustice. gov/ust/chapter—l1-information (citing 11 U. S. C. § 1106(a)(1), 1107(a)). And
  Federal Rule of Bankruptcy Procedure 2015. 3(a) states that‘ ‘the trustee or debtor1n possession
  shall ﬁle periodic ﬁnancial reports of the value, operations, and proﬁtability of each entity that1s
  not a publicly traded corporation or a debtor in a case under title                  ll,
                                                                              and in which the estate
  holds a substantial or controlling interest.” This rule requires the trustee or a debtor in
  possession to ﬁle a report for each non-debtor afﬁliate prior to the ﬁrst meeting of creditors and
  every six months thereafter until the effective date of a plan of reorganization. Fed R. Bankr. P.
  2015. 3(b). lmportantly, the rule does not absolve a            from ﬁling reports due prior to the
                                                          debtor3
  effective date merely because a plan has become effective.        Notably, the U. S. Trustee has the
  duty to ensure that debtors1n possession properly and timely ﬁle all required reports. 28 U.S.C.
  § 1112(b)(4)(F), (H).

          The entire purpose of these guidelines and rules is to ensure that external stakeholders
  can fairly evaluate the progress of bankruptcy proceedings, including compliance with legal
  requirements.     ln fact, ll U.S.C. § 1102(b)(3) requires a creditors’ committee to share
  information it receives with those who “hold claims of the kind represented by the committee”
  but who are not appointed to the committee. In the case of the Highland bankruptcy, the
  transparency that the EOUST mandates and that creditors’ committees are supposed to facilitate
  has been conspicuously absent.        I have been involved in a number of bankruptcy cases
  representing publicly-traded  debtors  with afﬁliated non-debtor entities, much akin to Highland’s
  structure here. In those cases, when asked by third parties (shareholders or potential claims
  purchasers) for information, I directed them to the schedules, monthly reports, and Rule 2015.3
  reports. In this case, however, no Rule 2015.3 reports were ﬁled, and ﬁnancial information that
  might otherwise be gleaned from the Bankruptcy Court record is unavailable because a large
  number of documents were ﬁled under seal or heavily redacted. As a result, the only means to
  make an informed decision as to whether to purchase creditor claims and what to pay for those
  claims had to be obtained from non-public sources.

          It bears repeating that the Debtor and its related and afﬁliated entities failed to ﬁle any of
  the reports required under Bankruptcy Rule 2015.3. There should have been at least four such
  reports ﬁled on behalf of the Debtor and its afﬁliates during the bankruptcy proceedings. The
  U.S. Trustee’s Ofﬁce in Dallas did nothing to compel compliance with the rule.
           The Debtor’s failure to ﬁle the required Rule 2015.3 reports was brought to the attention
  of the Debtor, the Bankruptcy Court, and the U.S. Trustee’s Ofﬁce. During the hearing on Plan
  conﬁrmation, the Debtor was questioned about the failure to ﬁle the reports. The sole excuse
  offered by the Debtor’s Chief                Ofﬁcer and Chief Executive Ofﬁcer, Mr. Seery, was
  that the task “fell through theRestructuring
                                   cracks. This excuse makes no sense in light of the years of
  bankruptcy experience of the Debtor’s counsel and ﬁnancial advisors. Nor did the Debtor or its
  counsel ever attempt to show “cause” to gain exemption from the reporting requirement. That is
  because there was no good reason for the Debtor’s failure to ﬁle the required reports. In fact,
  although the Debtor and the Creditors’ Committee often refer to the Debtor’s structure as a
  “byzantine empire,” the assets of the estate fall into a handful of discrete investments, most of
  which have audited              and/or are required to make monthly or quarterly net- asset- value
                       ﬁnancialss Rather than
  or fair-value determinations.                   disclose ﬁnancial information that was readily

  3
    After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement “for
  cause,” including that “the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
  reporting requirements, or that the information required by subdivision (a) is publicly available.” Fed. R. Bankr.
  2015.3(d).
  4
    See Doc. 1905 (Feb. 3, 2021 Hr’g Tr. at 49:5-21).
    During a deposition, the Debtor’s Chief Restructuring Ofﬁcer, Mr. Seery, identiﬁed most of the Debtor’s assets
  5


  “[o]ff the top of [his] head” and acknowledged that he had a subsidiary ledger that detailed the assets held by entities



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  available, the Debtor appears to have taken deliberate and strategic steps to avoid transparency,
  and the U.S. Trustee’s Ofﬁce did nothing to rectify the problem.

           By contrast, the Debtor provided the Creditors’ Committee With robust weekly
  information regarding (i) transactions involving assets held directly on the Debtor’s balance
  sheet or the balance sheet of the Debtor’s wholly owned subsidiaries, (ii) transactions involving
  entities managed by the Debtor and in which the Debtor holds a direct or indirect interest, (iii)
  transactions involving entities managed by the Debtor but in which the Debtor does not hold a
  direct or indirect interest, (iv) transactions involving entities not managed by the Debtor but in
  which the Debtor holds a direct or indirect interest, (v) transactions involving entities not
  managed by the Debtor and in which the Debtor does not hold a direct or indirect interest, (vi)
  transactions involving non-discretionary accounts, and (vii) weekly budget-to-actuals reports
  referencing non-Debtor afﬁliates’ 13-week cash ﬂow budget. In other words, the Committee had
  real-time, actual information with respect to the ﬁnancial affairs of non-debtor afﬁliates, and this
  is precisely the type of information that should have been disclosed to the public pursuant to
  Rule 2015.3.

          After the claims at issue were sold, I ﬁled a Motion to Compel compliance with the
  reporting requirement. Judge Jemigan held a hearing on the motion on June 10, 2021.
  Astoundingly, the U.S. Trustee’s Ofﬁce took no position on the Motion and did not even bother
  to attend the hearing. Ultimately, on September 7, 2021, the Court denied the Motion as “moot”
  because the Plan had by then gone effective. I have appealed that ruling because, again, the Plan
  becoming effective does not alleviate the Debtor’s burden of ﬁling the requisite reports.
          The U.S. Trustee’s Ofﬁce also failed to object to the Court’s order conﬁrming the
  Debtor’s Plan, in which the Court appears to have released the Debtor from its obligation to ﬁle
  any reports after the effective date of the Plan that were due for any period prior to the effective
  date, an order that likewise defeats any effort to demand transparency from the Debtor. The U.S.
  Trustee’s failure to object to this portion of the Court’s order is directly at odds with the spirit
  and mandate of the Periodic Reporting Requirements, which recognize the U.S. Trustee’s duty to
  ensure that debtors timely ﬁle all required reports.

           2.     There Was N0 Transparency Regarding The Financial Affairs Of Non-
                  Debtor Afﬁliates Or Transactions Between The Debtor And Its Afﬁliates

          The Debtor’s failure to ﬁle Rule 2015.3 reports for afﬁliate entities created additional
  transparency problems for interested parties and creditors wishing to evaluate assets held in non-
  Debtor subsidiaries. In making an investment decision, it would be important to know if the
  assets of a subsidiary consisted of cash, marketable securities, other liquid assets, or operating
  businesses/other illiquid assets. The Debtor’s failure to ﬁle Rule 2015.3 reports hid from public
  View the composition of the assets and the corresponding liabilities at the subsidiary level.
  During the course of proceedings, the Debtor sold $172 million in assets, which altered the asset
  mix and liabilities of the Debtor’s afﬁliates and controlled entities. Although Judge Jemigan
  held that such sales did not require Court approval, a Rule 2015.3 report would have revealed the
  mix of assets and the corresponding reduction in liabilities of the afﬁliated or controlled entity.
  In the Appendix, I have included a schedule of such sales.

         Of particular note, the Court authorized the Debtor to place assets that it acquired with
  “allowed claim dollars” from HarbourVest (a creditor with a contested claim against the estate)
  into a specially-created non-debtor entity (“SPE”).6     The Debtor’s motion to settle the

  below the Debtor. See Appendix, p. A-19 (J an. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29: 10).
  6
    Prior to Highland’s banld'uptcy, HarbourVest had invested $80 million into a Highland fund called Acis Loan
  Funding, later rebranded as Highland CLO Funding, Ltd. (“HCLOF”). A dispute later arose between HarbourVest




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  HarbourVest claim valued the asset acquired (HarbourVest’s interest in HCLOF) at $22 million.
  In reality, that asset had a value of $40 million, and had the asset been placed in the Debtor
  entity, its true value would have been reﬂected in the Debtor’s subsequent reporting. By instead
  placing the asset into an SPE, the Debtor hid from public view the true value of the asset as well
  as information relating to its disposition; all the public saw was the ﬁled valuation of the asset.
  The U. S. Trustee did not object to the Debtor’s placement of the HarbourVest assets into an SPE
  and apparently just deferred to the judgment of the Creditors’ Committee about whether this was
                7
  appropriate.     Again, when the U. S. Trustee’s Ofﬁce does not require transparency, lack of
  transparency signiﬁcantly increases the need for non--public information.            Because the
  HarbourVest assets were placed in a non-reporting entity, no potential claims buyer without
  insider information could possibly ascertain how the acquisition would impact the estate.

           3.      The Plan’s Improper Releases And Exculpation Provisions Destroyed Third-
                   Party Rights
          In addition, the Debtor’s Plan contains sweeping release, exculpation provisions, and a
  channeling injunction requiring that any permitted causes of action to be vetted and resolved by
  the Bankruptcy Court. On their face, these provisions violate Paciﬁc Lumber, in with the United
  States Court of Appeals for the Fifth Circuit rejected similarly broad exculpation clauses. The
  U.S. Trustee’s Office in Dallas has, in all cases but this one, vigorously protected the rights of
  third parties against such exculpation clauses. In this case, the U. S. Trustee’s Ofﬁce objected to
  the Plan, but it did not pursue that             at the conﬁrmation hearing (nor even bother to
  attend the ﬁrst day of the hearing),8 objection
                                            nor did it appeal the order of the Bankruptcy Court
  approving the Plan and its exculpation clauses.
          As a result of this failure, third-party investors in entities managed by the Debtor are now
  barred from asserting or channeled into the Bankruptcy Court to assert any claim against the
  Debtor or its management for transactions that occurred at the non-debtor afﬁliate level. Those
  investors’ claims are barred notwithstanding that they were not notiﬁed of the releases and have
  never been given any information with which to evaluate their potential claims, nor given the
  opportunity to “opt out.” Conversely, the releases insulate claims purchasers from the risk of
  potential actions by investors in funds managed by the Debtor (for breach of ﬁduciary duty,
  diminution in value, or otherwise). These releases are directly at odds with investors’
  expectations when they invest in managed fundsii.e., that fund managers will act in a ﬁduciary
  capacity to maximize investors’ returns and that investors will have recourse for any failure to do
  so. While the agreements executed by investors may limit the exposure of fund managers,
  typically those provisions require the fund manager to obtain a third-party fairness opinion where
  there is a conﬂict between the manager’s duty to the estate and his duty to fund investors.

         As an example, the Court approved the settlement of UBS’s claim against the Debtor and
  two ﬁmds managed by the Debtor (collectively referred to as “MultiStrat”). Pursuant to that
  settlement, MultiStrat agreed to pay UBS $18.5 million and                that it was advised by
                      counsel”                    of            represented
                                                         settlement. That
  “independent legal           1n the negotiation    the                  representation is untrue;

  and Highland, and HarbourVest ﬁled claims in the Highland bankruptcy approximating $300 million in relation to
  damages allegedly due to HarbourVest as a result of that dispute. Although the Debtor initially placed no value on
  HarbourVest’s claim (the Debtor’s monthly operating report for December 2020 indicated that HarbourVest’s
  allowed claims would be $0), eventually the Debtor entered into a settlement with HarbourVestiapproved by the
  Bankruptcy Courtiwhich entitled HarbourVest to $80 million in claims. In return, HarbourVest agreed to convey
  its interest in HCLOF to the SPE designated by the Debtor and to vote in favor of the Debtor’s Plan.
    Dugaboy has appealed the Bankruptcy Court’s ruling approving the placement of the HarbourVest assets into a
  7


  non-reporting SPE.
  8See Doc. 1894 (Feb. 2, 2021 Hr’g Tr. at 10:7-14).
  9
    See Doc. 2389 (Order Approving Debtor’s Settlement With UBS Securities LLC and UBS AG London Branch) at




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  MultiStrat did not have separ_ate legal counsel and instead was represented only by the Debtor’s
  counsel“) If that representation and/or the terms of the UBS/MultiStrat settlement1n some way
  unfairly impacted MultiStrat’s investors, they now have no recourse against the Debtor. The
  release and exculpation provisions in Highland’s Plan do not afford third parties any meaningful
  recourse to third parties, even when they are negatively impacted by misrepresentations of the
  type contained in the UBS/MultiStrat settlement or when their interests are impaired by fund
  managers’ failure to obtain fairness opinions to resolve conﬂicts of interest.
          The U.S. Trustee’s Ofﬁce recently has argued in the context of the bankruptcy of Purdue
  Pharmaceuticals that release and exculpations clauses akin to those contained in Highland’s Plan
  violate both the Bankruptcy Code and the Due Process Clause of the United States
  Constitution.“ It has been the U.S. Trustee’s position that where, as here, third parties whose
  claims are being released did not receive notice of the releases and had no way of knowing,
  based on the Plan’s language, what claims were extinguished, third--party releases are contrary to
  law. This position comports with Fifth Circuit case law, which makes clear that releases must
  be consensual, and that the released party must make a substantial contribution1n exchange for
  any release.      Highland’s Plan does not provide for consent by third parties (or an opt-out
  provision), nor does it require that released parties provide value for their releases. Under these
  circumstances, it is difﬁcult to understand why the U.S. Trustee’s Ofﬁce in Dallas did not lodge
  an objection to the Plan’s release and exculpation provisions. Several parties have appealed this
  issue to the Fifth Circuit.

           4.      The Lack 0f Transparency Facilitated Potential Insider Trading
           The biggest problem with the lack of transparency at every step is that it created a need
  for access to non-public conﬁdential information. The Debtor (as well as its advisors and
  professionals) and the Creditors’ Committee (and its counsel) were the only parties with access
  to critical information upon which any reasonable investor would rely. But the public did not.

          In the context of this non-transparency, it is notable that three of the four members of the
  Creditors’ Committee and one non-committee member sold their claims to two buyers, Muck
  Holdings LLC (“M—uck’ ’) and Jessup Holdings LLC               (J
                                                             essup         ).
                                                                        The four claims that were sold
  comprise the largest four claims in the Highland bankruptcy by a substantial mar in,13
  collectively totaling almost $270 million1n Class 8 claims and $95 million1n Class 9 claims4
    Claimant                         Class 8 Claim              Class 9 Claims             Date Claim Settled
    Redeemer Committee               $136,696,610               N/A                        October 28, 2020
    Acis Capital                     $23,000,000                N/A                        October 28, 2020
    HarbourVest                      $45,000,000                $35,000,000                January 21, 2021
    UBS                              $65,000,000                $60,000,000                Mav 27, 2021
    TOTAL:                           $269,6969,610              $95,000,000
         Muck is owned and controlled by Farallon Capital Management (“Farallon”), and we
  have reason to believe that Jessup is owned and controlled by Stonehill Capital Management
  (“Stonehill”). As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon)

  Ex. 1, §§ 1(b), 11; see Appendix, p. A-57.
  1°
     The Court’s order approving the UBS settlement is under appeal in part based on MultiStrat’s lack of independent
  legal counsel.
  11
     See Memorandum of Law in Support of United States Trustee’s Expedited Motion for Stay of Conﬁrmation
  Order, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Banld. S.D.N.Y.), Doc. 3778 at 17-25.
  12
     See id. at 22.
  13
     See Appendix, p. A-25.
  14
     Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.




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       J
  and essup (Stonehill) will oversee the liquidation of the Reorganized Debtor and the payment
  over time to creditors who have not sold their claims.

          This is concerning because there is substantial evidence that Farallon and Stonehill may
  have been provided material, non-public information to induce their purchase of these claims.”
  In particular, there are three primary reasons we believe that non-public information was made
  available to facilitate these claims purchases:

           o        The scant publicly-available information regarding the Debtor’s estate ordinarily
                    would have dissuaded sizeable investment in purchases of creditors’ claims;

           o        The information that actually was publicly available ordinarily would have
                    compelled a prudent investor to conduct robust due diligence prior to purchasing
                    the claims;

           o        Yet these claims purchasers spent in excess of $100 million (and likely closer to
                    $150 million) on claims, ostensibly without any idea of what they were
                    purchasing.
           We believe the claims purchases of Stonehill and Farallon can be summarized as follows:

       Creditor             Class 8         Class 9         Purchaser                      Purchase Price
       Redeemer             $137.0         $0.0             Stonehill                     $78.01”
       ACIS                 $23.0          $0.0             Farallon                      $8.0
       HarbourVest          $45.0          $35.0            Farallon                      $27.0
       UBS                  $65.0          $60.0            Stonehill and Farallon        $50.0“


         To elaborate on our reasons for suspicion, an analysis of publicly-available information
  would have revealed to any potential investor that:

           o        There was a $200 million dissipation in the estate’s asset value, which started at a
                    scheduled amount of $556 million on October 16, 2019, then plummeted to $328
                    million as of September 30, 2020, and then increased only slightly to $3 64 million
                    as ofJanuary 31, 2021.18


  15
     A timeline of relevant events can be found at Appendix, p. A-26.
  16
     See Appendix, pp. A-70 — A-71. Because the transaction included “the majority of the remaining investments held
  by the Crusader Funds,” the net amount paid by Stonehill for the Claims was approximately $65 million.
  17
     Based on the publicly-available information at the time Stonehill and Farallon purchased the UBS claim, the
  purchase made no economic sense. At the time, the publicly-disclosed Plan Analysis estimated that there would be
  a 71.32% distribution to Class 8 creditors and a 0.00% distribution to Class 9 creditors, which would mean that
  Stonehill and Farallon paid $50 million for claims worth only $46.4 million. See Appendix, p. A-28. If, however,
  Stonehill and Farallon had access to information that only came to light later»i.e., that the estate was actually worth
  much, much more (between $472-600 million as opposed to $364 million)vthen it makes sense that they would pay
  what they did to buy the UBS claim.
  18
     Compare Jan. 31, 2021 Monthly Operating Report [Doc. 2030], with Disclosure Statement (approved on Nov. 24,
  2020) [Doc. 1473]. The increase in value between September 2020 and January 2021 is attributable to the Debtor’s
  settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9 Claim of $35
  million, and in exchange the Debtor received HarbourVest’s interest in HCLOF, which we believe was worth
  approximately $44.3 million as of January 31, 2021. See Appendix, p. A-25. It is also notable that the January 2021




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                   The total amount of allowed claims against the estate increased by $236 million;
                   indeed, just between the time the Debtor’s disclosure statement was approved on
                   November 24, 2020, and the time the Debtor’s exhibits were introduced at the
                   conﬁrmation hearing, the amount of allowed claims increased by $100 million.

                   Due to the decrease in the value of the Debtor’s assets and the increase in the
                   allowed claims amount, the ultimate projected recovery for creditors in
                   bankruptcy went from 87.44% to 62.99% in just a matter of months.”
  No prudent investor or hedge fund investing third-party money would purchase substantial
  claims out of the Highland estate based on this publicly-available information without
  conducting thorough due diligence to be satisﬁed that the assets of the estate would not continue
  to deteriorate or that the allowed claims against the estate would not continue to grow.

          There are other good reasons to investigate whether Muck and Jessup (through Farallon
  and Stonehill) had access to material, non-public information that inﬂuenced their claims
  purchasing. In particular, there are close relationships between the claims purchasers, on the one
  hand, and the selling Creditors’ Committee members and the Debtor’s management, on the other
  hand. What follows is our understanding of those relationships:

                   Farallon and Stonehill have long-standing, material, undisclosed relationships
                   with the members of the Creditors’ Committee and Mr. Seery.2° Mr. Seery
                   formerly was the Global Head of Fixed Income Loans at Lehman Bros. until its
                   collapse in 2009. While at Lehman, Mr. Seery did a substantial amount of
                   business with Farallon. After the Lehman collapse, Mr. Seery joined Sidley &
                   Austin as co-head of the corporate restructuring and bankruptcy group, where he
                   worked with Matt Clemente, counsel to the Creditors’ Committee in these
                   bankruptcy proceedings.

                   In addition, Grovesnor, one of the lead investors in the Crusader Fund from the
                   Redeemer Committee (which appointed Seery as its independent director) both
                   played a substantial role on the Creditors’ Committee and is a large investor in
                   Farallon and Stonehill.

                   According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr.
                   Seery represented Farallon in its acquisition of claims in the Lehman estate.

                   Also while at Sidley, Mr. Seery represented the Steering Committee in the
                   Blockbuster Video bankruptcy; Stonehill (through its Managing Member, John
                   Motulsky) was one of the ﬁve members of the Steering Committee.

                   Mr. Seery left Sidley in 2013 to become the President and Senior Investment
                   Partner of River Birch Capital, a hedge fund founded by his former Lehman
                   colleagues. He left River Birch in October 2017 just before the fund imploded.
                   In 2017, River Birch and Stonehill Capital were two of the biggest note holders in
                   the Toys R Us bankruptcy and were members of the Toys R Us creditors’


  monthly ﬁnancial report values Class 8 claims at $267 million, an exponential increase over their estimated value of
  $74 million in December 2020.
  19 See Appendix, pp. A-25, A-28.
  2°
     See Appendix, pp. A-2; A-62 — A-69.




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                      committee.

  It does not seem a coincidence that two ﬁrms with such signiﬁcant ties to Mr. Seery have
  purchased $365 million in claims. The nature of the relationships and the absence of public data
  warrants an investigation into whether the claims purchasers may have had access to non-public
  information.

          Other transactions occurring during the Highland bankruptcy also reinforce the suspicion
  that insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill,
  used non-public information obtained incident to the bankruptcy to purchase stock in NexPoint
  Strategic Opportunities Fund (NYSE: NHF), a publicly traded, closed-end ’40 Act fund with
  many holdings in common with assets held in the Highland estate outlined above. Stonehill is a
  registered investment adviser with $3 billion under management that has historically owned very
  few equity interests, particularly equity interests in a closed- end fund. As disclosed in SEC
  ﬁlings, Stonehill acquired enough stock1n NHF during the second quarter of 2021 to make it
  Stonehill’ s eighth largest equity position.

          The timing of the acquisitions of claims by Farallon and Stonehill also warrants
  investigation. ln particular, although notices of the transfer of the claims were ﬁled immediately
  after the conﬁrmation of the Debtor’s Plan and prior to the effective date of the Plan, it seems
  likely that negotiations began much earlier. Transactions of this magnitude do not take place
  overnight and typically require robust due diligence. We know, for example, that Muck was
  formed on March 9, 2021, more than a month before it ﬁled notice that it was purchasing the
  Acis claim. If the negotiation or execution of a deﬁnitive agreement for the purchase began
  before or contemporaneously with Muck’s formation, then there is every reason to investigate
  whether selling Creditors’ Committee members and/or Debtor management provided Farallon
  with critical non-public information well before the Creditors’ Committee members sold their
  claims and withdrew from the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others
  that they purchased the Acis and HarbourVest claims in late January or early February. We
  believe an investigation will reveal whether negotiations of the sale and the purchase of claims
  from Creditors’ Committee members preceded the conﬁrmation of the Debtor’s Plan and the
  resignation of those members from the Committee.

          Likewise, correspondence from the fund adviser to the Crusader Fund indicates that the
  Crusader Fund and the Redeemer Committee had‘ ‘consummated” the sale of the Redeemer
  Committee’ s claims and other assets on       30, 2021, “for $78 million1n cash, which was paid
                                          April We
  in full to the Crusader Funds at closing.’        also know that there was a written agreement
  among Stonehill, the Crusader Fund, and the Redeemer Committee that potentially dates back to
  the fourth quarter of 2020. Presumably such an agreement, if it existed, would impose
  afﬁrmative and negative covenants upon the seller and grant the purchaser discretionary approval
  rights during the pendency of the sale. An investigation by your ofﬁce is necessary to determine
  whether there were any such agreement, which would necessarily conﬂict with the Creditors’
  Committee members’ ﬁduciary obligations.

          The sale of the claims by the members of the Creditors’ Committee also violates the
  guidelines provided to committee members that require a selling committee member to obtain
  approval from the Bankruptcy Court prior to any sale of such member’s claim. The instructions
  provided by the U.S. Trustee’s Ofﬁce (in this instance the Delaware Ofﬁce) state:




  21
       See Appendix, pp. A-70 — A-7 l.




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           In the event you are appointed to an ofﬁcial committee of creditors, the United States Trustee may require
   periodic certiﬁcations of your claims while the bankruptcy case is pending. Creditors wishing to serve as
   ﬁduciaries on any ofﬁcial committee are advised that they may not purchase, sell or otherwise trade in or transfer
   claims against the Debtor while they are committee members absent an order of the Court. By submitting the
   enclosed Questionnaire and accepting membership on an ofﬁcial committee of creditors, you agree to this
   prohibition. The United States Trustee reserves the right to take appropriate action, including removing a
   creditor from any committee, if the information provided in the Questionnaire is inaccurate, if the foregoing
   prohibition is violated, or for any other reason the United States Trustee believes is proper in the exercise of her
   discretion. You are hereby notiﬁed that the United States Trustee may share this information with the Securities
   and Exchange Commission if deemed appropriate.

  In this case, no Court approval was ever sought or obtained, and the Dallas U.S. Trustee’s Ofﬁce
  took no action to enforce this guideline. The Creditors’ Committee members were sophisticated
  entities, and they were privy to inside information that was not available to other unsecured
  creditors. For example, valuations of assets placed into a specially-created afﬁliated entities,
  such as the assets acquired in the HarbourVest settlement, and valuations of assets held by other
  entities owned or controlled by the Debtor, were available to the selling Creditors’ Committee
  members, but not other creditors or parties-in-interest.

     _   While claims trading itself is inot necessarily prohibited, the circumstances surrounding
  clalms tradlng often times prompt investlgation due to the potentlal for abuse. This case
  warrants such an investigation due to the follow1ng:

            a)      The selling parties were three of the four Creditors’ Committee members, and
                    each one had access to information they received in a ﬁduciary capacity;

            b)      Some of the information they received would have been available to other parties-
                    in—interest if Rule 2015.3 had been enforced;

            c)      The sales allegedly occurred after the Plan was conﬁrmed, and certain other
                    matters immediately thereafter came to light, such as the Debtor’s need for an exit
                    loan (although the Debtor testiﬁed at the conﬁrmation hearing that no loan was
                    needed) and the inability of the Debtor to obtain Directors and Ofﬁcer insurance;

            d)      The Debtor settled a dispute with UBS and obligated itself (using estate assets) to
                    pursue claims and transfers and to transfer certain recoveries to UBS, as opposed
                    to distributing those recoveries to creditors, and the Debtor used third-party assets
                    as consideration for the settlement”;

            e)      The projected recovery to creditors changed signiﬁcantly between the approval of
                    the Disclosure Statement and the conﬁrmation of the Debtor’s Plan; and

            f)      There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                    that is publicly traded on the New York stock exchange. The Debtor’s assets and
                    the positions held by the closed-end fund are similar.

          Further, there is reason to believe that insider claims-trading negatively impacted the
  estate’s ultimate recovery. Immediately prior to the Plan conﬁrmation hearing, Judge J emigan
  suggested that the Creditors’ Committee and Mr. Dondero attempt to reach a settlement. Mr.
  Dondero, through counsel, made numerous offers of settlement that would have maximized the
  estate’s recovery, even going so far as to ﬁle a proposed Plan of Reorganization. The Creditors’
  Committee did not timely respond to these efforts. It was not until The Honorable Former Judge
  D. Michael Lynn, counsel for Mr. Dondero, reminded the Creditors’ Committee counsel that its




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  members had a ﬁduciary duty to respond that a response was forthcoming. Mr. Dondero’s
  proposed plan offered a greater recovery than What the Debtor had reported would be the
  expected Plan recovery. The Creditors’ Committee’s failure to timely respond to that offer
  suggests that some members may have been contractually constrained from doing so, which
  itself warrants investigation.
          We encourage the EOUST to question and explore whether, at the time that Mr.
  Dondero’s proposed plan was ﬁled, the Creditors’ Committee members already had committed
  to sell their claims and therefore were contractually restricted from accepting Mr. Dondero’s
  materially better offer. If that were the case, the contractual tie-up would have been a violation
  of the Committee members’ ﬁduciary duties. The reason for the U.S. Trustee’s guideline
  concerning the sale of claims by Committee members was to allow a public hearing on whether
  Committee members were acting within the bounds of their ﬁduciary duties to the estate incident
  to the sale of any claim. The failure to enforce this guideline has left open questions about sale
  of Committee members’ claims that should have been disclosed and vetted in open court.
         In summary, the failure of the U.S. Trustee’s Ofﬁce to demand appropriate reporting and
  transparency created an environment where parties needed to obtain and use non-public
  information to facilitate claims trading and potential violations of the ﬁduciary duties owed by
  Creditors’ Committee members. At the very least, there is enough credible evidence to warrant
  an investigation. It is up to the bankruptcy bar to alert your ofﬁce to any perceived abuses to
  ensure that the system is fair and transparent. The Bankruptcy Code is not written for those who
  hold the largest claims but, rather, it is designed to protect all stakeholders. A second Neiman
  Marcus should not be allowed to occur.

          We would appreciate a meeting with your ofﬁce at your earliest possible convenience to
  discuss the contents of this letter and to provide additional information and color that we believe
  will be valuable in making a determination about whether and what to investigate. In the
  interim, if you need any additional information or copies of any particular pleading, we would be
  happy to provide those at your request.

                                                       Very truly yours,

                                                       /S/D0uglas S. Draper

                                                       Douglas S. Draper

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                                                                                       Relationship Among Debtor’s CEO/CRO, the UCC, and Claims Purchasers
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                                Debtor Protocols [Doc. 466-1]

          i.   Deﬁnitions
               A.    “Court” means the United States Bankruptcy Court for the Northern District of
                     Texas.
               B.    “M” means (A) with respect to an entity that is not a CLO, the value of such
                     entity’s assets less the value of its liabilities calculated as of the month end prior
                     to any Transaction; and (B) with respect to a CLO, the CLO’s gross assets less
                     expenses calculated as of the quarter end prior to any Transaction.
                     “Non—Discretionary Account” means an account that is managed by the Debtor
                     pursuant to the terms of an agreement providing, among other things, that the
                     ultimate investment discretion does not rest with the Debtor but with the entity
                     whose assets are being managed through the account.
                     “Related Entity" means collectively (A)(i) any non—publicly traded third party in
                     which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                     respect to Messrs. Okada, Scott and Honis, only to the extent known by the
                     Debtor) has any direct or indirect economic or ownership interest, including as a
                     beneﬁciary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                     Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Honis (with respect to Messrs.
                     Okada, Scott and Honis, only to the extent known by the Debtor); (iii) MGM
                     Holdings, Inc; (iv) any publicly traded campany with respect to which the Debtor
                     or any Related Entity has ﬁled a Form 13D or Form 130; (v) any relative (as
                     deﬁned in Section 101 of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
                     each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
                     Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
                     person that is an insider of the Debtor under Section 101(31) the Bankruptcy
                     Code, including any “non—statutory” insider; and (viii) to the extent not included
                     in (A)(i)—(vii), any entity included in the listing of related entities in Schedule B
                     hereto (the “Related Entities Listin ”); and (B) the following Transactions,
                     (it) any intercompany Transactions with certain affiliates referred to in paragraphs
                      16.a through 16.e of the Debtor’s cash management motion [Del. Docket No. 7'];
                     and (y) any Transactions with Charitable DAF Fund, L.P. (provided, however,
                     that additional parties may be added to this subclause (y) with the mutual consent
                     of the Debtor and the Committee, such consent not to be unreasonably withheld).
                     “Stage 1” means the time period from the date of execution of a term sheet
                     incorporating the protocols contained below the (“Term Sheet”) by all applicable
                     parties until approval of the Term Sheet by the Court.
                     “Stage 2" means the date from the appointment of a Board of independent
                     Directors at Strand Advisors, Inc until 45 days after such appointment, such
                     appointment being effective upon Court approval.
                     “Stage 3" means any date after Stage 2 while there is a Board of Independent
                     Directors at Strand Advisors, Inc.
                     ‘Transaction” means (i) any purchase, sale, or exchange of assets, (ii) any lending
                     or borrowing of money, including the direct payment of any obligations of
                     another entity,   (iii) the satisfaction of any capital call or other contractual



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                      requirement to pay money, including the satisfaction of any redemption requests,
                      (iv) ﬁtnding of afﬁliates and (v) the creation of any lien or encumbrance.
                1.     "Ordinary Course Transaction" means any transaction with any third party which
                       is not a Related Entity and that would otherwise constitute an “ordinary course
                       transaction” under section 363(c) of the Bankruptcy Code.
                J.     “Notice” means notiﬁcation or communication in a written format and shall.
                      include supporting documents necessary to evaluate the propriety of the proposed
                      transaction.
                K.    “Sp eciﬁed Entity” means any of the following entities: ACiS CLO 201’??? Ltd.,
                      Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland
                      CIJO 2018—1, Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd.,
                      Highland Park CDO 1, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd.,
                      Rockwell CDO II Ltd., Rockwell CDO Ltd., Southfork CLO Ltd., Stratford CLO
                      Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                      Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities
                      CDO Ltd., Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd.,
                      Red River CLO, Ltd., Valhalla CLO, Ltd.
          I].   Transactions involving the (i) assets held directly on the Debtor’s balance sheet or
                the balance sheet of the Debtor’s wholly-owned subsidiaries, including lotteries
                Prime Account, and (ii) the Highland Select Equity Fund, L.P., Highland Multi
                Strategy Credit Fund. LR, and Highland Restoration Capital Partners
                A.     Covered Entities: NJA (See entities above).
                B.     Operating Requirements
                       1.     Ordinary Course Transactions do not require Court approval (All Stages).
                              a)     Stage l and Stage 2: ordinary course determined by the CRO.
                              b)     Stage 3: ordinary course determined by the Debtor.
                      2.      Related Entity Transactions

                              a)     Stage l and Stage 2: Transactions with Related Entities require
                                     prior approval of CRO and ﬁve business days advance notice to
                                     the Committee and if the Committee objects, the burden is on the
                                     Debtor to seek Court approval, which the Committee agrees may
                                     be sought on an expedited basis.

                              b)     Stage 3:
                                     (1)    Transactions with Related Entities greater than $1,000,000
                                            (either individually or in the aggregate basis on a rolling 30
                                            day period) require ﬁve business days advance notice to the
                                            Committee and if the Committee objects, the burden is on
                                            the Debtor to seek Court approval, which the Committee
                                            agrees may be sought on an expedited basis.




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                                              (2)      Transactions with Related Entities mater than $2,000,000
                                                       (either individually or in the aggregate basis on a rolling 30
                                                       day period) require Court approval, which the Committee
                                                       agrees may be sought on an expedited basis.
                             3.       Third Party Transactions (All Stages)
                                      a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                              $2,000,000 (either individually or in the aggregate basis on a
                                              rolling 30 day period) require three business days advance notice
                                              to Committee and if the Committee objects, the burden is on the
                                              Debtor to seek Court approval, which the Committee agrees may
                                              be sought on an expedited basis.

                                      b)      The Debtor may satisfy any redemption requests from entities that
                                              are not Related Entities without advance notice so long as the
                                              Debtor provides notice of such Transactions to the Committee as
                                              soon as reasonably practicable. The Debtor will provide the
                                              Committee with ﬁve business days advance notice of any
                                              redemption requests made by and payable to a Related Entity, and
                                              if the Committee objects, the burden is on the Debtor to seek Court
                                              approval, which the Committee agrees may be sought on an
                                              expedited basis.
                                      0)      The Debtor may satisfy margin calls and short covers without
                                              providing the Committee advance notice if the exigencies do not
                                              allow advance notice so long as the Debtor provides notice of such
                                              Transactions to the Committee as soon as reasonably practicable.
                    C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                             showing all Transactions under this category.
            [I].    Transactions involving entities the Debtor manages and in which the Debtor holds a
                    direct or indirect interest [other than the entities discussed in Section I abovﬂ
                    A.       Covered Entities: See Scheduie A hereto. Schedule A includes or will include
                             all entities the Debtor manages and in which the Debtor holds a direct or indirect
                             interest (other than the entities discussed in Section I above).'
                    B.       Operating Requirements
                             l.       Ordinary Course Transactions do not require Court approval (All Stages).
                                      a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                                      b)      Stage 3: ordinary course determined by the Debtor.
                                      Related Entity Transactions



            '
              The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
            entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
            the extent necessary.




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                        a)     Stage l and Stage 2: Transactions with Related Entities require
                               prior approval of CRO and five business days advance notice to
                               the Committee and if the Committee objects, the burden is on the
                               Debtor to seek Court approval, which the Committee agrees may
                               be sought on an expedited basis.

                        b)     Stage 3:
                               (l)     Transactions with Related Entities greater than $1,000,000
                                       (either individually or in the aggregate basis on a rolling 30
                                       day period) require five business days advance notice to the
                                       Committee and if the Committee objects, the burden is on
                                       the Debtor to seek Court approval, which the Committee
                                       agrees may be sought on an expedited basis.
                               (2)     Transactions with Related Entities greater than $2,000,000
                                       (either individually or in the aggregate basis on a rolling 30
                                       day period) require Court approval, which the Committee
                                       agrees may be sought on an expedited basis.
                 3.     Third Party Transactions (All Stages)
                        a)     Except as set forth in (b) and (c) below, Transactions in excess of
                               $2,000,000 {either individually or in the aggregate basis on a
                               rolling 30 day period) require three business days advance notice
                               to Committee and if the Committee objects, the burden is on the
                               Debtor to seek Court approval, which the Committee agrees may
                               be sought on an expedited basis.

                        b)     The Debtor may satisfy any redemption requests from entities that
                               are not Related Entities Without advance notice so long as the
                               Debtor provides notice of such Transactions to the Committee as
                               soon as reasonably practicable. The Debtor will provide the
                               Committee with ﬁve business days advance notice of any
                               redemption requests made by and payable to a Related Entity, and
                               if the Committee objects, the burden is on the Debtor to seek Court
                               approval, which the Committee agrees may be sought on an
                               expedited basis.
                        0)     The Debtor may satisfy margin calls and short covers without
                               providing the Committee advance notice if the exigencies do not
                               allow advance notice so long as the Debtor provides notice of such
                               Transactions to the Committee as soon as reasonably practicable.
           C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
                 showing all Transactions under this category.




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     IV.     Transactions involving entities that the Delhtor manages but in which the Debtor
             does not hold a direct or indirect interest
             A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                      all entities that the Debtor manages but in which the Debtor does not hold a direct
                      or indirect interest.2

             B.       Operating Requirements
                      1.       Ordinary Course Transactions do not require Court approval (All Stages).
                               a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                               b)      S_tagﬂ: ordinary course determined by the Debtor.
                      2.       Related Entity Transactions

                               a)      Stage l and Stage 2: Transactions with Related Entities require
                                       prior approval of CRO and ﬁve business days advance notice to
                                       the Committee and if the Committee objects, the burden is on the
                                       Debtor to seek Court approval, which the Committee agrees may
                                       be sought on an expedited basis.

                               1))     Stage :3:
                                       (1)      Transactions with Related Entities greater than $1,000,000
                                                (either individually er in the aggregate basis on a rolling 30
                                                day period) require ﬁve business days advance notice to the
                                                Committee and if the: Committee objects, the burden is on
                                                the Debtor to seek Court approval, which the Committee
                                                agrees may be sought on an expedited basis.
                                       (2)      Transactions with Related Entities greater than $2,000,000
                                                (either individually or in the aggregate basis on a rolling 30
                                                day period) require Court approval, which the Committee
                                                agrees may be sought on an expedited basis.
                      3.       Third Patty Transactions [All Stages):
                               a)      Except (x) as set forth in (b) and (c) below and (y) for any
                                       Transaction involving a Speciﬁed Entity and the sale or purchase
                                       by such Speciﬁed Entity of an asset that is not an obligation or
                                       security issued or guaranteed by any of the Debtor, a Related
                                       Entity or a fund, account, portfolio company owned, controlled or
                                       managed by the Debtor or a Related Entity, where such
                                       Transaction is effected in compliance with the collateral
                                       management agreement to which such Speciﬁed Entity is party,
                                       any Transaction that decreases the NAV of an entity managed by
                                       the Debtor in excess of the greater of (i) 10% of NAV or (ii)
                                       $3,000,000 requires ﬁve business days advance notice to
     2
       The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
     entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
     the extent necessary.




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                                        Committee and if the Committee objects, the burden is on the
                                        Debtor to seek Court approval, which the Committee agrees may
                                        be sought on an expedited basis.

                                b)      The Debtor may satisfy any redemption requests from entities that
                                        are not Related Entities without advance notice so long as the
                                        Debtor provides notice of such Transactions to the Committee as
                                        soon as reasonably practicable. The Debtor will provide the
                                        Committee with ﬁve business days advance notice of any
                                        redemption requests made by and payable to a Related Entity, and
                                        if the Committee objects, the burden is on the Debtor to seek Court
                                        approval, which the Committee agrees may be sought on an
                                        expedited basis.
                                c)      The Debtor may take such steps as may be reasonably necessary to
                                        winddown any managed entity and make distributions as may be
                                        required in connection with such winddovm to any required
                                        parties. The Debtor will pmvide the Committee with ﬁve business
                                        days advance notice of any distributions to be made to a Related
                                        Entity, and if the Committee objects, the burden is on the Debtor to
                                        seek Court approval, which the Committee agrees may be sought
                                        on an expedited basis.
              C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                       showing all Transactions under this category.      Such reports will include
                       Transactions involving a Speciﬁed Entity unless the Debtor is prohibited ﬁ'om
                       doing so under applicable law or regulation or any agreement governing the
                       Debtor’s relationship with such Specified Entity.
      V.      Transactions involving entities that the Debtor does not manage hut in which the
              Debtor holds a direct or indirect interest
              A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                       entities that the Debtor does not manage but in which the Debtor holds a direct or
                       indirect interest.3
              B.       Ordinary Course Transactions (All Stages): N/A
              C.       Operating Requirements: NIA
              D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                       Transactions, i.e. Transactions in which. the Debtor or a Related Entity also holds
                       a direct or indirect interest.




      3
        The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
      entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
      the extent necessary.




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     VI.     Transactions involving entities that the Debtor does not manage and in which the
             Debtor does not hold a direct or indirect interest
             A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                      entities that the Debtor does not manage and in which the Debtor does not hold a
                      direct or indirect interest.4
             B.       Ordinary Course Transactions (All Stages): N/A
             C.       Operating Requirements: NIA
             D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                      Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                      a direct or indirect interest.

     VII.    Transacﬁons involving Non-Discretionart»r Accounts
             A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                      non—discretionary accountss
             B.       Ordinary Course Transactions (All Stages): NJA
             C.       Operating Requirements: NfA
             D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                      Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                      a direct or indirect interest.

    VIII. Additional Re ortin Re uirements— All Sta as to the extent a                         Iicable
             A.       D8] will provide detailed lists and descriptions of internal ﬁnancial and
                      operational controls being applied on a daily basis for a full understanding by the
                      Committee and its professional advisers three (3) business days in advance of the
                      hearing on the approval of the Term Sheet and details of proposed amendments to
                      said ﬁnancial and operational controls no later than seven (7) days prior to their
                      implementation.
             B.       The Debtor will continue to provide weekly budget to actuals reports referencing
                      their 13—week cash ﬂow budget, such reports to be inclusive of all Transactions
                      with Related Entities.
     IX.     Shared Services
             A.       The Debtor shall not modify any shared services agreement without approval of
                      the CRO and Independent Directors and seven business days’ advance notice to
                      counsel for the Committee.
             B.       The Debtor may otherwise continue satisfying its obligations under the shared
                      services agreements.

    4
       The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
     entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
     the extent necessary.
     5
       The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
     entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
     the extent necessary.




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   X.    Representations and Warranties
         A...   The Debtor represents that the Related Entities Listing included as Schedule B
                attached hereto lists all known persons and entities other than natural persons
                included in the deﬁnitions of Related Entities covered by Section I.D parts AG)-
                (vii) above at the time of the execution of the Term Sheet.
         B.     The Debtor represents that the list included as Schedule C attached hereto lists all
                known natural persons included in the deﬁnitions of Related Entities covered by
                Section I‘.D parts A(i)—(vii) above at the time of the execution of the Term Sheet.
         C.     The Debtor represents that, if at any time the Debtor becomes aware of any
                person or entity, including natural persons, meeting the deﬁnition of Related
                Entities covered by Section I.D parts A(l)—(vii} above that is not included in the
                Related Entities Listing or Schedule C, the Debtor shall update the Related
                Entities Listing or Schedule C, as appropriate, to include such entity or person and
                shall. give notice to the Committee thereof.




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                                                           Schedule Aﬁ
    Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
                 1. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
                 2. Dynamic Income Fund (0.26% Ownership Interest)

    Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
    interest

                              Highland Prometheus Master Fund L.P.
                              NexAnnuity Life Insurance Company
                              PensionDanmark
                              Highland Argentina Regional Opportunity Fund
                              Longhorn A
                              Longhorn B
                              Collateralized Loan Obligations
                              a) Rockwell II CDO Ltd.
                              b) Grayson CLO Ltd.
                              c) Eastland CLO Ltd.
                              d) Westchester CLO, Ltd.
                              3) Brentwood CLO Ltd.
                              t) Greenbriar CLO Ltd.
                              g) Highland Park CDO Ltd.
                              h) Liberty CLO Ltd.
                              i) Gleneagles CLO Ltd.
                              j) Stratford CLO Ltd.
                              k) Jasper CLO Ltd.
                              1) Rockwall DCO Ltd.
                              In) Red River CLO Ltd.
                              11) Hi V CLO Ltd.
                              c) Valhalla CLO Ltd.
                              p) Aberdeen CLO Ltd.
                              q) South Fork CLO Ltd.
                              r) Legacy CLO Ltd.
                              5) Pam Capital
                              t) Pamco Cayman
    Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
    interest

                              Highland Opportunistic Credit Fund
                              Highland Healthcare Opportunities Fund ﬁ’k/a Highland long/Short Healthcare Fund
               ﬁg‘E-“PP’PL‘




                              NexPoint Real Estate Strategies Fund
                              Highland Merger Arbitrage Fund
                              NexPoint Strategic Opportunities Fund
                              Highland Small Cap Equity Fund
                              Highland Global Allocation Fund

    ‘5
         NTD: Schedule A is work in process and may be supplemented or amended.




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            8. Highland Socially Responsible Equity Fund
            9. Highland Income Fund
            10. Stonebridge—Highland Healthcare Private Equity Fund (“Korean Fund”)

            11. SE Multifamily, LLC

     Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
     indirect interest
                The Dugaboy Investment Trust
                NexPoint Capital LLC
                NexPoint Capital, Inc.
                Highland 1301:); Senior Loan ETF
                Highland Long/Short Equity Fund
                Highland Energy MLP Fund
                Highland Fixed Income Fund
                Highland Total Return Fund
             . NexPoint Advisers, LP.

            10. Highland Capital Management Services, Inc.
            11. Highland Capital Management Fund Advisers LP.
            12. ACIS CLO Management LLC
            i3. Governance RE Ltd
            14. PCMG Trading Partners XXIII LP
            l5. NexPoint Real Estate Partners, LLC fYkla HCRE Partners LLC
            l6. NexPoint Real Estate Advisers II LP
            1?. NexPoint Healthcare Opportunities Fund
            i8. NexPoint Securities
            19. Highland Diversiﬁed Credit Fund
            20. BB Votorantim Highland Inﬁ'astrueture LLC
            21. ACIS CLO 2017 Ltd.
     Transactions involving Non-Discretionary Accounts
            1.   NexBank SSB Account
            2.   Charitable DAF Fund LP




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                                          Schedule B

                     Related Entities Listing (other than natiiral persons)




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                                         Schedule C

          l. James Dondero
              Mark Okada
              Grant Scott
              John Howls
           . Nancy Bondsm-
              Pamela Okada
              Thomas Surgem
              Scott Ellington
              Frank Waterhouse
            . Lee (Trey) Parker




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                               Seerv Jan. 29, 2021 Testimony
                                                                           Page 1
          IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE NORTHERN DISTRICT          OF TEXAS

          DALLAS DIVISION

                                                  )

          In Re:                          Chapter 11
          HIGHLAND CAPITAL                Case No.
          MANAGEMENT,    LP,              19—34054—SGJ 11



                    Debtor
    10

    11

    12

    13     REMOTE DEPOSITION OF JAMES P.              SEERY, JR.
    14                   January 29, 2021
    15                    10:11    a.m.    EST
    16

    17

    18

    19

    20

    21

    22

    23
          Reported by:
    24    Debra Stevens, RPR—CRR
          JOB NO. 189212
    25




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    1                    January 29. 2021                        1   REMOTE. APPEARANCES:

    2                    9:00 a.m. EST                           2

    3                                                            3   Heller, Draper, Hayden, Patrick,              &   Ham
    4            Remote Deposition of JAMES F.                   4   Attorneys for The Dugehoy Investment
    5   SEERY,    JR., held vis Zoom                             5   Trust and The Get Geed Trust
    6   conference. before Debra Stevens.                        6               650 Poydras     Street
    7   RPR/CRR and a Notary Public or the                       T               New Orleans,        Louisiana 70130
    E   State of New York.                                       8

    9                                                            9

   10                                                           10   BY:         DOUGLAS DEEPER,        E59
   11                                                           11

   12                                                           12

   13                                                           13   PACHULSKI STANG ZIEHL is JONES
   1a                                                           14   For the Debtor and the Witness Herein
   15                                                           15               780 Third Avenue
   16                                                           16               New   York,   New    York 10017
   17                                                           17   BY:         JOHN DEBBIE, ESQ.

   IE                                                           18               JEFFREY POMERENTZ, E39.
   19                                                           19               GREGORY DEMO, ESQ.
   20                                                           20               IRA. WEEK-I,        E50.
   21                                                           21
   22                                                           22

   23                                                           23

   24                                                           24                               (Continued)
   25                                                           25


                                                     Page   4                                                                   Page   5
    1   REMOTE REFERENCES:             (Continued)               1   REMOTE APPEWCES:                iCDntinuEdl
    2                                                            2   KING E BPALDING
    3   LATEAM & WATKINS                                         3   Attorneys for Highland CLO Funding, Ltd.
    a   Attorneys for UB3                                        4           500 West 2nd Street
    5           885 Third Avenue                                 5               Austin, Texas 76701
    6             New    York,   New   York 10022                6   BY:         RBEECCA MATSUMURA, ESQ.
    7   BY:        SHANNON MCLAUGIILIN.       ESQ.               7

    B                                                            8   REL GATES
    9   JENNER    i BLOCK                                        8   Attorneys Eur Highland Capital Management
   10   Attorneys for Redeemer Committee of                     10   Fund Advisers. L.P.. et 31.:
   11   Highland Crusader Fund                                  11           4350 Lassiter at Nerth Hills
   12              919 Third Avenue                             12                Avenue
   13             New    York.   New   York 10022               13               Raleigh, North Carolina 27609
   1!   BY:       MARC    B. RANKIN, ESQ.                       14   BY:         EMILY MATE-ER, ESQ.
   15                                                           15

   16   SIDLEY AUSTIN                                           16   MUNSCH. HARDT KOE'E' E      HARE
   17   Attorneys for Creditors' Committee                      17   Attorneys for Defendants Highland Capital
   10              2021 McKinney Avenue                         18   Management Fund ndvieors, LP; NexPoint
   19              Dallas, Texas 7520].                         19   Advisers, LP; Highland Income Fund;
   20   BY:        PENNY REID.     ESQ.                         20   NexPoint Strategic Opportunities Fund and
   21             MATTHEW CLEMENTE,         £50.                21   NexPuint Capital, Inc.:
   22              PAIGE MONTGOMERY. ESQ.                       22               500 N. Akard        Street
   23                                                           23               Dallas, Texas 75201—6659
   2!                              (Continued)                  24         BY:   DAVDR RUKAVINA, ESQ.
   25                                                           25                                     [Continued]




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      1        REMOTE APPEARANCES      (Continued)                                1   REMOTE APPEARANCES:            (Continued)
      2                                                                           2

      3        nouns ELLIS RPPICII scmta           JONES                          3   RICK PHILLIPS
      4        Attorneys for James Dnndpro,                                       4   Attorneys for NexPoint Real Estate
      5        Party-in-Interest                                                  5   Partners, NexPoint Real Estate Entities
          6               420 I’hrockmorton      Street                           6   and NexBank
      1                                                                           7               100 Throckmorton Street
      a                   Fort Worth. Texas 76102                                 8                Fort Worth, Texas 76102
          9'   BY:        CLAY TAYLOR; ESQ.                                       9   BY:         LAUREN DRAWHORN. ESQ-
     10                   JOHN BONDS, ESQ.                                       10
     ll                   BRIAN ASSINK. 530.                                     11   ROSS    &   SMITH
     12                                                                          12   Attorneys for Senior Employees, Scott
     13                                                                          13   Ellington. Isaac Leventon. Thomas Surgent.
     1-!       BAKER McKBNZIB                                                    14   Frank Waterhouse
     15        Attorneys for Senior Employees                                    15               700 N.       Pearl Street
     16                1900 North Pearl Street                                   16               Dallas. Texas 75201
     1']                                                                         17   BY:         FRANCES SMITH, E59.
     18                   Dallas. Texas 75201                                    18

     19        BY:        MICHELLE mm.             ESQ.                          19
     20                   DEBRA DANDEREAU. ESQ.                                  20

     21                                                                          21

     22                                                                          22

     23                                                                          23

     24                                 (Continued)                              24
     25                                                                          25


                                                                      Page 6                                                                    Page 9
      1                                                                           1
      2
      3        HITNESS                                     PAGE
                                                                                  2                 COURTREPORTER:            wynameis
      4        JAMES SEER!                                                        3          Debra Stevens, court reporter for 1'56
      5          BY Mr. Draper                                    5               4          Reporting and notary public of the
          5      By Mr. Taylor                                1'5
                                                                                  5          State of New York. Due to the
      1          By Mr. Rukavina                             165
      8          By Mr. Draper                               217                  i          severity of the COVID—ls pandemic and
          9
                                                                                  7          following the practice of social
                                  E K H. I   B   I I S
     10        SEER! DYD                                                          8          distancing. I will not be in the same
               EXHIBIT          DESCRIPTION                P355                   9          room with the witness but will report
     11
               Exhibit                                                           10          this deposition remotely and will
                          1     January 2021 material         11
     12                                                                          11          swear the witness in remotely.    It any
               Exhibit    2     Disclosure Statement          14
                                                                                 12          party has any objection. please so
     13
               Exhibit 3       Notice of Deposition           74                 13          state before we proceed.
     1"                                                                          14                 whereupon,
     15
                 mmmnowpnonucrmu REQUESTS
                                                                                 15                       JA   M   E s   s E E R Y'

     15        DESCRIPTION                                 PAGE                  16         having been first  duly sworn/attirmso,
     17        Subsidiary ledger showing note                 22                 17         was examined and. testified as follows:
               component versus hard asset
     18                                                                          18   EXAMINATION BY
               component
     19        Amount of DID coverage for                    131                 19   HR. DRAPER:
               trustees
                                                                                 20          0.     Mr. Seery. my name is Douglas
     20
               Linc item for MD insurance                    133                 21   Draper, representing the Dugahoy Trust.            1
     21                                                                          22   have series of questions today in
     22                       MARKED FOR RULING
                                 PAGE   LINE.                                    23   connection with the 30 (h) Notice that we
     23                            55      20                                    24   filed.      The     first question I have for you.
     24
                                                                                 25   have you seen the Notice of Deposition
     25




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                                                      Page 14                                                    Page 15
      1                        J. SEERY                           1                     J. SEERY
      2       the screen, please?                                 2        A.    It says the percent distribution
      3       A.     Page what?                                   3   to general unsecured creditors is
      4       Q.     I think it is page 174.                      4   62.14 percent.
      5       A.     Of the PDF or of the document?               5        Q.    Have you communicated the
      6       Q.     Of the disclosure statement that             6   reduced recovery to anybody prior to the
      7   was filed.   It is up on the screen right               7   date ——

                                                                               to yesterday?
      8   now.                                                    8              MR. MORRIS:  Objection to the
      9                COURT REPORTER:     Do you intend          9        form of the question.
     10          this as another exhibit for today‘s             10        A.    I believe generally, yes. I
     ll          deposition?                                     11   don't know if we have a specific number,
     12                MR. DRAPER:     We'll mark this           12   but generally yes.
     13          Exhibit 2.                                      13       Q.    And would that be members of the
     14                (So marked for identification        as   14   Creditors' Committee who you gave that
     15        Seery Exhibit 2.)                                 15   information to?
     16        Q.    If you look to the recovery to              16       A.    Yes.
     17   Class 8 creditors in the November 2020                 17       Q.    Did you give it to anybody other
     18   disclosure statement was a recovery of                 18   than members of the Creditors' Committee?
     19   87.44 percent?                                         19       A.    Yes.
     20       A.     That actually says the percent              20       Q.    Who?
     21   distribution to general unsecured                      21       A.    HarbourVest.
     22   creditors was 37.44 percent. Yes.                      22       Q.    And when was       that?
     23        Q.    And in the new document that was            23       A.    Within the last two months.
     24   filed, given to us yesterday, the recovery             24      Q.     You did not feel the need to
     25   is 62.5 percent?                                       25   communicate the change in recovery to
                                                      Page 16                                                    Page 17
      l                        J. SEERY                           l                        J. SEERY
      2   anybody else?                                           2   not accurate?
      3          A. I said Mr. Doherty.               3                   A.    Yes.      We   secretly disclosed it
      4       Q.    In looking at the two elements,   4               to the Bankruptcy Court in open court
      5   and what I have asked you to look at is     5               hearings.
      6   the claims pool. If you look at the         6                   Q.     But you never did bother to
      7   November disclosure statement, if you look  7               calculate the reduced recovery; you just
      8   down Class 8, unsecured claims?             8               increased --




      9       A.    Yes.                              9                           (Reporter interruption.)
     10       Q.    You have 176,000 roughly?        10                   Q.     You just advised as to the
     11       A.    Million.                         11               increased claims pool. Correct?
     12          Q.    176 million.     I am sorry.   And        12              MR. MORRIS:   Objection to the
     13   the number in the new document is 313                  13        form of the question.
     14   million?                                               14       A.     I don't understand your
     15          A.    Correct.                                  15   question.
     16          Q.    What accounts    for the                  16       Q.     What I am trying to get at is,
     17   difference?                                            17   as you increase the claims pool, the
     18          A.    increase in claims.
                       An                                        18   recovery reduces. Correct?
     19          Q.    When did those
                                   increases occur?              19       A.     No. That is not how a fraction
     20   Were they yesterday? A month ago? Two                  20   works.
     21   months ago?                                            21       Q.     Well, if the denominator
     22          A.    Over the last couple months.              22   increases, doesn't the recovery ultimately
     23          Q.    So in fact over the last couple           23   decrease if    ——




     24   months you knew in fact that the recovery              24       A.     No.
     25   in the November disclosure statement was               25       Q.    --
                                                                                     if the numerator stays the




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                                                           page 25                                                       page 27
         l                     J. SEERY                                   l                     J.  SEERY
     2       were  amended without consideration a few                2           A.     NexPoint,  I said.   They
         3   years ago. So, for our purposes we didn't                    3   defaulted on the note and we accelerated
         4   make the assumption, which I am sure will                    4   it.
         5   happen, a fraudulent conveyance claim on                     5        Q.    So there is no need to file a
         6   those notes, that a fraudulent conveyance                    6   fraudulent conveyance suit with respect to
         7   action would be brought. We just assumed                     T   that note.   Correct, Mr. Seery?
         8   that we‘d have to discount the notes                         8              MR. MORRIS: Objection to the
         9   heavily to sell than because nobody would                    9        form of the question.
    10       respect the ability of the counterparties               10           A.     Disagree. Since it was likely
    ll       to fairly pay.                                          ll       intentional fraud, there may be other
    12           Q.    And the same discount was                     12       recoveries on it.    But to collect on the
    13       applied in the liquidation analysis to                  13       note, no.
    14       those notes?                                            14           Q.     My question was with respect to
    15           A.    Yes.                                          15       that note. Since you have accelerated it,
    16           Q.    Now                                           16       you don't need to deal with the issue of
    17           A.    The difference      there would be
                                            ——
                                                                     17       when it's due?
    18       a difference, though. because they would                18                  MR. MORRIS: Objection to the
    19       pay for a while because they wouldn't want              19            form of the question.
    2O       to accelerate them. So there would be                   20           A.     That wasn't your question. But
    21       some collections   on the notes for P and I.            21       to that question, yes, I don't need to
    22           Q.     But in fact as of January you                22       deal with when it's due.
    23       have accelerated those notes?                           23           Q.     Let me go over certain assets.
    24           A.     Just one of them, I believe.                 24       I am not going to ask you for the
    25           Q.     Which note was that?                         25       valuation of them but I am going to ask
                                                           Page 28                                                       Page 29
         l                     J.   SEERY                                 l                     J.   SEER!
     2       you whether they are included in the asset               2       includes any other securities and all the
         3   portion of your $257 million number, all                     3   value that would flow from Cornerstone.
         4   right? Mr. Morris didn't want me to go                       4   It includes HCLOF and all the value that
         5   into specific asset value, and I don't                       5   would flow up from HCLOF. It includes
         6   intend to do that.                                       u -—
         7             The first mestion I have for                       7   from Korea.
         8   you is, the equity in Trustway Highland                      8               There may be others off the top
         9   Holdings, is that included in the                            9   of my head. I don't recall them. I don't
    10       $257 million number?                                    10       have a list in front of m.
    11           A.     There is no such entity.                     11            Q.     Now, with respect to those
    12            Q.    Then I will do it in a different             12       assets, have you started the sale process
    13       way. In connection with the sale of the                 13       of those assets?
    14       hard assets, what assets are included in                14            A.     No. Well, each asset is
    15       there specifically?                                     15       different.    So, the answer is, with
    16           A.     Off the top of my head     it is
                                                   ——

                                                                     16       respect to any securities, we do seek to
                                    a                                17       sell those regularly and we do seek to
    18       Trustway Holdings and all the value that                18       monetize those assets where we can
    19       flows up from Trustway Holdings. It                     19       depending on whether there is a
   a                                    ' 1—; -                      20       restriction   or not and whether there is
   21        flows up from Targa.       It includes ‘CCS             21       liquidity in the market.
   i                                                                 22                   with respect to the PE assets or
    23       to the Debtor from CCS Medical.   It                    23       the companies I described       Targa, CCS,
                                                                                                             —-




    24       includes Cornerstone and all the value                  24       Cornerstone, J'HT ——

                                                                                                    we have not   ——




    25       that would flow from Cornerstone.    It                 25       Trustway. We have not sought to sell




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                                                      Page 38                                                       Page 39
     1                      J. SEERY                 1                                    J. SEERY
     2       A.      I don't recall the specific     2                   different analysis that we'll undertake
     3   limitation on the trust. But if there was 3                     with bankruptcy counsel to determine what
     4   a reason to hold on to the asset, if there  4          I
                                                                         we would need depending o'n when   it is
     5   is a limitation, we can seek an extension. I                              a-   ‘a—L d—
     6       Q.      Let me ask a question. With     6                   either under the code are or under the
     7   respect  to  these businesses, the Debtor   '7                  plan.
     8   merely owns an equity interest in them.     8                        Q.    Is there anything that would
     9   Correct?                                    9                   stop you from selling these businesses if
    10       A.      Which business?                10                   the Chapter 11 went on for a year or two
    11       Q.       The ones you have identified as               11   years?
    12   operating businesses earlier?               12                             MR. MORRIS: Objection to form
    13       A.    It depends on the business.       13                       of the question.
    14       Q.    Well, let me     again,
                                     --
                                           let's try 14                       A.    Is there anything that would
    15   to be specific. With respect to SSP, it     15                  stop he? We'd have to follow the
    16   was your position that you did not need to 16                   strictures of the code and the protocols,
    17   qet court approval for the sale. Correct? 17                    but there would be no prohibition     let
                                                                                                              --




    18       A.    That's correct.                   18                  me   finish, please.
    19       Q.    Which one of the operating        19                             There would be no prohibition
    20   businesses that are here, that you have     20                  that I am aware of.
    21   identified, do you need court authority     21                       Q.    Now, in connection with your
    22   for a sale?                                                22   differential between the liquidation of
    23                          Objection to the
                      NR. MORRIS:                    23                  what I will call the operating businesses
    24       form of the question.                   24                  under the liquidation analysis and the
    25       A.       in:                 wtl b- :x, 25                  plan analysis, who arrived at the discount
                                                      Page 40                                                       Page 41
     1                     J. SEERY                                  1                          J. SEERY
     2   or determined the discount that has been                    2   is different.
     3   placed between the two, plan analysis                       3        Q.   Is the discount a function of
     4   versus  liquidation analysis?                               4   capability of a trustee versus your
     5              MR. MORRIS: Objection to form                    5   capability, or is the discount a function
     6        of the question.                                       6   of timing?
     7       A.       ‘l‘o which document are   you                  7             m. MORRIS: Objection to form.
     8   referring?                                                  8        A.   It could be a combination.
     9       Q.    Both the June    the January and 9
                                          ——

                                                                              Q.   So, let's    let me walk through
                                                                                                  ——




    10   the November analysis has a different      10                   this. Your plan analysis has an
    ll   estimated proceeds for mnetization for     11                   assumption that everything is sold by
    12   the plan analysis versus the liquidation   12                   December 2022. Correct?
    13   analysis.     Do you see   that?                           13        A.   Correct.
    14       A.       Yes.                                          14        Q.   And the valuations that you have
    15       Q.    And there is a note under there.                 15   used here for the monetization assume a
    16   "Assumes Chapter 7 trustee will not be                     16   sale between    a sale prior to December
                                                                                           --




    17   able to achieve the same sales proceeds as                 17   of 2022. Correct?
    18   Claimant trustee."                         18                        A.   Sorry. I don't quite understand
    19       A.    I see that, yes.                 19                   your question.
    20       Q.    Do you see that note?            20                        Q.   The 257 number, and then let's
    21       A.    Yes.                             21                   take out the notes. Let's use the 210
    22       Q.    Who arrived at that discount?    22                   nunber.
    23       A.    I did.                           23                              m. MORRIS: Can we put the
    24       Q.    What percentage did you use?     24                        document back on the screen, please?
    25       A.    Depended on the asset.  Each one 25                        Sorry, Douglas, to interrupt, but it




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                                                        page 42                                                              page 43
        l                      J.   SEERY                          l                             J.   SEERY
    2           would be helpful.                                  2   applied?
        3               MR. DRAPER:    That is fine, John.         3         A.          Each of the assets is different.
    4                   (Pause.)                                   4         Q.          Is there a general discount that
    5                   MR. MORRIS:    Thank you very              5   you used?
        6       much.                                              6       A.    Not a general discount, no.  We
    7           Q.    Mr. Seery, do you see the 257?               7   looked at each individual asset and went
    8           A.     In the one from yesterday?                  8   through and made an assessment.
        9        Q.    Yes.                                        9       Q.    Did you apply a discount for
   10            A.    Second line, 257,941. Yes.                 10   your capability versus               the capability of a
   ll            Q.    That  assumes a monetization of            11   trustee?
   12       all assets by December of 2022?                       12        A.           No.
   13            A.    Correct.                                   13         Q.          So a trustee would be as capable
   14            Q.   And so everything has been sold             14   as   you are       in monetizing these assets?
   15       by that time; correct?                                15                     MR. MORRIS:  Objection to the
   16            A.    Yes.                                       16         form of the question.
   17            Q.    So, what I am trying to get at             17         Q.    Excuse me? The answer  is?
   18       is, there is both the capability between              18         A.    The answer  is maybe.
   19       you and a trustee, and then the second                19         Q.    Couldn‘t a trustee hire somebody
   20       issue is timing. So, what discount was                20   as   capable as you are?
   21       put on for timing, Mr. Seery, between when            21               MR. MORRIS: Objection to the
   22       a trustee would sell it versus   when you             22         form of the question.
   23       would sell it?                                        23         A.    Perhaps.
   24                 MR. MORRIS: Objection.                      24         Q.    Sir, that is a yes or no
   25            Q.    what is the percentage you                 25   question.          Could the trustee      hire somebody
                                                        Page 44                                                              Page 45
        l                      J. SEERY                            l                             J.   SEERY
    2       as capable as you are?                                 2       Q.    Again, the discounts               are    applied
        3              MR. MORRIS:   Objection to the              3   for timing and capability?
        4        form of the question.                             4         A.          Yes.
    5           A.     I don‘t know.                               5         Q.  Now, in looking at the November
        6        Q.    Is there anybody as capable as              6   plan analysis number of $190 million and
    7       you  are?                                              7   the January number of $257 million, what
    8                  MR. MORRIS: Objection to the                8   accounts for the increase between the two
        9        form of the question.                             9   dates? What assets specifically?
   10           A.     Certainly.                                 10        A.   There are a number of assets.
   11            Q.    And they could be hired.                   11   Firstly, the HCLOF assets are added.
   12       Correct?                                              12        Q.   How much are those?
   13           A.     Perhaps. I don‘t know.                     13        A.   Approximately 22 and a half
   14            Q.    And if you go back to the                  14   million dollars.
   15       November 2020 liquidation analysis versus             15         Q.          Okay.
   16       plan analysis, it is also the same note               16         A.          Secondly, there is a significant
   17       about that a trustee would bring less, and            h                                     l
   18       there is the same sort of discount between            18   assets       this time period.
                                                                                  over
   19       the estimated proceeds under the plan and             19        Q.    which assets, Mr. Seery?
   20       under the liquidation analysis.                       20        A.    There are a number. They
   21                  MR. MORRIS:   If that is a                 21   include MGM stock, they include Trustway,
   22           question, I object.                               22   they include Targa.
   23           Q.     Is that correct, Mr. Seery,                23        Q.    And what is the percentage
   24       looking at  the document?                             24   increase from November to January,
   25           A.     There are discounts. yes.                  25   November of 2020 to January of 2021?




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     l                       J. SEERY                                     l                                J.   SEER!
     2        A.   Do you mean what is the                             2        markets; correct?
     3   percentage increase from 190 to 257?                             3         A.        No.
     4        Q.   No. You just identified     three                      4         Q.        Those are         operating businesses?
     5   assets.  MGM stock, we can go look at the                        5         A.        Correct.
     6   exchange and figure out what the price                           6         Q.        '- I."'*——
     7   increase is; correct?                                            7     the November 2020 liquidation analysis?
     8        A.   No.                                                    8         A.    We use a combination of the
     9        Q.   Why not?     Is the MGM stock                          9     value that we get from Houlihan Lokey for
    10   publicly traded?                                                                              _                               -
    11        A.   Yes.   It doesn‘t trade on       —-

                                                                   i
    12        Q.   Excuse   me?                                     12              Q.        And the adjustment was up or
    13        A.    It doesn't trade on an exchange.                13          down?
    14        Q.    Is there a public market for the                14              A.        When?
    15   MGM  stock that we could calculate the                     15              Q.                          ——
    16   increase?                                                 L                     I .—~_...—                                        .—
    17        A.    There is a semipublic market;                   17          adjusted it.    Did you adjust it up or did
    18   yes.                                                       18          you adjust   it down?
    19        Q.    So it is a number that is                       19                     MR. MORRIS:   Objection to form
    20   readily available between the two dates?                   20              of the question.
    21        A.    It's available.                                 21              A.        'm
    22        Q.    Now, you identified  Targa and                  22          adjusted it       down, and for January we
    23   Trustway. Correct?                                         23          adjusted it       down. I don't recall off                 the
    24         A.     Yes.                                         '            1 u                    i I"
    25         Q.     Those are not     readily available          '
                                                         Page 48                                                                       Page 49
     l                       J.   SEERY                                                                    J.   SEERY
                                                                   owmq'uomwp



     2         Q.     -      I1.-                   -                           of 2021, the magnitude being roughly 60
   "_ n                                                                         some odd million dollars.  Correct?
     4   valuation    for those two businesses showed                               A.        Correct.
         a   Significant increase between November of                                         We can       account      for $22 million
         -—'—
                     MR. MORRIS:  Objection to form                                           MR. MORRIS:          Objection to form.
               of the question.                                                     A.        Correct.
               A.    I didn‘t say that.                                              9.       -        Ill-—
    10               I am trying to account for the                             settlement,            that leaves roughly
                                                                    ._.




               Q.                                                                                 so
                                  --r
    12   identified three assets.   You identified                  12                    MR. MORRIS:  Objection to the
    13   MGM stock, which has, I can guess, as you                  13              form of the question if that is a
                      I -_—_-                                       14              question. It is accounted for.
    15   Then you identified      two others that the               15              Q.     What makes up that difference,
    16   valuation   is based upon something Houlihan               16          Mr. Seery?
    17    Lokey provided you. Correct?                              17              A.     A change in the plan value of
    18         A.    I gave you three examples. I                   18          the assets.
    19    never sai_d “real—dily." That i_s your word,              19              Q.        Okay.        which assets?       Let's       sort
         -...—        — .—‘— —- —                                  h lhnn—Tnﬁ—u
    21    had a significant change in their                         21              A.    There are numerous assets in the
    22    valuation.                                                22          plan formulation.   I gave you three
    23         Q.    So let's now go back to the                    23          examples of the operating businesses.   The
    24    question. There is an increase in value                   24          securities, I           have increased in
                                                                                                  beli—eve,
                                                                   I'-




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                                                               Page 50                                                     Page 51
         l                         J.     SEERY                               1                        J.   SEERY
     2        for one.   On the operating businesses, we                  2       HarbourVest settlement, right?
         3    looked at each of them and made an                              3       A.    I believe that's correct.
         4.   assessment based upon where the market is                       4       Q.    Is that fair, Mr. Seery?
   ill                                 -_-i                                   5       A.    I believe that is correct, yes.
         6    have moved those valuations.                                    6       Q.    And part of that differential
         7         Q.    Let me look at some numbers                          7   are publicly traded or ascertainable
         8    again. In the liquidation analysis in                           8   securities.   Correct?
         9    November of 2020, the liquidation value is                      9       A.    Yes.
    10        $149 million.   Correct?                                   10            Q.   And basically you can get, or
    ll            A.    Yes.                                             ll       under the plan analysis or trustee
    12            Q.    And in the liquidation analysis                  12       analysis, if it is a marketable security
    13        in January of 2021, you have $191 million?                 13       or where there is a market, the
    14            A.    Yes.                                             14       liquidation number should be the same for
    15            Q.    You see that number. So there                    15       both. Is that fair?
    16        is $51 million     there, right?                           16            A.   No.
    17            A.      No.                                            17            Q.   And why not?
    18             Q.     What is the difference between                 18            A.   We might have a different price
    19        191 and  ——

                           sorry. My math may be a little                19       target for a particular security than the
    20        off.    What is the difference between the                 20       current trading value.
    21        two numbers, Mr. Seery?                                    21            Q.   I understand that, but I mean
    22             A.     Your math is off.                              22       that is based upon the capability of the
    23             Q.     Sorry. It is 41 million?                       23       person making the decision as to when to
    24             A.     Correct.                                       24       sell.  Correct?
    25            Q.        $22 million       of that is the             25                 MR. MORRIS:   Objection to form
                                                               Page 52                                                     Page 53
         l                         J.     SEER!                               l                        J.   SEERY
     2            of the question.                                        2       $18 million.     How much of that is publicly
         3        Q.    Mr. Seery, yes or no?                                 3   traded or ascertainable assets versus
         4        A.    I said no.                                            4   operating businesses?
         5        Q.    What is that based on, then?                          5        A.      I don't know off the top of my
         6         A.   The person‘s ability to assess                        6   head the percentages.
         7    the market and timing.                                          7        Q.      All right. The same question
         8         Q.   Okay. And again, couldn‘t a                           8   for the plan analysis where you have the
         9    trustee hire somebody as capable as you to                      9   differential    between the November number
    10        both, A, assess  the market and, B, make a                 10       and the January number. How much of it is
    11        determination as to when to sell?                          11       marketable securities versus     an operating
    12                  MR. MORRIS:   Objection to form                  12       business?
    13            of the question.                                       13            A.      I don‘t recall off the top of my
    14            A.        I suppose a trustee
                                              could.                     14       head.
    15             Q.    And there are better people or                  15                    MR. DRAPER:   Let me take a
    16        people equally or better than you at                       16            few-minute break. Can we take a
    17        assessing a market. Correct?                               17            ten—minute break here?
    18             A.    Yes.                                            18                     THE WITNESS:    Sure.
    19                   MR. MORRIS:   Objection to form                 19                     (Recess.)
    20             of the question.                                      20       BY FR. DRAPER:
    21             Q.    So, again. let‘s go back to                     21            Q.   Mr. Seery, what I am going to
    22        that. We have accounted for, out of                        22       show you and what I would ask you to look
    23        $41 million where the liquidation analysis                 23       at is in the note E, in the statement of
    24        increases between the two dates,                           24       assumptions for the November 2020
    25        $22 million of it.    That leaves                          25       disclosure statement.  It discusses fixed




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                                Sale of Assets of Affiliates or Controlled Entities


      Asset                                                   Sales Price
      Structural Steel Products                               $50 million
      Life Settlements                                        $35 million
      OmniMax                                                 $50 million
      Targa                                                   $37 million


         o    These assets were sold over the contemporaneous objections of James Dondero, Who was the
              Portfolio Manager and key-man on the funds.
         o    Mr. Seery admittedl that he must comply With the Bankruptcy Code, the Federal Rules of
              Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
              that a competitive bid process and court approval should have been required for the sale of each
              of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
              and the sale of the interest in PetroCap [a $3 million asset]).




  1
      See Mr. Seery’s Jan. 29, 2021 deposition testimony, Appendix p. A-20.



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                                    20 Largest Unsecured Creditors


   Name of Claimant                      Allowed Class 8    Allowed Class 9
   Redeemer Committee of the
   Highland Crusader Fund                $136,696,610.00
   UBS AG, London Branch and UBS
   Securities LLC
                                         $65,000,000.00     $60,000,000
   HaTbOUTVeSt entities                  $45,000,000.00     $35,000,000
   Acis Capital Management, L.P. and
   Acis Capital Management GP, LLC       $3,000,000.00
   CLO Holdco Ltd                        $11,340,751.26
   Patrick Daugherty
                                                            $2,750,000 (+$750,000 cash payment
                                         $8,250,000.00      on Effective Date of Plan)
   Todd Travers (Claim based on
   unpaid bonus due for Feb 2009)        $2,618,480.48
   McKool Smith PC                       $2,163,976.00
   Davis Deadman (Claim based on
   unpaid bonus due for Feb 2009)        $1,749,836.44
   Jack Yang (Claim based on unpaid
   bonus due for Feb 2009)               $1,731,813.00
   Paul Kauffman (Claim based on
   unpaid bonus due for Feb 2009)        $1,715,369.73
   Kurtis Plumer (Claim based on
   unpaid bonus due for Feb 2009)        $1,470,219.80
   Foley Gardere                         $1,446,136.66
   DLA Piper                             $1,318,730.36
   Brad Borud (Claim based on unpaid
   bonus due for Feb 2009)               $1,252,250.00
   Stinson LLP (successor to Lackey
   Hershman LLP)                         $895,714.90
   Meta-E Discovery LLC                  $779,969.87
   Andrews Kurth LLP                     $677 ,07 5.65
   Markit WSO Corp                       $572,874.53
   Duff & Phelps, LLC                    $449,285.00
   Lynn Pinker Cox Hurst                 $436,538.06
   Joshua and Jennifer Terry
                                         $425,000.00
   Joshua Terry
                                         $355,000.00
   CPCM LLC (bought claims of
   certain former HCMLP employees)       Several million
   TOTAL:                                $309,345,631.74    $95,000,000




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                                      Timeline of Relevant Events


   Date          Description
   10/29/2019    UCC appointed; members agree to ﬁduciary duties and not sell claims.
   9/23/2020     Acis 9019 ﬁled
   9/23/2020     Redeemer 9019 ﬁled
   10/28/2020    Redeemer settlement approved
   10/28/2020    Acis settlement approved
   12/24/2020    HarbourVest 9019 ﬁled
   1/ 14/2021    Motion to appoint examiner ﬁled
   1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
                 assignee, valued at $22 million per Seery
   1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
   2/3/2021      Failure to comply with Rule 2015.3 raised
   2/24/2021     Plan conﬁrmed
   3/9/2021      Farallon Cap. Mgmt. forms “Muck Holdings LLC” in Delaware
   3/ 15/2021    Debtor ﬁles Jan. ‘21 monthly operating report indicating assets of $3 64 million,
                 liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
                 of any Class 9 claims), the last publicly ﬁled summary of the Debtor‘s assets. The
                 MOR states that no Class 9 distributions are anticipated at this time and Class 9
                 recoveries are not expected.

   3/31/2021     UBS ﬁles friendly suit against HCMLP under seal
   4/8/2021      Stonehill Cap. Mgmt. forms “J essup Holdings LLC” in Delaware
   4/ 15/2021    UBS 9019 ﬁled
   4/ 16/2021    Notice of Transfer of Claim - Acis to Muck (Farallon Capital)
   4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
   4/30/2021     Notice of Transfer of Claim - Redeemer to J essup (Stonehill Capital)
   4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
   4/30/2021     Sale of Redeemer claim to J essup (Stonehill Capital) "consummated"
   5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi—Strat
   6/14/2021     UBS dismisses appeal of Redeemer award
   8/9/2021      Notice of Transfer of Claim - UBS to J essup (Stonehill Capital)
   8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

  Critical unknown dates and information:

      o   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
          claims and what negative and afﬁrmative covenants those agreements contained.
      o   The date on which J essup entered into an agreement with the Redeemer Committee and the
          Crusader Fund to acquire their claim and what negative and afﬁrmative covenants the agreement
          contained.
      o   The date on which the sales actually closed versus the date on which notice of the transfer was
          ﬁled (i.e., did UCC members continue to serve on the committee after they had sold their claims).




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                    Debtor’s October 15, 2020 Liquidation Analysis [Doc. 1173-1]


                                                                   Plan Analysis     Liquidation
                                                                                     Analysis
   Estimated cash on hand at 12/31/2020                            $26,496           $26,496
   Estimated proceeds from monetization of assets [1][2]            198,662           154,618
   Estimated expenses through ﬁnal distribution [1][3]             (29,864)          (33,804)
   Total estimated $ available for distribution                    195,294           147,309

   Less: Claims paid in full
   Administrative claims [4]                                       (10,533)          (10,533)
   Priority Tax/ Settled Amount [10]                               (1,237)           (1,237)
   Class 1 — Jefferies Secured Claim                               —                 -
   Class 2 — Frontier Secured Claim [5]                            (5,560)           (5,560)
   Class 3 — Priority non-tax claims [10]                          (16)              (16)
   Class 4 — Retained employee claims                              —                 —




   Class 5 — Convenience claims [6][10]                            (13,455)          -
   Class 6 — Unpaid employee claims [7]                            (2,955)           -
   Subtotal                                                        (33,756)          (17,346)
   Estimated amount remaining for distribution to general           161,538           129,962
   unsecured claims
   Class 5 — Convenience claims [8]                                —
                                                                                      17,940
   Class  6— Unpaid employee claims                                -                 3,940
   Class 7 — General unsecured claims [9]                           174,609           174,609
   Subtotal                                                         174,609          196,489
   % Distribution to general unsecured claims                      92.51%            66.14%
   Estimated amount remaining for distribution
   Class 8 — Subordinated claims                                   no distribution   no distribution
   Class 9 — Class B/ C limited partnership interests              n0 distribution   no distribution
   Class 10 — Class A limited partnership interests                no distribution   n0 distribution



  Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

      o   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
          UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
          and $95 million of subordinated claims.




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                                Updated Liquidation Analysis (Feb. 1, 2021)2
                                                                     Plan Analysis       Liquidation
                                                                                         Analysis
      Estimated cash on hand at 1/31/2020 [sic]                      $24,290             $24,290
      Estimated proceeds from monetization of assets [1][2]          257,941             191,946
      Estimated expenses through ﬁnal distribution [1][3]            (59,573)            (41,488)
      Total estimated $ available for distribution                   222,658             174,178

      Less: Claims paid in full
      Unclassiﬁed [4]                                                (1,080)             (1,080)
      Administrative claims [5]                                      (10,574)            (10,574)
      Class 1 — Jefferies Secured Claim                              —                   -
      Class 2 — Frontier Secured Claim [6]                           (5,781)             (5,781)
      Class 3 — Other Secured Claims                                 (62)                (62)
      Class 4 — Priority non-tax claims                              (16)                (16)
      Class 5 — Retained employee claims                             —                   -
      Class 6 — PTO Claims [5]                                       -                   -
      Class 7 — Convenience claims [7][8]                            (10,280)            —




      Subtotal                                                       (27,793)            (17,514)
      Estimated amount remaining for distribution to general         194,865             157,235
      unsecured claims
      % Distribution to Class 7 (Class 7 claims including in Class   85.00%              0.00%
      8 in Liquidation scenario)
      Class 8 — General unsecured claims [8] [10]                    273,219             286,100
      Subtotal                                                       273,219             286,100
      % Distribution to general unsecured claims                     71.32%              54.96%
      Estimated amount remaining for distribution
      Class 9 — Subordinated claims                                  no distribution     n0 distribution
      Class 10 — Class B/C limited partnership interests             no distribution     no distribution
      Class 11 — Class A limited partnership interests               no distribution     no distribution



  Notable notations/ disclosures in the Feb. 1, 2021 liquidation analysis include:

        o    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
             HV.
        o    Assumes RCP claims will offset against HCMLP's interest in fund and Will not be paid from
             Debtor assets




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                     Summary of Debtor’ s January 31, 2021 Monthly Operating Report3



                                                      10/15/2019            12/31/2020            1/31/2021
      Assets
      Cash and cash equivalents                          $2,529,000          $12,651,000           $10,65 1,000
      Investments, at fair value                      $232,620,000          $109,21 1,000        $142,976,000
      Equity method investees                         $161,819,000          $103,174,000         $105,293,000
      mgmt and incentive fee receivable                  $2,579,000            $2,461,000           $2,857,000
      ﬁxed assets, net                                   $3,754,000            $2,594,000           $2,518,000
      due from afﬁliates                              $151,901,000          $152,449,000         $152,538,000
      reserve against notices receivable                                   ($61,039,000)         ($61,167,000)
      other assets                                      $11,311,000           $8,258,000            $8,651,000
                                  Total Assets        $566,513,000          $329,759,000         $364,317,000

      Liabilities and Partners' Capital
      pro-petition accounts payable                      $1,176,000            $1,077,000           $1,077,000
      post-petition accounts payable                                             $900,000           $3,010,000
      Secured debt
                                       Frontier          $5,195,000            $5,195,000           $5,195,000
                                       Jefferies        $30,328,000                    $0                   $0
      Accrued expenses and other liabilities            $59,203,000          $60,446,000           $49,445,000
      Accrued re-organization related fees                                     $5,795,000           $8,944,000
      Class 8 general unsecured claims                  $73,997,000          $73,997,000         $267,607,000
      Partners' Capital                               $396,614,000          $182,347,000           $29,039,000
             Total liabilities and partners'
                                        capital       $566,513,000          $329,757,000         $364,317,000


  Notable notations/disclosures in the J an. 31, 2021 MOR include:

         0   Class 8 claims totaled $267 million, a jump from $74 million in the prior month’s MOR
         0   The MOR stated that no Class 9 recovery was expected, Which was based on the then existing
             $267 million in Class 8 Claims.
         o
             Currently, there are roughly $310 million of Allowed Class 8 Claims.




      [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
  3


  estate.



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                              Value of HarbourVest Claim


                          HarbourVest Interest NAV by Month
  l   wml
      10f3112020

         30:2nzu

         3112020

       U14f2|3|21


       1J3112021

      yzsfzuzl                                   $49.?

      3f31f2021

      4J30f2021

      5,!313'2021                                555.9
  a




  l                     HarbourVest NAV Value v. Purchase Price
      $60.0


      $50.0



      $40.0



      $30.0



      $20.0                                                                        *


      $10.0                                                                       —




                                 —O— NAV   —0— Purchase Price
  I




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                                                Estate Value as of August 1, 2021 (in millions)4

       Asset                                                                                           Low                           High
       Cash as of 6/30/2021                                                                            $17.9                          $17.9
                                                                               Targa Sale              $37.0                          $37.0
                                                                          8/1 CLO Flows                $10.0                          $10.0
                                                                         Uchi Bldg. Sale               $9.0                           $9.0
                                                                                Siepe Sale             $3.5                           $3.5
                                                                           PetroCap Sale               $3.2                           $3.2
                                                                 HarbourVest trapped cash              $25.0                          $25 .0
       Total Cash                                                                                      $105.6                        $105.6
       Trussway                                                                                        $180.0                         $180.0
       Cornerstone (125mm; 16%)                                                                        $18.0                          $18.0
       HarbourVest CLOs                                                                                $40.0                          $40.0
       CCS Medical (in CLOS and Highland Restoration)                                                  $20.0                          $20.0
       MGM (direct ownership)                                                                          $32.0                          $32.0
       Multi—Strat (45% of 100mm; MGM; CCS)                                                            $45.0                          $45.0
       Korea Fund                                                                                      $18.0                          $18.0
       Celtic (in Credit-Strat)                                                                        $12.0                          $40.0
       SE Multifamily                                                                                  $0.0                           $20.0
       Afﬁliate Notes                                                                                  $0.0                           $70.0
       Other                                                                                           $2.0                           $10.0
        TOTAL                                                                                          $472.6                        $598.6



                                                                          Assets and Claims
  |




        $700.0
        $600.0
        $500.0
        $400.0
        $300.0
        $200.0
        $100.0
               5—    o—o—o—o—o—o—o—o—o—o—o—o—o—o—o—o”                                                                                                ,




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         Ni”        Ni”           Ni”    Ni”    Ni”     Ni”      Ni”     Ni”   Ni”   Ni”   Ni”   Ni”   Ni”    Ni”   Ni”   Ni”


                     -0-        Total Assets          -0— Class 8 Claims             —O—Class 9 Claims         —O—Unsecured Creditors' Claims




  4
       Values are based upon historical knowledge of the Debtor’s assets (including cross-holdings) and publicly ﬁled
      information.



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                         HarbourVest Motion to Approve Settlement [Doc. 1625]
     PACHULSKI STANG ZIEHL & JONES LLP
     Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
     Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
     John A. Morris (NY Bar No. 266326) (admitted pro has vice)
     Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
     Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
     10100 Santa Monica Blvd., 13th Floor
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     Telephone: (310) 277-6910
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     10501 N. Central Expy, Ste. 106
     Dallas, TX 75231
     Telephone: (972) 755-71 00
     Facsimile: (972) 755-7110

     Counsei for the Debtor and Debtor-in-Possession


                            [N THE UNITED STATES BANKRUPTCY COURT
                              FOR TI-[E NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                     §
     In re:                                                          §   Chapter ll
                                                                     §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,l                             §   Case No. l9-34054-sgjll
                                                                     §
                                        Debtor.                      §



              DEBTOR’S MOTION FOR ENTRY 0F AN ORDER APPROVING
        SETTLEMENT WITH HARBOURVEST (CLAIM NOS. 143, 147, 149, 150, 153, 154)
               AND AUTHORIZING ACTIONS CONSISTENT TI-[EREWITH


     T0 THE HONORABLE STACEY G. C. JERNIGAN,
     UNITED STATES BANKRUPTCY JUDGE:


     ' The last four
                     digits of the Debtor’s taxpayer identiﬁcation number are 6725. The headquarters and service address
     for the Debtor is 300 Crescent Court. Suite 700. Dallas, TX 75201.




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                  Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

        possession (“Highland” or the “Debtor”), ﬁles this motion (the “Motion”) for entry of an order,

        substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

        Rules of Bankruptcy Procedure (the “Bankru tc Rules”), approving a settlement agreement (the

        “Settlement Ageement”),2 a copy of which is attached as Exhibit l to the Declaration ofJohn A.

        Morris in Support of the Debtor's Motion for Entry of an Order Approving Settlement with

        HarbourVest (Claim Nos. 143. I47. I49. 150, 153, [54) and Authorizing Actions Consistent

        Therewith being ﬁled simultaneously with this Motion (“Morris Dec”), that, among other things,

        fully and ﬁnally resolves the proofs of claim ﬁled by HarbourVest 2017 Global Fund I...P.,

        HarbourVest 2017 Global          AIF L.P., HarbourVest Dover Street IX Investment L.P., HV

        lntemational VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners

        L.P. (collectively, “HarbourVest”). In support of this Motion, the Debtor represents as follows:

                                                     JURISDICTION
                          l.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

        and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

        in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                          2.      The statutory predicates for the relief sought herein are sections 105(a)

        and 363 of title ll     of the United States Code (the “Bankruptcy Code”), and Rule 9019 of the

        Bankruptcy Rules.




        2
            All capitalized terms used but not deﬁned herein shall have the meaning given to them in the Settlement
        Ayecment.




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                                            RELEVANT BACKGROUND
    A.         Procedural Bac          ound

                        3.       On October 16, 2019 (the “Petition Date”), the Debtor ﬁled a voluntary

    petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

    District of Delaware, Case No. 19-12239 (CSS) (the “Delaware Cou ”).

                        4.      On October 29, 2019, the ofﬁcial committee of unsecured creditors (the

    “Committee”) was appointed by the U.S. Trustee in the Delaware Court.

                        5.      On December 4, 2019, the Delaware Court entered an order transferring

    venue of the Debtor’s case to this Court [Docket No. 186].3

                        6.      On December 27, 2019, the Debtor ﬁled that certain Motion of the Debtor

   for Approval of Settlement with the Oﬁ‘icial Committee of Unsecured Creditors Regarding
    Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

    281] (the “Settlement Motion”). This Court approved the Settlement Motion on January 9, 2020

    [Docket No. 339] (the “Settlement Order”).

                        7.       In connection with the Settlement Order, an independent board           of

    directors was constituted at the Debtor’s general partner, Strand Advisors, Inc., and certain

    operating protocols were instituted.

                        8.      On July l6, 2020, this Court entered an order appointing James P. Seery,

    Jr., as the Debtor’s chief executive oﬁieer and chief restructuring ofﬁcer [Docket No. 854].

                        9.      The Debtor has continued in the possession of its property and has

    continued to operate and manage its business as a debtor-in-possession pursuant to sections

    1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

    chapter 11 case.


    3
        All docket numbers refer to the docket nuintained by this Coun.

                                                               3



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   B.       Overview of HarbourVest’s Claims

                     10.      HarbourVest’s claims against the Debtor’s estate arise ﬁ'om its $80 million

    investment in Highland CLO Funding, ﬂ'k/a Acis Loan Funding, Ltd.                                      pursuant to

   which HarbourVest obtained a 49 percent interest in HCLOF (the “Investment”).

                     11.      In brief, HarbourVest contends that it was fraudulently induced into


   entering into the Investment based on the Debtor’s misrepresentations and omissions concerning

   certain material facts, including that the Debtor: (1) failed to disclose that it never intended to

   pay an arbitration award obtained by a former portfolio manager, (2) failed to disclose that it

   engaged in a series of fraudulent transfers for the purpose of preventing the former portfolio

   manager from collecting on his arbitration award and misrepresented the reasons changing the

   portfolio manager for HCLOF immediately prior to the Investment, (3) indicated that the dispute

   with the former portfolio manager would not impact investment activities, and (4) expressed

   conﬁdence in the ability of HCLOF to reset or redeem the collateralized loan obligations

   (“M”) under its control.
                     12.      HarbourVest seeks to rescind its Investment and claims damages in excess

   of $300 million based on theories of fraud, fraudulent inducement, fraudulent concealment,

    fraudulent misrepresentation, negligent misrepresentation, and breach of ﬁduciary duty (under

   Guernsey law), and on alleged violations of state securities laws and the Racketeer Inﬂuenced

   Corrupt Organization Act        (“M”).
                     13.      HarbourVest’s allegations are summarized below.4




   “
     Solely for purposes of this Motion. and not for any other reason, the facts set forth herein are adopted largely from
   the HarbourVest Response to Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
   Claims; (C) Late—Filed Claims: (D) Satisfied Claims; (E) Nil—Liability Claims; and (F) Insuﬂ'iciem—Documentation
    Claims [Docket No. 1057] (the “Response“.




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   C.      Summaﬂ of HarbourVest’s Factual Allggations
                  l4.     At the time HarbourVest made its Investment, the Debtor was embroiled

   in an arbitration against Joshua Terry (“Mr. Tea”), a former employee of the Debtor and

   limited partner of Acis Capital Management, LP.      (“M”).          Through Acis LP, Mr. Terry

   managed Highland’s CLO business, including CLO-related investments held by Acis Loan

   Funding, Ltd. (“Acis Funding”).

                  [5.    The litigation between Mr. Terry and the Debtor began in 2016, aﬁer the

   Debtor terminated Mr. Ten'y and commenced an action against him in Texas state court. Mr.

   Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

   ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

   he obtained an award of approximately $8 million (the “Arbitration Award”) on October 20,

   2017.

                  l6.     HarbourVest alleges that the Debtor responded to the Arbitration Award

   by engaging in a series of fraudulent transfers and corporate restructurings, the true purposes of

   which were fraudulently concealed from HarbourVest.

                  17.    For example, according to HarbourVest, the Debtor changed the name of

   the target fund from Acis Funding to “Highland CLO Funding, Ltd.”                    and “swapped

   out” Acis LP for Highland HCF Advisor, Ltd. as portfolio manager (the “Structural Changes”).

   The Debtor allegedly told HarbourVest that it made these changes because of the “reputational

   harm” to Acis LP resulting from the Arbitration Award. The Debtor ﬁirther told HarbourVest

   that in lieu of redemptions, resetting the CLOs was necessary, and that it would be easier to reset

   them under the “Highland” CLO brand instead of the Acis CLO brand.

                  l8.     In addition, HarbourVest also alleges that the Debtor had no intention of


   allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to “denude”




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    Acis of assets by fraudulently transferring virtually all of its assets and attempting to transfer its

    proﬁtable portfolio management contracts to non-Acis, Debtor-related entities.

                     l9.   Unaware of the fraudulent transfers or the tme purposes of the Structural

    Changes, and in reliance on representations made by the Debtor, HarbourVest closed on its

    Investment in HCLOF on November 15, 2017.

                    20.     After discovering the transfers that occurred between Highland and Acis

    between October and December 2017 following the Arbitration Award (the “Transfers” , on

    January 24, 2018, Terry moved for a temporary restraining order (the     WE”) from the Texas
    state court on the grounds that the Transfers were pursued for the purpose of rendering Acis LP


    judgnent-proof. The state court granted the TRO, enjoining the Debtor ﬁom transferring any

    CLO management contracts or other assets away from Acis LP.

                    21.     On January 30, 2018, Mr. Terry filed involuntary bankruptcy petitions

    against Acis LP and its general partner, Acis Capital Management GP, LLC. See In re Acis

    Capital Management. L.P., Case No. 18-30264-sgi11 (Bankr. N.D. Tex. 2018) and In re Acis

    Capital Management GP. LLC, Case No. 18-30265-sgj11 (Bankr. N.D. Tex. 2018) (collectively,

    the “Acis Bankruptcy Case”). The Bankruptcy Court overruled the Debtor’s objection, granted

    the involuntary petitions, and appointed a chapter      11   trustee (the “Acis Trustee”).    A long

    sequence     of events subsequently transpired, all of which relate to HarbourVest’s claims,

    including:

           0     On May 31, 2018, the Court issued a sua sponte TRO preventing any actions in
                 furtherance of the optional redemptions or other liquidation of the Acis CLOs.

           o     On June l4, 2018, HCLOF withdrew optional redemption notices.

           o     The TRO expired on June 15, 2018, and HCLOF noticed the Acis Trustee that it was
                 requesting an optional redemption.




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             o   HCLOF’s request was withdrawn on July 6, 2018, and on June 21, 2018, the Acis
                 Trustee sought an injunction preventing Highland/HCLOF from seeking further
                 redemptions (the “Preliminagx Injunction”).

             0   The Court granted the Preliminary Injunction on July 10, 2018, pending the Acis
                 Trustee’s attempts to conﬁrm a plan or resolve the Acis Bankruptcy.

             o   On August 30, 2018, the Court denied continuation of the First Amended Joint Plan
                 for Acis, and held that the Preliminary Injunction must stay in place on the ground
                 that the “evidence thus far has been compelling that numerous transfers aﬁer the Josh
                 Terry judgment denuded Acis of value.”

             0   Aﬁer the Debtor made various statements implicating HarbourVest in the Transfers,
                 the Acis Trustee investigated HarbourVest’s involvement in such Transfers, including
                 extensive discovery and taking a 30(b)(6) deposition of HarbourVest’s managing
                 director, Michael Pugatch, on November l7, 2018.

             o   On March 20. 2019, HCLOF sent a letter to Acis LP stating that it was not interested
                 in pursuing, or able to pursue, a CLO reset transaction.

     D.      The Parties’ Pleadings and Positions Concerning HarbourVest’s
             Proofs of Claim

                    22.     On April 8, 2020, HarbourVest ﬁled proofs of claim against Highland that

     were subsequently denoted by the Debtor’s claims agents as claim numbers 143, 147, 149, 150,

      153, and 154, respectively (collectively, the “Proofs of Claim”). Morris Dec. Exhibits 2-7.

                    23.     The Proofs of Claim assert, among other things, that HarbourVest suffered

     signiﬁcant harm due to conduct undertaken by the Debtor and the Debtor’s employees, including

     “ﬁnancial harm resulting from (i) court orders in the Acis Bankruptcy that prevented certain

     CLOs in which HCLOF was invested ﬁ'om being reﬁnanced or reset and court orders that

     otherwise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; and (ii) signiﬁcant

     fees and expenses related to the Acis Bankruptcy that were charged to HCLOF.”            See, e.g.,

     Morris Dec. Exhibit 2 13.

                    24.     HarbourVest also asserted “any and all of its right to payment, remedies,

     and other claims (including contingent or unliquidated claims) against the Debtor in connection

     with and relating to the forgoing harm, including for any amounts due or owed under the various

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    agreements with the Debtor in connection with relating to” the Operative Documents “and any

    and all legal and equitable claims or causes of action relating to the forgoing harm. ’1 See, e.g.,

    Morris Dec. Exhibit 2 114.

                   25.     Highland subsequently objected to HarbourVest’s Proofs of Claim on the

    grounds that they were no-liability claims. [Docket No. 906] (the “Claim Objection”).

                   26.     On September ll, 2020, HarbourVest ﬁled its Response. The Response

    articulated speciﬁed claims under U.S. federal and state and Guernsey law, including claims for

    fraud, fraudulent concealment, fraudulent inducement, fraudulent misrepresentation, negligent

    misrepresentation (collectively, the “Fraud Claims”), U.S. State and Federal Securities Law

    Claims (the “Securities Claims”), violations of the Federal Racketeer Inﬂuenced and Corrupt

    Organizations Act    (“w”),    breach of ﬁduciary duty and misuse of fund assets, and an unfair

    prejudice claim under Guemsey law (collectively, with the Proofs of Claim, the “HarbourVest



                   27.     On October 18, 2020, HarbourVest ﬁled its Motion of HarbourVest

    Pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure for Temporary Allowance

    of Claims for Pumoses of Voting to Accept or Reject the Plan [Docket No. 1207] (the “3018

    MLion”). In its 3018 Motion, HarbourVest sought for its Claims to be temporarily allowed for

    voting purposes in the amount of more than $300 million (based largely on a theory of treble

    damages).

    E.     Settlement Discussions

                   28.     In October, the parties discussed the possibility of resolving the Rule 3018

    Motion.

                   29.     In November, the parties broadened the discussions in an attempt to reach

    a global resolution of the HarbourVest Claims.      In the pursuit thereof, the parties and their




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     counsel participated in several conference calls where they engaged in a spirited exchange of

     perspectives concerning the facts and the law.

                         30.   During follow up meetings, the parties’ interests became more deﬁned.

     Speciﬁcally, HarbourVest sought to maximize its recovery while fully extracting itself from the

     Investment, while the Debtor sought to minimize the HarbourVest Claims consistent with its

     perceptions of the facts and law.

                         31.   After the parties’ interests became more deﬁned, the principals engaged in

     a series of direct, arm’s-length, telephonic negotiations that ultimately lead to the settlement,

     whose terms are summarized below.

     IF.       Summary of Settlement Terms

                         32.   The Settlement Agreement contains the following material terms, among

     others:

               I   HarbourVest shall transfer its entire interest in HCLOF to an entity to be desigiated
                   by the Debtor;5

               o   HarbourVest shall receive an allowed, general unsecured, non-priority claim in the
                   amount of $45 million and shall vote its Class 8 claim in that amount to support the
                   Plan;

               o   HarbourVest shall receive a subordinated, allowed, general unsecured, non-priority
                   claim in the amount of $35 million and shall vote its Class 9 claim in that amount to
                   support the Plan;

               o   HarbourVest will support continuation of the Debtor’s Plan, including, but not
                   limited to, voting its claims in support of the Plan;

               o   The HarbourVest Claims shall be allowed in the aggegate amount of $45 million for
                   voting purposes;

               O   HarbourVest will support the Debtor’s pursuit of its pending Plan of Reorganization;
                   and

               I   The parties shall exchange mutual releases.

     5
      The NAV for HarbourVest’s 49.98% interest in HCLOF was estimated to be approximately $22 million as of
     December l, 2020.




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    See generally Morris Dec. Exhibit 1.

                                    BASIS FOR RELIEF REQUESTED
                    33.    Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

    a settlement, providing that:


               On motion by the trustee and aﬁer notice and a hearing, the court may
               approve a compromise or settlement. Notice shall be given to creditors, the
               United States trustee. the debtor. and indenture trustees as provided in Rule
               2002 and to any other entity as the court may direct.

    FED. R. BANKR. P. 9019(a).

                    34.    Settlements in bankruptcy are favored as a means of minimizing litigation,

    expediting the administration of the bankruptcy estate, and providing for the eﬂicient resolution

    of bankruptcy cases. See Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996);

    Rivercity v. Herpel (In re Jackson Brewing Ca), 624 F.2d 599, 602 (5th Cir. 1980). Pursuant to

    Bankruptcy Rule 9019(a), a bankruptcy court may approve a compromise or settlement as long

    as the proposed settlement is fair, reasonable, and in the best interest of the estate. See In re Age


    Ref Inc., 801 F.3d 530, 540 (5th Cir. 2015). Ultimately, “approval of a compromise is within
    the sound discretion of the bankruptcy court.” See United States v. A WECO, Inc. (In re A WECO,

    Inc. ), 725 F.2d 293, 297 (5th Cir. 1984); Jackson Brewing, 624 F.2d at 602—03.

                    35.    In making this determination, the United States Court of Appeals for the

    Fiﬁh Circuit applies a three-part test, “with a focus on comparing ‘the terms of the compromise

    with the rewards of litigation.   Oﬂicial Comm. of Unsecured Creditors v. Cajun Elec. Power

    Coop. (In re Cajun Elec. Power Coop.),       ll9 F.3d 349, 356 (5th Cir. 1997) (citing Jackson

    Brewing, 624 F.2d at 602). The Fiﬁh Circuit has instructed courts to consider the following

    factors:   “(1) The probability of success in the litigation, with due consideration for the

    uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any



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    attendant expense, inconvenience and delay, and (3) All other factors bearing on the wisdom of

    the compromise.” 1d. Under the rubric of the third factor referenced above, the Fifth Circuit has

    speciﬁed two additional factors that bear on the decision to approve a proposed settlement. First,

    the court should consider “the paramount interest of creditors with proper deference to their

    reasonable views.” Id; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster

    Mortgage Corp), 68 F.3d 914, 917 (5th Cir. 1995).          Second, the court should consider the

    “extent to which the settlement is truly the product of arms—length bargaining, and not of fraud or

    collusion.” Age R4 Ina, 801 F.3d at 540; Foster Mortgage Corp, 68 F.3d at 918 (citations

    omitted).

                     36.    There is ample basis to approve the proposed Settlement Agreement based

    on the Rule 9019 factors set forth by the Fifth Circuit.

                     37.    First, although the Debtor believes that it has valid defenses to the

    HarbourVest Claims, there is no guarantee that the Debtor would succeed in its litigation with

    HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

    part, on the credibility of witnesses whose veracity has already been called into question by this

    Court.      Moreover, it will be difﬁcult to dispute that the Transfers precipitated the Acis

    Bankruptcy, and, ultimately, the imposition of the Bankruptcy Court’s TRO that restricted

    HCLOF’s ability to reset or redeem the CLOs and that is at the core of the HarbourVest Claims.

                     38.    The second factor—the complexity, duration, and costs of litigation—also

    weighs heavily in favor of approving the Settlement Agreement. As this Court is aware, the

    events forming the basis of the HarbourVest Claims—including the Terry Litigation and Acis

    Bankruptcy—proceeded for years in this Court and in multiple other forums, and has already

    cost the Debtor’s estate millions of dollars in legal fees.   If the Settlement Agreement is not

    approved, then the parties will expend signiﬁcant resources litigating a host of fact-intensive


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    fraudulent statements and omissions and whether HarbourVest reasonably relied on those

    statements and omissions.

                   39.     Third, approval of the Settlement Ageement is justiﬁed by the paramount

    interest of creditors. Speciﬁcally, the settlement will enable the Debtor to: (a) avoid incoming

    substantial litigation costs; (b) avoid the litigation risk associated with HarbourVest’s $300

    million claim; and (c) through the plan support provisions, increase the likelihood that the

    Debtor’s pending plan of reorganization will be conﬁrmed.

                   40.     Finally, the Settlement Agreement was unquestionably negotiated at

    arm’s-length. The terms of the settlement are the result of numerous, ongoing discussions and

    negotiations between the parties and their counsel and represent neither party’s “best case

    scenario.” Indeed, the Settlement Agreement should be approved as a rational exercise of the

    Debtor’s business judgment made alter due deliberation of the facts and circumstances

    concerning HarbourVest’s Claims.

                                          NO PRIOR REQUEST

                   41.     No previous request for the relief sought herein has been made to this, or

    any other, Court.

                                                   NOTICE

                   42.     Notice of this Motion shall be given to the following parties or, in lieu

    thereof, to their counsel, if known: (a) counsel for HarbourVest; (b) the Ofﬁce of the United

    States Trustee; (c) the Oﬁice of the United States Attorney for the Northern District of Texas; (d)

    the Debtor’s principal secured parties; (e) counsel to the Committee; and (t) parties requesting

    notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of the nature of the

    relief requested, no other or further notice need be given.

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            WHEREFORE, the Debtor respectfully requests entry of an order, substantially in the
     form attached hereto as Exhibit A, (a) gaming the relief requested herein, and (b) granting such

    other relief as is just and proper.




     Dated: December 23, 2020.                PACHULSKI STANG ZIEHL & JONES LLP

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                                   UBS Settlement [Doc. 2200-1]
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                                          Exhibit l
                               Settlement Agreement




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                                      SETTLEMENT AGREEMENT
           This Settlement Agreement (the “Agreement”) is entered into as of March 30, 2021, by
     and among (i) Highland. Capital Management, L.P. (“HCMLP or the “Debtor”), (ii) Highland
     Credit Opportunities CDO, L.P. (nfkfa Highland Multi Strategy Credit Fund, L.P.) (“Multi-
     m,”    and together with its general partner and its direct and indirect wholly-owned subsidiaries,
     the “MSCF Parties“), (iii) Strand Advisors, Inc. (“Strand”), and (iv) UBS Securities LLC and
     UBS AG London Branch (collectively,

             Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
     collectively as the “Parties” and individually as a “Ping.”

                                             RECITALS
            WHEREAS, in 2007, UBS entered into certain contracts with HCMLP and two funds
     managed by HCMLP—Highland CDO Opportunity Master Fund, L.P. (“CDO Fund”) and
     Highland Special Opportunities Holding Company (“SOHC,” and together with CD0 Fund, the
     “Funds? related to a securitizalion transaction (the “Knox Agreement"),

            WHEREAS, in 2008, the parties to the Knox Agreement restructured the Knox
     Agreement;

             WHEREAS, UBS terminated the Knox Agreement and, on February 24, 2009, UBS
     ﬁled a complaint in the Supreme Court of the State of New York, County of New York (the
     “State Court”) against HCMLP and the Funds seeking to recover damages related to the Knox
     Agreement, in an action captioned UBS Securities LLC, et at. v. Highland Capital Management,
     L.P., et at, Index No. 650097512009 (N.Y. Sup. Ct.) (the “2009 Action”);

            WHEREAS, UBS’s lone claim against HCMLP in the 2009 Action for indemniﬁcation
     was dismissed in early 2010, and thereafter UBS amended its complaint in the 2009 Action to
     add ﬁve new defendants, Highland Financial Partners, LP.     (“m”),     Highland Credit Strategies
     Master Funds, L.P. (“Credit-Strat”), Highland Crusader Offshore Partners, LP. (“Crusader”),
     Multi-Strat, and Strand, and to add new claims for fraudulent inducement, fraudulent
     conveyance, tortious interference with contract, alter ego, and general partner liability;

             WHEREAS, UBS ﬁled a new, separate action against HCMLP on June 28, 2010, for,
     inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
     dealing, captioned UBS Securities LLC, er al. v. Highiand Capital Management, L.P., Index No.
     65075212010 (N .Y. Sup. Ct.) (the “2010 Action”);

            WHEREAS, in November 2010, the State Court consolidated the 2009 Action and the
     2010 Action (hereafter referred to as the “State Court Action”), and on May 1 l, 2011, UBS ﬁled
     a Second Amended Complaint in the 2009 Action;

              WHEREAS, in 2015, UBS entered into settlement agreements with Crusader and Credit-
     Strat, and thereafter UBS ﬁled notices with the State Court in the State Court Action dismissing
     its claims against Crusader and Credit-Strat;




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                                                                              EXECUTION VERSION

                WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
       purposes of trial, with the Phase I bench trial deciding UBS’s breach of contract claims against
       the Funds and HCMLP’s counterclaims against UBS;

              WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
       Fund, Ltd., Highland CDO Holding Company, Highland Financial Corp., and I-[FP, purportedly
       sold assets with a purported collective fair market value of $105,647,679 (the “Transferred
       Assets”) and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
       (“Sentinel") pursuant to a purported asset purchase agreement (the “Purchase Amment”);

             WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
       premium on a document entitled “Legal Liability Insurance Policy” (the “Insurance Policy”);

             WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
       $100,000,000 for any legal liability resulting ﬁ'om the State Court Action (the “Insurance
       Proceeds”);

                WHEREAS, one of the Transferred Assets CDO Fund transferred to Sentinel was CDO
       Fund’s limited partnership interests in Multi-Sh‘at (the “CDOF Interests”);

              WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
       Multi-Strat for certain cash consideration (together with the CDOF Interests, the “MSCF
       Interests”);

              WHEREAS, the existence of the Purchase Agreement and Insurance Policy were
       unknown to Strand’s independent directors and the Debtor’s bankruptcy advisors prior to late
       January 2021;

             WHEREAS, in early February 2021, the Debtor disclosed the existence of the Purchase
       Agreement and Insurance Policy to UBS;

                WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
       were unknown to UBS;

               WHEREAS, on November 14, 2019, following the Phase I trial, the State Court issued
       its decision determining that the Funds breached the Knox Agreement on December 5, 2008 and
       dismissing HCMLP’s counterclaim;

                WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
       the redeemed    MSCF Interests are currently valued at approximately $32,823,423.50 (the
       “Sentinel Redemption”);

               WHEREAS, on February 10, 2020, the State Court entered a Phase I trial judgment
       against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the “Phase I
       Judgm’ em");
            ‘




              WHEREAS, Phase H of the trial of the State Court Action, includes, inter alia, UBS’s
       claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS’s




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                                                                            EXECUTION VERSION

       ﬁ'audulent transfer claims against HCMLP, I-IFP, and Multi-Strat, and UBS’s general partner
       claim against Strand;

                WHEREAS, on October 16, 2019, HCMLP ﬁled a voluntary petition for relief under
       chapter ll of title ll of the United States Code (the “Bankruptcy Code”) in the United States
       Bankruptcy Court for the District of Delaware (the “Bankruptcy Case"). The Bankruptcy Case
       was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
       “Bankruptcy Court") on December 4, 2019;

           WHEREAS, Phase lI of the trial of the State Court Action was automatically stayed as to
       HCMLP by HCMLP’s banln'uptcy ﬁling;

              WHEREAS, on May        ll, 2020, UBS, Multi-Strat, Highland Credit Opportunities CDO,
       Ltd., and  Highland  Credit Opportunities CDO Asset Holdings, L.P. (collectively, the “my
       Settlement Parties”), entered into a Settlement Agreement (the “May Settlement”) pursuant to
       which the May Settlement Parties agreed to the allocation of the proceeds of certain sales of
       assets held by Multi-Strat, including escrowing a portion of such ﬁmds, and restrictions on
       Multi-Snat’s actions;

              WHEREAS, on June 26, 2020, UBS timely ﬁlled two substantively identical claims in
       the Bankruptcy Case: (i) Claim No. 190 ﬁled by UBS Securities LLC; and (ii) Claim No. 191
       ﬁled by UBS AG London Branch (hereinafter collectively referred to as the “UBS Claim"). The
       UBS Claim asserts a general unsecured claim against HCMLP for $1,039,957,799.40;

               WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order Directing
       Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
       directed to mediate their Bankruptcy Case disputes before two experienced third-party mediators,
       Retired Judge Allan Gropper and Sylvia Mayer (together, the “Mediators”). HCMLP and UBS
       formally n1et with the Mediators together and separately on numerous occasions, including on
       August 27, September 2, 3, and 4, and December 17, 2020, and had numerous other informal
       discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

             WHEREAS, on August ”i, 2020, HCMLP ﬁled an objection to the UBS Claim [Docket
       No. 928]. Also on August 7, 2020, the Redeemer Committee of the Highland Crusader Fund,
       and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd, and Highland
       Crusader Fund II, Ltd. (collectively, the “Redeemer Committee”), objected to the UBS Claim
       [Docket No. 933]. On September 25, 2020, UBS ﬁled its response to these objections [Docket
       No. 1105];

               WHEREAS, on October l6, 2020, HCMLP and the Redeemer Committee each moved
       for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
       on November 6, 2020, UBS opposed these motions [Docket No. 1337];

               WHEREAS, by Order dated December 9, 2020, the Bankruptcy Court granted, as set
       forth therein, the motions for partial summary judgment ﬁled by HCMLP and the Redeemer
       Committee and denied UBS’s request for leave to ﬁle an amended. proof of claim [Docket No.
       1526];




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              WHEREAS, on November 6, 2020, UBS ﬁled UBS's Motion for Temporary Allowance
       of Claims for Voting Purposes Pursuant to Federal Rule ofBanbuptcy Procedure 3018 [Docket
       No. 1338] (the “3018 Motion”), and on November 16, 2020, HCMLP and the Redeemer
       Committee each opposed the 3018 Motion [Docket Nos. 1404 and 1409, respectively];

             WHEREAS, by Order dated December 8, 2020, the Bankruptcy Court granted the 3018
       Motion and allowed the UBS Claim, on a temporary basis and for voting purposes only, in the
       amount of $94,761,076 [Docket No. 1518];

            WHEREAS, on January 22, 2021, the Debtor ﬁled the Fifth Amended Plan of
      Reorganization for Highland Capital Management, LP. (As Modified) [Docket No. 1808] (as
       amended, and as may be timber amended, supplemented, or otherwise modiﬁed, the “Plan”);

                  WHEREAS, on March 29, 2021, the Debtor caused CDO Fund to make a claim on the
       Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

                  WHEREAS, on March 29, 2021, UBS ﬁled an adversary proceeding seeking injunctive
       relief and a motion for a temporary restraining order and preliminary injunction to, among other
       things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
       Sentinel or any transferee of Sentinel (the “Multi-Strat Proceeding”), which relief the Debtor, in
       its capacity as Multi-Strat‘s investment manager and general partner, does not oppose;

                  WHEREAS, the Parties wish to enter into this Agreement to settle all claims and
       disputes between and among them, to the extent and on the terms and conditions set forth herein,
       and to exchange the mutual releases set forth herein, without any admission of fault, liability, or
       wrongdoing on the part of any Party; and

                  WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
       pursuant to Federal Rule of Bankruptcy Procedure 9019 (“Rule 9M9”) and section 363 of the
       Bankruptcy Code;

                  NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
       and promises made herein, and other good and valuable consideration, the receipt of which is
       hereby acknowledged, the Parties agree as follows:

                                                       AGREEMENT
                  1. Settlement of Claims. In fill] and complete satisfaction of the UBS Released
       Claims (as deﬁned below):

                     (a)   The UBS Claim will be allowed as (i) a single, general unsecured claim in
       the amount of $65,000,000 against HCMLP, which shall be treated as a Class 8 General
       Unsecured Claim under the Plan;’ and (ii) a single, subordinated unsecured claim in the amount
       of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
       Unsecured Claim under the Plan.




       ‘
           Capitalized terms used but not deﬁned herein shall have the meanings attributed to them in the Plan.




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                       (b)     Multi-Strat will pay UBS the sum of $18,500,000 (the “Multi-Strat
        Pament”) as follows:    (i) within two (2) business days after the Order Date, the May Settlement
        Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
        of the amounts held in the Escrow Account (as deﬁned in the May Settlement) to he paid to U'BS
        in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
        following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
        Payment in immediately available ﬁmds on the date that is ten (10) business days following the
        Order Date, provided thaL for the avoidance of doubt, the amounts held in the Escrow Account
        will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                       (c)      Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
        CDO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
        within 5 business days of CDO Fund actually receiving the Insurance Proceeds from or on behalf
        of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds, take legal action reasonably
        designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
        Assets to the Funds to satisfy the Phase l Judgment and in addition shall provide reasonable
        assistance to UBS in connection with any legal action UBS takes to recover the Insurance
        Proceeds or to return the Transferred Assets to the Funds to satisfy the Phase I Judgnent or
        obtain rights to the MSCF interests, including but not limited to the redemption payments in
        connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
        the investigation or prosecution of claims or requests for injunctive relief against the Funds,
        Multi-Snat, Sentinel, James Dondero, Isaac Leventon, Scott. Ellington, Andrew Dean,
        Christopher Walter, Jean Paul Seville, Matthew DiOrio, Katie Irving, andJ'or any other current or
        former employee or director of the Funds or Sentinel andfor any other former employee or
        former director of any of the HCMLP Patties that is believed to be involved with the Purchase
        Agreement, Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
        potentially fraudulent transfer of assets from the Funds to Sentinel, excluding the individuals
        listed on the schedule provided to UES on March 25, 202i (the “HCMLP Excluded
        Employees”); (iv) as soon as reasonably practicable, provide UBS with all business and trustee
        contacts at the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp, Aberdeen Loan
        Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
        if any, that are actually known by the Debtor aﬁer reasonable inquiry; (v) as soon as reasonably
        practicable, provide UBS with a copy of the governing documents, prospectuses, and indenture
        agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
        Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
        as applicable, that are in the Debtor’s actual possession, custody, or control, (vi) as soon as
        reasonably practicable, provide, to the extent possible, any CUSIP numbers of the securities of
        the Funds, I-IFP, Greenbriar CLO Ltd, Greenbriar CLO Corp, Aberdeen Loan Funding Ltd,
        Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
        applicable, including information regarding the location and amount of any cash related to those
        entities' holdings, in each case only to the extent actually known by the Debtor aﬁer reasonable
        inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
        'l(c)(vi) or any other assets owned or controlled by the Funds andr'or HFP, including for
        avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
        discovers in the future after the Ageement Effective Date; (viii) respond as promptly as
        reasonably possible to requests by UBS for access to relevant documents and approve as
        promptly as reasonably possible requests for access to relevant documents from third parties as
        needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the




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       MSCF Interests and any other assets currently or formerly held by the Funds or HFP, including
       without limitation the requests listed in Appendix A (provided, however, that the provision of
       any such documents or access will be subject to the common interest privilege and will not
       constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
       Debtor’s actual possession, custody, or control; (ix) preserve all documents in HCMLP’s
       possession, custody, or control regarding or relating to the Purchase Agreement, the Insurance
       Policy, the MSCF Interests, or any transfer of assets ﬁ'om the Funds to Sentinel, including but
       not limited to the documents requested in Appendix A, from 2016 to present, and issue a
       litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
       otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
       and HFP and assets the Funds andfor HFP may own, or have a claim to under applicable law
       ahead of all other creditors of the Funds and HFP; provided, however that, ﬁ'om and after the
       date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses, including,
       but not limited to, those fees and expenses for outside consultants and professionals (the
       “Reimbursable Expenses”), in connection with any provision of this Section 1(c) in excess of
       $3,000,000 (the “Expense Cap”), and provided further that, for every dollar UBS recovers ﬁ-om
       the Funds (other than the assets related to Greenbriar CLO Ltd. or Greenbriar CLO Corn),
       Sentinel, Multi-Strat (other than the amounts set forth in Section l(b) hereof), or any other
       person or entity described in Section l(c){iii) in connection with any claims UBS has that arise
       out of or relate to the Phase I Judgment, the Purchase Agreement, the Insurance Policy, the
       Transferred ASSets, the MSCF Interests, or the Insurance Proceeds (the “UBS Recovery”), UBS
       will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
       incurred by HCMLP, subject to: (l) the occurrence of the Agreement Effective Date and (2)
       UBS’S receipt and review of invoices and time records (which may be redacted as reasonably
       necessary) for outside consultants and professionals in connection with such efforts described in
       this Section 1(c), up to but not exceeding the Expense Cap aﬁer any disputes regarding the
       Reimbursable Expenses have been resolved pursuant to procedures to be agreed upon, or absent
       an agreement, in a manner directed by the Bankruptcy Court; and provided ﬁtrther that in any
       proceeding over the reasonableness of the Reimbursable Expenses, the losing party shall be
       obligated to pay the reasonable fees and expenses of the prevailing party; and provided further
       that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
       behalf of or for UBS’s benefit pursuant to this Section 1(c) shall be conducted in consultation
       with UBS, including but not limited to the selection of necessary outside consultants and
       professionals to assist in such litigation; and provided further that UBS shall have the right to
       approve HCMLP’s selection of outside consultants and professionals to assist in any litigation in
       which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
       UBS’s beneﬁt pursuant to this Section 1(c).

                     (d)     Redeemer Appeal.

                             (i)    0n the Agreement Effective Date, provided that neither the
       Redeemer Committee nor any entities acting on its behalf or with any assistance from or
       coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
       (as deﬁned below), UBS shall withdraw with prejudice its appeal of the Order Approving
       Debtor’s Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim
       No. 72) and (B) the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
       Consistent Therewith [Docket No. 127 3] (the “Redeemer Appeal”); and




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                                (ii)     The Parties have stipulated to extend the deadline for the ﬁling of
      any briefs  in  the Redeemer    Appeal to June 30, 2021 and will agree to such funher extensions as
      necessary  to  facilitate this Settlement Agreement.

                     (e)     As of the Agreement Effective Date, the restrictions and obligations set
      forth in the May Settlement, other than those in Section 'i' thereof, shall be extinguished in their
      entirety and be of no further force or effect.

                     (t)    0n the Agreement Effective Date, the Debtor shall instruct the claims
      agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                     (g)     0n the Agreement Effective Date, any claim the Debtor may have against
      Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
      shall be automatically transferred to UBS, without any further action required by the Debtor. For
      the avoidance of doubt, the Debtor shall retain any and all other claims it may have against
      Sentinel or any other party, and the recovery related thereto, unrelated to the MSCF Interests.

             2.      Deﬁnitions.

                     (a)    “Aggment Effective Date” shall mean the date the full amount of the
      Multi-Strat Payment deﬁned in Section 1(b) above, including without limitation the amounts
      held in the Escrow Acc0unt (as deﬁned in the May Settlement), is actually paid to UBS.

                 (b)    “HCMLP Parties” shall mean (a) HCMLP, in its individual capacity; (b)
      HCMLP, as manager of Multi-Strat; and (c) Strand.

                    (c)    “Order Date” shall mean the date of an order entered by the Bankruptcy
      Court approving this Ayeement pursuant to a motion ﬁled under Rule 9019 and section 363 of
      the Bankruptcy Code.

                     (d)     “UB3 Parties” shall mean UBS Securities LLC and UBS AG London
      Branch.

             3.      Releases.

                      (a)    UBS Releases. Upon the occurrence of the Agreement Effective Date,
      and to the maximum extent permitted by law, each of the UBS Parties hereby forever, ﬁnally,
      fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
      exonerates, forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
      their current and former advisers, attorneys, trustees, directors, ofﬁcers, managers, members,
      partners, employees, beneﬁciaries, shareholders, agents, participants, subsidiaries, parents,
      affiliates, successors, designees, and assigns (each in their capacities as such), except as
      expressly set forth below, and (B) the MSCF Parties and each of their current and former
      advisors, attorneys, trustees, directors, ofﬁcers, managers, members, partners, employees,
      beneﬁciaries, shareholders, agents, participants, subsidiaries, parents, afﬁliates, successors,
      designees, and assigns (each in their capacities as such), except as expressly set forth below, for
      and ﬁ'om any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
      liens, losses, costs and expenses (including, without limitation, attomeys' fees and related costs),
      damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known




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       or unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
       contingent or ﬁxed, at law or in equity, or statutory or otherwise, including, without limitation,
       any claims, defenses, and affirmative defenses, whether known or unknown, including, without
       limitation, those that have been or could have been alleged or asserted in the State Court Action
       or the Bankruptcy Case (collectively, the “UBS Released Claims“), provided, however that
       notwithstanding anything to the contrary herein, such releases shall not apply to (l) the
       obligations of the HCMLP Parties and MSCF Parties under this Agreement, including without
       limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
       described in Sections l(a)—(g) above; (2) the Funds or HFP, including for any liability with
       nespeet to the prosecution, enforcement, collection, or defense of the Phase I Judgment, Purchase
       Agreement, andx’or Insurance Policy, or such prosecution, enforcement, collection, or defense of
       the Phase I Judgment, Purchase Agreement, and/or Insurance Policy by UBS; (3) James Dondero
       or Mark Okada, or any entities, inciuding without limitation Hunter Mountain Investment Trust,
       Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
       than the HCMLP Parties and MSCF Parties (but for the avoidance of doubt, such releases of the
       HCMLP Patties and MSCF Parties shall be solely with respect to such entities and shall not
       extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
       capacity, including but not limited to as an investor, ofﬁcer, trustee, or director in the HCMLP
       Parties or MSCF Parties); (4) Sentinel or its subsidiaries, parents, afﬁliates, successors.
       designees, assigns, employees, or directors, including James Dondero, Isaac Leventon, Scott
       Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving,
       andfor any other current or former employee or director of the Funds or Sentinel andfor any other
       former employee or fonner director of any of the HCMLP Parties that is believed to be involved
       with the Purchase Agreement, Insurance Policy, MSCF Interests, or Transferred Assets,
       including for any liability with respect to the prosecution, enforcement, collection, or defense of
       the Phase I Judgment, Purchase Agreement, the MSCF Interests, any potentially fraudulent
       transfer of assets from the Funds to Sentinel andfor Insurance Policy, excluding the HCMLP
       Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
       directly or indirectly (including in its capacity as an investment manager andfor investment
       advisor), in any HCMLP-afﬁliated entity, including without limitation in the Redeemer
       Committee and Credit Strat, and/or in such entities’ past, present or ﬁiture subsidiaries and
       feeders funds (the “UBS Unrelated Investments”); and (6) any actions taken by UBS against any
       person or entity, including any HCMLP Party or MSCF Party, to enjoin a distribution on the
       Sentinel Redemption or the transfer of any assets currently held by or within the control of CDO
       Fund to Sentinel or a subsequent transferee or to seek to compel any action that only such person
       or entity has standing to pursue or authorize in order to permit UBS to recover the Insurance
       Proceeds, Transferred Assets, the Phase I Judgment or any recovery against HFP; provided,
       however that, from and after the date hereof, any out-of-pocket fees or expenses incurred by
       HCMLP in connection with this Section 3(a)(6) will be considered Reimbursable Expenses and
       shall be subject to, and applied against, the Expense Cap as if they were incurred by HCMLP
       pursuant to Section 1(c) subject to the occurrence of the Agreement Effective Date and after any
       disputes regarding such Reimbursable Expenses have been resolved in the manner described in
       Section 1(c).

                      (b)     HCMLP Release. Upon the occurrence of the Agreement Effective Date,
       and to the maximum extent permitted by law, each of the HCMLP Parties hereby forever, ﬁnally,
       fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
       exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of




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       their current and former advisers, attorneys, trustees, directors, ofﬁcers, managers, members,
       partners, employees, beneﬁciaries, shareholders, agents, participants, subsidiaries, parents,
       aﬁliates, successors, desigiees, and assigns (each in their capacities as such), for and ﬁom any
       and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
       costs and expenses (including, without limitation, attomeys’ fees and related costs), damages,
       injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
       unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
       contingent or ﬁxed, at law or in equity, or statutory or otherwise, including, without limitation,
       any claims, defenses, and afﬁrmative defenses, whether known or unknown, including, without
       limitation, those that have been or could have been alleged or asserted in the State Court Action
       or the Bankruptcy Case (collectively, the “HCMLP Released Claims"), provided, however, that
       notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
       of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
       obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                        (c)    Multi—Strat Release. Upon the occurrence of the Agreement Effective
       Date,  and  to the  maximum    extent permitted by law, each of the MSCF Parties hereby forever,
       ﬁnally, fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
       exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of
       their current and former advisers, attorneys, trustees, directors, ofﬁcers, managers, members,
       panners, employees, beneﬁciaries, shareholders, agents, participants, subsidiaries, parents,
       afﬁliates, successors, designees, and assigns (each in their capacities as such), for and from any
       and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
       costs and expenses (including, without limitation, attomeys’ fees and related costs), damages,
       injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
       unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
       contingent or ﬁxed, at law or in equity, or statutory or otherwise, including, without limitation,
       any claims, defenses, and afﬁrmative defenses, whether known or unknown, including, without
       limitation, those that have been or could have been alleged or asserted in the State Court Action
       or the Bankruptcy Case (collectively, the “Multi-Strat Released Claims”), provided, however,
       that notwithstanding anything to the contrary herein, such releases shall not apply to the
       obligations of the UBS Parties under this Agreement or Section 7 of the May Settlement.

             4.    No Third Pan      Beneﬁciaries.   Except for the parties released by this
       Agreement, no other person or entity shall be deemed a third-party beneﬁciary of this
       Agreement.

               5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
       Effective date, if UBS ever controls any HCMLP-aﬁiliated defendant in the State Court Action
       by virtue of the prosecution, enforcement, or collection of the Phase [Judgment (collectively, the
       “Controlled State Court Defendants”), UBS covenants on behalf of itself and the Controlled
       State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
       assert or pursue any claims that any Controlled State Court Defendant has or may have against
       any of the HCMLP Parties; provided, however, that nothing shall prohibit UBS or a Controlled
       State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
       ﬁtrther however, if and to the extent UBS receives any distribution ﬁ'om any Controlled State
       Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
       Debtor, subject to the exceptions set forth in Section 3(a), which distribution is directly




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       attributable to any property the Controlled State Court Defendant receives from the Debtor and
       separate and distinct ﬁ'om property owned or controlled by CDO Fund, SOHC, or Multi-Strat,
       then such recovery shall be credited against all amounts due ﬁom the Debtor’s estate on account
       of the UBS Claim allowed pursuant to Section 1(a) of this Agreement, or if such claim has been
       paid in ﬁill, shall be promptly turned over to the Debtor or its successors or assigns.

              6.      Agreement Subiect to Bankruptcv Court Approvﬂ,

                       (a)    The force and effect of this Agreement and the Parties' obligations
       hereunder are conditioned in all respects on the approval of this Agreement and the releases
       herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
       Agreement expeditiously approved by the Bankruptcy Court by cooperating in the preparation
       and prosecution of a mutually agreeable motion and proposed order (the “9019 Motion") to be
       ﬁled by the Debtor no later than ﬁve business days aﬁel- execution of this Agreement by all
       Parties unless an extension is agreed to by both parties.

              T.      Rep resentations and Warranties.

                       (a)   Each UBS Party represents and warrants that (i) it has full authority to
       enter into this Agreement and to release the UBS Released Claims and has not sold, transferred,
       or assigned any UBS Released Claim to any other person or entity, and (ii) no person or entity
       other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
       UBS Released Claim on behalf of, for the beneﬁt of, or in the name of (whether directly or
       derivatively) such UBS Party.

                       (b)    Each HCMLP Party represents and warrants that (i) it has ﬁlll authority to
       enter into this Agreement and to release the HCMLP Released Claims and has not sold,
       transferred, or assigned any HCMLP Released Claim to any other person or entity, and (ii) no
       person or entity other than such HCMLP Party has been, is, or will be authorized to bring,
       pursue, or enforce any HCMLP Released Claim on behalf of, for the benefit of, or in the name of
       (whether directly or derivatively) such HCMLP Party.

                       (c)    Each MSCF Party represents and warrants that (i) it has full authority to
       enter into this Agreement and to release the Multi-Strat Released, Claims and has not sold,
       transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
       person or entity other than such MSCF Party has been, is, or will be authorized. to bring, pursue,
       or enforce any Multi-Strat Released Claim on behalf of, for the benefit of, or in the name of
       (whether directly or derivatively) such MSCF Party.




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                                                                           EXECUTION VERSION

              8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
       dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
       or by implication, as an admission of liability, fault, or wrongdoing by HCMLP, the MSCF
       Parties, Strand, UBS, or any other person, and the execution of this Agreement does not
       constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
       Parties, Strand, UBS, or any other person.

              9.      Successors-in-lntcrest. This Agreement shall be binding upon and. shall inure to
       the beneﬁt of each of the Parties and their representatives, successors, and assigns.

              10.     Notice. Each notice and other communication hereunder shall be in mining and
       will, unless otherwise subsequently directed in writing, be delivered by email and overnight
       delivery, as set forth below, and will be deemed to have been given on the date following such
       mailing.

              HCMLI’ l’arties or the MSCF Parties
              Highland Capital Management, LP.
              300 Crescent Court, Suite 700
              Dallas, Texas 75201
              Attention: General Counsel
              Telephone No.: 972-628-4100
              E-mail: notices@HighlandCapital.com

              with a com (which shall not constitute notice to:
                                                           1‘




              Pachulski Stang Ziehl & Jones LLP
              Attention: Jeffrey Pomerantz, Esq.
              10100 Santa Monica Blvd.. 13th Floor
              Los Angeles, CA 90067
              Telephone No.: 310-277-6910
              E-mail: jpomerantz@pszjlaw.com

              UBS

              UBS Securities LLC
              UBS AG London Branch
              Attention: Elizabeth Kozlowski, Executive Director and Counsel
              1285 Avenue of the Americas
              New York, NY 10019
              Telephone No.: 212-713-9007
              E-mail: elizabeth.kozlowski@ubs.com

              UBS Securities LLC
              UBS AG London Branch
              Attention: John Lantz, Executive Director
              1285 Avenue of the Americas
              New York, NY 10019



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                                                                              EXECUTION VERSION

               Telephone No.: 212-713-1371
               E-mail: john.lantz@ubs.com

               with a copy { which shall not constitute notice} to:

               Latham & Watkins LLP
               Attention: Andrew Clubok
                           Sarah Tomkowiak
               555 Eleventh Street, NW, Suite 1000
               Washington, DC. 20004-1304
               Telephone No.: 202-637-3323
               Email: andrew.c1ubok@lw.com
                       sarah.tomkowiak@lw.com

               11.     Advice of Counsel. Each of the Parties represents that Such Party has: (a) been
        adequately represented by independent legal counsel of its own choice, throughout all of the
        negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
        the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
        and conditions contained herein without any reservations; and (d) had the opportunity to have
        this Agreement and all the terms and conditions contained herein explained by independent
        counsel, who has answered any and all questions asked of such counsel, or which could have
        been asked of such counsel, including, but not limited to, with regard to the meaning and effect
        of any of the provisions of this Agreement.

               12.    Entire A reernent. This Agreement contains the entire agreement and
        understanding concerning the subject matter of this Agreement, and supersedes and replaces all
        prim- negotiations and agreements, written or Oral and executed or unexecuted, conceming such
        subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
        attorney for any such Party, has made any promise, representation, or warranty, express or
        implied, written or oral, not otherwise contained in this Agreement to induce any Party to
        execute this Agreement. The Parties further acknowledge that they are not executing this
        Agreement in reliance on any promise, representation, or warranty not contained in this
        Agreement, and that any such reliance would be unreasonable. This Agreement will not be
        waived or modiﬁed except by an agreement in writing signed by each Party or duly authorized
        representative of each Party.

               13.      No Party Deemed Drafter. The Parties acknowledge that the terms of this
        Agreement   are  contractual and are the result of arm’s-length negotiations between the Parties
        and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
        of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
        construed against any Party.

              14.    Future Cooperation. The Parties agree to cooperate and execute such further
        documentation as is reasonably necessary to effectuate the intent of this Agreement.

                15.    Counterp arts. This Agreement may be executed in counterparts with the same
        force and effect as if executed in one complete document. Each Party’s signature hereto will.
        signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.


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       Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
       originals of this Agreement for any purpose.

              16.      Governing Law: Venue; Attornevs’ Fees and Costs. The Parties agree that this
       Agreement    will be governed by and will be construed according to the laws of the State of New
       York without regard to conﬂict-of-law principles. Each of the Parties hereby submits to the
       exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
       thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
       Manhattan, New York, with respect to any disputes arising from or out of this Agreement. In
       any action to enforce this Agreement, the prevailing party shall be entitled to recover its
       reasonable and necessary attorneys’ fees and costs (including experts).

                                   [Remainder of Page Intentionally Blank]




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      IT IS HEREBY AGREED.
                                       HIGHLAND CAPITAL MANAGEMENT, L.P.


                                       By:
                                       Name:
                                       Its:
                                                Ogqp 44,
                                                       u         ;

                                       HIGHLAND MULTI STRATEGY CREDIT
                                       FUND,     LP.            (ffkfa        Highland            Credit
                                       apportumilties CDO, L.P.)


                                       By:
                                       Name:
                                       Its:
                                                 49‘ 4»!
                                                  /        if            P.
                                                                              3               r


                                       I-HGI-ILAND CREDIT OPPORTUNITIES CBO,
                                       LM.


                                       By:
                                       Name:
                                       Its:       I        Jan-nu
                                                            M4531 57W;
                                                                         .
                                                                                  .1
                                                                                       1



                                       HIGHLAND CREDIT OPPORTUNITIES CDO
                                       ASSET HOLDINGS, L.P.


                                       By:
                                       Name:
                                       Its:                      Q. Bddlf‘lﬂd S               QM}; :7
                                       STRAND ADVISORS; INC.


                                       By:
                                       Name:                3* M5.
                                                                                       s...




                                       Its:




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                                                                   EXECUTION VERSION

                                        UBS SECURITIES LLC

                                        By;    @425?
                                        Name: john Lafﬁz
                                                              5/

                                        Its:  Authorized Simtog:

                                        By     {dash/KL
                                        Name: ElizaUeth Kozlowsfci
                                                                   7W“U


                                        Its:  Authorized Signatorv

                                        UBS AG LONDON BRANCH


                                        By:
                                        Name: William Chandler
                                        Its:  Authorized Signatorv

                                        By:    Ida/x   :1   Ali 7W’WJL
                                                                  ”
                                        Name: hiizatfeth Knzlowsléi
                                        Its:  Authorized Signatorv




                                       15‘




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                                                                        EXECUTION VERSION

                                          APPENDIX A
           The search parameters (Custodians, date ranges, search terms) used to locate the
           documents produced to UBS on February 27, 2021 (and any additional parameters used
           for the previous requests from UBS);
           Identity of counsel to, and trustees of, CDO Fund or SOHC;
           Current 0r last effective investment manager agreements for CDO Fund and SOHC,
           including any management fee schedule, and any documentation regarding the
           tel-mination of those agreements;
           The tax returns for the CDO Fund and SOHC from 2017-present;
           Communications between any employees of Sentinel (or its afﬁliates) and any
           employees of the HCMLP Parties, CDO Fund, SOHC, or any of Dondero, Lewnton, or
           Ellington from 2017-present;
           Documents or communications regarding or relating to the Purchase Agreement,
           Insurance Policy, or June 30, 2018 Memorandum entitled “Tax Consequences of
           Sentinel Acquisition of HFPJCDO Opportunity Assets” (the “Tax Memo”), including
           without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
           these documents, (iii) board minutes or resolutions regarding or relating to these
           documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
           regarding the asset transfer pursuant to these documents; and (vi) any similar asset
           purchase agreements, capital transfer agreements, or similar agreements;
           Documents or communications regarding or relating to the value of any assets
           transferred pursuant to the Insurance Policy or Purchase Agreement, including without
           limitation those assets listed in Schedule A to the Purchase Agreement, from 2017 to
           present, including documentation supporting the $105,647,679 value of those assets as
           listed in the Tax Memo;
           Documents showing the organizational structure of Sentinel and its affiliated entities,
           including information on Dondero’s relationship to Sentinel;
           Any factual information provided by current or former employees of the HCMLP
           Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
           Agreement, Insurance Policy, Tax Memo, andfor transfer of assets pursuant to those
           documents;
           Debtor’s settlement agreements with Ellington and Leventon;
           Copies of all prior and future Monthly Reports and Valuation Reports (as deﬁned in the
           lndenture, dated as of December 20, 2007, among Greenbriar CLO Ltd., Greenbriar
           CDO Corp, and State Street Bank and Trust Company); and
           Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
           those creditors by CDO Fund, SOHC, or HFP, including without limitation any debts
           owed to the Debtor.




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                               Hellman & Friedman Seeded Farallon Capital Management
    OUR FOUNDER


        nmumnnourmloum



    Warren Hellman: One of the good guys

    Warren Hellman was a devoted famlly man, highly successful businessman, active philanthropist, dedicated musician, arts patron,
    endurance athlete and all—around good guy. Born in New York City in 1934, he grew up in the Bay Area, graduating from the University of
    California at Berkeley. After serving in the U.S. Army and attending Harvard Business School. Warren began his ﬁnance career at Lehman
    Brothers, becoming the youngest partner in the firrn’s history at age 26 and subsequently serving as President. After a distinguished
    career on Wall Street, Warren moved back west and cofounded Hellman & Friedman, building it into one of the indusuys leading private

    equity ﬁrms.


    Warren deeply believed In the power of people to accomplish incredible thing and used his success to improve and enrich the lives of
    countless people. Throughout his career, Warren helped found or seed many successful businesses including Matrix Farmers, Jordan

    Management Company, Farallon Capital Management and Hall Capital Partners.


    Withln the community. Warren and his family were generous supporters of dozens of organizations and causes in the arts. public
    education, civic life, and public healﬂi, including creating and running the San Francisco Free Clinic. Later in life, Warren became an
    accomplished S—string banjo player and found great joy in sharing the love of music with others. in true form, he made something larger of
    this avocation to beneﬁt others by founding the Hardly Strictly Bluegrass Fesu‘val. an annual three-day, free music fesu‘vai that draws
    hundreds of thousands of people together from around the Bay Area.


    An accomplished endurance athlete, Warren regularly completed loo-mile runs. horseback rides and combinations of the two. He also
    was an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 19705. and is credited with
    helping revitalize the Sugar Bowl ski resort in the California Sierras.


    In short, Warren Hellman embodied the ideal of living life to the fullest. He had an active mind and body, and a huge heart. We are lucky
    to call him our founder. Read more about Warren. (https:/Ihf.comlwp-contentluploadsl2015/09/Warren-Hellman-News-Release.pdf)




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    l
    momleﬁFGatt/LII Kahlil

   httpsjlhlcom/warren-helimanl                                                                                                                         1/2




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                            Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                      Grosvenor Capital Management
                 GROSVENOR




                                               In   2W, HBuF invested in Grosvenor. one of the world's largest and most diversiﬁed independent
                                               altemaﬁve asset management firms. The Company offers comprehensive public and private markets
                                               solutions and a broad suite of investment and advisory choices that span hedge funds. private equity.
                                               and various credit and specialty strategies. Grosvenor specializes in developing customized
                                               investment programs tailored to each client’s speciﬁc investment goals.



                                               SECIOR

                                               Financial Services



                                               SI'A‘I'US

                                               Past



                                               wwwgcmlpxom (httpﬂvmwgcmlpxom)




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   cp LOGIN mTrDSiISEWICESSUNcAnDDXCOMJDOCUMENTmm                   TERMS OF use {HTID‘SJMFCOMITERMS—OF-USEﬂ
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   MOM! YOUR CALIFORNIA FIGHTS [H'ITPSJII‘H F.COMNOUR-CALIFORNIA—CONSUMER-FRIVACY—ACI—RIGHTS’]
                                                                                                     [HFTPSJMWW UNKEDIN COMICOMPANVﬂ-IELLMAN-
                                                                                                     5.
                                                                                                     FRIEDMAN]
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                      OORNER OFFICE



                      GEM Grosvenor to Go Public
         lull. Sopl   The $57 billion altematlves manager wlll become a public company after mergng with a SPAC backed by
                      Cantor Fitzgerald.

                      My!“ 03. 2020




                      In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                      The Chicago-based alternative investments ﬁrm is planning to go public by merging with a
                      special purpose acquisition company in a deal valued at $2 billion. The 50—year-old ﬁrm has
                      $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                      investments.


                      “We have long valued having external shareholders and we wanted to preserve the
                      accountability and focus that comes with that,” Michael Sacks, GCM Grosvenor’s chairman
                      and CEO, said in a statement.


                      GCM Grosvenor will combine with CF Finance Special Acquisition Corp, a SPAC backed by
                      Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                      the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                      management and Hellman & Friedman, a private equity ﬁrm. Hellman 8: Friedman, which
                      has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as

                                      IWGCM-Gosvsnor—lo-Go-Puulc                                                                    113




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                                         Farallon was a Significant Borrower for Lehman



    Case Study — Large Loan Origination
    Debt origination for an afﬁliate of Simon Property Group Inc. and Farallon Capital Management
                                                                                        Transaction Ovcrvicu
        Date                                  June 2007
                                                           O In June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $321
        A35“ Class                                 Rm""      million (Lehman portion: $121 million) with JP Morgan to a special purpose afﬁliate of
        Asset Size                    1,303,505 Sq. Ft.      a joint venture between Simon Property Group inc (“Simon”) and Farallon Capital
    "                                                        Management (“Farallon") secured by the shopping center known as Gumee Mills Mall
        S ponsor          S'lmon P rope 11y Gro up [ no. /        u         a:      -

                                                             (the Property )locatedln Gurnee, 1L '
                         Farallon Capital Management
                                                         '
               '.                                          e The Property consists of a one-story, 200 store discount mega-mall comprised of
        T                                    Refmalice
                                                             1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
        Tipncsactlon
                                                   . .       Beyond and Kohls among other national retailers. Built in 1991, the Property underwent
        Total Debt     Lehman Brothers: $121 ""11”“          a $5 million interior renovation in addition to a $71 million redevelopment between 2004
        Am“                   JP Morgan: $200 million        and 2005. As of March 2007, the Property had a in-line occupancy of 99.5%.


                                                                                    Lehman Brothers Role
                                                       0 Simon and F arallon comprised the sponsorship which eventually merged with The Mills
                                                           Corporation in early 2007 for $25.25 per common share in cash. The total value of the
                                                           transaction was approximately $1.64 billion for all of the outstanding common stock, and
                                                 1%        approximately $749 billion including assumed debt and preferred equity.
                                                       O   Lehman and JP Morgan subsequently co-originated $321 million loan at 79.2% LTV
                                                           based on an appraisal completed in March by Cushman & Wakeﬁeld. The Loan was
                                                           used to reﬁnance the indebtedness secured by the Property.

                                                                                        Sponsorship Overview
                                                           The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                           a diversiﬁed portfolio of retail destinations including regional shopping malls and
                                                           entertainment centers. They currently own 38 properties in the United States totaling 47
                                                           million square feet.



    LEHMAN BROTHERS                                                         32




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                                 Mr. Seerv Represented Stonehill While at Sidlev


    James P. Seey, Jr.
    John G. Hutchinson
    John J. Lavelle
    Martin B. Jackson
    Sidley Austin LLP
    787 Seventh Avenue
    New York, New York 10019
    (212) 839-5300 (tel)
    (212) 839-5599 (fax)

    Attorneys for the Steering Group

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
                                                               X
    In re:                                                          Chapter 1 l

    BLOCKBUSTER INC, e! (11.,                                       Case No. 10- 14997 (BRL)

                                       Debtors.                     (Jointly Administered)

                                                               it

     THE BACKSTOP LENDERS’ OBJECTION TO THE MOTION OF LYME REGIS TO
    ABANDON CERTAIN CAUSES OF ACTION OR, IN THE ALTERNATIVE, TO GRANT
     STANDING T0 LYME REGIS TO PURSUE CLAIMS ON BEHALF OF THE ESTATE
             l.          The Steering Group of Senior Secured Noteholders who are Backstop Lenders     --




    Icahn Capital LP, Monarch Alternative Capital LP, Owl Creek Asset Management, L.P.,

    Stonehill Capital Management LLC, and Viirde Partners, Inc. (collectively, the “Backstop

                  --
                       hereby ﬁle this objection (the “Objection”) to the Motion of Lyme Regis Partners,

    LLC (“Lyme Regis”) to Abandon Certain Causes of Action or, in the Alternative, to Grant

    Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the “Motion") [Docket No.

    593].




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    Stonehill Founder (Motulskv) and Grosvenor’s G.C. (Nesler) Were Law School Classmates




                                  7/0....




                     Over 25 years earlier, here is a group at a
                        party. From the left, Bob Zinn, Dave
                       Lowenthal, Rory Little, Jug Healer, Jon
                      Polonsky (in front ofJoe), John Moruisky
                        and Mark Windfeld-Hansen (behind
                     bottle!) Motulsky circulated this photo at
                             the reunion. Thanks John!




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                  Joseph H. Nesler (He/Him)
                   General Counsel




                        Joseph H. Nesler(He/Him)-
                         3rd
                                                                         '       Vale LawSchooI


                         General Counsel
                        Winnetka, Illinois, United States -
                         Contact info
                         500+ connections




                             Open to work
                             Chief Compliance Ofﬁcer and General Counsel roles
                             See all details




                        About
                         |have over 38 years of experience representing participants in the investment
                         management industry with respect to a wide range of legal and regulatory matters,
                         including SEC, DOL, FINRA, and NFA regulations and examinations.            see more




                        Activity
                         522 followers

                         Posts Joseph H. created, shared. or commented on in the last 90 days are displayed
                         here.

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                                                                                   .......   ...J.



            Joseph H. Nesler (He/Him]
            General Counsel
                 I—llr‘ul nu..-

                                  General Counsel
                                  Dalpha Capital Management, LLC
                                  Aug 2020 Jul 2021 1 yr
                                                       -




                                  Of Counsel
                  \X/             Winston 8:. Strawn LLP
                                  Sep 2018 —Jul 2020 - 1 yr 11 mos
                                  Greater Chicago Area



                                  Principal
                                  The Law Ofﬁces of Joseph H. Nesler, LLC
                                  Feb 2016 — Aug 2018-2 yrs 7 mos



                     ,
                                  Grosvenor Capital Management. LP.
                 IU‘MW            11 yrs 9 mos



                                  Independent Consultant to Grosvenor Capital Management,
                                  LP.
                                  May 2015 — Dec 2015-8 mos
                                  Chicago, Illinois

                                  General Counsel
                                  Apr 2004— Apr 2015       -
                                                               11 yrs 1 mo

                                  Chicago, Illinois

                                  Managing Director, General Counsel and Chief Compliance
                                  Ofﬁcer (April 2004 — April 2015)




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                Investor Communication to Highland Crusader Funds Stakeholders
                                                                                          Alvarez     a.   Harsal
                                                                                 lanagemanl, LLC        2029 Cal
         A                                                                                Patk East   Suite 206C
         &                                                                                      Angeles. CA 9
         M




         July 6, 2021


         Re: Update & Notice of Distribution


         Dear Highland Crusader Funds Stakeholder,

                 As you know, in October 2020, the Bankruptcy Court approved a settlement of the
         Redeemer Committee’s and the Crusader Funds’ claims against Highland Capital Management
         LP. (“HCM”), as a result of which the Redeemer Committee was allowed a general unsecured
         claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
         claim of $50,000 against HCM (collectively, the “C laims”). In addition, as part of the settlement,
         various interests in the Crusader Funds held by HCM and certain of its afﬁliates are t0 be
         extinguished (the “Extin ished Interests”), and the Redeemer Committee and the Crusader Funds
         received a general release from HCM and a waiver by HCM of any claim to distributions or fees
         that it might otherwise receive from the Crusader Funds (the “Released Claims” and, collectively
         with the Extinguished Interests, the “Retained Rights”).

                A timely appeal of the settlement was taken by UBS (the “UBS Appeal} in the United States
         District Court for the Northern District of Texas, Dallas Division. However, the Bankruptcy Court
         subsequently approved a settlement between HCM and UBS, resulting in dismissal of the UBS
         Appeal with prejudice on June 14, 2021.

                On April 30, 2021, the Crusader Funds and the Redeemer Committee consummated the sale
         of the Claims against HCM and the majority of the remaining investments held by the Crusader
         Funds to Jessup Holdings LLC (“Jessup”) for $78 million in cash, which was paid in full to the
         Crusader Funds at closing. The sale speciﬁcally excluded the Crusader Funds” investment in
         Cornerstone Healthcare Group Holding Inc. and excluded certain speciﬁed provisions of the
         settlement agreement with HCM (the “Settlement Agreement”), including, but not limited to, the
         Retained Rights. The sale of the Claims and investments was made with no holdbacks or escrows.

                The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
         by Alvarez  & Marsal CRF Management LLC {“A&M CRF“), as Investment Manager of the
         Crusader Funds, in consultation with the Redeemer Committee. Ultimately, the Crusader Funds
         and the Redeemer Committee entered exclusive negotiations with Jessup. culminating in the sale
         to Jessup.

                A&M CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
         Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
         from the Jessup transaction ($78 million), net of any applicable tax withholdings and with no
         reserves for the Extinguished Claims or the Released Claims. In addition, the distribution will
         include approximately $9.4 million in proceeds that have been redistributed due to the cancellation



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             and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
             DAF and Eames in connection with the Settlement Agreement, resulting in a total gross
             distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 2021.

                    Please note that A&M CRF intends to make the distributions by wire transfer no later than
             July 3|, 2021. Please conﬁrm your wire instructions on or before July 20, 2021. If there are any
             revisions to your wire information, please use the attached template to provide SEI and A&M CRF
             your updated information on investor letterhead. This information should be sent on or before July
             20, 2021 to Alvarez & Marsal CRF and SEI at CRFInvestorg'gj‘alvarezandmarsal.com and AIFS-
             IS CrusaderfaJseiccom, respectively.

                   The wire payments will be made to the investor bank account on ﬁle with an effective and record
            date of July l, 2021. Should you have any questions, please contact SEI or A&M CRF at the e-mail
            addresses listed above.




     Sincerely,


     Alvarez & Marsal CRF Management, LLC


     By
          Steven Vamer
          Managing Director




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                                            November 3. 2021

Via E-Mail and Federal Exgress
Ms. Nan R. Eitel
Ofﬁce of the General Counsel
Executive Ofﬁce for U.S. Trustees
20 Massachusetts Avenue, NW
8th Floor
Washington, DC 20530
Nan.r.Eitel@usdoj.gov

          Re:      Highland Capital Management. L.P. Bankruptcy Case
                  Case No. 19-34054 (SGJ) Bankr. ND. Tex.

Dear Ms. Eitel:

          am a senior bankruptcy practitioner who has worked closely with Douglas Draper (representing
          I


separate, albeit aligned, clients) in the above-referenced Chapter 11 case. l have represented debtors-
in-possession on multiple occasions, have served as an adjunct professor of law teaching advanced
corporate restructuring, and consider myself not only a bankruptcy expert, but an expert on the
practicalities and realities of how estates and cases are administered and, therefore, how they could be
manipulated for personal interests. l write to follow up on the letter that Douglas sent to your ofﬁces on
October 4, 2021, on account of additional information my clients have learned in this matter. So that
you understand, my clients in the case are NexPoint Advisors, L.P. and Highland Capital Management
Fund Advisors, L.P., both of whom are afﬁliated with and controlled by James Dondero, and write this|




letter on their behalf and based on information they have obtained.

          share Douglas' view that serious abuses of the bankruptcy process occurred during the
          l

bankruptcy of Texas-headquartered Highland Capital Management, L.P. (“Highland' or the “Debtor”)
which, left uninvestigated and unaddressed, may represent a systemic issue that l believe would be of
concern to your ofﬁce and within your ofﬁce's sphere of authority. Those abuses include potential insider
trading and breaches of fiduciary duty by those charged with protecting creditors, understated
estimations of estate value seemingly designed to beneﬁt insiders and management, gross mistreatment
of employees who were key to the bankruptcy process, and ultimately a plan aimed at liquidating an
otherwise viable estate, to the detriment of third-party investors in Debtor-managed funds. To be clear,
l recognize that the Bankruptcy Court has ruled the way that it has and l am not criticizing the Bankruptcy

Court or seeking to attack any of its orders. Rather, as has been and will be shown, the Bankruptcy
Court acted on misinformation presented to it, intentional lack of transparency, and manipulation of the
facts and circumstances by the ﬁduciaries of the estate.    I  therefore wish to add my voice to Douglas’
aforementioned letter, provide additional information, encourage your investigation, and offer whatever
information or assistance can.
                             |




       The abuses here are akin to the type of systemic abuse of process that took place in the
bankruptcy of Neirnan Marcus (in which a core member of the creditors' committee admittediy attempted
to perpetrate a massive fraud on creditors), and which is something that lawmakers should be concerned

                                                                                            EXHIBIT
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about, particularly to the extent that debtor management and creditors' committee members are using
the federal bankruptcy process to shield themselves from liability for othenNise harmful, illegal, or
fraudulent acts.

                                                 BACKGROUND

Highland Capital Management and Its Founder, James Dondero

        Highland Capital Management, L.P. is an SEC—registered investment advisor co-founded by
James Dondero in 1993. A graduate of the University of Virginia with highest honors, Mr. Dondero has
over thirty years of experience successfully overseeing investment and business activities across a
range of investment platforms. Of note, Mr. Dondero is chiefly responsible for ensuring that Highland
weathered the global ﬁnancial crisis, evolving the firm’s focus from high-yield credit to other areas,
including real estate, private equity, and alternative investments. Prior to its bankruptcy, Highland served
as advisor to a suite of registered funds, including open-end mutual funds, closed-end funds, and an
exchange-traded fund.

        In addition to managing Highland, Mr. Dondero is a dedicated philanthropist who has actively
supported initiatives in education, veterans’ affairs, and public policy. He currently serves as a member
of the Executive Board of the Southern Methodist University Cox School of Business and sits on the
Executive Advisory Council of the George W. Bush Presidential Center.

Circumstances Precipitating Bankruptcy

         Notwithstanding Highland’s historical success with Mr. Dondero at the helm, Highland’s funds—
like many other investment platforms—suffered losses during the financial crisis, leading to myriad
lawsuits by investors. One of the most contentious disputes involved a group of investors who had
invested in Highland-managed funds collectively termed the “Crusader Funds.” During the ﬁnancial
crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager temporarily
suspended redemptions, leading investors to sue. That dispute resolved with the formation of an investor
committee self-named the “Redeemer Committee" and the orderly liquidation of the Crusader Funds,
which resulted in investors’ receiving a return of their investments plus a return, as opposed to the 20
cents on the dollarthey would have received had their redemption requests been honored when made.

         Despite this successful liquidation, the Redeemer Committee sued Highland again several years
later, claiming that Highland had improperly delayed the liquidation and paid itself fees not authorized
under the parties’ earlier settlement agreement. The dispute went to arbitration, ultimately resulting in
an arbitration award against Highland of $189 million (of which Highland expected to make a net
payment of $1 10 million once the award was conﬁrmed).

        Believing that a restructuring of its judgment liabilities was in Highland’s best interest, on October
16, 2019, Highland—a Delaware limited partnership—filed a voluntary petition for relief under Chapter
11 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware}

       On October 29, 2019, the Bankruptcy Court appointed the Ofﬁcial Committee of Unsecured
Creditors ("Creditors’ Committee”). The Creditors’ Committee Members (and the contact individuals for
those members) are: (1) The Redeemer Committee of the Highland Crusader Fund (Eric Felton), (2)
Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch (Elizabeth

1
    In re Highland Capital Mgmt., L.P., Case No. 19-12239—CSS (Bankr. D. Del.) (“Del. Case"), Dkt. 1.




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Kozlowski), and (4) Acis Capital Management, LP. and Acis Capital Management GP, LLP (Joshua
Terry)? At the time of their appointment, creditors agreeing to serve on the Creditors’ Committee were
given an Instruction Sheet by the Office of the United States Trustee, instructing as follows:

         Creditors wishing to serve as ﬁduciaries on any official committee are advised that
         they may not purchase, sell or otherwise trade in or transfer claims against the
         Debtor while they are committee members absent an order of the Court. By
         submitting the enclosed Questionnaire and accepting membership on an official
         committee of creditors, you agree to this prohibition. The United States Trustee
         reserves the right to take appropriate action, including removing the creditor from
         any committee, if the information provided in the Questionnaire is inaccurate, if the
         foregoing prohibition is violated, or for any other reason the United States Trustee
         believes is proper in the exercise of her discretion.

See Instruction Sheet, Ex. A (emphasis in original).

         In response to a motion by the Creditors’ Committee, on  December 4, 2019, the Delaware
Bankruptcy Court unexpectedly  transferred the bankruptcy case to  the Northern District of Texas, to
Judge Stacey G.C. Jernigan's court?

         SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND’S COURT-
                           ADMINISTERED BANKRUPTCY

Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
to Liquidate the Estate

         From the outset of the case, the Creditors’ Committee and the U.S. Trustee’s Office in Dallas
pushed to replace Mr. Dondero as the sole director of the Debtor’s general partner, Strand Advisors,
lnc. ("Strand"). To avoid a protracted dispute and to facilitate the restructuring, on January 9, 2020, Mr.
Dondero agreed to resign as the sole director, on the condition that he would be replaced by three
independent directors who would act as ﬁduciaries of the estate and work to restructure Highland’s
business so it could continue operating and emerge from bankruptcy as a going concern. As Mr. Draper
previously has explained, the agreement approved by the Bankruptcy Court allowed Mr. Dondero, UBS
(which held one of the largest claims against the estate), and the Redeemer Committee each to choose
one director, and also established protocols for operations going fonrvard. Mr. Dondero chose The
Honorable Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee
chose James Seery.‘

      In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
management would not only preserve Highland's business by expediting an exit from bankruptcy in three
to six months, but would also preserve jobs and enable continued collaboration with charitable causes
supported by Highland and Mr. Dondero. Unfortunately, those expectations did not materialize. Rather,
it quickly became clear that Strand's and Highland’s management was being dominated by one of the

2
  Del. Case, Dkt. 65.
3
  See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket
references are to the docket of the Bankruptcy Court for the Northern District of Texas.
4 See
       Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Ofﬁcial Committee of
Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course,
Dkt. 338; Order Approving Settlement with Ofﬁcial Committee of Unsecured Creditors Regarding Governance of
the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 339.




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independent directors, Mr. Seery (as will be seen, for his self-gain). Shortly after his placement on the
Board. on March 15, 2020, Mr. Seery became de facto Chief Executive Ofﬁcer, after which he
immediately took steps to freeze Mr. Dondero out of operations completely, to the detriment of
Highland's business and its employees. The Bankruptcy Court formally approved Mr. Seery's
appointment as CEO and Chief Restructuring Ofﬁcer on July 14, 2020.5 Although Mr. Seery publicly
represented that his goal was to restructure the Debtor’s business and enable it to emerge as a going
concern, privately he was engineering a much different plan. Less than two months after Mr. Seery’s
appointment as CEO/CRO, the Debtor filed its initial plan of reorganization, disclosing for the ﬁrst time
its intention to terminate substantially all employees by the end of 2020 and to liquidate Highland's assets
by 2022.6

       Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
conﬁrmed Highland’s Fifth Amended Plan of Reorganization on February 22, 2021 (the              There “m3?
are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
pending before the United States District Court and the Court of Appeals for the Fifth Circuit.

Transparency Problems Pervade the Bankruptcy Proceedings
         The Regulatory Framework

       As you are aware, one of the most important features of federal bankruptcy proceedings is
transparency. The EOUST instructs that “Debtors—in-possession and trustees must account for the
receipt, administration, and disposition of all property; provide information concerning the estate and the
estate's administration as parties in interest request; and ﬁle periodic reports and summaries of a
debtor’s business, including a statement of receipts and disbursements, and such other information as
the United States Trustee or the United States Bankruptcy Court requires." See
httpzlliustice.qovlust/chapter—11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And Federal Rule
of Bankruptcy Procedure 2015.3(a) states that “the trustee or debtor in possession shall ﬁle periodic
ﬁnancial reports of the value, operations, and proﬁtability of each entity that is not a publicly traded
corporation or a debtor in a case under title 11, and in which the estate holds a substantial or controlling
interest.” This rule requires the trustee or a debtor in possession to ﬁle a report for each non-debtor
afﬁliate prior to the ﬁrst meeting of creditors and every six months thereafter until the effective date of a
pian of reorganization. Fed R. Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from
ﬁling reports due prior to the effective date merely because a plan has become effective.“ Notably, the
U.S. Trustee has the duty to ensure that debtors in possession properly and timely ﬁle all required
reports. 28 U.S.C. § 1112(b)(4)(F), (H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their

5 See Order
             Approving Debtors Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention
of James P. Seery, Jr. as Chief Executive Ofﬁcer, Chief Restructuring Ofﬁcer, and Foreign Representative Nunc
Pro Tunc to March 15, 2020, Dkt. 854.
                Reorganization of Highland Capital Management, LP. dated August 12, 2020, Dkt. 944.
6 See Plan of
7 See Order
              (I) Conﬁrming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As
Modiﬁed);  and   (ll) Granting Related Relief, Dkt. 1943.
8After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement “for
cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
reporting requirements, or that the information required by subdivision (a) is publicly available.” Fed. R. Bankr.
2015.3(d).




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management, and representatives on creditors' committees abide by their reporting obligations and all
other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
beneﬁt of the estate.

         In Highland’s Bankruptcy, the Regulatory Framework ls Ignored

        Against this regulatory backdrop, and on the heels of high-proﬁle bankruptcy abuses like those
that occurred in the context of the Neiman Marcus bankruptcy, the Highland bankruptcy offered almost
no transparency to stakeholders. Traditional reporting requirements were ignored. This opened the door
to numerous abuses of process and potential violations of federal law, as detailed below.

         As Mr. Draper already has highlighted, one signiﬁcant problem in Highland‘s bankruptcy was the
Debtor’s failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf of itself
or its afﬁliated entities. Typically, such reports would include information like asset value, income from
ﬁnancial operations, proﬁts, and losses for each non-publicly traded entity in which the estate has a
substantial or controlling interest. This was very important here, where the Debtor held the bulk of its
value—hundreds of millions of dollars—-in non-debtor subsidiaries. The Debtor’s failure to file the
required Rule 2015.3 reports was brought to the attention of the Debtor, the Bankruptcy Court, and the
U.S. Trustee's Office. During the hearing on Plan confirmation, the Debtor was questioned about the
failure to ﬁle the reports. The sole excuse offered by the Debtor's Chief Restructuring Ofﬁcer and Chief
Executive Officer, Mr. Seery, was that the task “fell through the cracks."9 Nor did the Debtor or its counsel
ever attempt to show "cause” to gain exemption from the reporting requirement. That is because there
was no good reason for the Debtor’s failure to ﬁle the required reports. In fact, although the Debtor and
the Creditors’ Committee often refer to the Debtor's structure as a "byzantine empire,” the assets of the
estate fall into a handful of discrete investments, most of which have audited ﬁnancials and/or are
required to make monthly or quarterly net-asset—value or fair-value determinations.” Rather than
disclose ﬁnancial information that was readily available, the Debtor appears to have taken deliberate
and strategic steps to avoid transparency.

        In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors’
Committee with robust weekly information regarding transactions involving assets held by the Debtor or
its wholly-owned subsidiaries, transactions involving managed entities and non-managed entities in
which the Debtor held an interest, transactions involving non—discretionary accounts, and weekly budget-
to-actuals reports referencing non-Debtor afﬁliates’ 13-week cash flow budget. In other words, the
Committee member had real-time ﬁnancial information with respect to the affairs of non-debtor afﬁliates,
which is precisely the type of information that should have been disclosed to the public pursuant to Rule
2015.3. Yet, the fact that the Committee members alone had this information enabled some of them to
trade on it, for their personal benefit.

       The Debtor’s management failed and refused to make other critical disclosures as well. As
explained in detail below, during the bankruptcy proceedings, the Debtor sold off sizeable assets without
any notice and without seeking Bankruptcy Court approval. The Debtor characterized these transactions
as the “ordinary course of business” (allowing it to avoid the Bankruptcy Court approval process), but

9
 See Dkt. 1905 (Feb. 3, 2021 Hr'g Tr. at 49:5-21).
   During a deposition, Mr. Seery identiﬁed most of the Debtor's assets "[o]ff the top of [his] head” and
1°

acknowledged that he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh.
A (Jan. 29, 2021 Dep. Tr. at 2224-10; 2321-29210).



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they were anything but ordinary. In addition, the Debtor settled the claims of at least one creditor—
former Highland employee Patrick Daugherty—without seeking court approval of the settlement
pursuant to Federal Rule of Bankruptcy Procedure 9019. We understand that the Debtor paid Mr.
Daugherty $750,000 in cash as part of that settlement, done as a “settlement" to obtain Mr. Daugherty’s
withdrawal of his objection to the Debtor’s plan.

         Despite all of these transparency problems, the Debtor's confirmed Plan contains provisions that
effectively release the Debtor from its obligation to file any of the reports due for any period prior to the
effective date—thereby sanctioning the Debtor’s failure and refusal to follow the rules. The U.S. Trustee
also failed to object to this portion of the Court’s order of confirmation, which is directly at odds with the
spirit and mandate of the Periodic Reporting Requirements recently adopted by the EOUST and
historical rules mandating transparency.“

       As will bec0me apparent, because neither the federal Bankruptcy Court nor the U.S. Trustee
advocated or demanded compliance with the rules, the Debtor, its newly-appointed management, and
the Creditors' Committee charged with protecting the interests of all creditors were able to manipulate
the estate for the beneﬁt of a handful of insiders, seemingly in contravention of law.

Debtor And Debtor-Affiliate Assets Were Deliberately Hidden and Mischaracterized

        Largely because of the Debtor's failure to tile Rule 2015.3 reports for afﬁliate entities, interested
parties and creditors wishing to evaluate the worth and mix of assets held in non-Debtor afﬁliates could
not do so. This is particularly problematic, because during proceedings, the Debtor sold $172 million in
assets, which altered the mix of assets and liabilities of the Debtor’s afﬁliates and controlled entities. In
addition, the estate's asset value decreased by approximateiy $200 million in a matter of months. Absent
ﬁnancial reporting, it was impossible for stakeholders to determine whether the $200 impairment in asset
value reﬂected actual realized losses or merely temporary mark-downs precipitated by problems
experienced by certain assets during the pandemic (including labor shortages, supply-chain issues,
travel interruptions, and the like). Although the Bankruptcy Court held that such sales did not require
Court approval, a Rule 2015.3 report would have revealed the mix of assets and the corresponding
reduction in liabilities of the affiliated or controlled entity—information that was critical in evaluating the
worth of claims against the estate or future investments into it.

        One transaction that was particularly problematic involved alleged creditor HarbourVest, a
private equity fund with approximately $75 billion under management. Prior to Highland's bankruptcy,
HarbourVest had invested $80 million into (and obtained 49.98% of the outstanding shares of) a
Highland fund called Acis Loan Funding, later rebranded as Highland CLO Funding, Ltd. (“HCLOF”). A
charitable fund called Charitable DAF Fund, LP.       ("E”)
                                                         held 49.02% member interests in HCLOF, and
the remaining E2.00% was held by Highland and certain of its employees. Priorto Highland’s bankruptcy
proceedings, a dispute arose between HarbourVest and Highland, in which HarbourVest claimed it was
duped into making the investment because Highland allegedly failed to disclose key facts relating to the
investment (namely, that Highland was engaged in ongoing litigation with former employee, Josh Terry,




‘1 See "Procedures for
                        Completing Uniform Periodic Reports in Non-Small Business Cases Filed Under Chapter
11 of Title 11” (the “Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
EOUST‘s commitment to maintaining "uniformity and transparency regarding a debtor’s ﬁnancial condition and
business activities" and “to inform creditors and other interested parties of the debtors ﬁnancial affairs." 85 Fed.
Reg. 82906.




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which would result in HCLOF’s incurring legal fees and costs). HarbourVest alleged that, as a result of
the Terry lawsuit, HCLOF incurred approximately $15 million in legal fees and costs.”

        ln the context of Highland’s bankruptcy, however, HarbourVest filed a proof of claim alleging that
it was due over $300 million in damages in the dispute, a claim that bore no relationship to economic
reality. As a result, Debtor management initially valued HarbourVest's claims at $0, a value consistently
reﬂected in the Debtor’s publicly-ﬁled ﬁnancial statements, up through and including its December 2020
Monthly Operating Report.“ Eventually, however, the Debtor announced a settlement with HarbourVest
which entitled HarbourVest to $45 million in Class 8 claims and $35 million in Class 9 claims.” At the
time, the Debtor’s public disclosures reflected that Class 8 creditors could expect to receive
approximately 70% payout on their claims, and Class 9 creditors could expect 0.00%. In other words,
HarbourVest’s total $80 million in allowed claims would allow HarbourVest to realize a $31.5 million
retum.”

         As consideration for this potential payout, HarbourVest agreed to convey its interest in HCLOF
to a special-purpose entity (“SEE") designated by the Debtor (a transaction that involved a trade of
securities) and to vote in favor of the Debtor’s Plan. In its pleadings and testimony in support of the
settlement, the Debtor represented that the value of HarbourVest’s interest in HCLOF was $22.5 million.
It later came to light, however, that the actual value of that asset was at least $44 million.


         There are numerous problems with this transaction which may not have occurred with the
requisite transparency. As a registered investment advisor, the Debtor had a ﬁduciary obligation to
disclose the true value of HarbourVest’s interest in HCLOF to investors in that fund. The Debtor also
had a ﬁduciary obligation to offer the investment opportunity to the other investors prior to purchasing
HarbourVest’s interest for itself. Mr. Seery has acknowledged that his ﬁduciary duties to the Debtor's
managed funds and investors supersedes any ﬁduciary duties owed to the Debtor and its creditors in
bankruptcy. Nevertheless, the Debtor and its management appear to have misrepresented the value of
the HarbourVest asset, brokered a purchase of the asset without disclosure to investors, and thereafter
placed the HarbourVest interest into a non—reporting SPE.” This meant that no outside stakeholder had
any ability to assess the value of that interest, nor could any outsider possibly ascertain how the
acquisition of that interest impacted the bankruptcy estate. In the absence of Rule 2015.3 reports or
listing of the HCLOF interest on the Debtor’s balance sheet, it was impossible to determine at the time
of the HarbourVest settlement (or thereafter) whether the Debtor properly accounted for the asset on its
balance sheet.

        Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
advance to outside stakeholders or investors, and without offering investors in funds impacted by the
sales the opportunity to purchase the assets. For example:



‘2
   Assuming that HarbourVest were entitled to fraud damages as it claimed, the true amount of its damages was
less than $7.5 million (because HarbourVest only would have borne 49.98% of the $15 million in legal fees).
‘3 See
        Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt.
1949.
‘4 Class 8 consists of
                      general unsecured claims; Class 9 consists of subordinated claims.
15 We have reason to believe that HarbourVest’s Class 8 and Class 9 claims were contemporaneously sold to
Farallon Capital Management-an SEC-registered investment adviser—for approximately $28 million.
1° Even former
                Highland employee Patrick Daugherty recognized the problematic nature of asset dispositions like
the one involving HarbourVest, commenting that such transactions "have left [Mr. Seery] and Highland vulnerable
to a counter-attack under the [Investment] Advisors Act.” See Ex. B.




                                                                                                 App. 2864
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        o      The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
               today are valued at over $70 million; the Debtor likewise sold $6 million of PTLA shares
               that were taken over less than 60 days later for $18 million.

        o      The Debtor divested interests worth $145 million held in certain life settlements (which
               paid on the death of the individuals covered, whose average age was 90) for $35 million
               rather than continuing to pay premiums on the policies, and did so without obtaining
               updated estimates of the life settlements' value, to the detriment ofthe fund and investors
               (today two of the covered individuals have a life expectancy of less than one year);

        o      The Debtor sold interests in OmniMax without informing the Bankruptcy Court, without
               engaging in a competitive bidding process, and without cooperating with other funds
               managed by Mr. Dondero, resulting in what we believe is substantially lesser value to
               investors;

        o      The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
               (worth $37 million), again without any process or notice to the Bankruptcy Court or outside
               stakeholders, resulting in what we believe is diminished value for the estate and
               investors.

Because the Bankruptcy Code does not deﬁne what constitutes a transaction in the “ordinary course of
business,” the Debtor’s management was able to characterize these massive sales as ordinary course
transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
creditors.

        In summary, the consistent lack of transparency throughout bankruptcy proceedings facilitated
sales and deal-making that failed to maximize value for the estate and precluded outside stakeholders
from evaluating or participating in asset purchases or claims trading that might have benefitted the estate
and outside investors in Debtor-managed funds.

The Debtor Reneged on Its Promise to Pay Key Employees, Contrary to Sworn Testimony

        Highland's bankruptcy also diverges from the norm in its treatment of key employees, who
usually can expect to be fairly compensated for pre-petition work and post—petition work done for the
beneﬁt of the estate. That did not happen here, despite the Debtor’s representation to the Bankruptcy
Court that it would.

        By way of background, prior to its bankruptcy, Highland offered employees two bonus plans: an
Annual Bonus Plan and a Deferred Bonus Plan. Under the Annual Bonus Plan, all of Highland's
employees were eligible for a yearly bonus payable in up to four equal installments, at six-month
intervals, on the last business day of each February and August. Under the Deferred Bonus Plan,
Highland's employees were awarded shares of a designated publicly traded stock, the right to which
vested 39 months later. Under both bonus plans, the only condition to payment was that the employee
be employed by Highland at the time the award (or any portion of it) vested.

       At the outset of the bankruptcy proceedings, the Debtor promised that pre-petition bonus plans
would be honored. Speciﬁcally, in its Motion For Entry of an Order Authorizing the Debtor to Pay and
Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief, the
Debtor informed the Court that employee bonuses “continue[d] to be earned on a post-petition basis,”
and that “employee compensation under the Bonus Plans [was] critical to the Debtor’s ongoing




                                                                                              App. 2865
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operations and that any threat of nonpayment under such plans would have a potentially catastrophic
impact on the Debtor’s reorganization efforts.”17 Significantly, the Debtor explained to the Court that its
operations were leanly staffed, such that all employees were critical to ongoing operations and such that
it expected to compensate all employees. As a result of these representations, key employees continued
to work for the Debtor. some of whom invested signiﬁcant hours at work ensuring that the Debtor’s new
management had access to critical information for purposes of reorganizing the estate.

         Having induced Highland's employees to continue their employment, the Debtor abruptly
changed course, refusing to pay key employees awards earned pre-petition under the Annual Bonus
Plan and bonuses earned ore-petition under the Deferred Bonus Plan that vested post-petition. In fact,
Mr. Seery chose to terminate four key employees just before the vesting date in an effort to avoid
payment, despite his repeated assurances to the employees that they would be “made whole.” Worse
still, notwithstanding the Debtor’s failure and refusal to pay bonuses earned and promised to these
terminated employees, in Monthly Operating Reports signed by Mr. Seery under penalty of perjury, the
Debtor continued to treat the amounts owed to the employees as post-petition obligations, which the
Debtor continued to accrue as post-petition liabilities even after termination of their employment.

        The Debtor’s misrepresentations to the Bankruptcy Court and to the employees themselves ﬂy
in the face of usual bankruptcy procedure. As the Fifth Circuit has explained, administrative expenses
like key employee salaries are an "‘actual and necessary cost’" that provides a “beneﬁt to the state and
its creditors?” It is undisputed that these employees continued to work for the Debtor, providing an
unquestionable beneﬁt to the estate post-petition, but were not provided the promised compensation,
for reasons known only to the Debtor.

        Again, this is not business as usual in bankruptcy proceedings, and if we are to ensure the
continued success of debtors in reorganization proceedings, it is important that key employees be paid
in the ordinary course for their efforts in assisting debtors and that debtor management be made to live
up to promises made under penalty of perjury to the bankruptcy courts.

There ls Substantial Evidence that Insider Trading Occurred

         Perhaps one of the biggest problems with the lack of transparency at every step is that it
facilitated potential insider trading. The Debtor (as well as its advisors and professionals) and the
Creditors‘ Committee (and its counsel) had access to critical information upon which any reasonable
investor would rely. But because of the lack of reporting, the public did not.

        Mr. Draper’s October 4, 2021 letter sets forth in detail the reasons for suspecting that insider
trading occurred, but his explanation bears repeating here. ln the context of a non—transparent
bankruptcy proceeding, three of the four members of the Creditors’ Committee and one non-committee
member sold their claims to two buyers, Muck Holdings LLC ("Muck”) and Jessup Holdings LLC
(“Jessug”). The four claims sold comprise the largest four claims in the Highland bankruptcy by a
substantial margin,” collectively totaling almost $270 million in Class 8 claims and $95 million in Class
9 claims:




17
   See Dkt. 177, 1] 25 (emphasis added).
13
   Texas v. Lowe (In re H.L.S. Energy 00.), 151 F.3d 434, 437 (5th Cir. 1998) (quoting Transamen’can Natural
Gas Corp., 978 F.2d 1409, 1416 (5th Cir. 1992)).
‘9 See Ex. C.




                                                                                                 App. 2866
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  Claimant                           Class 8 Claim         Class 9 Claims         Date Claim Settled
  Redeemer Committee                 $136,696,610          NIA                    October 28, 2020
  Acis Capital                       $23,000,000           NIA                    October 28, 2020
  HarbourVest                        $45,000,000           $35,000,000            January 21, 2021
  UBS                                $300,000              $60,000,000            Ma_y_27, 2021
  TOTAL:                             $269,6969,610         $95,000,000

        Muck is owned and controlled by Farallon Capital Management ("Farallon"), and we believe
Jessup is owned and controlled by Stonehill Capital Management ("Stonehill"). As the purchasers of the
four largest claims in the bankruptcy, Muck (Farallon) and Jessup (Stonehill) will oversee the liquidation
of the reorganized Debtor and the payment over time to creditors who have not sold their claims. These
two hedge funds also will determine the performance bonus due to Mr. Seery for liquidating the estate.
As set forth in the attached balance sheet dated August 31, 2021, we estimate that the estate today is
worth nearly $600 million?" which could result in Mr. Seery's receipt of a performance bonus
approximating $50 million.

        This is concerning because there is substantial evidence that Farallon and Stonehill may have
been provided material, non-public information to induce their purchase of these claims. We agree with
Mr. Draper that there are three primary reasons to believe that non-public information was made
available to facilitate these claims purchases:

        o          The scant publicly-available information regarding the Debtor's estate ordinarily would
                   have dissuaded sizeable investment in purchases of creditors’ claims;

        o          The information that actually was publicly available ordinarily would have compelled a
                   prudent investor to conduct robust due diligence prior to purchasing the claims;

        o          Yet these claims purchasers spent in excess of $100 million (and likely closer to $150
                   million) on claims, ostensibly without any idea of what they were purchasing.

     Credible information indicates that the claims purchases of Stonehill and Farallon can be
summarized as follows:

        Creditor            Class 8        Class 9       Purchaser                 Purchase Price
        Redeemer            $137.0         $0.0          Stonehill                $78.0“
        ACIS                $23.0          $0.0          Farallon                 $8.0
        HarbourVest         $45.0          $35.0         Farallon                 $27.0
                                                     r

        UBS                 $65.0          $60.0         Stonehill and Farallon   $50.0




2° See Ex. D.
2‘ See Ex. E. Because the transaction included ”the
                                                      majority of the remaining investments held by the Crusader
Funds,” the net amount paid by Stonehill for the Claims was appr0ximately $65 million.




                                                                                                    App. 2867
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        An analysis of publicly-available information would have revealed to any potential investor that:

        o       The estate's asset value had decreased by $200 million, from $556 million on October
                16, 2019, to $328 million as of September 30, 2020 (increasing only slightly to $364
                million as of January 31, 2021).”

        o       Allowed claims against the estate increased by a total amount of $236 million.

        o       Due to the decrease in the value of the Debtor’s assets and the increase in the allowed
                claims amount, the ultimate projected recovery for creditors in bankruptcy decreased
                from 87.44% to 62.99% in just a matter of months.“

No prudent investor or hedge fund investing third-party money would purchase substantial claims out of
the Highland estate based on this publicly-available information absent robust due diligence
demonstrating that the investment was sound.

       As discussed by Mr. Draper, the very close relationships between the claims purchasers, on the
one hand, and the selling Creditors” Committee members and the Debtor’s management, on the other
hand also raise red flags. In particular:

        o       Farallon and Stonehill have long-standing, material relationships with the members of the
                Creditors’ Committee and Mr. Seery. Mr. Seery formerly was the Global Head of Fixed
                Income Loans at Lehman Bros. until its collapse in 2009. While Mr. Seery was Global
                Head, Lehman Bros. did substantial business with Farallon. After Lehman's collapse, Mr.
                Seery joined Sidley & Austin as co-head of the corporate restructuring and bankruptcy
                group, where he worked with Matt Clemente, counsel to the Creditors‘ Committee in
                Highland’s bankruptcy proceedings.

        o       In addition,  Grovesnor, one of the lead investors in the Crusader Funds from the
                Redeemer Committee (which appointed Seery as its independent director) both played a
                substantial role on the Creditors’ Committee and is a large investor in Farallon and
                Stonehill. [t is unclear whether Grovesnor, a registered investment advisor, notified
                minority investors in the Crusader Funds or Farallon and Stonehill of these facts.

        o       According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr. Seery
                assisted Farallon in its acquisition of claims in the Lehman estate, and Farallon realized
                more than $100 million in claims on those trades.




   Compare Jan. 31, 2021 Monthly Operating Report [Dkt 2030], with Disclosure Statement (approved on Nov.
22

24, 2020) [Dkt. 1473]. The increase in value between September 2020 and January 2021 is attributable to the
Debtor's settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9
Claim of $35 million, and in exchange the Debtor received HarbourVest’s interest in HCLOF, which in reality was
worth approximately $44.3 million as of January 31, 2021. See Ex. C. it is also notable that the January 2021
monthly ﬁnancial report values Class 8 claims at $267 million, an exponential increase over their estimated value
of $74 million in December 2020.
” See Ex. F.


                                                                                                   App. 2868
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          o       Also while at Sidley, Mr. Seery represented the Steering Committee in the Blockbuster
                  Video bankruptcy; Stonehill (through its Managing Member, John Motulsky) was one of
                  the five members of the Steering Committee.

          o       Mr. Seery left Sidley in 2013 to become the President and Senior Investment Partner of
                  River Birch Capital, a hedge fund founded by his former Lehman colleagues. He left River
                  Birch in October 2017 just before the fund imploded. In 2017, River Birch and Stonehill
                  Capital were two of the biggest note holders in the Toys R Us bankruptcy and were
                  members of the Toys R Us creditors’ committee.

l strongly agree with Mr. Draper that it is suspicious that two ﬁrms with such signiﬁcant ties to Mr. Seery
have purchased $365 million in claims. The aggregate $150 million purchase price paid by Farallon and
Stonehill is 56% of all Class 8 claims, virtually the full plan value expected to be realized after two years.
We believe it is worth investigating whether these claims buyers had access to material, non-public
information regarding the actual value of the estate.

        Other transactions occurring during the Highland bankruptcy also reinforce the suspicion that
insidertrading occurred. In particular, it appears that one of the claims buyers, Stonehill, used non-public
information obtained incident to the bankruptcy to purchase stock in NexPoint Strategic Opportunities
Fund (NYSE: NHF), a publicly traded, closed—end ’40 Act fund with many holdings in common with
assets held in the Highland estate outlined above. Stonehill is a registered investment adviser with $3
billion under management that has historically owned very few equity interests, particularly equity
interests in a closed-end fund. As disclosed in SEC filings, Stonehill acquired enough stock in NHF
during the second quarter of 2021 to make it Stonehill's eighth largest equity position.

         The timing of the acquisitions of claims by Farallon and Stonehill also raises suspicion. For
example, although notices of the transfer of the claims were filed immediately after the conﬁrmation of
the Debtor's Plan and prior to the effective date of the Plan, it seems likely that negotiations began much
earlier. Transactions of this magnitude do not take place overnight and typically require robust due
diligence. Muck was formed on March 9, 2021, more than a month before it ﬁled notice that it was
purchasing the Acis claim. if the negotiation or execution of a definitive agreement for the purchase
began before or contemporaneously with Muck's formation, then there is every reason to believe that
selling Creditors’ Committee members and/or Debtor management provided Farallon with critical non-
public information well before the Creditors' Committee members sold their claims and withdrew from
the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others that they purchased the Acis and
HarbourVest claims in late January or early February. This is strong evidence that negotiation and/or
agreements relating to the purchase of claims from Creditors’ Committee members preceded the
conﬁrmation of the Debtor's Plan and the resignation of those members from the Committee.

       Likewise, correspondence from the fund adviser to the Crusader Funds indicates that the
Crusader Funds and the Redeemer Committee had “consummated” the sale of the Redeemer
Committee’s claims and other assets on April 30, 2021, "for $78 million in cash, which was paid in full to
the Crusader Funds at closing?“ In addition, that there was a written agreement among Stonehill, the
Crusader Funds, and the Redeemer Committee that sources indicate dates back to the fourth quarter
of 2020. That agreement presumably imposed afﬁrmative and negative covenants upon the seller and
granted the purchaser discretionary approval rights during the pendency of the sale. Such an agreement
would necessarily conflict with the Creditors‘ Committee members’ fiduciary obligations.


24   See Ex. E.




                                                                                                App. 2869
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        The sale of the claims by the members of the Creditors’ Committee also violates the instructions
provided to committee members by the U.S. Trustee that required a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member's claim. No such Court approval
was ever sought or obtained, and the Dallas U.S. Trustee’s Ofﬁce took no action to enforce this
guideline. The Creditors’ Committee members were sophisticated entities, and they were privy to inside
information that was not available to other unsecured creditors. For example, valuations of assets placed
into a specially-created affiliated entities, such as the assets acquired in the HarbourVest settlement,
and valuations of assets held by other entities owned or controlled by the Debtor, were available to the
selling Creditors’ Committee members, but not to other creditors or parties-in-interest.

       While claims trading itself is not prohibited, there is reason to believe that the claims trading that
occurred in the Highland bankruptcy violated federal law:

            a)     The selling parties were three of the four Creditors' Committee members, and each one
                   had access to information they received in a ﬁduciary capacity;

            b)     Some of the information they received would have been available to other parties-in-
                   interest if Rule 2015.3 had been enforced;

            c)     The projected recovery to creditors decreased significantly between the approval of the
                   Disclosure Statement and the confirmation of the Debtor’s Plan; and

            d)     There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   previously affiliated with Highland (and now managed by NexPointAdvisors, L.P.) that is
                   publicly traded on the New York stock exchangeThe Debtor’s assets and the positions
                   held by the closed-end fund are similar.

Mr. Seery’s Compensation Structure Encouraged Misrepresentations Regarding the Value of the
Estate and Assets of the Estate

        An additional problem in Highland’s bankruptcy is that Mr. Seery, as an Independent Director
as well as the Debtor’s CEO and CRO, received ﬁnancial incentives that encouraged claims trading and
dealing in insider information.

       Mr. Seery received sizeable compensation for his heavy-handed role in Highland’s bankruptcy.
Upon  his appointment as an Independent Director in January 2020, Mr. Seery received compensation
from the Debtor of $60,000 per month for the ﬁrst three months. $50,000 per month for the following
three months, and $30,000 per month for remaining months, subject to adjustment by agreement with
the Debtor.” When Mr. Seery subsequently was appointed the Debtor’s CEO and CRO in July 2020, he
received additional compensation, including base compensation of $150,000 per month retroactive to
March 2020 and for so long as he served in those roles, as well as a "Restructuring Fee.”25 Mr. Seery's
employment agreement contemplated that the Restructuring Fee could be calculated in one of two ways:

           (1)     If Mr. Seery were able to resolve a material amount of outstanding claims against the
                   estate, he would be entitled to $1 million on conﬁrmation of what the Debtor termed a



25   See Dkt. 339, 1| 3.
26   See Dkt. 854, Ex. 1.




                                                                                              App. 2870
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                  “Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                  $750,000 upon completion of distributions to creditors under the plan.

          (2)       by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                  If,
                  "Monetization Vehicle Plan," he would be entitled to $500,000 on conﬁrmation of the
                  Monetization Vehicle Plan, $250,000 at the effective date of that plan, and—most
                  importantly—a to—be-determined "contingent restructuring fee" based on “performance
                  under the plan after all material distributions" were made.

The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
the Monetization Vehicle Plan and provided a powerful economic incentive for Mr. Seery to resolve
creditor claims in any way possible. Notably. at the time of Mr. Seery’s formal appointment as CEO/CRO,
he had already negotiated settlements in principle with Acis and the Redeemer Committee, leaving only
the HarbourVest and UBS claims to resolve.

        Further, after the Plan's effective date, as appointed Claimant Trustee, Mr. Seery was promised
compensation   of $150,000 per month (termed his “Base Salary”), subject to the negotiation of additional
            ”
“go-fonlvar compensation, including a “success fee” and severance pay.” Mr. Seery’s success fee
presumably will be based on whether the Plan outperforms what was disclosed in the Plan Analysis. In
other words, Mr. Seery had a financial incentive to grossly understate the value of the estate in public
disclosures, not only to facilitate claims trading and resolution of the biggest claims in bankruptcy (for
purposes of obtaining the larger Case Resolution Fee) but also to ensure that he eventually receives a
large "success fee.” Again, we estimate that, based on the estate's nearly $600 million value today, Mr.
Seery’s success fee could approximate $50 million.
         One excellent example of the way in which Mr. Seery facilitated claims trading and thereby lined
his own pockets is the sale of UBS’s claim. Based on the publicly-available information at the time
Stonehill and Farallon purchased the UBS claim, the purchase made no economic sense. At the time,
the publicly-disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8
creditors and a 0.00% distribution to Class 9 creditors, which would mean believe is that, at the time of
their claims purchase, the estate actually was worth much, much more (between $472-$600 million). If,
prior to their claims purchases, Mr. Seery (or others in the Debtor’s management) apprised Stonehill
and Farallon of the true estate value (which was material, non—public information at the time), then the
value they paid for the UBS claim made sense, because they would have known they were likely to
recover close to 100% on Class 8 and Class 9 claims.

        But perhaps the most important evidence of mismanagement of this bankruptcy proceeding and
misalignment of ﬁnancial incentives is the Debtor’s repeated refusal to resolve the estate in full despite
dozens of opportunities to do so. Immediately prior to the Plan conﬁrmation hearing, Judge Jernigan
suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr. Dondero,
through counsel, already had made 35 offers of settlement that would have maximized the estate’s
recovery, even going so far as to file a proposed plan of reorganization. Some of these offers were
valued between $150 and $232 million. And we now believe that as of August 1, 2020, the Debtor's
estate had an actual value of at least $460 million, including $105 million in cash and a $50 million
revolving credit facility. With Mr. Dondero’s offer, the Debtor's cash and the credit facility could have
resolved the estate, which would have enabled the Debtor to pay all proofs of claim, leave a residual
estate intact for equity holders, and allow the company to continue to operate as a going concern.


27   See Plan Supplement, Dkt. 1875, § 3.13(a)(i).



                                                                                             App. 2871
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        Nonetheless, neither the Debtor nor the Creditors’ Committee responded to Mr. Dondero's offers.
It was not until The Honorable Former Judge D. Michael Lynn, counsel for Mr. Dondero, reminded the
Creditors' Committee counsel that its members had a fiduciary duty to respond that a response was
forthcoming. We believe Mr. Dondero's proposed plan offered a materially greater recovery than what
the Debtor had reported would be the expected Plan recovery. The Creditors’ Committee's failure to
timely respond to that offer suggests that Debtor management, the Creditors‘ Committee, or both were
ﬁnancially disincentivized from accepting a case resolution offer and that some members of the
Creditors’ Committee were contractually constrained from doing so.

        What happened instead was that the Debtor, its management, and the Creditors‘ Committee
brokered deals that allowed grossly inﬂated claims and sales of those claims to a small group of investors
with signiﬁcant ties to Debtor management. In a transparent bankruptcy proceeding, we question
whether any of this could have happened. What we do know is that the Debtor’s non-transparent
bankruptcy has ensured there will be nothing left for residual stakeholders, while enriching a handful of
intimately connected individuals and investors.

The Debtor’s Management and Advisors Are Almost Totally Insulated From Liability

        Despite the mismanagement of bankruptcy proceedings, the Bankruptcy Court has issued a
series of orders ensuring that the Debtor and its management cannot not be held liable for their actions
in bankruptcy.

       In particular, the Court issued a series of orders protecting Mr. Seery from potential liability for
any act undertaken in the management of the Debtor or the disposition of its assets:

           o     In its order approving the settlement between the Creditors’ Committee and Mr. Dondero,
                 the Court barred any Debtor entity "from commenc[ing] or pursufing] a claim or cause of
                 action of any kind against any Independent Director, any Independent Director’s agents,
                 or any Independent Director’s advisors relating in any way to the Independent Director’s
                 role as an independent director’ unless the Court first (1) determined the claim was a
                 “colorable” claim for willful misconduct or gross negligence, and (2) authorized an entity
                 to bring the claim. The Court also retained "sole jurisdiction" over any such claim.”

           o     In its order approving the Debtor’s retention of Mr. Seery as its Chief Executive Officer
                 and Chief Restructuring Ofﬁcer, the Court issued an identical injunction barring any
                 claims against Mr. Seery in his capacity as CEO/CRO without prior court approval.” The
                 same order authorized the Debtor to indemnify Mr. Seery for any claims or losses arising
                 out of his engagement as CEO/CRO.“

        Worse still, the Plan approved by the Bankruptcy Court contains sweeping release and
exculpation provisions that make it virtually impossible for third parties, including investors in the
Debtor's managed funds, to file claims against the Debtor, its related entities, or their management. The
Plan’s exculpation provisions contain also contain a requirement that any potential claims be vetted and
approved by the Bankruptcy Court. As Mr. Draper already explained, these provisions vioiate the holding

23 Dkt.
        339, 1T 10.
29 Order
         Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retenﬁon of
James P. Seery, Jr. as Chief Executive Ofﬁce, Chief Restructuring Ofﬁcer, and Foreign Representative Nunc Pro
Tunc to March 15, 2020. Dkt. 854, 1] 5.
3° Dkt.
        854,1] 4 & Exh. 1.




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of In re Paciﬁc Lumber Co., in which the United States Court of Appeals for the Fifth Circuit rejected
similarly broad exculpation clauses.“

         The fundamental problem with the Plan's broad exculpation and release provisions has been
brought into sharp focus in recent days, with the ﬁling of a lawsuit by the Litigation Trustee against Mr.
Dondero, other individuals formerly afﬁliated with Highland, and several trusts and entities affiliated with
Mr. Dondero.” Among other false accusations, that lawsuit alleges that the aggregate amount of allowed
claims in bankruptcy was high because the Debtor and its management were forced to settle with various
purported judgment creditors who had engaged in pre-petition litigation with Mr. Dondero and Highland.
But it was Mr. Seery and Debtor’s management, not Mr. Dondero and the other defendants, who
negotiated those settlements with creditors in bankruptcy and who decided what value to assign to their
claims. Ordinarily, Mr. Dondero and the other defendants could and would file compulsory counterclaims
against the Debtor and its management for their role in brokering and settling claims in bankruptcy. But
the Bankruptcy Court has effectively precluded such counterclaims (absent the defendants obtaining
the Court's advance permission to assert them) by releasing the Debtor and its management from
virtually all liability in relation to their roles in the bankruptcy case. That is a violation of due process.

        Notably, the U.S. Trustee's Ofﬁce recently has argued in the context of the bankruptcy of Purdue
Pharma that release and exculpations clauses akin to those contained in Highland's Plan violate both
the Bankruptcy Code and the Due Process Clause of the United States Constitution.” ln addition, the
U.S. Trustee explained that the bankruptcy courts lack constitutional authority to release state-law
causes of action against debtor management and non-debtor entities.“ Indeed, it has been the U.S.
Trustee’s position that where, as here, third parties whose claims are being released did not receive
notice of the releases and had no way of knowing, based on the applicable plan’s language, what claims
were extinguished, third-party releases are contrary to law.“ This position comports with Fifth Circuit
case law, which makes clear that releases must be consensual, and that the released party must make
a substantial contribution in exchange for any release.

        As a result of the release and exculpation provisions of the Plan, employees and third-party
investors in entities managed by the Debtor who are harmed by actions taken by the Debtor and its
management in bankruptcy are barred from asserting their claims without prior Bankruptcy Court
approval. Those third parties' claims are barred notwithstanding that they were not notified of the
releases and have never been given any information with which to evaluate their potential claims (as
mentioned, the Debtor has not disclosed several major assets sales, nor does the Plan require the
Debtor to disclose post-confirmation asset sales). Conversely, the releases insulate claims purchasers
from the risk of potential actions by investors in funds managed by the Debtor (for breach of ﬁduciary
duty, diminution in value, or otherwise). These releases are directly at odds with investors’ expectations
and the written documents delivered to and approved by investors when they invest in managed funds——
i.e., that fund managers will act in a ﬁduciary capacity to maximize investors’ returns and that investors
will have recourse for any failure to do so.




31
   584 F.3d 229 (5th Cir. 2009).
32 The Plan created a Litigation Sub-Trust to be managed by a Litigation Trustee, whose sole mandate is to file
lawsuits in an effort to realize additional value for the estate.
33 See Memorandum of Law in
                                 Support of United States Trustee's Expedited Motion for Stay of Conﬁrmation Order,
In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
34 Id. at 26-28.
35 See id. at 22.




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        As an example, the Court approved the settlement of UBS’s claim against the Debtor and two
funds managed by the Debtor (collectively referred to as “MultiStrat”). Pursuant to that settlement,
MultiStrat agreed to pay UBS $18.5 million. But the settlement made no sense for several reasons. First,
Highland owns approximately 48% of MultiStrat, so causing MultiStrat to make such a substantial
payment to settle a claim in Highland’s bankruptcy necessarily negatively impacted its other non-Debtor
investors. Second, in its lawsuit, UBS alleged that MultiStrat wrongfully received a $6 million payment,
but MultiStrat paid more than three times this amount to settle allegations against it—a deal that made
little economic sense. Finally, as part of the settlement, MultiStrat represented that it was advised by
"independent legal counsel” in the negotiation of the settlement, a representation that was patently
untrue.” In reality, the only legal counsel advising MultiStrat was the Debtor’s counsel, who had
economic incentives to broker the deal in a manner that beneﬁted the Debtor rather than MultiStrat and
its investors.” lf (as it seems) that representation and/or the terms of the UBSIMuItiStrat settlement
unfairly impacted MultiStrat’s investors, they now have no recourse against the Debtor. The release and
exculpation provisions in Highland’s Plan do not afford third parties any meaningful recourse, even when
they are negatively impacted by misrepresentations of the type contained in the UBSIMultiStrat
settlement or when their interests are impaired by fund managers’ failure to obtain fairness opinions to
resolve conﬂicts of interest.

Bankruptcy Proceedings Are Used As an End-Run Around Applicable Legal Duties

        The UBS deal is but one example of how Highland’s bankruptcy proceedings, including the
settlement of claims and claims trading that occurred, seemingly provided a safe harbor for violations of
multiple state and federal laws. For example, the Investment Advisers Act of 1940 requires registered
investment advisors like the Debtor to act as ﬁduciaries of the funds that they manage. Indeed, the Act
imposes an “affirmative duty of ‘utmost good faith” and full and fair disclosure of material facts“ as part
of advisors’ duties of loyalty and care to investors. See 17 C.F.R. Part 275. Adherence to these duties
means that investment advisors cannot buy securities for their account prior to buying them for a client,
cannot make trades that may result in higher commissions for the advisor or their investment ﬁrm, and
cannot trade using material, non-public information. In addition, investment advisors must ensure that
they provide investors with full and accurate information regarding the assets managed.

        State blue sky laws similarly prohibit ﬁrms holding themselves out as investment advisors from
breaching these core ﬁduciary duties to investors. For example, the Texas Securities Act prohibits any
registered investment advisor from trading on material, non-public information. The Act also conveys a
private right of action to investors harmed by breaches of an investment advisor‘s ﬁduciary duties.

       As explained above, Highland executed numerous transactions during its bankruptcy that may
have violated the Investment Advisors Act and state blue sky laws. Among other things:

        o       Highland facilitated the purchase of HarbourVest’s interest in HCLOF (placing that
                interest in an SPE designated by the Debtor) without disclosing the true value of the
                interest and without first offering it to other investors in the fund;




33 See Doc. 2389 (Order Approving Debtor‘s Settlement With UBS Securities LLC and UBS AG London Branch)
at Ex. 1, §§ 1(b), 11; see Appendix, p. A-57.
”The Court's order approving the UBS settlement is under appeal in part based on MultiStrat’s lack of independent
legal counsel.




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       o       Highland concealed the estate’s true value from investors in its managed funds, making
               it impossible for those investors to fairly evaluate the estate or its assets during
               bankruptcy;

       o
               Highland facilitated the settlement of UBS’s claim by causing MultiStrat, a non-Debtor
               managed entity, to pay $18.5 million to the Debtor, to the detriment of MultiStrat’s
               investors; and

       o       Highland and its CEO/CRO, Mr. Seery, brokered deals between three of four Creditors’
               Committee members and Farallon and StonehilI—deals that made no sense unless
               Farallon and Stonehill were supplied material, non-public information regarding the true
               value of the estate.

In short, Mr. Seery effectuated trades that seemingly lined his own pockets, in transactions that we
believe detrimentally impacted investors in the Debtor’s managed funds.

                                            CONCLUSION

         The Highland bankruptcy is an example of the abuses that can occur if the Bankruptcy Code and
Bankruptcy Rules are not enforced and are allowed to be manipulated, and if federal law enforcement
and federal lawmakers abdicate their responsibilities. Bankruptcy should not be a safe haven for perjury,
breaches of ﬁduciary duty, and insider trading, with a plan containing third-party releases and sweeping
exculpation sweeping everything under the rug. Nor should it be an avenue for opportunistic venturers
to prey upon companies, their investors, and their creditors to the detriment of third-party stakeholders
and the bankruptcy estate. My clients and l join Mr. Draper in encouraging your ofﬁce to investigate,
fight, and ultimately eliminate this type of abuse, now and in the future.

                                                    Best regards,

                                                    MUNSCH HARD KOPF & HARR, P.C.




                                                    By:
                                                             Davor Rukavina, Esq.

DRzpdm




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                                 Debtor Protocols [Doc. 466-1]

          i.    Deﬁnitions
                A.    “Court” means the United States Bankruptcy Court for the Northern District of
                      Texas.
                B.    “M” means (A) with respect to an entity that is not a CLO, the value of such
                      entity’s assets less the value of its liabilities calculated as of the month end prior
                      to any Transaction; and (B) with respect to a CLO, the CLO’s gross assets less
                      expenses calculated as of the quarter end prior to any Transaction.
                      “Non—Discretionary Account” means an account that is managed by the Debtor
                      pursuant to the terms of an agreement providing, among other things, that the
                      ultimate investment discretion does not rest with the Debtor but with the entity
                      whose assets are being managed through the account.
                      “Related Entity" means collectively (A)(i) any non—publicly traded third party in
                      which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                      respect to Messrs. Okada, Scott and Honis, only to the extent known by the
                      Debtor) has any direct or indirect economic or ownership interest, including as a
                      beneﬁciary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                      Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Honis (with respect to Messrs.
                      Okada, Scott and Honis, only to the extent known by the Debtor); (iii) MGM
                      Holdings, Inc; (iv) any publicly traded campany with respect to which the Debtor
                      or any Related Entity has ﬁled a Form 13D or Form 130; (v) any relative (as
                      deﬁned in Section 101 of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
                      each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
                      Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
                      person that is an insider of the Debtor under Section 101(31) the Bankruptcy
                      Code, including any “non—statutory” insider; and (viii) to the extent not included
                      in (A)(i)—(vii), any entity included in the listing of related entities in Schedule B
                      hereto (the “Related Entities Listin ”); and (B) the following Transactions,
                      (it) any intercompany Transactions with certain affiliates referred to in paragraphs
                       16.a through 16.e of the Debtor’s cash management motion [Del. Docket No. 7'];
                      and (y) any Transactions with Charitable DAF Fund, L.P. (provided, however,
                      that additional parties may be added to this subclause (y) with the mutual consent
                      of the Debtor and the Committee, such consent not to be unreasonably withheld).
                      “Stage 1” means the time period from the date of execution of a term sheet
                      incorporating the protocols contained below the (“Term Sheet”) by all applicable
                      parties until approval of the Term Sheet by the Court.
                      “Stage 2" means the date from the appointment of a Board of independent
                      Directors at Strand Advisors, Inc until 45 days after such appointment, such
                      appointment being effective upon Court approval.
                      “Stage 3" means any date after Stage 2 while there is a Board of Independent
                      Directors at Strand Advisors, Inc.
                      ‘Transaction” means (i) any purchase, sale, or exchange of assets, (ii) any lending
                      or borrowing of money, including the direct payment of any obligations of
                      another entity,   (iii) the satisfaction of any capital call or other contractual



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                       requirement to pay money, including the satisfaction of any redemption requests,
                       (iv) ﬁtnding of afﬁliates and (v) the creation of any lien or encumbrance.
                 1.     "Ordinary Course Transaction" means any transaction with any third party which
                        is not a Related Entity and that would otherwise constitute an “ordinary course
                        transaction” under section 363(c) of the Bankruptcy Code.
                 J.     “Notice” means notiﬁcation or communication in a written format and shall.
                       include supporting documents necessary to evaluate the propriety of the proposed
                       transaction.
                 K.    “Sp eciﬁed Entity” means any of the following entities: ACiS CLO 201’??? Ltd.,
                       Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland
                       CIJO 2018—1, Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd.,
                       Highland Park CDO 1, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd.,
                       Rockwell CDO II Ltd., Rockwell CDO Ltd., Southfork CLO Ltd., Stratford CLO
                       Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                       Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities
                       CDO Ltd., Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd.,
                       Red River CLO, Ltd., Valhalla CLO, Ltd.
           I].   Transactions involving the (i) assets held directly on the Debtor’s balance sheet or
                 the balance sheet of the Debtor’s wholly-owned subsidiaries, including lotteries
                 Prime Account, and (ii) the Highland Select Equity Fund, L.P., Highland Multi
                 Strategy Credit Fund. LR, and Highland Restoration Capital Partners
                 A.     Covered Entities: NJA (See entities above).
                 B.     Operating Requirements
                        1.     Ordinary Course Transactions do not require Court approval (All Stages).
                               a)     Stage l and Stage 2: ordinary course determined by the CRO.
                               b)     Stage 3: ordinary course determined by the Debtor.
                       2.      Related Entity Transactions

                               a)     Stage l and Stage 2: Transactions with Related Entities require
                                      prior approval of CRO and ﬁve business days advance notice to
                                      the Committee and if the Committee objects, the burden is on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.

                               b)     Stage 3:
                                      (1)    Transactions with Related Entities greater than $1,000,000
                                             (either individually or in the aggregate basis on a rolling 30
                                             day period) require ﬁve business days advance notice to the
                                             Committee and if the Committee objects, the burden is on
                                             the Debtor to seek Court approval, which the Committee
                                             agrees may be sought on an expedited basis.




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                                               (2)      Transactions with Related Entities mater than $2,000,000
                                                        (either individually or in the aggregate basis on a rolling 30
                                                        day period) require Court approval, which the Committee
                                                        agrees may be sought on an expedited basis.
                              3.       Third Party Transactions (All Stages)
                                       a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                               $2,000,000 (either individually or in the aggregate basis on a
                                               rolling 30 day period) require three business days advance notice
                                               to Committee and if the Committee objects, the burden is on the
                                               Debtor to seek Court approval, which the Committee agrees may
                                               be sought on an expedited basis.

                                       b)      The Debtor may satisfy any redemption requests from entities that
                                               are not Related Entities without advance notice so long as the
                                               Debtor provides notice of such Transactions to the Committee as
                                               soon as reasonably practicable. The Debtor will provide the
                                               Committee with ﬁve business days advance notice of any
                                               redemption requests made by and payable to a Related Entity, and
                                               if the Committee objects, the burden is on the Debtor to seek Court
                                               approval, which the Committee agrees may be sought on an
                                               expedited basis.
                                       0)      The Debtor may satisfy margin calls and short covers without
                                               providing the Committee advance notice if the exigencies do not
                                               allow advance notice so long as the Debtor provides notice of such
                                               Transactions to the Committee as soon as reasonably practicable.
                     C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                              showing all Transactions under this category.
             [I].    Transactions involving entities the Debtor manages and in which the Debtor holds a
                     direct or indirect interest [other than the entities discussed in Section I abovﬂ
                     A.       Covered Entities: See Scheduie A hereto. Schedule A includes or will include
                              all entities the Debtor manages and in which the Debtor holds a direct or indirect
                              interest (other than the entities discussed in Section I above).'
                     B.       Operating Requirements
                              l.       Ordinary Course Transactions do not require Court approval (All Stages).
                                       a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                                       b)      Stage 3: ordinary course determined by the Debtor.
                                       Related Entity Transactions



             '
               The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
             entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
             the extent necessary.




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                         a)     Stage l and Stage 2: Transactions with Related Entities require
                                prior approval of CRO and five business days advance notice to
                                the Committee and if the Committee objects, the burden is on the
                                Debtor to seek Court approval, which the Committee agrees may
                                be sought on an expedited basis.

                         b)     Stage 3:
                                (l)     Transactions with Related Entities greater than $1,000,000
                                        (either individually or in the aggregate basis on a rolling 30
                                        day period) require five business days advance notice to the
                                        Committee and if the Committee objects, the burden is on
                                        the Debtor to seek Court approval, which the Committee
                                        agrees may be sought on an expedited basis.
                                (2)     Transactions with Related Entities greater than $2,000,000
                                        (either individually or in the aggregate basis on a rolling 30
                                        day period) require Court approval, which the Committee
                                        agrees may be sought on an expedited basis.
                  3.     Third Party Transactions (All Stages)
                         a)     Except as set forth in (b) and (c) below, Transactions in excess of
                                $2,000,000 {either individually or in the aggregate basis on a
                                rolling 30 day period) require three business days advance notice
                                to Committee and if the Committee objects, the burden is on the
                                Debtor to seek Court approval, which the Committee agrees may
                                be sought on an expedited basis.

                         b)     The Debtor may satisfy any redemption requests from entities that
                                are not Related Entities Without advance notice so long as the
                                Debtor provides notice of such Transactions to the Committee as
                                soon as reasonably practicable. The Debtor will provide the
                                Committee with ﬁve business days advance notice of any
                                redemption requests made by and payable to a Related Entity, and
                                if the Committee objects, the burden is on the Debtor to seek Court
                                approval, which the Committee agrees may be sought on an
                                expedited basis.
                         0)     The Debtor may satisfy margin calls and short covers without
                                providing the Committee advance notice if the exigencies do not
                                allow advance notice so long as the Debtor provides notice of such
                                Transactions to the Committee as soon as reasonably practicable.
            C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
                  showing all Transactions under this category.




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      IV.     Transactions involving entities that the Delhtor manages but in which the Debtor
              does not hold a direct or indirect interest
              A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                       all entities that the Debtor manages but in which the Debtor does not hold a direct
                       or indirect interest.2

              B.       Operating Requirements
                       1.       Ordinary Course Transactions do not require Court approval (All Stages).
                                a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                                b)      S_tagﬂ: ordinary course determined by the Debtor.
                       2.       Related Entity Transactions

                                a)      Stage l and Stage 2: Transactions with Related Entities require
                                        prior approval of CRO and ﬁve business days advance notice to
                                        the Committee and if the Committee objects, the burden is on the
                                        Debtor to seek Court approval, which the Committee agrees may
                                        be sought on an expedited basis.

                                1))     Stage :3:
                                        (1)      Transactions with Related Entities greater than $1,000,000
                                                 (either individually er in the aggregate basis on a rolling 30
                                                 day period) require ﬁve business days advance notice to the
                                                 Committee and if the: Committee objects, the burden is on
                                                 the Debtor to seek Court approval, which the Committee
                                                 agrees may be sought on an expedited basis.
                                        (2)      Transactions with Related Entities greater than $2,000,000
                                                 (either individually or in the aggregate basis on a rolling 30
                                                 day period) require Court approval, which the Committee
                                                 agrees may be sought on an expedited basis.
                       3.       Third Party Transactions [All Stages):
                                a)      Except (x) as set forth in (b) and (c) below and (y) for any
                                        Transaction involving a Speciﬁed Entity and the sale or purchase
                                        by such Speciﬁed Entity of an asset that is not an obligation or
                                        security issued or guaranteed by any of the Debtor, a Related
                                        Entity or a fund, account, portfolio company owned, controlled or
                                        managed by the Debtor or a Related Entity, where such
                                        Transaction is effected in compliance with the collateral
                                        management agreement to which such Speciﬁed Entity is party,
                                        any Transaction that decreases the NAV of an entity managed by
                                        the Debtor in excess of the greater of (i) 10% of NAV or (ii)
                                        $3,000,000 requires ﬁve business days advance notice to
      2
        The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
      entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
      the extent necessary.




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                                        Committee and if the Committee objects, the burden is on the
                                        Debtor to seek Court approval, which the Committee agrees may
                                        be sought on an expedited basis.

                                b)      The Debtor may satisfy any redemption requests from entities that
                                        are not Related Entities without advance notice so long as the
                                        Debtor provides notice of such Transactions to the Committee as
                                        soon as reasonably practicable. The Debtor will provide the
                                        Committee with ﬁve business days advance notice of any
                                        redemption requests made by and payable to a Related Entity, and
                                        if the Committee objects, the burden is on the Debtor to seek Court
                                        approval, which the Committee agrees may be sought on an
                                        expedited basis.
                                c)      The Debtor may take such steps as may be reasonably necessary to
                                        winddown any managed entity and make distributions as may be
                                        required in connection with such winddovm to any required
                                        parties. The Debtor will pmvide the Committee with ﬁve business
                                        days advance notice of any distributions to be made to a Related
                                        Entity, and if the Committee objects, the burden is on the Debtor to
                                        seek Court approval, which the Committee agrees may be sought
                                        on an expedited basis.
              C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                       showing all Transactions under this category.       Such reports will include
                       Transactions involving a Specified Entity unless the Debtor is prohibited ﬁ'om
                       doing so under applicable law or regulation or any agreement governing the
                       Debtor’s relationship with such Specified Entity.
      V.      Transactions involving entities that the Debtor does not manage hut in which the
              Debtor holds a direct or indirect interest
              A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                       entities that the Debtor does not manage but in which the Debtor holds a direct or
                       indirect interest.3
              B.       Ordinary Course Transactions (All Stages): N/A
              C.       Operating Requirements: NIA
              D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                       Transactions, i.e. Transactions in which. the Debtor or a Related Entity also holds
                       a direct or indirect interest.




      3
        The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
      entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
      the extent necessary.




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     VI.     Transactions involving entities that the Debtor does not manage and in which the
             Debtor does not hold a direct or indirect interest
             A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                      entities that the Debtor does not manage and in which the Debtor does not hold a
                      direct or indirect interest.4
             B.       Ordinary Course Transactions (All Stages): N/A
             C.       Operating Requirements: NIA
             D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                      Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                      a direct or indirect interest.

     VII.    Transacﬁons involving Non-Discretionart»r Accounts
             A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                      non—discretionary accountss
             B.       Ordinary Course Transactions (All Stages): NJA
             C.       Operating Requirements: NfA
             D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                      Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                      a direct or indirect interest.

     VIII. Additional Re ortin Re uirements— All Sta as to the extent a                        Iicable
             A.       D8] will provide detailed lists and descriptions of internal ﬁnancial and
                      operational controls being applied on a daily basis for a full understanding by the
                      Committee and its professional advisers three (3) business days in advance of the
                      hearing on the approval of the Term Sheet and details of proposed amendments to
                      said ﬁnancial and operational controls no later than seven (7) days prior to their
                      implementation.
             B.       The Debtor will continue to provide weekly budget to actuals reports referencing
                      their 13—week cash ﬂow budget, such reports to be inclusive of all Transactions
                      with Related Entities.
     IX.     Shared Services
             A.       The Debtor shall not modify any shared services agreement without approval of
                      the CRO and Independent Directors and seven business days’ advance notice to
                      counsel for the Committee.
             B.       The Debtor may otherwise continue satisfying its obligations under the shared
                      services agreements.

     4
       The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
     entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
     the extent necessary.
     5
       The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
     entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
     the extent necessary.




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   X.    Representations and Warranties
         A...   The Debtor represents that the Related Entities Listing included as Schedule B
                attached hereto lists all known persons and entities other than natural persons
                included in the deﬁnitions of Related Entities covered by Section I.D parts AG)-
                (vii) above at the time of the execution of the Term Sheet.
         B.     The Debtor represents that the list included as Schedule C attached hereto lists all
                known natural persons included in the deﬁnitions of Related Entities covered by
                Section I‘.D parts A(i)—(vii) above at the time of the execution of the Term Sheet.
         C.     The Debtor represents that, if at any time the Debtor becomes aware of any
                person or entity, including natural persons, meeting the deﬁnition of Related
                Entities covered by Section I.D parts A(l)—(vii} above that is not included in the
                Related Entities Listing or Schedule C, the Debtor shall update the Related
                Entities Listing or Schedule C, as appropriate, to include such entity or person and
                shall. give notice to the Committee thereof.




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                                                            Schedule Aﬁ
     Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
                  1. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
                  2. Dynamic Income Fund (0.26% Ownership Interest)

     Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
     interest

                               Highland Prometheus Master Fund L.P.
                               NexAnnuity Life Insurance Company
                               PensionDanmark
                               Highland Argentina Regional Opportunity Fund
                               Longhorn A
                               Longhorn B
                               Collateralized Loan Obligations
                               a) Rockwell II CDO Ltd.
                               b) Grayson CLO Ltd.
                               c) Eastland CLO Ltd.
                               d) Westchester CLO, Ltd.
                               3) Brentwood CLO Ltd.
                               t) Greenbriar CLO Ltd.
                               g) Highland Park CDO Ltd.
                               h) Liberty CLO Ltd.
                               i) Gleneagles CLO Ltd.
                               j) Stratford CLO Ltd.
                               k) Jasper CLO Ltd.
                               1) Rockwall DCO Ltd.
                               In) Red River CLO Ltd.
                               11) Hi V CLO Ltd.
                               c) Valhalla CLO Ltd.
                               p) Aberdeen CLO Ltd.
                               q) South Fork CLO Ltd.
                               r) Legacy CLO Ltd.
                               5) Pam Capital
                               t) Pamco Cayman
     Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
     interest

                               Highland Opportunistic Credit Fund
                               Highland Healthcare Opportunities Fund ﬁ’k/a Highland long/Short Healthcare Fund
                ﬁg‘E-“PP’PL‘




                               NexPoint Real Estate Strategies Fund
                               Highland Merger Arbitrage Fund
                               NexPoint Strategic Opportunities Fund
                               Highland Small Cap Equity Fund
                               Highland Global Allocation Fund

     ‘5
          NTD: Schedule A is work in process and may be supplemented or amended.




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            8. Highland Socially Responsible Equity Fund
            9. Highland Income Fund
            10. Stonebridge—Highland Healthcare Private Equity Fund (“Korean Fund”)

            11. SE Multifamily, LLC

     Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
     indirect interest
                The Dugaboy Investment Trust
                NexPoint Capital LLC
                NexPoint Capital, Inc.
                Highland 1303:); Senior Loan ETF
                Highland Long/Short Equity Fund
                Highland Energy MLP Fund
                Highland Fixed Income Fund
                Highland Total Return Fund
             . NexPoint Advisers, LP.

            10. Highland Capital Management Services, Inc.
            11. Highland Capital Management Fund Advisers LP.
            12. ACIS CLO Management LLC
            l3. Governance RE Ltd
            14. PCMG Trading Partners XXIII LP
            l5. NexPoint Real Estate Partners, LLC fYkla HCRE Partners LLC
            l6. NexPoint Real Estate Advisers II LP
            1?. NexPoint Healthcare Opportunities Fund
            i8. NexPoint Securities
            19. Highland Diversiﬁed Credit Fund
            20. BB Votorantim Highland Inﬁ'astructure LLC
            21. ACIS CLO 2017 Ltd.
     Transactions involving Non-Discretionary Accounts
            1.   NexBank SSB Account
            2.   Charitable DAF Fund LP




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                                           Schedule B

                      Related Entities Listing (other than natiiral persons)




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                                          Schedule C

           l. James Dondero
               Mark Okaﬂa
               Grant Scott
               John Howls
            . Nancy Bondsm-
               Pamela Okada
               Thomas Surgem
               Scott Ellington
               Frank Waterhouse
             . Lee (Trey) Parker




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           IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE NORTHERN DISTRICT          OF TEXAS

           DALLAS DIVISION

                                                   )

           In Re:                          Chapter 11
           HIGHLAND CAPITAL                Case No.
           MANAGEMENT,    LP,              19—34054—SGJ 11



                     Debtor
     10

     11

     12

     13     REMOTE DEPOSITION OF JAMES P.              SEERY, JR.
     14                   January 29, 2021
     15                    10:11    a.m.    EST
     16

     17

     18

     19

     20

     21

     22

     23
           Reported by:
     24    Debra Stevens, RPR—CRR
           JOB NO. 189212
     25




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     1                    January 29. 2021                        1   REMOTE. APPEARANCES:

     2                    9:00 s.m. EST                           2

     3                                                            3   Heller, Draper, Hayden, Patrick,              &   Ham
     4            Remote Deposition of JAMES F.                   4   Attorneys for The Dugehoy Investment
     5   SEERY,    JR., held vis Zoom                             5   Trust and The Get Goad Trust
     6   conference. before Debra Stevens.                        6               650 Poydras     Street
     7   RPRICRR and s Notary Public or the                       T               New Orleans,        Louisiana 70130
     E   State of New York.                                       8

     9                                                            9

    10                                                           10   BY:         DOUGLAS DEEPER,        E59
    11                                                           11

    12                                                           12

    13                                                           13   PACHULSKI STANG ZIEHL is JONES
    1a                                                           14   For the Debtor and the Witness Herein
    15                                                           15               780   Third Avenue
    16                                                           16               New   York,   New    York 10017
    17                                                           17   BY:         JOHN DEBBIE, ESQ.

    IE                                                           18               JEFFREY POMERENTZ, E39.
    19                                                           19               GREGORY DEMO, ESQ.
    20                                                           20               IRA. WEEK-I,        E50.
    21                                                           21
    22                                                           22

    23                                                           23

    24                                                           24                               (Continued)
    25                                                           25


                                                      Page   4                                                                   Page   5
     1   REMOTE REFERENCES:             (Continued)               1   REMOTE APPEWCES:                iCDntinuEdl
     2                                                            2   KING E BPALDING
     3   LATEAM & WATKINS                                         3   Attorneys for Highland CLO Funding, Ltd.
     a   Attorneys for UB3                                        4           500 West 2nd Street
     5           885 Third Avenue                                 5               Austin, Texas 76701
     6             New    York,   New   York 10022                6   BY:         RBEECCA MATSUMURA, ESQ.
     7   BY:        SHANNON MCLAUGIILIN.       ESQ.               7

     B                                                            8   REL GATES
     9   JENNER    i BLOCK                                        8   Attorneys Eur Highland Capital Management
    10   Attorneys for Redeemer Committee of                     10   Fund Advisers. L.P.. et 31.:
    11   Highland Crusader Fund                                  11           4350 Lassiter at Nerth Hills
    12              919 Third Avenue                             12                Avenue
    13             New    York.   New   York 10022               13               Raleigh, North Carolina 27609
    1!   BY:       MARC    B. RANKIN, ESQ.                       14   BY:         EMILY MATE-ER, ESQ.
    15                                                           15

    16   SIDLEY AUSTIN                                           16   MUNSCH. HARDT KOE'E' E      HARE
    17   Attorneys for Creditors' Committee                      17   Attorneys for Defendants Highland Capital
    10              2021 McKinney Avenue                         18   Management Fund Advisers, LP; NexPoint
    19              Dallas, Texas 7520].                         19   Advisers, LP; Highland Income Fund;
    20   BY:        PENNY REID.     ESQ.                         20   NexPoint Strategic Opportunities Fund and
    21             MATTHEW CLEMENTE,         £50.                21   NexPuint Capital, Inc.:
    22              PAIGE MONTGOMERY. ESQ.                       22               500 N. Akard        Street
    23                                                           23               Dallas, Texas 75201—6659
    2!                              (Continued)                  24         BY:   DAVDR RUKAVINA, ESQ.
    25                                                           25                                     [Continued]




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      1        REMOTE APPEARANCES      (Continued)                                1   REMOTE APPEARANCES:            (Continued)
      2                                                                           2

      3        nouns ELLIS RPPICII scmta           JONES                          3   RICK PHILLIPS
      4        Attorneys for James Dnndpro,                                       4   Attorneys for NexPoint Real Estate
      5        Party-in-Interest                                                  5   Partners, NexPoint Real Estate Entities
          6               420 I’hrockmorton      Street                           6   and NexBank
      1                                                                           7               100 Throckmorton Street
      a                   Fort Worth. Texas 76102                                 8                Fort Worth, Texas 76102
          9'   BY:        CLAY TAYLOR; ESQ.                                       9   BY:         LAUREN DRAWHORN. ESQ-
     10                   JOHN BONDS, ESQ.                                       10
     ll                   BRIAN ASSINK. 530.                                     11   ROSS    &   SMITH
     12                                                                          12   Attorneys for Senior Employees, Scott
     13                                                                          13   Ellington. Isaac Leventon. Thomas Surgent.
     1-!       BAKER McKBNZIB                                                    14   Frank Waterhouse
     15        Attorneys for Senior Employees                                    15               700 N.       Pearl Street
     16                1900 North Pearl Street                                   16               Dallas. Texas 75201
     1']                                                                         17   BY:         FRANCES SMITH, E59.
     18                   Dallas. Texas 75201                                    18

     19        BY:        MICHELLE mm.             ESQ.                          19
     20                   DEBRA DANDEREAU. ESQ.                                  20

     21                                                                          21

     22                                                                          22

     23                                                                          23

     24                                 (Continued)                              24
     25                                                                          25


                                                                      Page 6                                                                    Page 9
      1                                                                           1
      2
      3        HITNESS                                     PAGE
                                                                                  2                 COURTREPORTER:            wynameis
      4        JAMES SEER!                                                        3          Debra Stevens, court reporter for 1'56
      5          BY Mr. Draper                                    5               4          Reporting and notary public of the
          5      By Mr. Taylor                                1'5
                                                                                  5          State of New York. Due to the
      1          By Mr. Rukavine                             165
      8          By Mr. Draper                               217                  i          severity of the COVID—ls pandemic and
          9
                                                                                  7          following the practice of social
                                  E K H. I   B   I I S
     10        SEER! DYD                                                          8          distancing. I will not be in the same
               EXHIBIT          DESCRIPTION                P355                   9          room with the witness but will report
     11
               Exhibit                                                           10          this deposition remotely and will
                          1     January 2021 material         11
     12                                                                          11          swear the witness in remotely.    It any
               Exhibit    2     Disclosure Statement          14
                                                                                 12          party has any objection. please so
     13
               Exhibit 3       Notice of Deposition           74                 13          state before we proceed.
     1"                                                                          14                 whereupon,
     15
                 mmmnowpnonucrmu REQUESTS
                                                                                 15                       JA   M   E s   s E E R Y'

     15        DESCRIPTION                                 PAGE                  16         having been first  duly sworn/attirmeo,
     17        Subsidiary ledger showing note                 22                 17         was examined and. testified as follows:
               component versus hard asset
     18                                                                          18   EXAMINATION BY
               component
     19        Amount of DID coverage for                    131                 19   HR. DRAPER:
               trustees
                                                                                 20          0.     Mr. Seery. my name is Douglas
     20
               Linc item for MD insurance                    133                 21   Draper, representing the Dugahoy Trust.            1
     21                                                                          22   have series of questions today in
     22                       MARKED FOR RULING
                                 PAGE   LINE.                                    23   connection with the 30 (h) Notice that we
     23                            55      20                                    24   filed.      The     first question I have for you.
     24
                                                                                 25   have you seen the Notice of Deposition
     25




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                                                         Page 14                                                     Page 15
      1                           J. SEERY                          l                     J. SEERY
      2          the screen, please?                                2        A.    It says the percent distribution
      3          A.    Page what?                                   3   to general unsecured creditors is
      4          Q.       I think it is page 174.                   4   62.14 percent.
      5          A.       Of the PDF or of the document?            5        Q.    Have you communicated the
      6          Q.       Of the disclosure statement that          6   reduced recovery to anybody prior to the
      7   was filed.        It is up on the screen right            7   date -—
                                                                                 to yesterday?
      8   now.                                                      8              MR. MORRIS: Mew ion to the
      9                   COURT REPORTER:     Do you intend         9        form of the question.
     10          this as another exhibit for today‘s               10        A.    I believe generally, yes. I
     11          deposition?                                       11   don't know if we have a specific number,
     12                   MR. DRAPER:     We'll mark this          12   but generally yes.
     13          Exhibit 2.                                        13        Q.    And would that be members of the
     14              (So marked for identification as              14   Creditors' Comittee who you gave that
     15        Seery Exhibit 2.)                                   15   information to?
     16        Q.    If you look to the recovery to                16        A.    Yes.
     17   Class 8 creditors in the November 2020                   17        Q.    Did you give it to anybody other
     18   disclosure statement was a recovery of                   18   than members of the Creditors' Committee?
     19   87.44 percent?                                           19        A.    Yes.
     20       A.     That actually says the percent                20       Q.      Who?
     21   distribution to general unsecured                        21       A.      HarbourVest.
     22   creditors was 87.44 percent. Yes.                        22       Q.      And when was that?
     23        Q.    And in the new document that was              23       A.      Within the last two months.
     24   filed, given to us yesterday, the recovery               24      Q.     You did not feel the need to
     25   is 62.5 percent?                                         25   communicate the change in recovery to
                                                         Page 16                                                     Page 17
      l                           J. SEERY                          1                          J. SEERY
      2            else?
          any-"1:51:13"                                             2   not accurate?
      3          A.   I said Mr. Doherty.                           3       A.    Yes.        We   secretly disclosed it
      4       Q.      In looking at the two elements,               4   to the Bankruptcy Court in open court
      5   and what I have asked you to look at is                   5   hearings.
      6   the claims pool. If you look at the                       6       Q.    But you never did bother to
      7   November disclosure statement, if you look                7   calculate the reduced recovery; you just
      8   down Class 8, unsecured claims?                           8   increased   --




      9       A.     Yes.                                           9              {Reporter interruption.)
     10       Q.     You have 1'76, 000 roughly?                   10       Q.    You just advised as to the
     11       A.     Million.                                      11   increased claims pool. Correct?
     12       Q.     1'76 million.   I am sorry. And               12             MR. MORRIS:  Objection to the
     13   the number in the new document is 313                    13       form of the question.
     14   million?                                                 14       A.     I don't understand your
     15          A.       Correct .                                15   question .
     16          Q-       What accounts    for the                 16       Q.     What I am trying to get at is,
     17   difference?                                              17   as you increase the claims pool, the
     18          A.       An increase in claims.                   18   recovery reduces. Correct?
     19          Q.       When did those     increases occur?      19       A.     No. That is not how a fraction
     20   Were they yesterday?          A month ago?    Two        20   works.
     21   months ago?                                              21       Q.     Well, if the denominator
     22          A.       Over the last couple months.             22   increases, doesn‘t the recovery ultimately
     23          Q.       So in fact over the last couple          23   decrease if      -—




     24   months you knew in fact that the recovery                24       A.     No.
     25   in the November disclosure statement was                 25       Q.      --
                                                                                       if the numerator stays the




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                                                    page 25                                                   page 27
     l                      J. SEERY                           l                     J.  SEERY
     2    were  amended without consideration a few            2        A.    NexPoint,  I said. They
     3    years ago. So, for our purposes we didn't            3    defaulted on the note and we accelerated
     4    make the assumption, which I am sure will            4    it.
     5    happen, a fraudulent conveyance claim on             5        Q.    So there is no need to file a
     6    those notes, that a fraudulent conveyance            6    fraudulent conveyance suit with respect to
     7    action would be brought. We just assumed             7    that note.   Correct, Mr. Seery?
     8    that we'd have to discount the notes                 8               MR. MORRIS: Objection to the
     9    heavily to sell them because nobody would            9         form of the question.
    10    respect the ability of the counterparties           10        A.     Disagree. Since it was likely
    ll    to fairly pay.                                      ll    intentional fraud, there may be other
    12        Q.    And the same discount was                 12    recoveries on it.   But to collect on the
    13    applied in the liquidation analysis to              13    note, no.
    14    those notes?                                        14         Q.    My question was with respect to
    15        A.    Yes.                                      15    that note.   Since you have accelerated it,
    16        Q.     Now W                                    16    you don't need to deal with the issue of
    17        A.     The difference       there would be
                                          ——
                                                              17    when it's due?
    18    a difference, though, because they would            18               MR. MORRIS: Objection to the
    19    pay for a while because they wouldn't want          19         form of the question.
    2O    to accelerate them. So there would be               20        A.     That wasn't your question. But
    21    50m   collections   on the notes for P and I.       21    to that question, yes, I don't need to
    22        Q.      But in fact as of January you           22    deal with when it's due.
    23    have accelerated those notes?                       23        Q.     Let me go over certain assets.
    24        A.      Just one of them, I believe.            24    I am not going to ask you for the
    25        Q.      Which note was that?                    25    valuation of them but I am going to ask
                                                    Page 28                                                   Page 29
     l                       J.   SEERY                        l                     J.   SEERY
     2    you whether they are included in the asset           2    includes any other securities and all the
     3    portion of your $257 million number, all             3    value that would flow from Cornerstone.
     4    right? Mr. Morris didn't want me to go               4    It includes HCLDF and all the value that
     5    into specific asset value, and I don't               5    would flow up from HCLOF. It includes
     6    intend to do that.                                   6    Korea and all the value that would flow up
     7              The first question I have for              7    from Korea.
     8    you is, the equity in Trustway Highland              8                There may be others off the top
     9    Holdings, is that included in the                    9    of my head. I don't recall them. I don't
    1E)   $25? million number?                                lﬂ    have a list in front of me.
    11         A.    There is no such entity.                 ll         Q.     Now, with respect to those
    12         Q.    Then I will do it in a different         12    assets, have you started the sale process
    13    way. In connection with the sale of the             13    of those assets?
    14    hard assets, what assets are included in            14         A.     No. Well, each asset is
    15    there specifically?                                 15    different.    So, the answer is, with
    16         A.    Off the top of my head    ——

                                                 it is        16    respect to any securities, we do seek to
    17    all of the assets, but it includes                  17'   sell those regularly and we do seek to
    18    Trustway Holdings and all the value that            18    monetize those assets where we can
    19    flows up from Trustway Holdings. It                 19    depending on whether there is a
    20    includes Targa and all the value that               2D    restriction   or not and whether there is
    21    flows up from Targa. It includes CCS                21    liquidity in the market.
    22    Medical and all the value that would flow           22                with respect to the PE assets or
    23    to the Debtor from CCS Medical.   It                23    the companies I described      Targa, CCS,
                                                                                                  ——




    24    includes Cornerstone and all the value              24    Cornerstone. J'HT——
                                                                                          we have not  ——




    25    that would flow from Cornerstone.    It             25    Trustway. We have not sought to sell




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                                                                      Page 38                                                                         Page 39
     1                             J.   SEERY                                        l                           J.    SEERY
     2        A.    I don't recall the specific                                      2    different analysis that we'll undertake
     3    limitation on the trust. But if there was                                  3    with bankruptcy counsel to determine what
     4    a reason to hold on to the asset, if there                                 4    we would need depending on awn-n at
     5    is a limitation, we can seek an extension.                                 5    going to happen and what the restrictions
     6        Q.       Let   ask a question. With
                              me                                                     6    either under the code are or unis use
     7    respect  to  these businesses, the Debtor                                  7    plan.
     8    merely owns an equity interest in them.                                    8        Q.     Is there anything that would
     9    Correct?                                                                   9    stop you from selling these businesses if
    10        A.      Which business?                                              [1C5   the Chapter 1:       want    [In   for   a]   your   [11'   two
    11        Q.       The ones you have identified                     as         11     years?
    12    operating businesses earlier?                12                                             MR. MORRIS:  Objection to form
    13        A.    It depends on the business.        13                                       of the question.
    14        Q.    Well, let me     again. let's try 14
                                              ——
                                                                                                A.    Is there anything that would
    15    to be specific. with respect to SSP, it      15                                  stop rre? We'd have to follow the
    16    was your position that you did not need to 16                                    strictures of the code and the protocols,
    13'   qet court approval for the sale. Correct? 17                                     but there would be no prohibition     let           —-




    18        A.    That's correct.                   FE                                  _u—[fﬁh please.
    19        Q.    Which one of the operating        ’19                                          _There would be no prohibition
    20    businesses that are here, that you have      20                                 that I am aware of.
    21    identified, do you need court authority      21                                      Q.    Now, in connection with your
    22    for a sale?                                  22                                 differential between the liquidation of
    23              MR. MORRIS: Objection to the       23                                 what I will call the operating businesses
    24        form of the question.                    24
                                                        r
                                                                                          under the liquidation analysis and the
    25        A.       Each of the        1                 0:55:03    b»:   -_1   25     plan analysis, who arrived at the disc0unt
                                                                      Page 40                                                                         Page 41
     l                      J. SEERY                                                 l                           J. SEERY
     2    or determined the discount that has been                                   2    is different.
     3    placed between the two, plan analysis                                      3        Q.    Is the discount a function of
     4    versus  liquidation analysis?                                              4    capability of a trustee versus your
     5               MR. MORRIS: Objection to form                                   5    capability, or is the discount a function
     6         of the question.                                                      6    of timing?
     7        A.       To which document are you                                     7                           Objection to form.
                                                                                                       MR. MORRIS:
     8    referring?                                                                 8        A.    It could be a combination.
     9        Q.    Both the June    the January and
                                                   --

                                                                                     9         Q.   So, let's    let me walk through
                                                                                                                      --




    10    the November analysis has a different                                    10     this. Your plan analysis has an
    11    estimated proceeds for monetization for                                  11     assumption that everything is sold by
    12    the plan analysis versus the liquidation                                 12     December 2022. Correct?
    13    analysis.     Do you see        that?                                    13         A.    Correct.
    14        A.       Yes.                                                        14          Q.   And the valuations that you have
    15        Q.    And there is a note under there.                               15     used here for the monetization assume a
    16    "Assumes Chapter 7 trustee will not be                                   16     sale between    a sale prior to December
                                                                                                          -—




    1'?   able to achieve the same sales proceeds as                               17     of 2022. Correct?
    18    Claimant trustee.”                                                       18         A.    Sorry. I don't quite understand
    19        A.    I see that, yes.                                               19     your question.
    20        Q.    Do you see that note?                                          20         Q.       The 257 number, and then let‘s
    21        A.    Yes.                                                           21     take out the notes.     Let's use the 210
    22        Q.    Who arrived at that discount?                                  22     number.
    23        A.    I did.                                                         23               MR. MORRIS: Can we put the
    24        Q.    What percentage did you use?                                   24         document back on the screen, please?
    25        A.    Depended on the asset.  Each one                               25         Sorry, Douglas, to interrupt, but it




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    l                       J . SEER!                        l                         J.   SEERY
    2       would be helpful.                                2   applied?
    3                MR. DRAPER:   That is fine, John.       3         A.       Each of the assets is different.
    4                [Pause.)                                4         Q.       Is there a general discount that
    5             MR. MORRIS: Thank you very                 5   you used?
    6       much.                                            6       A.    Not a general discount, no.   We
    7       Q.    Mr. Seery, do you see the 257?             7   looked at each individual asset and went
    8       A.    In the one from yesterday?                 8   through and made an assessment.
    9       Q.    Yes.                                       9       Q.    Did you apply a discount for
   10       A.    Second line, 257,941. Yes.                10   your capability versus  the capability of a
   11       Q.       That assumes a monetization of         11   trustee?
   12   all assets    by December of 2022?                  12        A.        No.
   13       A.     Correct.                                 13         Q.       So a trustee would be as capable
   14       Q.    And so everything has been sold           14   as   you are    in monetizing these assets?
   15   by that time; correct?                              15                  MR. MORRIS:  Objection to the
   16       A.     Yes.                                     16       form of the question.
   17        Q.    So, what I am trying to get at           17         Q.  Excuse me? The answer is?
   18   is, there is both the capability between            18       A.    The answer is maybe.
   19   you and a trustee, and then the second              19       Q.    Couldn‘t a trustee hire somebody
   20   issue is timing. So, what discount was              20   as capable as you are?
   21   put on for timing, Mr. Seery, between when          21             MR. MORRIS: Objection to the
   22   a trustee would sell it versus  when you            22       form of the question.
   23   would sell it?                                      23       A.    Perhaps.
   24             MR. MORRIS: Objection.                    24       Q.    Sir, that is a yes or no
   25       Q.       What is the percentage you             25   question. Could the trustee hire somebody
                                                  Page 44                                                     Page 45
    l                       J.SEERY                          l                    J. SEER!
    2   as capable as you are?                               2       Q.    Again, the discounts are applied
    3              MR. MORRIS:   Objection to the            3   for timing and capability?
    4        form of the question.                           4       A.    Yes.
    5       A.     I don‘t know.                             5       Q.    Now, in looking at the November
    6       Q.     Is there anybody as capable as            6   plan analysis number of $190 million and
    7   you  are?                                            7   the January number of $257 million, what
    8              MR. MORRIS: Objection to the              8   accounts for the increase between the two
    9        form of the question.                           9   dates? What assets specifically?
   10       A.     Certainly.                               10       A.    There are a number of assets.
   11        Q.    And they could be hired.                 ll   Firstly, the HCLOF assets are added.
   12   Correct?                                            12         Q.       How much are those?
   13       A.     Perhaps. I don‘t know.                   13         A.       Approximately 22 and a half
   14        Q.    And if you go back to the                14   million    dollars.
   15   November 2020 liquidation analysis versus           15         Q.     Okay.
   16   plan analysis, it is also the same note             16         A.   Secondly, there is a significant
   17   about that a trustee would bring less, and          17   increase in the value of certain of the
   18   there is the same sort of discount between          18   assets over this time period.
   19   the estimated proceeds under the plan and           19        Q.    which assets, Mr. Seery?
   20   under the liquidation analysis.                     20        A.    There are a number. They
   21              MR- MORRIS:   If that is a               21   include MGM stock, they include Trustway,
   22       question, I object.                             22   they include Targa.
   23       Q.     Is that correct, Mr. Seery,              23        Q.    And what is the percentage
   24   looking at  the document?                           24   increase from November to January,
   25       A.     There are discounts. yes.                25   November of 2020 to January of 2021?




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                                                                     Page 46                                                                  Page 47
         l                                J.
                                        SEERY                                    l                              J.    SEERY
         2            A.   Do you mean what is the                              2    markets; correct?
         3       percentage increase from 190 to 257?                            3      A.     No.
         4            Q.   No. You just identified     three                     4                   Those are        operating businesses?
         5       assets.  MGM stock. we can go look at the                       5                   Correct.
             6   exchange and figure out what the price                          6                   who   provided the valuation for
             7   increase is; correct?                                           7   71%     ‘~   emter EELS         liqu;datio: analysis?
             8        A.   No.                                                   8          A.        a combination of the
                                                                                                     We use
             9        Q.   why not?     Is the MGM stock                         9   value that we get from Houlihan Lokey for
        10       publicly traded?                                              10    mark purposes and then we adjust it for
        11            A.   Yes.   It doesn‘t trade on           —-
                                                                               11    plan purposes.
        12            Q.   Excuse   me?                                        12        Q.          And the adjustment was up or
        13            A.    It doesn't trade on an exchange.                   13    down?
        14            Q.    Is there a public market for the                   14        A.          when?
        15       MGM  stock that we could calculate the                        15           Q. t:: both November and January.
        16       increase?                                                     16    You got a number from Houlihan Lokey. You
        17            A.    There is a semipublic market;                      17    adjusted it.    Did you adjust it up or did
        13       yes.                                                          '9    you adjust   it down?
        19            Q.    So it is a number that is                          19               MR. MORRIS:   Objection to form
        20       readily available between the two dates?                      20        of the question.
        21            A.    It's available.                                    2l           A.       I heliewe        that    for November we
        22            Q.    Now, you identified  Targa and                     E:    adjusted it down, and for January we
        23       Trustway. Correct?                                            [23   adjusted it down. I don't recall off the
        24             Ar     Yes.                                             2%    top of my head but I believe bQZh of them
        25             Q.     Those are not         readily available          7;    were    adjusted down.
                                                                     Page 48                                                                  Page 49
         l                                J.   SEERY                             l                              J.    SEERY
         2             Q      inc    1;   T    Vnoerstand what you              2    of 2021, the magnitude being roughly ED
             3   just said, it is that the Houlihan Lokey                        3   some odd million    dollars.    Correct?
             4   valuation  for those two businesses showed                      4        A.    Correct.
             5   a significant increase between November of                      5        Q.    We can   account   for $22 million
    [        b   2 23 and January of 2021?                                       6   of it easil", right?
         7                    MR. MORRIS:         Objection to form              7              MR. MORRIS:      Objection to form.
             8         of the question.                                          8        A.    Correct.
             9         A.    I didn‘t say that.                                  9        Q.    That is the Harbourvest
        10             Q.  I am trying to account for the                      19'   settlement, so that leaves roughly
        ll       increase between the two dates, and you     ll                      $43 million una-     outed for?
        12       identified    three assets.  You identified 12                                 MR. MORRIS:      Objection to the
        13       MGM stock, which has, I can guess, as you   13                           form of the question if that is a
        14       have said, a readily ascertainable value.   14                           question. It is accounted for.
        15       Then you identified two others that the     15                           Q.    What makes up that difference.
        16       valuation is based upon something Houlihan l6                       Mr.    Seery?
        l7       Lokey provided you. Correct?                17                             A.       A change in         :te plan    alue sf
        18             A.     I gave you three examples. I   18                      the assets.                                                      ‘




        19       never    said "readily." That is your word, 19                             Q.        which
                                                                                                     okay.               .
                                                                                                                                     Let's     sort
        20       not mine. And I didn't say that Houlihan    20                      of go back to where we were.
        21       had a significant change in their           21                          A.    There are numerous                 assets     in the
        22       valuation.                                  22                      plan formulation.  I gave you three
        23             Q.     So let's now go back to the    2:                      examples of the opera:i:g husinesses. The
        24       question. There is an increase in value     24                      securities, I believe, have increased in
    til          from Novenhe: 24th :f 2023 to January 28th 25                       value since the plan. so those would go up




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     l                           J.   SEERY                         l                         J.   SEERY
     2    for one.  On the operating businesses, we                 2    HarbourVest settlement, right?
     3    looked at each of them and made an                        3        A.    I believe that's correct.
     4    assessment based upon where the market is                 4        Q.    Is that fair, Mr. Seery?
     5    and what we believe the values are, and we                5        A.    I believe that is correct, yes.
     6    have moved those valuations.                              6        Q.    And part of that differential
     7        Q.     Let me look at some numbers                    7    are publicly traded or ascertainable
     8    again. In the liquidation analysis in                     8    securities.   Correct?
     9    November of 2020, the liquidation value is                9        A.    Yes.
    10    $149 million.   Correct?                                 10        Q.    And basically you can get,     or
    11        A.     Yes.                                          11    under the plan analysis or trustee
    12        Q.     And in the liquidation analysis               12    analysis, if it is a marketable security
    13    in January of 2021, you have $191 million?               13    or   where there is a market, the
    14        A.     Yes.                                          14    liquidation number should be the same for
    15        Q.     You see that number. So there                 15    both.   Is that fair?
    16    is $51 million       there, right?                       16         A.    No.
    17        A.    No.                                            17         Q.    And why not?
    18         Q.     What is the difference between               18         A.   We might have a different price
    19    191 and  ——



                       sorry. My math may be a little              1!!   target for a particular security than the
    20    off.    What is the difference between the               20    current trading value.
    21    two numbers, Mr. Seery?                                  21         Q.   I understand that, but I mean
    22        A.        Your math is off.                          22    that is based upon the capability of the
    23        Q.        Sorry. It is 41 million?                   23    person making the decision as to when to
    24        A.        Correct.                                   24    sell.  Correct?
    25        Q.        $22 million     of that is the             25              MR. MORRIS: Objection to form

                                                         Page 52                                                  Page 53
     1                           J.   SEERY                         1                         J. SEERY
     2        of the question.                                      2    $18 million.     How much of that is publicly
     3        Q.    Mr. Seery, yes or no?                           3    traded or ascertainable assets versus
     4        A.    I said no.                                      4    operating businesses?
     5        Q.    What is that based on, then?                    5         A.      I don‘t knowr off the top of my
     6         A.    The person‘s ability to assess                 6    head the percentages.
     7'   the market and timing.                                    7         Q.      All right. The same question
     8         Q.    Okay. And again, couldn't a                    8    for the plan analysis where you have the
     9    trustee hire somebody as capable as you to                9    differential    between the November number
    10    both, A, assess  the market and, B, make a               10    and the January number. How much of it is
    11    determination as to when to sell?                        11    marketable securities versus     an operating
    12               MR. MORRIS: Objection to form                 12    business?
    13         of the question.                                    13        A.        I don't recall off the top of my
    14         A.    I suppose a trustee could.                    14    head.
    15         Q.    And there are better people or                15               MR. DRAE’ER: Let me take a
    16    people equally or better than you at                     16          few—minute break.  Can we take a
    17    assessing a market. Correct?                             17          ten—minute break here?
    18        A.        Yes.                                       18               THE WITNESS: Sure.
    19                MR. MORRIS:   Objection to form              19                  (Recess.}
    20          of the question.                                   20    BY MR. DRAPER:
    21          Q.    So, again, let‘s go back to                  21         Q.   Mr. Seery, what I am going to
    22    that.    We have accounted for, out of                   22    show you and what I would ask you to look
    23    $41 million where the liquidation analysis               23    at is in the note E, in the statement of
    24    increases between the two dates,                         24    assumptions for the November 2020
    25    $22 million of it.     That leaves                       25    disclosure statement.  It discusses fixed




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                                 Sale of Assets of Affiliates or Controlled Entities


       Asset                                                   Sales Price
       Structural Steel Products                               $50 million
       Life Settlements                                        $35 million
       OmniMax                                                 $50 million
       Targa                                                   $37 million


          o    These assets were sold over the contemporaneous objections of James Dondero, who was the
               Portfolio Manager and key-man on the funds.
          o    Mr. Seery admittedl that he must comply with the Bankruptcy Code, the Federal Rules of
               Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
               that a competitive bid process and court approval should have been required for the sale of each
               of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
               and the sale of the interest in PetroCap [a $3 million asset]).




   1
       See Mr. Seery’s Jan. 29, 2021 deposition testimony, Appendix p. A-20.



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                                     20 Largest Unsecured Creditors


    Name of Claimant                      Allowed Class 8    Allowed Class 9
    Redeemer Committee of the
    Highland Crusader Fund                $136,696,610.00
    UBS AG, London Branch and UBS
    Securities LLC
                                          $65,000,000.00     $60,000,000
    HaTbOUTVeSt entities                  $45,000,000.00     $35,000,000
    Acis Capital Management, L.P. and
    Acis Capital Management GP, LLC       $3,000,000.00
    CLO Holdco Ltd                        $11,340,751.26
    Patrick Daugherty
                                                             $2,750,000 (+$750,000 cash payment
                                          $8,250,000.00      on Effective Date of Plan)
    Todd Travers (Claim based on
    unpaid bonus due for Feb 2009)        $2,618,480.48
    McKool Smith PC                       $2,163,976.00
    Davis Deadman (Claim based on
    unpaid bonus due for Feb 2009)        $1,749,836.44
    Jack Yang (Claim based on unpaid
    bonus due for Feb 2009)               $1,731,813.00
    Paul Kauffman (Claim based on
    unpaid bonus due for Feb 2009)        $1,715,369.73
    Kurtis Plumer (Claim based on
    unpaid bonus due for Feb 2009)        $1,470,219.80
    Foley Gardere                         $1,446,136.66
    DLA Piper                             $1,318,730.36
    Brad Borud (Claim based on unpaid
    bonus due for Feb 2009)               $1,252,250.00
    Stinson LLP (successor to Lackey
    Hershman LLP)                         $895,714.90
    Meta-E Discovery LLC                  $7 79,969.87
    Andrews Kurth LLP                     $677,075.65
    Markit WSO Corp                       $572,874.53
    Duff & Phelps, LLC                    $449,285.00
    Lynn Pinker Cox Hurst                 $436,538.06
    Joshua and Jennifer Terry
                                          $425,000.00
    Joshua Terry
                                          $355,000.00
    CPCM LLC (bought claims of
    certain former HCMLP employees)       Several million
    TOTAL:                                $309,345,631.74    $95,000,000




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                                       Timeline of Relevant Events


    Date          Description
    10/29/2019    UCC appointed; members agree to ﬁduciary duties and not sell claims.
    9/23/2020     Acis 9019 ﬁled
    9/23/2020     Redeemer 9019 ﬁled
    10/28/2020    Redeemer settlement approved
    10/28/2020    Acis settlement approved
    12/24/2020    HarbourVest 9019 ﬁled
    1/ 14/2021    Motion to appoint examiner ﬁled
    1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
                  assignee, valued at $22 million per Seery
    1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
    2/3/2021      Failure to comply with Rule 2015.3 raised
    2/24/2021     Plan conﬁrmed
    3/9/2021      Farallon Cap. Mgmt. forms “Muck Holdings LLC” in Delaware
    3/ 15/2021    Debtor ﬁles Jan. ‘21 monthly operating report indicating assets of $364 million,
                  liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
                  of any Class 9 claims), the last publicly ﬁled summary of the Debtor‘s assets. The
                  MOR states that no Class 9 distributions are anticipated at this time and Class 9
                  recoveries are not expected.

    3/31/2021     UBS ﬁles friendly suit against HCMLP under seal
    4/8/2021      Stonehill Cap. Mgmt. forms “J essup Holdings LLC” in Delaware
    4/ 15/2021    UBS 9019 ﬁled
    4/ 16/2021    Notice of Transfer of Claim - Acis to Muck (Farallon Capital)
    4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
    4/30/2021     Notice of Transfer of Claim - Redeemer to J essup (Stonehill Capital)
    4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
    4/30/2021     Sale of Redeemer claim to J essup (Stonehill Capital) "consummated"
    5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
    6/14/2021     UBS dismisses appeal of Redeemer award
    8/9/2021      Notice of Transfer of Claim - UBS to J essup (Stonehill Capital)
    8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

   Critical unknown dates and information:

       o   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
           claims and what negative and afﬁrmative covenants those agreements contained.
       o   The date on which J essup entered into an agreement with the Redeemer Committee and the
           Crusader Fund to acquire their claim and what negative and afﬁrmative covenants the agreement
           contained.
       o   The date on which the sales actually closed versus the date on which notice of the transfer was
           ﬁled (i.e., did UCC members continue to serve on the committee aﬁer they had sold their claims).




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                     Debtor’s October 15, 2020 Liquidation Analysis [Doc. 1173-1]


                                                                     Plan Analysis     Liquidation
                                                                                       Analysis
    Estimated cash on hand at 12/31/2020                             $26,496           $26,496
    Estimated proceeds from monetization of assets [1][2]            198,662           154,618
    Estimated expenses through ﬁnal distribution [1][3]              (29,864)          (33,804)
    Total estimated $ available for distribution                     195,294           147,309

    Less: Claims paid in full
    Administrative claims [4]                                        (10,533)          (10,533)
    Priority Tax/ Settled Amount [10]                                (1,237)           (1,237)
    Class 1 — Jefferies Secured Claim                                —                 -
    Class 2 — Frontier Secured Claim [5]                             (5,560)           (5,560)
    Class 3 — Priority non-tax claims [10]                           (16)              (16)
    Class 4 — Retained employee claims                               —                 —




    Class 5 — Convenience claims [6][10]                             (13,455)          -
    Class 6 — Unpaid employee claims [7]                             (2,955)           -
    Subtotal                                                         (33,756)          (17,346)
    Estimated amount remaining for distribution to general           161,538           129,962
    unsecured claims
    Class 5 — Convenience claims [8]                                 -                 17,940
    Class  6— Unpaid employee claims                                 -                 3,940
    Class 7 — General unsecured claims [9]                           174,609           174,609
    Subtotal                                                         174,609           196,489
    % Distribution to general unsecured claims                       92.51%            66.14%
    Estimated amount remaining for distribution
    Class 8 — Subordinated claims                                    no distribution   n0 distribution
    Class  9—Class B/C limited partnership interests                 n0 distribution   no distribution
    Class 10 Class A limited partnership interests
            —                                                        no distribution   n0 distribution


   Notable notations/ disclosures in the Oct. 15, 2020 liquidation analysis include:

       o   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
           UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
           and $95 million of subordinated claims.




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                                 Updated Liquidation Analysis (Feb. 1, 2021)2
                                                                      Plan Analysis       Liquidation
                                                                                          Analysis
       Estimated cash on hand at 1/31/2020 [sic]                      $24,290             $24,290
       Estimated proceeds from monetization of assets [1][2]          257,941             191,946
       Estimated expenses through ﬁnal distribution [1][3]            (59,573)            (41,488)
       Total estimated $ available for distribution                   222,658             174,178

       Less: Claims paid in full
       Unclassiﬁed [4]                                                (1 ,080)            (1,080)
       Administrative claims [5]                                      (10,574)            (10,574)
       Class 1 — Jefferies Secured Claim                              -                   -
       Class 2 — Frontier Secured Claim [6]                           (5,781)             (5,781)
       Class 3 — Other Secured Claims                                 (62)                (62)
       Class 4 — Priority non-tax claims                              (16)                (16)
       Class 5 — Retained employee claims                             -                   -
       Class 6 — PTO Claims [5]                                       -                   -
       Class 7 — Convenience claims [7][8]                            (10,280)            -
       Subtotal                                                       (27,793)            (17,514)
       Estimated amount remaining for distribution to general         194,865             157,235
       unsecured claims
       % Distribution to Class 7 (Class 7 claims including in Class   85.00%              0.00%
       8 in Liquidation scenario)
       Class 8 — General unsecured claims [8] [10]                    273,219             286,100
       Subtotal                                                       273,219             286,100
       % Distribution to general unsecured claims                     71.32%              54.96%
       Estimated amount remaining for distribution
       Class 9 — Subordinated claims                                  n0 distribution     n0 distribution
       Class 10 —Class B/C limited partnership interests              n0 distribution     no distribution
       Class 11 Class A limited partnership interests
               —                                                      no distribution     no distribution



   Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

         o    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
              HV.
         o    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
              Debtor assets




   2
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                      Summary of Debtor’s January 31, 2021 Monthly Operating Report3



                                                       10/15/2019            12/31/2020            1/31/2021
       Assets
       Cash and cash equivalents                          $2,529,000          $12,651,000           $10,651,000
       Investments, at fair value                      $232,620,000          $109,21 1,000        $142,976,000
       Equity method investees                         $161,819,000          $103,174,000         $105,293,000
       mgmt and incentive fee receivable                  $2,579,000            $2,461,000           $2,857,000
       ﬁxed assets, net                                   $3,754,000            $2,594,000           $2,518,000
       due from afﬁliates                              $151,901,000          $152,449,000         $152,538,000
       reserve against notices receivable                                   ($61,039,000)         ($61,167,000)
       other assets                                      $11,311,000           $8,258,000            $8,651,000
                                   Total Assets        $566,513,000          $329,759,000         $364,317,000

       Liabilities and Partners' Capital
       pre-petition accounts payable                      $1,176,000            $1,077,000           $1,077,000
       post-petition accounts payable                                             $900,000           $3 ,010,000
       Secured debt
                                        Frontier          $5,195,000            $5,195,000           $5,195,000
                                        Jefferies        $30,328,000                      $0                   $0
       Accrued expenses and other liabilities            $59,203,000          $60,446,000           $49,445,000
       Accrued re-organization related fees                                     $5,795,000           $8,944,000
       Class 8 general unsecured claims                  $73,997,000          $73,997,000         $267,607,000
       Partners' Capital                               $396,614,000          $182,347,000           $29,039,000
               Total liabilities and partners'
                                         capital       $566,513,000          $329,757,000         $364,317,000


   Notable notations/disclosures in the J an. 31, 2021 MOR include:

          o    Class 8 claims totaled $267 million, a jump from $74 million in the prior month’s MOR
          o    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
               $267 million in Class 8 Claims.
          o    Currently, there are roughly $310 million of Allowed Class 8 Claims.




       [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
   3


   C State .




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                                              Value of HarbourVest Claim


                                        HarbourVest Interest NAV by Month
   l   10f3112020
                     l




         30:2nzu

         3112020

        UPI/2021

        1J3112021

       yzsfzuzl                                                       $49.?

       3/31/2021

       4J30f2021

       5,!313'2021                                                    555.9
   a




   l                                  HarbourVest NAV Value v. Purchase Price
       $60.0



       $50.0



       $40.0



       $30.0



       $20.0                                                                                                          7




       $10.0                                                                                                          -



          9/29/2020      10/29/2020   11/29/2020   12/29/2020    1/29/2021    2/28/2021   3/31/2021   4/30/2021   5/31/20

                                                   —0— NAV      —0— Purchase Price




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                                       Estate Value as of August 1, 2021 (in millions)4

        Asset                                                                      Low                         High
        Cash as of 6/30/2021                                                       $17.9                       $17 .9
                                                                   Targa Sale      $37.0                       $37.0
                                                              8/1 CLO Flows        $10.0                       $10.0
                                                              Uchi Bldg. Sale      $9.0                        $9.0
                                                                     Siepe Sale    $3.5                        $3.5
                                                          PetroCap Sale            $3.2                        $3.2
                                                HarbourVest trapped cash           $25.0                       $25.0
        Total Cash                                                                 $105.6                      $105.6
        Trussway                                                                   $180.0                      $180.0
        Cornerstone (125mm; 16%)                                                   $18.0                       $18.0
        HarbourVest CLOs                                                           $40.0                       $40.0
        CCS Medical (in CLOs and Highland Restoration)                             $20.0                       $20.0
        MGM (direct ownership)                                                     $32.0                       $32.0
        Multi-Strat (45% of 100mm; MGM; CCS)                                       $45.0                       $45.0
        Korea Fund                                                                 $18.0                       $18.0
        Celtic (in Credit-Strat)                                                   $12.0                       $40.0
        SE Multifamily                                                             $0.0                        $20.0
        Afﬁliate Notes                                                             $0.0                        $70.0
        Other                                                                      $2.0                        $10.0
         TOTAL                                                                     $472.6                      $598.6



                                                       Assets and Claims
   |




         $700.0
         $600.0
         $500.0
         $400.0
         $300.0
         $200.0
         $100.0




                                                              /\\


                  -O-   Total Assets     -O— Class 8 Claims         -O—Class 9 Claims      —0—Unsecured Creditors' Claims
   I




   4
        Values are based upon historical knowledge of the Debtor’s assets (including cross-holdings) and publicly ﬁled
       information.



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                          HarbourVest Motion to Approve Settlement [Doc. 1625]
      PACHULSKI STANG ZIEHL & JONES LLP
      Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
      Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
      John A. Morris (NY Bar No. 266326) (admitted pro hac vice)
      Gregory V. Demo (NY Bar No. 5371992) (admirredpro hac vice)
      Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
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      10501 N. Central Expy, Ste. 106
      Dallas, TX 75231
      Telephone: (972) 755-7100
      Facsimile: (972) 755-7110

      Counsel for the Debtor and Debtor-in—Possession


                             [N THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                      §
      In re:                                                          §   Chapter 11
                                                                      §
      HIGHLAND CAPITAL MANAGEMENT, L.I’.,l                            §   Case No. 19n34054-s.11
                                                                      §
                                         Debtor.                      §


                DEBTOR’S MOTION FOR ENTRY OF AN ORDER APPROVING
          SETTLEMENT WITH HARBOURVEST (CLAIM NOS. 143, 147., 149, 150, 153, 154)
                 AND AUTHORIZING ACTIONS CONSISTENT THEREWITH


      TO THE HONORABLE STACEY G. C. JERNIGAN,
      UNITED STATES BANKRUPTCY JUDGE:


      I
        The last four digits of the Debtor’s taxpayer identiﬁcation number are 6725. The headquarters and service address
      for the Debtor is 300 Crescent Court, Suite 700, Dallas. TX 75201.




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                Highland Capital Management, L.P., the above-captioned debtor and debtor-in»

        possession (“Highland” or the     “WW, ﬁles this motion (the “MLion’U for entry of an order,
        substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

        Rules of Bankruptcy Procedure (the “Bankru to Rules”), approving a settlement agreement (the

        “Settlement Agreement”),2 a copy of which is attached as Exhibit 1 to the Deciaration ofJohn A.

        Morris in Support of the Debtor's Motion for Entry of an Order Approving Settlement with

        HarbourVest (Claim Nos. 143. 147, I49, 150, I53, 154) and Authorizing Actions Consistent

         Therewith being ﬁled simultaneously with this Motion (“Morris Dec”), that, among other things,

        fully and ﬁnally resolves the proofs of claim ﬁled by HarbourVest 2017 Global Fund L.P.,

        HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,                        HV

        International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners

        LP. (collectively, “HarbourVest”). In support of this Motion, the Debtor represents as follows:
                                                   JURISDICTION
                        1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

        and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

        in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                        2.      The statutory predicates for the relief sought herein are sections 105(a)

        and 363 of title 11 of the United States Code (the “Bankruptcy Code" , and Rule 9019 of the


        Bankruptcy Rules.




        2
          All capitalized terms used but not deﬁned herein shall have the meanings given to them in the Settlement
        Agreement.




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                                             RELEVANT BACKGROUND
    A.         Procedural Bac          ound

                        3.       On October 16, 2019 (the “Petition Date"), the Debtor ﬁled a voluntary

    petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

    District of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

                        4.       On October 29, 2019, the official committee of unsecured creditors (the

    “Committee") was appointed by the U.S. Trustee in the Delaware Court.

                        5.       On December 4, 2019, the Delaware Court entered an order transferring

    venue of the Debtor’s case to this Court [Docket No. 186].3

                        6.       On December 27, 2019, the Debtor ﬁled that certain Motion of the Debtor

    for Approval of Settlement with the Qﬂ‘icial Committee of Unsecured Creditors Regarding
    Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

    281] (the “Settlement Motion”). This Court approved the Settlement Motion on January 9, 2020

    [Docket No. 339] (the “Settlement Order").

                        7.       In connection with the Settlement Order, an independent board             of

    directors was constituted at the Debtor’s general partner, Strand Advisors, Inc., and certain

    operating protocols were instituted.

                        8.       On July 16, 2020, this Court entered an order appointing James P. Seery,

    In, as the Debtor’s chief executive ofﬁcer and chief restructuring ofﬁcer [Docket No. 854].

                        9.       The Debtor has continued in the possession of its property and has

    continued to operate and manage its business as a debtor-in-possession pursuant to sections

     1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

    chapter 11 case.


    3
        All docket numbers refer to the docket maintained by this Court.

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    B.       Overview of HarbourVest’s Claims

                      10.      HarbourVest’s claims against the Debtor’s estate arise from its $80 million

    investment in Highland CLO Funding, W3 Acis Loan Funding, Ltd.                                          pursuant to

    which HarbourVest obtained a 49 percent interest in HCLOF (the “Investment“).

                      11.      In brief, HarbourVest contends that it was fraudulently induced into

    entering into the Investment based on the Debtor’s misrepresentations and omissions concerning

    certain material facts, including that the Debtor: (1) failed to disclose that it never intended to

    pay an arbitration award obtained by a former portfolio manager, (2) failed to disclose that it

    engaged in a series of fraudulent transfers for the purpose of preventing the former portfolio

    manager from collecting on his arbitration award and misrepresented the reasons changing the

    portfolio manager for HCLOF immediately prior to the Investment, (3) indicated that the dispute

    with the former portfolio manager would not impact investment activities, and (4) expressed

    conﬁdence in the ability of HCLOF to reset or redeem the collateralized loan obligations

    (“M”) under its control.
                      12.      HarbourVest seeks to rescind its Investment and claims damages in excess

    of $300 million based on theories of fraud, fraudulent inducement, ﬁ'audulent concealment,

    fraudulent misrepresentation, negligent misrepresentation, and breach of ﬁduciary duty {under

    Guernsey law), and on alleged violations of state securities laws and the Racketeer Inﬂuenced

    Corrupt Organization Act        (“M”).
                      13.      HarbourVest’s allegations are summarized lmelowhv.4




    “
      Solely for purposes of this Motion, and not for any other reason, the facts set forth herein are adopted largely from
    the Harbour-Vest Response to Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
    Claims; (C) Late—Filed Claims; (D) Satisﬁed Claims; (E) Nil—Liability Claims; and (F)1nsuﬂiciem—Documentation
    Claims [Docket No. 1057] (the “Response").




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   C.      Summary of HarbourVest’s Factual Allegations

                  14.     At the time HarbourVest made its Investment, the Debtor was embroiled

    in an arbitration against Joshua Terry (“ML Tegy”), a former employee of the Debtor and

    limited partner of Acis Capital Management, L.P. (“Acis LP”). Through Acis LP, Mr. Terry

    managed Highland’s CLO business, including CLO-related investments held by Acis Loan

    Funding, Ltd. (“Acis Funding”).

                  15.     The litigation between Mr. Terry and the Debtor began in 2016, after the

    Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

   Terry asserted counterclaim for wrongful termination and for the wrongﬁil taking of his

   ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

    he obtained an award of approximately $8 million (the “Arbitration Award”) on October 20,

   2017.

                  16.     HarbourVest alleges that the Debtor responded to the Arbitration Award

   by engaging in a series of fraudulent transfers and corporate restructurings, the true purposes of

   which were fraudulently concealed from HarbourVest.

                  17.     For example, according to HarbourVest, the Debtor changed the name of

   the target fund from Acis Funding to “Highland CLO Funding, Ltd.”                    and “swapped

   ou " Acis LP for Highland HCF Adviser, Ltd. as portfolio manager (the “Structural Changes").

   The Debtor allegedly told HarbourVest that it made these changes because of the “reputational

    harm” to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

   that in lieu of redemptions, resetting the CLOs was necessary, and that it would be easier to reset

   them under the “Highland” CLO brand instead of the Acis CLO brand.

                  18.     In addition, HarbourVest also alleges that the Debtor had no intention of


   allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to “denude”




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    Acis of assets by fraudulently transferring virtually all of its assets and attempting to transfer its

    proﬁtable portfolio management contracts to non—Acis, Debtor—related entities.

                    19.     Unaware of the fraudulent transfers or the true purposes of the Structural

    Changes, and in reliance on representations made by the Debtor, HarbourVest closed on its

    Investment in HCLOF on November 15, 2017.

                    20.    Aﬁer discovering the transfers that occurred between Highland and Acis

    between October and December 2017 following the Arbitration Award (the “Transfers”), on

    January 24, 2018, Terry moved for a temporary restraining order (the     “‘m”) from the Texas
    state court on the grounds that the Transfers were pursued for the purpose of rendering Acis LP


    judgment-proof. The state court granted the TRO, enjoining the Debtor ﬁ'om transferring any

    CLO management contracts or other assets away from Acis LP.

                    21.     On January 30, 2018, Mr. Terry ﬁled involuntary bankruptcy petitions

    against Acis LP and its general partner, Acis Capital Management GP, LLC. See In re Acis

    Capital Management, L.P., Case No. 18-30264-sgj11 (Bankr. N.D. Tex. 2018) and In re Acis

    Capital Management GP, LLC, Case No. 18-30265-sgj11 (Bankr. N.D. Tex. 2018) (collectively,

    the “Acis Bankruptcy Case”). The Bankruptcy Court overruled the Debtor’s objection, granted

    the involuntary petitions, and appointed a chapter 11 trustee (the “Acis Trustee”).           A long

    sequence of events subsequently transpired, all        of which relate to HarbourVest’s claims,

    including:

           0     On May 31, 2018, the Court issued a sua sponre TRO preventing any actions in
                 furtherance of the optional redemptions or other liquidation of the Acis CLOs.

           O     On June l4, 2018, HCLOF withdrew optional redemption notices.

           o     The TRO expired on June 15, 2018, and HCLOF noticed the Acis Trustee that it was
                 requesting an optional redemption.




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             I HCLOF’s request was withdrawn on July 6, 2018, and on June 21, 2018, the Acis
                 Trustee sought an injunction preventing Highland/HCLOF from seeking further
                 redemptions (the “Prelimina In'unction”).

             I The Court granted the Preliminary Injunction on July 10, 2018, pending the Acis
                 Trustee’s attempts to conﬁrm a plan or resolve the Acis Bankruptcy.

             o   On August 30, 2018, the Court denied conﬁrmation of the First Amended Joint Plan
                 for Acis, and held that the Preliminary Injunction must stay in place on the ground
                 that the “evidence thus far has been compelling that numerous transfers aﬁer the Josh
                 Terryjudgment denuded Acis of value.”

             I Aﬂer the Debtor made various statements implicating HarbourVest in the Transfers,
                 the Acis Trustee investigated HarbourVest’s involvement in such Transfers, including
                 extensive discovery and taking a 30(b){6) deposition of HarbourVest’s managing
                 director, Michael Pugatch, on November l7, 2018.

             I   On March 20. 2019, HCLOF sent a letter to Acis LP stating that it was not interested
                 in pursuing, or able to pursue, a CLO reset transaction.

      D.     The Parﬁes’ Pleadings and Positions Concerning HarbourVest’s
             Proofs of Claim

                     22.    On April 8, 2020, HarbourVest ﬁled proofs of claim against Highland that

      were subsequently denoted by the Debtor’s claims agents as claim numbers 143, 147, 149, 150,

      153, and 154, respectively (collectively, the “Proofs of Claim”). Morris Dec. Exhibits 2-7.

                     23.    The Proofs of Claim assert, among other things, that HarbourVest suffered

      signiﬁcant harm due to conduct undertaken by the Debtor and the Debtor’s employees, including

      “ﬁnancial harm resulting from (i) court orders in the Acis Bankruptcy that prevented certain

      CLOs in which HCLOF was invested ﬁ'om being reﬁnanced or reset and court orders that

      otherwise relegated the activity of HCLOF [r'.e., the Preliminary Injunction]; and (ii) signiﬁcant

      fees and expenses related to the Acis Bankruptcy that were charged to HCLOF.” See, e.g.,

      Morris Dec. Exhibit 2 113.

                     24.    HarbourVest also asserted “any and all of its right to payment, remedies,

      and other claims (including contingent or unliquidated claims) against the Debtor in connection

      with and relating to the forgoing harm, including for any amounts due or owed under the various

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    agreements with the Debtor in connection with relating to" the Operative Documents “and any

    and all legal and equitable claims or causes of action relating to the forgoing harm. "I See, e.g.,

    Morris Dec. Exhibit 2 114.

                   25.     Highland subsequently objected to HarbourVest’s Proofs of Claim on the

    grounds that they were no-liability claims. [Docket No. 906] (the “Claim Objection”).

                   26.     On September 11, 2020, HarbourVest ﬁled its Response. The Response

    articulated speciﬁed claims under U.S. federal and state and Guernsey law, including claims for

    fraud, fraudulent concealment, fraudulent inducement, fraudulent misrepresentation, negligent

    misrepresentation (collectively, the “Fraud Claims”), US. State and Federal Securities Law

    Claims (the “Securities Claims”), violations of the Federal Racketeer Inﬂuenced and Corrupt

    Organizations Act    (“w"),    breach of ﬁduciary duty and misuse of fund assets, and an unfair

    prejudice claim under Guernsey law (collectively, with the Proofs of Claim, the “HarbourVest

    M")-
                   27.     On October 18, 2020, HarbourVest ﬁled its Motion of Harbourth

    Pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure for Temporary Allowance

    of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the “3018

    MLion”). In its 3018 Motion, HarbourVest sought for its Claims to be temporarily allowed for

    voting purposes in the amount of more than $300 million (based largely on a theory of treble

    damages).

    E.     Settlement Discussions

                   28.     In October, the parties discussed the possibility of resolving the Rule 3018

    Motion.

                   29.     In November, the parties broadened the discussions in an attempt to reach

    a global resolution of the HarbourVest Claims.       In the pursuit thereof; the parties and their




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     counsel participated in several conference calls where they engaged in a spirited exchange of

     perspectives concerning the facts and the law.

                         30.    During follow up meetings, the parties’ interests became more deﬁned.

     Speciﬁcally, HarbourVest sought to maximize its recovery while fully extracting itself from the

     Investment, while the Debtor sought to minimize the HarbourVest Claims consistent with its

     perceptions of the facts and law.

                         31.    After the parties’ interests became more deﬁned, the principals engaged in

     a series of direct, arm’s-length, telephonic negotiations that ultimately lead to the settlement,

     whose terms are summarized below.

     F.        Summary of Settlement Terms

                         32.    The Settlement Agreement contains the following material terms, among

     others:

               I   HarbourVest shall transfer its entire interest in HCLOF to an entity to be designated
                   by the Debtor;S

               I   HarbourVest shall receive an allowed, general unsecured, non-priority claim in the
                   amount of $45 million and shall vote its Class 8 claim in that amount to support the
                   Plan;

               I   HarbourVest shall receive a subordinated, allowed, general unsecured, non—priority
                   claim in the amount of $35 million and shall vote its Class 9 claim in that amount to
                   support the Plan;

               I   HarbourVest will support continuation of the Debtor’s Plan, including, but not
                   limited to, voting its claims in support of the Plan;

               I   The HarbourVest Claims shall be allowed in the aggregate amount of $45 million for
                   voting purposes;

               I   HarbourVest will support the Debtor's pursuit of its pending Plan of Reorganization;
                   and

               I   The parties shall exchange mutual releases.


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    See generally Morris Dec. Exhibit 1.

                                    BASIS FOR RELIEF REQUESTED
                    33.    Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

    a settlement, providing that:


               On motion by the trustee and alter notice and a hearing, the court may
               approve a compromise or settlement. Notice shall be given to creditors, the
               United States trustee, the debtor, and indenture trustees as provided in Rule
               2002 and to any other entity as the court may direct.

    FED. R BANKR. P. 9019(2)).

                    34.    Settlements in bankruptcy are favored as a means of minimizing litigation,

    expediting the administration of the bankruptcy estate, and providing for the efficient resolution

    of bankruptcy cases. See Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996);

    Rivercily v. Heme! (In re Jackson Brewing Co), 624 F.2d 599, 602 (5th Cir. 1980). Pursuant to

    Bankruptcy Rule 9019(a), a bankruptcy court may approve a compromise or settlement as long

    as the proposed settlement is fair, reasonable, and in the best interest of the estate. See In re Age


    Ref Inc, 801 F.3d 530, 540 (5th Cir. 2015). Ultimately, “approval of a compromise is within
    the sound discretion of the bankruptcy court.” See United States v. AWECO, Inc. (In re A WECO,

    Inc), 725 F.2d 293, 297 (5th Cir. 198-4); Jackson Brewing, 624 F.2d at 602—03.
                    35.    In making this determination, the United States Court of Appeals for the

    Fifth Circuit applies a three-part test, “with a focus on comparing ‘the terms of the compromise

    with the rewards of litigation. 9'" Oﬁiciai Comm. of Unsecured Creditors v. Cajun Elec. Power

    Coop. (In re Cajun EIec. Power Coop), 119 F.3d 349, 356 (5th Cir. 1997) (citing Jackson

    Brewing, 624 F.2d at 602). The Fifth Circuit has instructed courts to consider the following

    factors:   “(1) The probability of success in the litigation, with due consideration for the

    uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any



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     attendant expense, inconvenience and delay, and (3) All other factors bearing on the wisdom of

     the compromise.” Id. Under the rubric of the third factor referenced above, the Fifth Circuit has

     speciﬁed two additional factors that bear on the decision to approve a proposed settlement. First,

     the court should consider “the paramount interest of creditors with proper deference to their

     reasonable views.” Id; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster

     Mortgage Carp), 68 F.3d 914, 917 (5th Cir. 1995).          Second, the court should consider the

     “extent to which the settlement is truly the product of arms»length bargaining, and not of fraud or

     collusion.” Age Rd: Ina, 801 F.3d at 540; Foster Mortgage Carp, 68 F.3d at 918 (citations

     omitted).

                      36.    There is ample basis to approve the proposed Settlement Agreement based

     on the Rule 9019 factors set forth by the Fifth Circuit.

                      37.    First, although the Debtor believes that it has valid defenses to the

     HarbourVest Claims, there is no guarantee that the Debtor would succeed in its litigation with

     HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

     part, on the credibility of witnesses whose veracity has already been called into question by this

     Court.      Moreover, it will be difﬁcult to dispute that the Transfers precipitated the Acis

     Bankruptcy, and, ultimately, the imposition of the Bankruptcy Court’s TRO that restricted

     HCLOF’s ability to reset or redeem the CLOs and that is at the core of the HarbourVest Claims.

                      38.    The second factor—the complexity, duration, and costs of litigation—also

     weighs heavily in favor of approving the Settlement Agreement. As this Court is aware, the

     events forming the basis of the HarbourVest Claims—including the Terry Litigation and Acis

     Bankruptcy—~proceeded for years in this Court and in multiple other forums, and has already

     cost the Debtor’s estate millions of dollars in legal fees.   If the Settlement Ayeement is not

     approved, then the parties will expend signiﬁcant resources litigating a host of fact-intensive


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     fraudulent statements and omissions and whether HarbourVest reasonably relied on those

     statements and omissions.

                    39.     Third, approval of the Settlement Agreement is justiﬁed by the paramount

     interest of creditors. Speciﬁcally, the settlement will enable the Debtor to: (a) avoid incurring

     substantial litigation costs; (b) avoid the litigation risk associated with HarbourVest’s $300

     million claim; and (c) through the plan support provisions, increase the likelihood that the

     Debtor’s pending plan of reorganization will be continued.

                    40.     Finally, the Settlement Agreement was unquestionably negotiated at

     arm’s-length. The terms of the settlement are the result of numerous, ongoing discussions and

     negotiations between the parties and their counsel and represent neither party’s “best case

     scenario.” Indeed, the Settlement Agreement should be approved as a rational exercise of the

     Debtor’s business judgment made after due deliberation of the facts and circumstances

     concerning HarbourVest’s Claims.

                                          N0 PRIOR REQUEST
                    41.     No previous request for the relief sought herein has been made to this, or

     any other, Court

                                                   NOTICE

                    42.     Notice of this Motion shall be given to the following parties or, in lieu

     thereof, to their counsel, if known: (a) counsel for HarbourVest; (b) the Ofﬁce of the United

     States Trustee; (c) the Ofﬁce of the United States Attorney for the Northern District of Texas; (d)

     the Debtor’s principal secured parties; (e) counsel to the Committee; and (1*) parties requesting

     notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of the nature of the

     relief requested, no other or ﬁlrther notice need be given.

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             WHEREFORE, the Debtor respectﬁilly requests entry of an order, substantially in the
     foma attached hereto as Exhibit A, (a) granting the relief requested herein, and (b) granting such

     other relief as is just and proper.




     Dated: December 23, 2020.                 PACHULSKI STANG ZIEHL & JONES LLP

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                                   UBS Settlement [Doc. 2200-1]
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                                          Exhibit l
                               Settlement Agreement




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                                      SETTLEMENT AGREEMENT
           This Settlement Agreement (the “Agreement”) is entered into as of March 30, 2021, by
     and among (i) Highland. Capital Management, L.P. (“HCMLP or the “Debtor”), (ii) Highland
     Credit Opportunities CDO, L.P. (nfkfa Highland Multi Strategy Credit Fund, L.P.) (“Multi-
     m,”    and together with its general partner and its direct and indirect wholly-owned subsidiaries,
     the “MSCF Parties“), (iii) Strand Advisors, Inc. (“Strand”), and (iv) UBS Securities LLC and
     UBS AG London Branch (collectively,

             Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
     collectively as the “Parties” and individually as a “Ping.”

                                             RECITALS
            WHEREAS, in 2007, UBS entered into certain contracts with HCMLP and two funds
     managed by HCMLP—Highland CDO Opportunity Master Fund, L.P. (“CDO Fund”) and
     Highland Special Opportunities Holding Company (“SOHC,” and together with CD0 Fund, the
     “Funds? related to a securitizalion transaction (the “Knox Agreement"),

            WHEREAS, in 2008, the parties to the Knox Agreement restructured the Knox
     Agreement;

             WHEREAS, UBS terminated the Knox Agreement and, on February 24, 2009, UBS
     ﬁled a complaint in the Supreme Court of the State of New York, County of New York (the
     “State Court”) against HCMLP and the Funds seeking to recover damages related to the Knox
     Agreement, in an action captioned UBS Securities LLC, et at. v. Highland Capital Management,
     L.P., et at, Index No. 650097512009 (N.Y. Sup. Ct.) (the “2009 Action”);

            WHEREAS, UBS’s lone claim against HCMLP in the 2009 Action for indemniﬁcation
     was dismissed in early 2010, and thereafter UBS amended its complaint in the 2009 Action to
     add ﬁve new defendants, Highland Financial Partners, LP.     (“m”),     Highland Credit Strategies
     Master Funds, L.P. (“Credit-Strat”), Highland Crusader Offshore Partners, LP. (“Crusader”),
     Multi-Strat, and Strand, and to add new claims for fraudulent inducement, fraudulent
     conveyance, tortious interference with contract, alter ego, and general partner liability;

             WHEREAS, UBS ﬁled a new, separate action against HCMLP on June 28, 2010, for,
     inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
     dealing, captioned UBS Securities LLC, er al. v. Highiand Capital Management, L.P., Index No.
     65075212010 (N .Y. Sup. Ct.) (the “2010 Action”);

            WHEREAS, in November 2010, the State Court consolidated the 2009 Action and the
     2010 Action (hereafter referred to as the “State Court Action”), and on May 1 l, 2011, UBS ﬁled
     a Second Amended Complaint in the 2009 Action;

              WHEREAS, in 2015, UBS entered into settlement agreements with Crusader and Credit-
     Strat, and thereafter UBS ﬁled notices with the State Court in the State Court Action dismissing
     its claims against Crusader and Credit-Strat;




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                WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
       purposes of trial, with the Phase I bench trial deciding UBS’s breach of contract claims against
       the Funds and HCMLP’s counterclaims against UBS;

              WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
       Fund, Ltd., Highland CDO Holding Company, Highland Financial Corp., and I-[FP, purportedly
       sold assets with a purported collective fair market value of $105,647,679 (the “Transferred
       Assets”) and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
       (“Sentinel") pursuant to a purported asset purchase agreement (the “Purchase Amment”);

             WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
       premium on a document entitled “Legal Liability Insurance Policy” (the “Insurance Policy”);

             WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
       $100,000,000 for any legal liability resulting ﬁ'om the State Court Action (the “Insurance
       Proceeds”);

                WHEREAS, one of the Transferred Assets CDO Fund transferred to Sentinel was CDO
       Fund’s limited partnership interests in Multi-Sh‘at (the “CDOF Interests”);

              WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
       Multi-Strat for certain cash consideration (together with the CDOF Interests, the “MSCF
       Interests”);

              WHEREAS, the existence of the Purchase Agreement and Insurance Policy were
       unknown to Strand’s independent directors and the Debtor’s bankruptcy advisors prior to late
       January 2021;

             WHEREAS, in early February 2021, the Debtor disclosed the existence of the Purchase
       Agreement and Insurance Policy to UBS;

                WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
       were unknown to UBS;

               WHEREAS, on November 14, 2019, following the Phase I trial, the State Court issued
       its decision determining that the Funds breached the Knox Agreement on December 5, 2008 and
       dismissing HCMLP’s counterclaim;

                WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
       the redeemed    MSCF Interests are currently valued at approximately $32,823,423.50 (the
       “Sentinel Redemption”);

               WHEREAS, on February 10, 2020, the State Court entered a Phase I trial judgment
       against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the “Phase I
       Judgm’ em");
            ‘




              WHEREAS, Phase H of the trial of the State Court Action, includes, inter alia, UBS’s
       claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS’s




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       ﬁ'audulent transfer claims against HCMLP, I-IFP, and Multi-Strat, and UBS’s general partner
       claim against Strand;

                WHEREAS, on October 16, 2019, HCMLP ﬁled a voluntary petition for relief under
       chapter ll of title ll of the United States Code (the “Bankruptcy Code”) in the United States
       Bankruptcy Court for the District of Delaware (the “Bankruptcy Case"). The Bankruptcy Case
       was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
       “Bankruptcy Court") on December 4, 2019;

           WHEREAS, Phase lI of the trial of the State Court Action was automatically stayed as to
       HCMLP by HCMLP’s banln'uptcy ﬁling;

              WHEREAS, on May        ll, 2020, UBS, Multi-Strat, Highland Credit Opportunities CDO,
       Ltd., and  Highland  Credit Opportunities CDO Asset Holdings, L.P. (collectively, the “my
       Settlement Parties”), entered into a Settlement Agreement (the “May Settlement”) pursuant to
       which the May Settlement Parties agreed to the allocation of the proceeds of certain sales of
       assets held by Multi-Strat, including escrowing a portion of such ﬁmds, and restrictions on
       Multi-Snat’s actions;

              WHEREAS, on June 26, 2020, UBS timely ﬁlled two substantively identical claims in
       the Bankruptcy Case: (i) Claim No. 190 ﬁled by UBS Securities LLC; and (ii) Claim No. 191
       ﬁled by UBS AG London Branch (hereinafter collectively referred to as the “UBS Claim"). The
       UBS Claim asserts a general unsecured claim against HCMLP for $1,039,957,799.40;

               WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order Directing
       Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
       directed to mediate their Bankruptcy Case disputes before two experienced third-party mediators,
       Retired Judge Allan Gropper and Sylvia Mayer (together, the “Mediators”). HCMLP and UBS
       formally n1et with the Mediators together and separately on numerous occasions, including on
       August 27, September 2, 3, and 4, and December 17, 2020, and had numerous other informal
       discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

             WHEREAS, on August ”i, 2020, HCMLP ﬁled an objection to the UBS Claim [Docket
       No. 928]. Also on August 7, 2020, the Redeemer Committee of the Highland Crusader Fund,
       and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd, and Highland
       Crusader Fund II, Ltd. (collectively, the “Redeemer Committee”), objected to the UBS Claim
       [Docket No. 933]. On September 25, 2020, UBS ﬁled its response to these objections [Docket
       No. 1105];

               WHEREAS, on October l6, 2020, HCMLP and the Redeemer Committee each moved
       for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
       on November 6, 2020, UBS opposed these motions [Docket No. 1337];

               WHEREAS, by Order dated December 9, 2020, the Bankruptcy Court granted, as set
       forth therein, the motions for partial summary judgment ﬁled by HCMLP and the Redeemer
       Committee and denied UBS’s request for leave to ﬁle an amended. proof of claim [Docket No.
       1526];




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              WHEREAS, on November 6, 2020, UBS ﬁled UBS's Motion for Temporary Allowance
       of Claims for Voting Purposes Pursuant to Federal Rule ofBanbuptcy Procedure 3018 [Docket
       No. 1338] (the “3018 Motion”), and on November 16, 2020, HCMLP and the Redeemer
       Committee each opposed the 3018 Motion [Docket Nos. 1404 and 1409, respectively];

             WHEREAS, by Order dated December 8, 2020, the Bankruptcy Court granted the 3018
       Motion and allowed the UBS Claim, on a temporary basis and for voting purposes only, in the
       amount of $94,761,076 [Docket No. 1518];

            WHEREAS, on January 22, 2021, the Debtor ﬁled the Fifth Amended Plan of
      Reorganization for Highland Capital Management, LP. (As Modified) [Docket No. 1808] (as
       amended, and as may be timber amended, supplemented, or otherwise modiﬁed, the “Plan”);

                  WHEREAS, on March 29, 2021, the Debtor caused CDO Fund to make a claim on the
       Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

                  WHEREAS, on March 29, 2021, UBS ﬁled an adversary proceeding seeking injunctive
       relief and a motion for a temporary restraining order and preliminary injunction to, among other
       things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
       Sentinel or any transferee of Sentinel (the “Multi-Strat Proceeding”), which relief the Debtor, in
       its capacity as Multi-Strat‘s investment manager and general partner, does not oppose;

                  WHEREAS, the Parties wish to enter into this Agreement to settle all claims and
       disputes between and among them, to the extent and on the terms and conditions set forth herein,
       and to exchange the mutual releases set forth herein, without any admission of fault, liability, or
       wrongdoing on the part of any Party; and

                  WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
       pursuant to Federal Rule of Bankruptcy Procedure 9019 (“Rule 9M9”) and section 363 of the
       Bankruptcy Code;

                  NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
       and promises made herein, and other good and valuable consideration, the receipt of which is
       hereby acknowledged, the Parties agree as follows:

                                                       AGREEMENT
                  1. Settlement of Claims. In fill] and complete satisfaction of the UBS Released
       Claims (as deﬁned below):

                     (a)   The UBS Claim will be allowed as (i) a single, general unsecured claim in
       the amount of $65,000,000 against HCMLP, which shall be treated as a Class 8 General
       Unsecured Claim under the Plan;’ and (ii) a single, subordinated unsecured claim in the amount
       of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
       Unsecured Claim under the Plan.




       ‘
           Capitalized terms used but not deﬁned herein shall have the meanings attributed to them in the Plan.




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                       (b)     Multi-Strat will pay UBS the sum of $18,500,000 (the “Multi-Strat
        Pament”) as follows:    (i) within two (2) business days after the Order Date, the May Settlement
        Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
        of the amounts held in the Escrow Account (as deﬁned in the May Settlement) to he paid to U'BS
        in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
        following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
        Payment in immediately available ﬁmds on the date that is ten (10) business days following the
        Order Date, provided thaL for the avoidance of doubt, the amounts held in the Escrow Account
        will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                       (c)      Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
        CDO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
        within 5 business days of CDO Fund actually receiving the Insurance Proceeds from or on behalf
        of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds, take legal action reasonably
        designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
        Assets to the Funds to satisfy the Phase l Judgment and in addition shall provide reasonable
        assistance to UBS in connection with any legal action UBS takes to recover the Insurance
        Proceeds or to return the Transferred Assets to the Funds to satisfy the Phase I Judgnent or
        obtain rights to the MSCF interests, including but not limited to the redemption payments in
        connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
        the investigation or prosecution of claims or requests for injunctive relief against the Funds,
        Multi-Snat, Sentinel, James Dondero, Isaac Leventon, Scott. Ellington, Andrew Dean,
        Christopher Walter, Jean Paul Seville, Matthew DiOrio, Katie Irving, andJ'or any other current or
        former employee or director of the Funds or Sentinel andfor any other former employee or
        former director of any of the HCMLP Patties that is believed to be involved with the Purchase
        Agreement, Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
        potentially fraudulent transfer of assets from the Funds to Sentinel, excluding the individuals
        listed on the schedule provided to UES on March 25, 202i (the “HCMLP Excluded
        Employees”); (iv) as soon as reasonably practicable, provide UBS with all business and trustee
        contacts at the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp, Aberdeen Loan
        Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
        if any, that are actually known by the Debtor aﬁer reasonable inquiry; (v) as soon as reasonably
        practicable, provide UBS with a copy of the governing documents, prospectuses, and indenture
        agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
        Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
        as applicable, that are in the Debtor’s actual possession, custody, or control, (vi) as soon as
        reasonably practicable, provide, to the extent possible, any CUSIP numbers of the securities of
        the Funds, I-IFP, Greenbriar CLO Ltd, Greenbriar CLO Corp, Aberdeen Loan Funding Ltd,
        Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
        applicable, including information regarding the location and amount of any cash related to those
        entities' holdings, in each case only to the extent actually known by the Debtor aﬁer reasonable
        inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
        'l(c)(vi) or any other assets owned or controlled by the Funds andr'or HFP, including for
        avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
        discovers in the future after the Ageement Effective Date; (viii) respond as promptly as
        reasonably possible to requests by UBS for access to relevant documents and approve as
        promptly as reasonably possible requests for access to relevant documents from third parties as
        needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the




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       MSCF Interests and any other assets currently or formerly held by the Funds or HFP, including
       without limitation the requests listed in Appendix A (provided, however, that the provision of
       any such documents or access will be subject to the common interest privilege and will not
       constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
       Debtor’s actual possession, custody, or control; (ix) preserve all documents in HCMLP’s
       possession, custody, or control regarding or relating to the Purchase Agreement, the Insurance
       Policy, the MSCF Interests, or any transfer of assets ﬁ'om the Funds to Sentinel, including but
       not limited to the documents requested in Appendix A, from 2016 to present, and issue a
       litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
       otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
       and HFP and assets the Funds andfor HFP may own, or have a claim to under applicable law
       ahead of all other creditors of the Funds and HFP; provided, however that, ﬁ'om and after the
       date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses, including,
       but not limited to, those fees and expenses for outside consultants and professionals (the
       “Reimbursable Expenses”), in connection with any provision of this Section 1(c) in excess of
       $3,000,000 (the “Expense Cap”), and provided further that, for every dollar UBS recovers ﬁ-om
       the Funds (other than the assets related to Greenbriar CLO Ltd. or Greenbriar CLO Corn),
       Sentinel, Multi-Strat (other than the amounts set forth in Section l(b) hereof), or any other
       person or entity described in Section l(c){iii) in connection with any claims UBS has that arise
       out of or relate to the Phase I Judgment, the Purchase Agreement, the Insurance Policy, the
       Transferred ASSets, the MSCF Interests, or the Insurance Proceeds (the “UBS Recovery”), UBS
       will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
       incurred by HCMLP, subject to: (l) the occurrence of the Agreement Effective Date and (2)
       UBS’S receipt and review of invoices and time records (which may be redacted as reasonably
       necessary) for outside consultants and professionals in connection with such efforts described in
       this Section 1(c), up to but not exceeding the Expense Cap aﬁer any disputes regarding the
       Reimbursable Expenses have been resolved pursuant to procedures to be agreed upon, or absent
       an agreement, in a manner directed by the Bankruptcy Court; and provided ﬁtrther that in any
       proceeding over the reasonableness of the Reimbursable Expenses, the losing party shall be
       obligated to pay the reasonable fees and expenses of the prevailing party; and provided further
       that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
       behalf of or for UBS’s benefit pursuant to this Section 1(c) shall be conducted in consultation
       with UBS, including but not limited to the selection of necessary outside consultants and
       professionals to assist in such litigation; and provided further that UBS shall have the right to
       approve HCMLP’s selection of outside consultants and professionals to assist in any litigation in
       which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
       UBS’s beneﬁt pursuant to this Section 1(c).

                     (d)     Redeemer Appeal.

                             (i)    0n the Agreement Effective Date, provided that neither the
       Redeemer Committee nor any entities acting on its behalf or with any assistance from or
       coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
       (as deﬁned below), UBS shall withdraw with prejudice its appeal of the Order Approving
       Debtor’s Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim
       No. 72) and (B) the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
       Consistent Therewith [Docket No. 127 3] (the “Redeemer Appeal”); and




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                                (ii)     The Parties have stipulated to extend the deadline for the ﬁling of
      any briefs  in  the Redeemer    Appeal to June 30, 2021 and will agree to such funher extensions as
      necessary  to  facilitate this Settlement Agreement.

                     (e)     As of the Agreement Effective Date, the restrictions and obligations set
      forth in the May Settlement, other than those in Section 'i' thereof, shall be extinguished in their
      entirety and be of no further force or effect.

                     (t)    0n the Agreement Effective Date, the Debtor shall instruct the claims
      agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                     (g)     0n the Agreement Effective Date, any claim the Debtor may have against
      Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
      shall be automatically transferred to UBS, without any further action required by the Debtor. For
      the avoidance of doubt, the Debtor shall retain any and all other claims it may have against
      Sentinel or any other party, and the recovery related thereto, unrelated to the MSCF Interests.

             2.      Deﬁnitions.

                     (a)    “Aggment Effective Date” shall mean the date the full amount of the
      Multi-Strat Payment deﬁned in Section 1(b) above, including without limitation the amounts
      held in the Escrow Acc0unt (as deﬁned in the May Settlement), is actually paid to UBS.

                 (b)    “HCMLP Parties” shall mean (a) HCMLP, in its individual capacity; (b)
      HCMLP, as manager of Multi-Strat; and (c) Strand.

                    (c)    “Order Date” shall mean the date of an order entered by the Bankruptcy
      Court approving this Ayeement pursuant to a motion ﬁled under Rule 9019 and section 363 of
      the Bankruptcy Code.

                     (d)     “UB3 Parties” shall mean UBS Securities LLC and UBS AG London
      Branch.

             3.      Releases.

                     (a)     UBS Releases. Upon the occurrence of the Agreement Effective Date,
      and to the maximum extent permitted by law, each of the UBS Parties hereby forever, ﬁnally,
      fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
      exonerates, forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
      their current and former advisers, attorneys, trustees, directors, ofﬁcers, managers, members,
      partners, employees, beneﬁciaries, shareholders, agents, participants, subsidiaries, parents,
      afﬁliates, successors, designees, and assigns (each in their capacities as such), except as
      expressly set forth below, and (B) the MSCF Parties and each of their current and former
      advisors, attorneys, trustees, directors, ofﬁcers, managers, members, partners, employees,
      beneﬁciaries, shareholders, agents, participants, subsidiaries, parents, afﬁliates, successors,
      designees, and assigns (each in their capacities as such), except as expressly set forth below, for
      and ﬁ'om any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
      liens, losses, costs and expenses (including, without limitation, attomeys' fees and related costs),
      damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known




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       or unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
       contingent or ﬁxed, at law or in equity, or statutory or otherwise, including, without limitation,
       any claims, defenses, and affirmative defenses, whether known or unknown, including, without
       limitation, those that have been or could have been alleged or asserted in the State Court Action
       or the Bankruptcy Case (collectively, the “UBS Released Claims“), provided, however that
       notwithstanding anything to the contrary herein, such releases shall not apply to (l) the
       obligations of the HCMLP Parties and MSCF Parties under this Agreement, including without
       limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
       described in Sections l(a)—(g) above; (2) the Funds or HFP, including for any liability with
       nespeet to the prosecution, enforcement, collection, or defense of the Phase I Judgment, Purchase
       Agreement, andx’or Insurance Policy, or such prosecution, enforcement, collection, or defense of
       the Phase I Judgment, Purchase Agreement, and/or Insurance Policy by UBS; (3) James Dondero
       or Mark Okada, or any entities, inciuding without limitation Hunter Mountain Investment Trust,
       Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
       than the HCMLP Parties and MSCF Parties (but for the avoidance of doubt, such releases of the
       HCMLP Patties and MSCF Parties shall be solely with respect to such entities and shall not
       extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
       capacity, including but not limited to as an investor, ofﬁcer, trustee, or director in the HCMLP
       Parties or MSCF Parties); (4) Sentinel or its subsidiaries, parents, afﬁliates, successors.
       designees, assigns, employees, or directors, including James Dondero, Isaac Leventon, Scott
       Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving,
       andfor any other current or former employee or director of the Funds or Sentinel andfor any other
       former employee or fonner director of any of the HCMLP Parties that is believed to be involved
       with the Purchase Agreement, Insurance Policy, MSCF Interests, or Transferred Assets,
       including for any liability with respect to the prosecution, enforcement, collection, or defense of
       the Phase I Judgment, Purchase Agreement, the MSCF Interests, any potentially fraudulent
       transfer of assets from the Funds to Sentinel andfor Insurance Policy, excluding the HCMLP
       Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
       directly or indirectly (including in its capacity as an investment manager andfor investment
       advisor), in any HCMLP-afﬁliated entity, including without limitation in the Redeemer
       Committee and Credit Strat, and/or in such entities’ past, present or ﬁiture subsidiaries and
       feeders funds (the “UBS Unrelated Investments”); and (6) any actions taken by UBS against any
       person or entity, including any HCMLP Party or MSCF Party, to enjoin a distribution on the
       Sentinel Redemption or the transfer of any assets currently held by or within the control of CDO
       Fund to Sentinel or a subsequent transferee or to seek to compel any action that only such person
       or entity has standing to pursue or authorize in order to permit UBS to recover the Insurance
       Proceeds, Transferred Assets, the Phase I Judgment or any recovery against HFP; provided,
       however that, from and after the date hereof, any out-of-pocket fees or expenses incurred by
       HCMLP in connection with this Section 3(a)(6) will be considered Reimbursable Expenses and
       shall be subject to, and applied against, the Expense Cap as if they were incurred by HCMLP
       pursuant to Section 1(c) subject to the occurrence of the Agreement Effective Date and after any
       disputes regarding such Reimbursable Expenses have been resolved in the manner described in
       Section 1(c).

                      (b)     HCMLP Release. Upon the occurrence of the Agreement Effective Date,
       and to the maximum extent permitted by law, each of the HCMLP Parties hereby forever, ﬁnally,
       fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
       exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of




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       their current and former advisers, attorneys, trustees, directors, ofﬁcers, managers, members,
       partners, employees, beneﬁciaries, shareholders, agents, participants, subsidiaries, parents,
       aﬁliates, successors, desigiees, and assigns (each in their capacities as such), for and ﬁom any
       and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
       costs and expenses (including, without limitation, attomeys’ fees and related costs), damages,
       injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
       unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
       contingent or ﬁxed, at law or in equity, or statutory or otherwise, including, without limitation,
       any claims, defenses, and afﬁrmative defenses, whether known or unknown, including, without
       limitation, those that have been or could have been alleged or asserted in the State Court Action
       or the Bankruptcy Case (collectively, the “HCMLP Released Claims"), provided, however, that
       notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
       of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
       obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                        (c)    Multi—Strat Release. Upon the occurrence of the Agreement Effective
       Date,  and  to the  maximum    extent permitted by law, each of the MSCF Parties hereby forever,
       ﬁnally, fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
       exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of
       their current and former advisers, attorneys, trustees, directors, ofﬁcers, managers, members,
       panners, employees, beneﬁciaries, shareholders, agents, participants, subsidiaries, parents,
       afﬁliates, successors, designees, and assigns (each in their capacities as such), for and from any
       and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
       costs and expenses (including, without limitation, attomeys’ fees and related costs), damages,
       injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
       unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
       contingent or ﬁxed, at law or in equity, or statutory or otherwise, including, without limitation,
       any claims, defenses, and afﬁrmative defenses, whether known or unknown, including, without
       limitation, those that have been or could have been alleged or asserted in the State Court Action
       or the Bankruptcy Case (collectively, the “Multi-Strat Released Claims”), provided, however,
       that notwithstanding anything to the contrary herein, such releases shall not apply to the
       obligations of the UBS Parties under this Agreement or Section 7 of the May Settlement.

             4.    No Third Pan      Beneﬁciaries.   Except for the parties released by this
       Agreement, no other person or entity shall be deemed a third-party beneﬁciary of this
       Agreement.

               5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
       Effective date, if UBS ever controls any HCMLP-aﬁiliated defendant in the State Court Action
       by virtue of the prosecution, enforcement, or collection of the Phase [Judgment (collectively, the
       “Controlled State Court Defendants”), UBS covenants on behalf of itself and the Controlled
       State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
       assert or pursue any claims that any Controlled State Court Defendant has or may have against
       any of the HCMLP Parties; provided, however, that nothing shall prohibit UBS or a Controlled
       State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
       ﬁtrther however, if and to the extent UBS receives any distribution ﬁ'om any Controlled State
       Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
       Debtor, subject to the exceptions set forth in Section 3(a), which distribution is directly




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       attributable to any property the Controlled State Court Defendant receives from the Debtor and
       separate and distinct ﬁ'om property owned or controlled by CDO Fund, SOHC, or Multi-Strat,
       then such recovery shall be credited against all amounts due ﬁom the Debtor’s estate on account
       of the UBS Claim allowed pursuant to Section 1(a) of this Agreement, or if such claim has been
       paid in ﬁill, shall be promptly turned over to the Debtor or its successors or assigns.

              6.      Agreement Subiect to Bankruptcv Court Approvﬂ,

                       (a)    The force and effect of this Agreement and the Parties' obligations
       hereunder are conditioned in all respects on the approval of this Agreement and the releases
       herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
       Agreement expeditiously approved by the Bankruptcy Court by cooperating in the preparation
       and prosecution of a mutually agreeable motion and proposed order (the “9019 Motion") to be
       ﬁled by the Debtor no later than ﬁve business days aﬁel- execution of this Agreement by all
       Parties unless an extension is agreed to by both parties.

              T.      Rep resentations and Warranties.

                       (a)   Each UBS Party represents and warrants that (i) it has full authority to
       enter into this Agreement and to release the UBS Released Claims and has not sold, transferred,
       or assigned any UBS Released Claim to any other person or entity, and (ii) no person or entity
       other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
       UBS Released Claim on behalf of, for the beneﬁt of, or in the name of (whether directly or
       derivatively) such UBS Party.

                       (b)    Each HCMLP Party represents and warrants that (i) it has ﬁlll authority to
       enter into this Agreement and to release the HCMLP Released Claims and has not sold,
       transferred, or assigned any HCMLP Released Claim to any other person or entity, and (ii) no
       person or entity other than such HCMLP Party has been, is, or will be authorized to bring,
       pursue, or enforce any HCMLP Released Claim on behalf of, for the benefit of, or in the name of
       (whether directly or derivatively) such HCMLP Party.

                       (c)    Each MSCF Party represents and warrants that (i) it has full authority to
       enter into this Agreement and to release the Multi-Strat Released, Claims and has not sold,
       transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
       person or entity other than such MSCF Party has been, is, or will be authorized. to bring, pursue,
       or enforce any Multi-Strat Released Claim on behalf of, for the benefit of, or in the name of
       (whether directly or derivatively) such MSCF Party.




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              8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
       dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
       or by implication, as an admission of liability, fault, or wrongdoing by HCMLP, the MSCF
       Parties, Strand, UBS, or any other person, and the execution of this Agreement does not
       constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
       Parties, Strand, UBS, or any other person.

              9.      Successors-in-lnterest. This Agreement shall be binding upon and. shall inure to
       the beneﬁt of each of the Parties and their representatives, successors, and assigns.

              10.     Notice. Each notice and other communication hereunder shall be in writing and
       will, unless otherwise subsequently directed in writing, be delivered by email and overnight
       delivery, as set forth below, and will be deemed to have been given on the date following such
       mailing.

              HCMLI’ l’arties or the MSCF Parties
              Highland Capital Management, LP.
              300 Crescent Court, Suite 700
              Dallas, Texas 75201
              Attention: General Counsel
              Telephone No.: 972-628-4100
              E-mail: notices@HighlandCapital.com

              with a com (which shall not constitute notice to:
                                                           1‘




              Pachulski Stang Ziehl & Jones LLP
              Attention: Jeffrey Pomerantz, Esq.
              10100 Santa Monica Blvd.. 13th Floor
              Los Angeles, CA 90067
              Telephone No.: 310-277-6910
              E-mail: jpomerantz@pszjlaw.com

              UBS

              UBS Securities LLC
              UBS AG London Branch
              Attention: Elizabeth Kozlowski, Executive Director and Counsel
              1285 Avenue of the Americas
              New York, NY 10019
              Telephone No.: 212-713-9007
              E-mail: elizabeth.kozlowski@ubs.com

              UBS Securities LLC
              UBS AG London Branch
              Attention: John Lantz, Executive Director
              1285 Avenue of the Americas
              New York, NY 10019



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               Telephone No.: 212-713-1371
               E-mail: john.lantz@ubs.com

               with a copy { which shall not constitute notice} to:

               Latham & Watkins LLP
               Attention: Andrew Clubok
                           Sarah Tomkowiak
               555 Eleventh Street, NW, Suite 1000
               Washington, DC. 20004-1304
               Telephone No.: 202-637-3323
               Email: andrew.c1ubok@lw.com
                       sarah.tomkowiak@lw.com

               11.     Advice of Counsel. Each of the Parties represents that Such Party has: (a) been
        adequately represented by independent legal counsel of its own choice, throughout all of the
        negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
        the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
        and conditions contained herein without any reservations; and (d) had the opportunity to have
        this Agreement and all the terms and conditions contained herein explained by independent
        counsel, who has answered any and all questions asked of such counsel, or which could have
        been asked of such counsel, including, but not limited to, with regard to the meaning and effect
        of any of the provisions of this Agreement.

               12.    Entire A reernent. This Agreement contains the entire agreement and
        understanding concerning the subject matter of this Agreement, and supersedes and replaces all
        prim- negotiations and agreements, written or Oral and executed or unexecuted, conceming such
        subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
        attorney for any such Party, has made any promise, representation, or warranty, express or
        implied, written or oral, not otherwise contained in this Agreement to induce any Party to
        execute this Agreement. The Parties further acknowledge that they are not executing this
        Agreement in reliance on any promise, representation, or warranty not contained in this
        Agreement, and that any such reliance would be unreasonable. This Agreement will not be
        waived or modiﬁed except by an agreement in writing signed by each Party or duly authorized
        representative of each Party.

               13.      No Party Deemed Drafter. The Parties acknowledge that the terms of this
        Agreement   are  contractual and are the result of arm’s-length negotiations between the Parties
        and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
        of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
        construed against any Party.

              14.    Future Cooperation. The Parties agree to cooperate and execute such further
        documentation as is reasonably necessary to effectuate the intent of this Agreement.

                15.    Counterp arts. This Agreement may be executed in counterparts with the same
        force and effect as if executed in one complete document. Each Party’s signature hereto will.
        signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.


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       Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
       originals of this Agreement for any purpose.

              16.      Governing Law: Venue; Attornevs’ Fees and Costs. The Parties agree that this
       Agreement    will be governed by and will be construed according to the laws of the State of New
       York without regard to conﬂict-of-law principles. Each of the Parties hereby submits to the
       exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
       thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
       Manhattan, New York, with respect to any disputes arising from or out of this Agreement. In
       any action to enforce this Agreement, the prevailing party shall be entitled to recover its
       reasonable and necessary attorneys’ fees and costs (including experts).

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      IT IS HEREBY AGREED.
                                       HIGHLAND CAPITAL MANAGEMENT, L.P.


                                       By:
                                       Name:
                                       Its:
                                                Ogqp 44,
                                                       u         ;

                                       HIGHLAND MULTI STRATEGY CREDIT
                                       FUND,     LP.            (ffkfa        Highland            Credit
                                       apportumilties CDO, L.P.)


                                       By:
                                       Name:
                                       Its:
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                                       I-HGI-ILAND CREDIT OPPORTUNITIES CBO,
                                       LM.


                                       By:
                                       Name:
                                       Its:       I        Jan-nu
                                                            M4531 57W;
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                                       HIGHLAND CREDIT OPPORTUNITIES CDO
                                       ASSET HOLDINGS, LP.


                                       By:
                                       Name:
                                       Its:                      Q. mmxd S                    QM}; :7
                                       STRAND ADVISORS, INC.


                                       By:
                                       Name:                3* mu.
                                                                                       s...




                                       Its:




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                                       UBS SECURITIES LLC

                                       By;    @4252:
                                       Name: ﬁhn Laﬁz
                                                          ‘9
                                       Its:  Authorized Signatory
                                                ‘7   '


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                                       By:
                                       Name: Elizaycth Kozlowsfd
                                       Its:  Authorized Sign_atorv

                                       UBS AG LONDON BRANCH


                                       By;   kmm_
                                       Name: William Chandler
                                       Its:  Authorized Signatorv

                                       By     pammwm
                                       Name: hiizab’eth Knzlowsﬁi
                                                                     ”
                                       Its:  Authorized Signatory




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                                          APPENDIX A
           The search parameters (Custodians, date ranges, search terms) used to locate the
           documents produced to UBS on February 27, 2021 (and any additional parameters used
           for the previous requests from UBS);
           Identity of counsel to, and trustees of, CDO Fund or SOHC;
           Current 0r last effective investment manager agreements for CDO Fund and SOHC,
           including any management fee schedule, and any documentation regarding the
           tel-mination of those agreements;
           The tax returns for the CDO Fund and SOHC from 2017-present;
           Communications between any employees of Sentinel (or its afﬁliates) and any
           employees of the HCMLP Parties, CDO Fund, SOHC, or any of Dondero, Lewnton, or
           Ellington from 2017-present;
           Documents or communications regarding or relating to the Purchase Agreement,
           Insurance Policy, or June 30, 2018 Memorandum entitled “Tax Consequences of
           Sentinel Acquisition of HFPJCDO Opportunity Assets” (the “Tax Memo”), including
           without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
           these documents, (iii) board minutes or resolutions regarding or relating to these
           documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
           regarding the asset transfer pursuant to these documents; and (vi) any similar asset
           purchase agreements, capital transfer agreements, or similar agreements;
           Documents or communications regarding or relating to the value of any assets
           transferred pursuant to the Insurance Policy or Purchase Agreement, including without
           limitation those assets listed in Schedule A to the Purchase Agreement, from 2017 to
           present, including documentation supporting the $105,647,679 value of those assets as
           listed in the Tax Memo;
           Documents showing the organizational structure of Sentinel and its affiliated entities,
           including information on Dondero’s relationship to Sentinel;
           Any factual information provided by current or former employees of the HCMLP
           Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
           Agreement, Insurance Policy, Tax Memo, andfor transfer of assets pursuant to those
           documents;
           Debtor’s settlement agreements with Ellington and Leventon;
           Copies of all prior and future Monthly Reports and Valuation Reports (as deﬁned in the
           lndenture, dated as of December 20, 2007, among Greenbriar CLO Ltd., Greenbriar
           CDO Corp, and State Street Bank and Trust Company); and
           Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
           those creditors by CDO Fund, SOHC, or HFP, including without limitation any debts
           owed to the Debtor.




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                                Hellman & Friedman Seeded Farallon Capital Management
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    Warren Hellman: One of the good guys

    Warren Hellman was a devoted family man. highly successful businessman, active philanthropist, dedicated musician, arts patron.
    endurance athlete and all—around good guy. Born in New York City in 1934. he grew up In the Bay Area. graduating from the University of
    California at Berkeley. After sewing in the US. Army and attending Harvard Business School. Warren began his ﬁnance career at Lehman
    Brothers. becoming the youngest partner in the ﬁn'n‘s history at age 26 and subsequently serving as President. After a distinguished
    career on Wall Street. Warren moved backwest and co—founded Hellman & Friedman. building it into one of the industry‘s leading private

    equityflrms.


    Warren deeply believed in the power of people to accomplish incredible things and used his success to improve and enrich the lives of
    countless people. Throughout his career. Warren helped found or seed many successful businesses including Matrix Partners. Jordan

    Management Company. Farallon Capital Management and Hall Capital Partners.


    Within the community. Warren and his family were generous supporters of dozens of organizations and causes in the arts, public
    education. civic life. and public health. including creating and running the San Francisco Free Clinic. Later in life. Warren became an

    accomplished 5-5tring banjo player and found greatjoy in sharing the love of music with others. In true form. he made something larger of
    this avocation to beneﬁt others by founding the Hardly Strictly Bluegrass Festival. an annual three-day, free music festival that draws
    hundreds of thousands of people together from around the Bay Area.


    An accomplished endurance athlete. Warren regularly completed loo-mile runs, horseback rides and combinations of the two. He also
    was an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 19705. and is credited with

    helping revitalize the Sugar Bowl ski resort in the California Sierras.


    In short. Warren Hellman embodied the ideal of living life to the fullest. He had an active mind and body. and a huge heart. We are lucky
    to call him our founder. Read more about Warren. (https:”htcornlwp-contentfuploadslzm 5N9Marren—HelIman-News-Release.pdf)




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                           Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                     Grosvenor Capital Management
                 GROSVENOR




                                              NEW, Had: invested in Grower-tor. one ofﬂr'e‘woﬂd’s largest and most diversiﬁed independent
                                              alternative asset management ﬁrms. The Company offers comprehensive public and private markets
                                              solutions and a broad suite of investment and advisory choices that span hedge funds. private equity.
                                              and various credit and specialty strategies. Grosvenor specializes in developing customized
                                              investment programs tailored to each rJient’s speciﬁc investment goals.



                                              SECIOR

                                              Financial Services



                                              STATUS

                                              Past



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         Juneau:
                   EGM Grosvenor to Go Public
                   The $57 billion alternative; manager will become a public company after merging with a SPAC backed by
                   Cantor Fitzgerald.

                   August 03, 2020




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                                                                                                                   Chicago. IL (Tim Boyle/Bloomberg)




                   In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                   The Chicago-based alternative investments ﬁrm is planning to go public by merging with a
                   special purpose acquisition company in a deal valued at $2 billion. The 50-year—old ﬁrm has
                   $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                   investments.


                   “We have long valued having external shareholders and we wanted to preserve the
                   accountability and focus that comes with that,” Michael Sacks, GCM Grosvenor’s chairman
                   and CEO, said in a statement.


                   GCM Grosvenor will combine with CF Finance Special Acquisition Corp, a SPAC backed by
                   Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                   the company goes public, Sacks will continue to lead GCM Grosvenor. which is owned by
                   management and Hellman & Friedman, a private equity ﬁrm. Hellman & Friedman, which
                   has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
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                                       Farallon was a Significant Borrower fr Lehman



    Case Study — Large Loan Origination
    Debt origination for an afﬁliate of Simon Property Group Inc. and Farallon Capital Management
                                                                                        Transaction Overview
     Date                                 June 2007
                                                        O   in June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $321
     Asset Class                               Retail       million (Lehman portion: $121 million) with JP Morgan to a special purpose afﬁliate of
     Asset Size                                             8. joint venture between Simon Property Group inc (“Simon”) and Farallon Capital
                                    1,303,505 Sq. Ft.
                                                            Management (“Farallon”) secured by the shopping center known as Gumee Mills Mall
     Sponsor            Simon Property Group Inc. /                        o        .
                                                            (the “Property )located in Our-nee, l L .
                       Farallon Capital 1 I ement
                                                o The Property consists of a one-story, 200 store discount mega-mall comprised of
                   '



     Transaction                          Reﬁnance
                                                  1,808,506 square feet anchored by Burlington Coat Factory, Marshalls. Bed Bath &
     Type
                                          . .     Beyond and Kohls among other national retailers. Built in 1991, the Property underwent
     Total Debt    Lehman Brothers: $121 ”mm"     a $5 million interior renovation in addition to a $71 million redevelopment between 2004
     Am“                JP Morgan: $200 million   and 2005. As of March 2007, the Property had a in-line occupancy of 99.5%.


                                                                                      Lehman Brothers Role
                              fﬁé
                                                        0 Simon and Farallon comprised the sponsorship which eventually merged with The Mills
                                                          Corporation in early 2007 for $25.25 per common share in cash. The total value of the
                                                            transaction was approximately $1.64 billion for all of the outstanding common stock, and
                                                            approumatcl) S7 ‘3 billlon including assumed debt and prcicrred cqurt;
                                                        O   Lehman and JP Morgan subsequently (to-originated $321 million loan at 79.2% LTV
                                                            based on an appraisal completed in March by Cushman & Wakeﬁeld. The Loan was
                                                            used to reﬁnance the indebtedness secured by the Property.

                                                                                        Sponsorship 0w rview
                                                        O   The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                            a diversiﬁed portfolio of retail destinations including regional shopping malls and
                                                            entertainment centers. They currently own 38 properties in the United States totaling 47
                                                            million square feet.



    LEHMAN BROTHERS                                                          32




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                                 Mr. Seerv Represented Stonehill While at Sidlev


    James P. Seey. Jr.
    John G. Hutchinson
    John J. Lavelle
    Martin B. Jackson
    Sidley Austin LLP
    787 Seventh Avenue
    New York, New York 10019
    (212) 839-5300 (tel)
    (212) 839-5599 (fax)

    Attorneys for the Steering Group

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
                                                               X
    In re:                                                          Chapter 1 l

    BLOCKBUSTER INC, 31‘ (11.,                                      Case No. 10-14997 (BRL)

                                       Debtors.                     (Jointly Admin istered)

                                                               i:

     THE BACKSTOP LENDERS’ OBJECTION TO THE MOTION 0F LYME REGIS TO
    ABANDON CERTAIN CAUSES OF ACTION OR, IN THE ALTERNATIVE, TO GRANT
     STANDING TO LYME REGIS TO PURSUE CLAIMS ON BEHALF OF THE ESTATE
             l.          The Steering Group of Senior Secured Noteholders who are Backstop Lenders     --




    Icahn Capital LP, Monarch Alternative Capital LP, Owl Creek Asset Management, L.P.,

    Stonehill Capital Management LLC. and Viirde Partners, Inc. (collectively, the “Backstop

                  --
                       hereby ﬁle this objection (the “Obiection”) to the Motion of Lyme Regis Partners,

    LLC (“Lyme Regis”) to Abandon Certain Causes of Action or, in the Alternative, to Grant

    Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the “Motion”) [Docket No.

    5931.




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    Stonehill Founder (Motulskv) and Grosvenor’s G.C. (Nesler) Were Law School Classmates




                     Over 25 years earlier. here is a group at a
                        party. From the left, Bob Zinn, Dave
                       Lowenthal, Rory Little, Joe Nesler,Jon
                      Polonsky (in front ofJoe). John Motulsky
                        and Mark Windfeld~Hansen {behind
                      bottle!) Motulsky circulated this photo at
                              the reunion. Thanksjohnl




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              Joseph H. Nesler (He/Him)
              General Counsel




                   Joseph H. Nesler (He/Him)-
                   3rd
                                                                   '       Yale Law School


                   General Counsel
                   Winnetka, Illinois. United States -
                   Contact info
                   500+ connections




                       Open to work
                       Chief Compliance Ofﬁcer and General Counsel roles
                       See all details




                   About
                   Ihave over 38 years of experience representing participants in the investment
                   management industry with respect to a wide range of legal and regulatory matters,
                   including SEC, DOL. FINRA. and NFA regulations and examinations.            see more




                   Activity
                   522 followers

                   Posts Joseph H. created, shared. or commented on in the last 90 days are displayed
                   here.

   nupsylwwkaedInnxmmnseprmeslw




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                                                                                       _._._._
                                                                                                 .._I   ..     ___-




            Joseph H. Nesler (He/Him)
            General Counsel
                 blur-u- an."   n...-




                                    General Counsel
                                    Dalpha Capital Management, LLC
                                    Aug 2020 iJul 2021 1 yr -




                                    Of Counsel
                  \X/               Winston 8:. Strawn LLP
                                    Sep 2018—Ju12020 - 1 yr11 mos
                                    Greater Chicago Area



                                    Principal
                                    The Law Ofﬁces of Joseph H. Nesler, LLC
                                    Feb 2016 — Aug 2018 - 2 yrs 7 mos



                                    GfOSVenor Capital Management.                 LE
                 Imm"               11 yrs 9 mos


                                    Independent Consultant to Grosvenor Capital Management,
                                    LP.
                                    May 2015 — Del: 2015-8 mos
                                    Chicago, Illinois

                                    General Counsel
                                    Apr 2004 — Apr 2015         -
                                                                    11 yrs 1 mo

                                    Chicago. Illinois

                                    Managing Director. General Counsel andChiaf
                                                        -
                                    Ofﬁcer (April 2004 April .2015.)




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                Investor Communication to Highland Crusader Funds Stakeholders
                                                                                          Alvarez     8 Harsal
                                                                                 Ianagomant. LLC        2029 Ger
         A                                                                                Park East   Suite 206C:
         &                                                                                      Angeles. CA 9
         M




         July 6, 2021


         Re: Update & Notice of Distribution


         Dear Highland Crusader Funds Stakeholder,

                 As you know, in October 2020, the Bankruptcy Court approved a settlement of the
         Redeemer Committee’s and the Crusader Funds’ claims against Highland Capital Management
         L.P. (“HCM”), as a result of which the Redeemer Committee was allowed a general unsecured
         claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
         claim of $50,000 against HCM (collectively, the “C laims”). In addition, as part of the settlement,
         various interests in the Crusader Funds held by HCM and certain of its afﬁliates are to be
         extinguished (the “Extin ished Interests"), and the Redeemer Committee and the Crusader Funds
         received a general release from HCM and a waiver by HCM of any claim to distributions or fees
         that it might otherwise receive from the Crusader Funds (the “Released Claims” and, collectively
         with the Extinguished Interests, the “Retained Rights”).

                A timely appeal of the settlement was taken by UBS (the “UBS Ame” in the United States
         District Court for the Northern District of Texas, Dallas Division. However, the Bankruptcy Court
         subsequently approved a settlement between HCM and UBS, resulting in dismissal of the UBS
         Appeal with prejudice on June 14, 2021.

                On April 30, 20.7.1, the Crusader Funds and the Redeemer Committee consummated the sale
         of the Claims against HC M and the majority of the remaining investments held by the Crusader
         Funds to Jessup Holdings LLC (“Jessup”) for S78 million in cash, which was paid in full to the
         Crusader Funds at closing. The sale speciﬁcally excluded the Crusader Funds’ investment in
         Cornerstone Healthcare Group Holding Inc. and excluded certain speciﬁed provisions of the
         settlement agreement with HCM (the “Settlement Agreement”), including, but not limited to, the
         Retained Rights. The sale of the Claims and investments was made with no holdbacks or escrows.

                The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
         by Alvarez  & Marsal CRF Management LLC‘ ("A&M CRF"), as Investment Manager of the
         Crusader Funds, in consultation with the Redeemer Committee. Ultimately, the Crusader Funds
         and the Redeemer Committee entered exclusive negotiations with Jessup, culminating in the sale
         to Jessup.

                A&M CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
         Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
         from the Jessup transaction ($78 million), net of any applicable tax withholdings and with no
         reserves for the Extinguished Claims or the Released Claims. In addition, the distribution will
         include approximately $9.4 million in proceeds that have been redistributed due to the cancellation



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               and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
              DAF and Eames in connection with the Settlement Agreement, resulting in a total gross
               distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 2021.

                     Please note that A&M CRF intends to make the distributions by wire transfer no later than
              July 3], 2021. Please conﬁrm your wire instructions on or before July 20I 2021. If there are any
              revisions to your wire information, please use the attached template to provide SE1 and A&M CRF
              your updated information on investor letterhead. This information should be sent on or before July
              20, 2021 to Alvarez & Marsal CRF and SE] at CRFlnvestoﬁwalvarezandmarsal.com and AIFS-
              IS Cmsaderfwseiccom, respectively.

                     The wire payments will be made to the investor bank account on ﬁle with an effective and record
              date of July 1, 2021. Should you have any questions, please contact SE1 or A&M CRF at the e-mail
              addresses listed above.




      Sincerely,


      Alvarez & Marsal CRF Management, LLC


      By
           Steven Vamer
           Managing Director




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                                                                                  Alvarez & Marsal CRF
                                                                           Management, LLC 2029 Century
                                                                                    Park East Suite 2060 Los
   §9°>                                                                                   Angeles, CA 90067




   July 6, 2021


   Re: Update & Notice of Distribution


   Dear Highland Crusader Funds Stakeholder,

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   to Jessup.

          A&M CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
   Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
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                                                                                              '
   include approximately $9.4 million in proceeds that have been redistributed due to th
                                                                                             EXHIBIT
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         and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
         DAF and Eames in connection with the Settlement Agreement, resulting in a total gross
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                Please note that A&M CRF intends to make the distributions by Wire transfer no later than
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         revisions to your wire information, please use the attached template to provide SEI and A&M CRF
         your updated information on investor letterhead. This information should be sent on or before July
         20, 2021 to Alvarez & Marsal CRF and SEI at CRFInvestor@alvarezandmarsal.com and AIFS-
         IS Crusader@seic.com, respectively.

               The wire payments will be made to the investor bank account on ﬁle with an effective and record
        date of July 1, 2021. Should you have any questions, please contact SEI or A&M CRF at the e-mail
        addresses listed above.




Sincerely,


Alvarez & Marsal CRF Management, LLC


By:
      Steven Vamer
      Managing Director




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  On investor letterhead, please use the template below to provide Alvarez & Marsal CRF
  Management, LLC and SEI your updated wire information.


    Information Needed                                  Wire Information Input
    Investor name (as it reads on monthly statements)

    Fund(s) Invested

    Contact Information (Phone No. and Email)

    Updated Wire Information
         Beneﬁciary Bank
         Bank Address
         Beneﬁciary (Account) Name
         ABAﬂlouting #
         Account #
         SWIFT Code

    International Wires
         Correspondent Bank
         ABA/Routing #
         SWIFT Code




   Signed By:                                                       Date:




                                                                                 App. 2949
